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 1    COTCHETT, PITRE & MCCARTHY, LLP            KAPLAN FOX & KILSHEIMER LLP
      Joseph W. Cotchett (SBN 36324)             Laurence D. King (SBN 206243)
 2    Mark C. Molumphy (SBN 168009)              350 Sansome Street, Suite 400
      San Francisco Airport Office Center        San Francisco, California 94104
 3    840 Malcolm Road, Suite 200                Telephone: 415-772-4700
      Burlingame, California 94010               Facsimile: 415-772-4707
 4    Telephone: 650-697-6000                    lking@kaplanfox.com
      Facsimile: 650-697-0577
 5    jcotchett@cpmlegal.com                     David A. Straite (admitted pro hac vice)
      mmolumphy@cpmlegal.com                     850 Third Avenue
 6                                               New York, New York 10022
                                                 Telephone: 212-687-1980
 7                                               Facsimile: 212-687-7714
                                                 dstraite@kaplanfox.com
 8
      Interim Co-Lead Class Counsel
 9
10

11                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
12                                 SAN JOSE DIVISION
13   IN RE: APPLE INC. DEVICE                    Case No. 5:18-md-02827-EJD
     PERFORMANCE LITIGATION
14                                               CLASS ACTION
15                                               CONSOLIDATED AMENDED
     This Document Relates To:
                                                 COMPLAINT
16
           ALL ACTIONS.
17

18                                               Hon. Edward J. Davila
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 1                                           INTRODUCTION
 2          1.         Plaintiffs file this Consolidated Class Action Complaint for Damages and
 3   Equitable Relief against Apple Inc. (“Apple,” the “Company,” or “Defendant”) on behalf of
 4   themselves and all persons worldwide who purchased, owned, used, or leased one or more of
 5   Apple’s Devices1 (the “Class” as defined herein) for fraudulent misrepresentations and omissions,
 6   and other unlawful and unfair business practices.
 7          2.         After years of customer frustration and attrition, on December 20, 2017, Apple
 8   admitted to one of the largest consumer frauds in history, affecting hundreds of millions of mobile
 9   devices across the globe. Prompting the admission were reports of unexplained shutdowns of
10   certain Devices surfacing more than two years earlier, with consumers complaining their Devices
11   were suddenly shutting down even though the batteries were more than 30% charged. Complaints
12   accelerated in the autumn of 2016 and were accompanied by reports of unexplained heating.
13          3.         Even the inventor of Apple’s iPod – Tony Fadell – publicly reported that his own
14   iPhone repeatedly shut down despite the battery showing significant remaining charge and despite
15   Apple running a diagnostic and claiming his battery was fine: “It’s happening to me every other
16   day—especially while using the mapping app. Have to always carry an external battery to revive
17   it.” Tony Fadell Twitter Comment, Dec. 1, 2016, https://goo.gl/cEZ8JL (emphasis added).
18          4.         Worse, these devices could not be powered back on unless plugged into a power
19   socket – a problem that Apple later admitted would be an “inconvenience” given that these are
20   mobile devices.
21          5.         Despite the growing chorus of complaints, Apple remained silent until
22   November 2016, when it finally admitted a problem, but limited its admission to a small serial
23

24

25
     1
       As used herein, the term “Devices” are the following products designed and marketed by Apple
26   for sale: the iPhone 5, iPhone 5s, iPhone 5c, iPhone SE, iPhone 6, iPhone 6s, iPhone 6 Plus, iPhone
     6s Plus, iPhone 7, iPhone 7 Plus, the Fourth Generation iPad, iPad Mini, iPad Air, iPad Mini 2,
27   Update to Fourth Generation iPad, iPad Air 2, iPad Mini 3, iPad Mini 4, iPad Pro, 9.7-Inch iPad
     Pro, Fifth Generation iPad, iPad Pro 10.5-inch and 12.9 inch models, and Sixth Generation iPad.
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 1   range of iPhone 6s Devices manufactured in September and October 2015 because the batteries
 2   were exposed to “ambient air” during assembly. Apple charged $79 in the United States to replace
 3   a battery at the time (and a similar price outside of the United States), but offered a free battery
 4   replacement to this small number of owners of Devices in the “limited serial range.”
 5          6.          Within days of Apple’s November 2016 announcement, it became clear that a far
 6   greater number of Devices were affected than Apple was letting on. For example, on December 13,
 7   2016, Ben Gilbert (Senior Tech Correspondent for Business Insider) reported the result of his
 8   investigation of massive demand and delays associated with the battery replacement program, and
 9   concluded: “It’s not clear if this level of demand is because the shutdown problem is more
10   widespread than Apple’s letting on or because there are millions of iPhone 6S phones in the wild
11   that were manufactured between September and October 2015.” See Ben Gilbert, “There is no Real
12   Plan: A Longtime Apple Store Employee Says the iPhone Battery Replacement Plan is a Mess,”
13   Business Insider (Dec. 13, 2016). A week later, Mr. Gilbert’s colleague, Dave Smith, reported that
14   “Apple hasn’t figured out the true cause or at minimum hasn’t disclosed it to the public. Apple has
15   a replacement program, but it doesn’t appear to cover all of those people affected by this bug.”
16   Dave Smith, “Apple is Losing its Focus Again,” Business Insider (Dec. 20, 2016).
17          7.          In addition to the work being done by Business Insider, Fortune was also
18   investigating. A week after Mr. Smith’s report, Fortune’s law & blockchain reporter Jeff John
19   Roberts confirmed that the “bug” extended beyond the originally-identified iPhone 6s devices.
20   “Apple refuses to come clean about what’s going on. While the company is running a limited
21   battery replacement program for some iPhone 6s models, it’s still pretending things are just fine
22   with other models.” Jeff John Roberts, “Why It’s Time for Apple to Come Clean About the iPhone
23   Battery,” Fortune (Dec. 27, 2016) (emphasis added). Indeed, in a statement emailed to Mr. Roberts,
24   Apple finally admitted that the problem extended beyond the previously identified iPhone 6s
25   models, and hinted at a remedial software fix to come:
26
            A small number of customers outside of the affected range have also reported an unexpected
27
            shutdown. Some of these shutdowns can occur under normal conditions in order for the
28          iPhone to protect its electronics. In an effort to gather more information, we are including
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              additional diagnostic capability in an iOS software update which will be available next
 1            week. This will allow us to gather information over the coming weeks which may
 2            potentially help us improve the algorithms used to manage battery performance and
              shutdown. If such improvements can be made, they will be delivered in future software
 3            updates.
 4

 5   Id. Mr. Roberts concluded: “Tim Cook, the ball is in your court: a new year is approaching, and

 6   2017 would be a great time for Apple to restore the iPhone’s once-impeccable reputation.” Id.

 7            8.         2017 arrived, and as expected Apple installed software updates on the Devices to

 8   gather additional diagnostic data in early January 2017. Based in part on that diagnostic data, on

 9   January 23, 2017, Apple released a software update, known as iOS 10.2.1. Apple told consumers

10   that the update was to fix “bugs” or improve “security” on the Devices and a month later Apple told

11   a reporter at TechCrunch that the software update had largely addressed the shutdown problem. See

12   Matthew Panzarino, “Apple Says iOS 10.2.1 has Reduced Unexpected iPhone 6s Shutdown Issues

13   by 80%,” TechCrunch (Feb. 23, 2017); see also Liam Tung, “iPhone 6, 6s sudden shutdown?

14   We’ve almost fully cured issue with iOS 10.2.1, says Apple,” ZDNet (Feb. 24, 2017) (citing

15   Apple’s disclosure to TechCrunch) (“Apple has almost fixed a power-management issue that’s been

16   causing iPhones to shut down unexpectedly”).

17            9.         Missing from these statements to consumers or to the tech press was the true

18   purpose of the software update – to conceal a much larger defect than the public knew—namely,

19   there was a mismatch between the Devices’ hardware, including their processing chips and

20   rechargeable lithium-ion batteries, and the ever-increasing demands placed on the Devices via

21   Apple’s constantly-updating iOS software platform. This mismatch is referred to as the

22   “Defect(s).” And the software update did not “fix” or “cure” the Defect – it instead concealed it by

23   secretly throttling the Devices’ performance to reduce the number of unexpected shutdowns to a

24   more manageable volume. Apple partially “cured” one defect by making another defect more

25   aggressive – accomplished by violating federal computer fraud laws and a host of various state

26   laws. For eleven months, the secret remained uncovered as Apple continued to hide the whole

27   truth.

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 1           10.         Apple’s secret throttling did not stop at iOS 10.2.1. On December 2, 2017,
 2   another set of throttling code was inserted in iOS 11.22, but Apple again told consumers the update
 3   was primarily to fix “bugs” and provide “improvements.” Apple did not reveal the Defects.
 4           11.         Only after independent research was published online in mid-December 2017
 5   demonstrating the marked degradation of performance in a large sampling of the Devices after
 6   installation of the Updates, did Apple begin to come clean. On December 20, 2017, Apple tacitly
 7   admitted that the Updates intentionally slowed the Devices (the “December 20 Admission”) stating,
 8   in relevant part:
 9           Our goal is to deliver the best experience for customers, which includes overall
             performance and prolonging the life of their devices. Lithium—ion batteries become
10           less capable of supplying peak current demands when in cold conditions, have a low
             battery charge or as they age over time, which can result in the device unexpectedly
11           shutting down to protect its electronic components.
12           Last year we released a feature for iPhone 6, iPhone 6s and iPhone SE to smooth out
             the instantaneous peaks only when needed to prevent the device from unexpectedly
13           shutting down during these conditions. We’ve now extended that feature to iPhone 7,
             with iOS 11.2, and plan to add support for other products in the future.3
14

15           12.         The December 20 Admission, however, contained the further misrepresentation
16   that the code was designed to “smooth out” allegedly “[unexpected] instantaneous peaks” in
17   performance. A downpour of media reports ensued, several of which used the more appropriate
18   term—“throttle”—to define this “smooth[ing]” feature that Apple inserted into the code for the iOS
19   10.2.1 update.
20

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     2
       As used herein, the term “Updates” refers, unless otherwise stated, to iOS 10.2.1 and iOS 11.2.
     All of the iOS updates, however, issued by Apple prior to iOS 11.3 are part of Apple’s misconduct
25   and subsequent cover-up. iOS 12.2 beta was released June 25, 2018. Each of these later versions
     of iOS after iOS 11.2 are nothing more than Apple’s attempt to further conceal the extent of its
26   aberrant behavior.
     3
       Shara Tibiken, “Apple admits slowing older iPhones, says it’s to prevent battery issues,” C/Net
27   (Dec. 20, 2017) (available online at https://www.cnet.com/news/apple-slows-down-older-iphone-
     battery-issues/#ftag=CAD-09-10aai5b) (last visited July 1, 2018).
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 1          13.         As explained herein, the batteries have a limited number of charge and discharge
 2   cycles, and they degrade over time. The batteries give off current which is used to drive the
 3   processor (i.e. the chips) in each of the Devices to perform tasks (i.e. play video, open applications,
 4   transmit data, etc). The throttling via the Updates permitted Apple to have the batteries draw less
 5   current to run the Devices for the same amount of time as a new battery, but the trade-off was that
 6   the processing speed was slowed down. This is akin to a driver going slower to get better gas
 7   mileage. As new and more demanding iOS updates are added, users experience even slower
 8   performance as the processor originally provided with the Devices struggle—not only due to their
 9   own limitations—but the limitations of the batteries to provide enough power current to keep pace
10   with the new demands (the “Battery Issues”). Given the constant iOS upgrades requiring the
11   processors in Apple’s Devices to perform more and more tasks, the batteries were inadequate for
12   the Devices from day one.
13          14.         Worse yet, due to the Defects and Battery Issues, consumers would logically be
14   required to continually recharge their Devices to attempt to refill the “gas tank” with more power.
15   This constant recharging only feeds the further degradation of the battery. Ironically, in Apple’s
16   U.S. Patent No. 9,912,186, issued March 6, 2018, and discussing charging techniques, it
17   acknowledges that: “Continued use of a lithium-polymer battery over time may also produce
18   swelling in the battery’s cells. . . a user of a device may not be aware of the battery’s swelling
19   and/or degradation until the swelling results in physical damage to the device.” The application
20   for this patent was in process since at least 2011.
21          15.         While Plaintiffs and the Class need not attribute any motive behind Apple’s
22   intentional degradation of the Devices, it is evident that Apple continued to do so for the simple
23   reason most frauds are committed: money. Although technically complex in part, the scheme was
24   logical and simple: The Devices were designed defectively, and Apple released software updates to
25   conceal the Defects, all the while exacerbating the effects of the Defects — principally decreased
26   performance — so that Device users had no choice but to purchase new batteries or upgrade their
27   Devices, resulting in additional payments to Apple and a sustained (albeit forced) customer base.
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 1          16.         Further highlighting Apple’s dependence on the “success” of its defective
 2   products, the Devices represented at least 70% of Apple’s overall revenue for at least fiscal years
 3   2013 to 2017 (nearly $800 billion), and to date. Critically, in 2016 — just prior to the first of the
 4   Updates — Apple was stumbling for the first time in 15 years in iPhone sales, was facing a
 5   saturated iPhone market, decreased sales of iPads (and even its Mac product line), the end or
 6   phasing out of third party vendor “two-year” service contracts, and increased competition overall.
 7          17.         As such, a perfect storm was brewing for Apple, with a host of problems
 8   threatening its continued ability to profit in the smartphone and tablet markets. No time, and
 9   particularly during 2016 and 2017, was a good time for Apple to reveal that its Devices were
10   defective. And so, the sly saga progressed.
11          18.         Apple’s December 20 Admission therefore had to deliver a false “all is well”
12   message in claiming that the Updates were simply were a “smooth[ing] out” of power flow. Apple
13   continued to use the very calculated term “smooth[ing] out” in its December 28, 2017 “apology” (as
14   defined herein). Apple engaged in crisis communication at its finest, and most dishonest.
15          19.         Following the Company’s December 20 Admission, Apple’s statements and
16   conduct reveal a carefully orchestrated public relations maneuver to continue to conceal and
17   misrepresent the true extent of Apple’s misconduct with regard to the Devices and the Defects.
18   Apple has failed, even today, to affirmatively tell consumers that the Company sold them Devices
19   that suffered from Defects, which Defects impair their central functioning and purpose.
20          20.          While Apple also “apologize[d]” on December 28, 2017, the apology is just
21   more public relations machinations. In fact, the December 28, 2017 Apple statement (the
22   “Apology”) merely confirmed the earlier undisclosed material facts – facts which Apple should
23   have disclosed long before. As stated by Apple in the “Apology”:
24          iOS 10.2.1 (released January 2017) includes updates for previous models of iPhone to
            prevent them from unexpectedly shutting down. This includes a feature for iPhone 6,
25          iPhone 6 Plus, iPhone 6s, iPhone 6s Plus, and iPhone SE to dynamically manage the
            instantaneous performance peaks, only when needed, to prevent the device from
26          unexpectedly shutting down. This capability was also extended to iPhone 7 and
            iPhone 7 Plus with iOS 11.2, and we will continue improving our power management
27          feature in the future. This feature’s only intent is to prevent unexpected shutdowns so
            that the iPhone can still be used. This power management feature is specific to iPhone
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            and does not apply to any other Apple products.
 1
            This power management works by looking at a combination of the device temperature,
 2          battery state of charge, and battery impedance. Only if these variables require it, iOS
            will dynamically manage the maximum performance of some system components,
 3          such as the CPU and GPU, in order to prevent unexpected shutdowns. As a result, the
            device workloads will self-balance, allowing a smoother distribution of system tasks,
 4          rather than larger, quick spikes of performance all at once. In some cases, a user may
            not notice any differences in daily device performance. The level of perceived change
 5          depends on how much power management is required for a particular device.
 6          In cases that require more extreme forms of this power management, the user may
            notice effects such as:
 7
            Longer app launch times
 8
            Lower frame rates while scrolling
 9
            Backlight dimming (which can be overridden in Control Center)
10
            Lower speaker volume by up to -3dB
11
            Gradual frame rate reductions in some apps
12
            During the most extreme cases, the camera flash will be disabled as visible in the
13          camera UI
14          Apps refreshing in background may require reloading upon launch
15
            21.        While government officials and regulators, both domestic and foreign, are
16
     investigating and/or examining Apple’s conduct, 4 it is insufficient to help members of the Class,
17
     each of whom are forced to choose among four harms going forward: 1) turn off the “throttling”
18
     feature, subjecting the Device to increased risk of unexpected shutdowns; or 2) keep the “throttling”
19
     feature on, subjecting the Device to reduced performance; or 3) buy a new battery, paying money
20
     now ($29 in the United States and a similar amount in other countries) and not knowing whether or
21
     when the Device will again be at risk for unexpected shutdown; or 4) upgrade to a new Device. So
22

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25   4
       See Tom Schoenberg, et al., “U.S. Probes Apple Over Updates That Slow Older iPhones,”
     Bloomberg (Jan. 30, 2018), https://www.bloomberg.com/news/articles/2018-01-30/u-s-said-to-
26   probe-apple-over-updates-that-slow-older-iphones-jd1yahj7; Mikey Campbell, “Apple explains
     iPhone battery throttling to Canadian parliament, says not planned obsolescence,” Appleinisder
27   (March 1, 2018), https://appleinsider.com/articles/18/03/01/apple-explains-iphone-battery-
     throttling-to-canadian-parliament-says-not-planned-obsolescence.
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 1   not only are Plaintiffs and the Class entitled to damages for past harms, each and every Class
 2   member who has not yet upgraded must necessarily choose which of the four harms above they
 3   “prefer” in the future.
 4           22.        As discussed herein, Apple includes a California choice-of-law provision in the
 5   Software License Agreement accompanying its iOS software, ostensibly applicable on a near-global
 6   basis. Plaintiffs accordingly allege claims under both federal and California law, and in the
 7   alternative under (or in some cases, in addition to) the laws of other jurisdictions.
 8                                      JURISDICTION AND VENUE
 9           23.        This Consolidated Complaint is intended to serve as a superseding complaint as
10   to all other complaints consolidated in this multidistrict litigation, and to serve for all purposes as
11   the operative pleading for the Class defined below. As set forth herein, this Court has general
12   jurisdiction over Apple and original jurisdiction over Plaintiffs’ claims.
13           24.        This Court has federal question subject-matter jurisdiction pursuant to 28 U.S.C.
14   § 1331, because Plaintiffs allege that Apple violated the Computer Fraud and Abuse Act, 18 U.S.C.
15   § 1030, et seq.
16           25.         This Court also has subject-matter jurisdiction pursuant to the Class Action
17   Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because this is a class action in which the matter in
18   controversy exceeds the sum of $5,000,000, and Apple is a citizen of a State different from that of
19   at least one Class member.
20           26.        This Court also has supplemental jurisdiction over the state law claims pursuant
21   to 28 U.S.C. § 1367(a) because all claims alleged herein form part of the same case or controversy.
22           27.        Venue is proper in this District under 28 U.S.C. § 1391(a) through (d) because
23   Apple’s principal place of business is located in this District and substantial parts of the events or
24   omissions giving rise to the claims occurred in the District. Venue is also proper in this Court
25   because Apple is located here, the causes of action arose here, and as Apple has admitted, the
26   Devices at issue herein have always been designed, manufactured, and tested by Apple in this
27   District.
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 1                                     INTRADISTRICT ASSIGNMENT
 2           28.          Assignment of the cases originally filed within this District to the San Jose
 3   Division is proper pursuant to Local Rule 3-2-(c)-(e), as a substantial part of the events or
 4   omissions giving rise to Plaintiffs’ claims occurred in Santa Clara County, California.
 5                                                  PARTIES
 6       A. Plaintiffs5
 7                                                 ALABAMA
 8           29.          Plaintiff Joseph Taylor is a resident and citizen of the State of Alabama and he
 9   acquired an iPhone 6 on April 8, 2015. Prior to his purchase of the Device, he did not know, nor
10   could he have known through reasonable diligence, of the Battery Issues and Defects in his Device.
11   Taylor downloaded and installed iOS 10.2.1 on his Device in or around January or February of
12   2017.
13           30.          Not only did Taylor’s Device not operate as Apple warranted and promised
14   initially, but Apple never represented or warranted that iOS updates would cause the way Taylor’s
15   Device operated to fundamentally change. Taylor’s Device did not operate as promised in Apple’s
16   advertisements, representations, and the information publicly available in the marketplace.
17   Additionally, none of the packaging in which the Device was sold to Taylor revealed that there
18   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
19   otherwise regulate the battery power and speed pursuant to which Taylor’s Device would operate.
20   Accordingly, not only was Taylor’s Device defective at the point of sale due to its Battery Issues
21   and Design Defects, but Apple exacerbated the problems with Taylor’s Device via its
22   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
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      With the filing of this Consolidated Amended Complaint in this multidistrict jurisdiction case,
26   several Plaintiffs have been “added” that were not in the original filed complaints before the
     Judicial Panel on Multidistrict Litigation or otherwise transferred to this Court. Accordingly,
27   Plaintiffs have filed a separate complaint with this Court on behalf of the added Plaintiffs, and are
     seeking intra-district transfer and consolidation, for the sake of ensuring subject matter jurisdiction.
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 1   Taylor did not receive the benefit of his bargain, and was injured as a result. If Taylor had been
 2   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
 3   Device after sale, Taylor would not have purchased the Device, or would have paid substantially
 4   less for it.
 5                                               ALABAMA
 6            31.       Plaintiff Khendle Harvest Williams is a resident and citizen of the State of
 7   Alabama and she purchased an iPhone 6 Plus in or around Fall 2014 and subsequently an iPhone 7
 8   Plus for herself in or around Fall 2016. She also purchased an iPhone 6, 6s, and subsequently a 7
 9   Plus for her daughter, all shortly after the models’ corresponding release dates. Prior to her
10   purchases of the Devices, she did not know, nor could she have known through reasonable
11   diligence, of the Battery Issues and Defects in her Devices.
12            32.       Not only did Williams’s Devices not operate as Apple warranted and promised
13   initially, but Apple never represented or warranted that iOS updates would cause the way
14   Williams’s Devices operated to fundamentally change. Williams’s Devices did not operate as
15   promised in Apple’s advertisements, representations, and the information publicly available in the
16   marketplace. Additionally, none of the packaging in which the Devices were sold to Williams
17   revealed that there were any Defects, Battery Issues, or that Apple would use the Updates to
18   “smooth,” “throttle,” or otherwise regulate the battery power and speed pursuant to which
19   Williams’s Devices would operate. Accordingly, not only were Williams’s Devices defective at the
20   point of sale due to its Battery Issues and Design Defects, but Apple exacerbated the problems with
21   Williams’s Devices via its misrepresentations and omissions with the iOS software Updates. As a
22   result of Apple’s actions, Williams did not receive the benefit of her bargains, and was injured as a
23   result. If Williams had been told of these Defects, Battery Issues, and the deceptive manner in
24   which Apple would damage the Device after sale, Williams would not have purchased the Devices
25   or would have paid substantially less for them.
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 1                                                 ALASKA
 2            33.       Plaintiff Loren Haller is a resident and citizen of the State of Alaska and he
 3   purchased an iPhone 6 on or around October 2014, an iPhone 6s on or around November 2015, an
 4   iPhone 7 on or around October 2016, and an iPhone 7 Plus on or around January 2017. Prior to his
 5   purchase of the Devices, he did not know, nor could he have known through reasonable diligence of
 6   the Battery Issues and Defects in his Devices.
 7            34.       Not only did Haller’s Device not operate as Apple warranted and promised
 8   initially, but Apple never represented or warranted that iOS updates would cause the way Haller’s
 9   Devices operated to fundamentally change. Haller’s Devices did not operate as promised in
10   Apple’s advertisements, representations, and the information publicly available in the marketplace.
11   Additionally, none of the packaging in which the Devices were sold to Haller revealed that there
12   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
13   otherwise regulate the battery power and speed pursuant to which Haller’s Devices would operate.
14   Accordingly, not only was Haller’s Devices defective at the point of sale due to its Battery Issues
15   and Design Defects, but Apple exacerbated the problems with Haller’s Device via its
16   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
17   Haller did not receive the benefit of his bargain, and was injured as a result. If Haller had been told
18   of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
19   Device after sale, Haller would not have purchased the Device, or would have paid substantially
20   less for it.
21                                                ARIZONA
22            35.       Plaintiff Alex Eugene Rodriguez is a resident and citizen of the State of Alaska
23   and he purchased an iPhone SE in or about July or August 2016 in Arizona. Prior to his purchase of
24   the Device, he did not know, nor could he have known through reasonable diligence of the Battery
25   Issues and Defects in his Device. Rodriguez downloaded and installed iOS updates as they were
26   recommended.
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 1          36.         Not only did Rodriguez’s Device not operate as Apple warranted and promised
 2   initially, but Apple never represented or warranted that iOS updates would cause the way
 3   Rodriguez’s Device operated to fundamentally change. Rodriguez’s Device did not operate as
 4   promised in Apple’s advertisements, representations, and the information publicly available in the
 5   marketplace. Additionally, none of the packaging in which the Device was sold to Rodriguez
 6   revealed that there were any Defects, Battery Issues, or that Apple would use the Updates to
 7   “smooth,” “throttle,” or otherwise regulate the battery power and speed pursuant to which
 8   Rodriguez’s Device would operate. Accordingly, not only was Rodriguez’s Device defective at the
 9   point of sale due to its Battery Issues and Design Defects, but Apple exacerbated the problems with
10   Rodriguez’s Device via its misrepresentations and omissions with the iOS software Updates. As a
11   result of Apple’s actions, Rodriguez did not receive the benefit of his bargain, and was injured as a
12   result. If Rodriguez had been told of these Defects, Battery Issues, and the deceptive manner in
13   which Apple would damage the Device after sale, Rodriguez would not have purchased the Device,
14   or would have paid substantially less for it.
15                                                   ARIZONA
16          37.         Plaintiff Jonathan David is a resident and citizen of the State of Arkansas and
17   he purchased an iPhone 6 in March 2015 in Arizona. Prior to his purchase of the Device, he did not
18   know, nor could he have known through reasonable diligence of the Battery Issues and Defects in
19   his Device. At time of initial purchase, the Device operated on iOS 8. David downloaded and
20   installed iOS 10 on his Device in the fall of 2016.
21          38.         Not only did David’s Device not operate as Apple warranted and promised
22   initially, but Apple never represented or warranted that iOS 10 or any of the future updates would
23   cause the way David’s Device operated to fundamentally change. David’s Device, particularly after
24   installation of iOS 10, did not operate as promised in Apple’s advertisements, representations, and
25   the information publicly available in the marketplace. Additionally, none of the packaging in which
26   the Device was sold to David revealed that there were any Defects, Battery Issues, or that Apple
27   would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and speed
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 1   pursuant to which David’s Device would operate. Accordingly, not only was David’s Device
 2   defective at the point of sale due to its Battery Issues and Design Defects, but Apple exacerbated
 3   the problems with David’s Device via its misrepresentations and omissions with the iOS software
 4   Updates. As a result of Apple’s actions, David did not receive the benefit of his bargain, and was
 5   injured as a result. If David had been told of these Defects, Battery Issues, and the deceptive
 6   manner in which Apple would damage the Device after sale, David would not have purchased the
 7   Device, or would have paid substantially less for it.
 8                                                ARIZONA
 9          39.         Plaintiff Daphne Bowles Rodriguez is a resident and citizen of the State of
10   Arizona and she purchased an iPhone 5 in or around 2012 or 2013, an iPhone 6 in or around 2014
11   or 2015, and an iPhone 7 in 2017. Prior to her purchases of the Devices, she did not know, nor
12   could she have known through reasonable diligence, of the Battery Issues and Defects in her
13   Devices. At time of initial purchases, the Devices operated on the latest version of iOS.
14          40.         Not only did Rodriquez’s Devices not operate as Apple warranted and promised
15   initially, but Apple never represented or warranted that iOS updates would cause the way
16   Rodriquez’s Devices operated to fundamentally change. Rodriquez’s Devices did not operate as
17   promised in Apple’s advertisements, representations, and the information publicly available in the
18   marketplace. Additionally, none of the packaging in which the Devices were sold to Rodriquez
19   revealed that there were any Defects, Battery Issues, or that Apple would use the Updates to
20   “smooth,” “throttle,” or otherwise regulate the battery power and speed pursuant to which
21   Rodriquez’s Devices would operate. Accordingly, not only were Rodriquez’s Devices defective at
22   the point of sale due to Battery Issues and Design Defects, but Apple exacerbated the problems with
23   Rodriquez’s Devices via its misrepresentations and omissions with the iOS software Updates. As a
24   result of Apple’s actions, Rodriquez did not receive the benefit of her bargain, and was injured as a
25   result. If Rodriquez had been told of these Defects, Battery Issues, and the deceptive manner in
26   which Apple would damage the Devices after sale, Rodriquez would not have purchased the
27   Devices, or would have paid substantially less for them.
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 1                                               ARIZONA
 2            41.          Plaintiff Trent Young is a resident and citizen of the State of Arizona and
 3   he purchased an iPhone 6s in September 2015. Prior to his purchase of the Device, he did not know,
 4   nor could he have known through reasonable diligence, of the Battery Issues and Defects in his
 5   Device. Young regularly downloaded and installed iOS updates when prompted.
 6            42.      Not only did Young’s Device not operate as Apple warranted and promised
 7   initially, but Apple never represented or warranted that iOS updates would cause the way Young’s
 8   Device operated to fundamentally change. Young’s Device did not operate as promised in Apple’s
 9   advertisements, representations, and the information publicly available in the marketplace.
10   Additionally, none of the packaging in which the Device was sold to Young revealed that there
11   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
12   otherwise regulate the battery power and speed pursuant to which Young’s Device would operate.
13   Accordingly, not only was way Young’s Device defective at the point of sale due to its Battery
14   Issues and Design Defects, but Apple exacerbated the problems with Young’s Device via its
15   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
16   Young did not receive the benefit of his bargain, and was injured as a result. If Young had been
17   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
18   Device after sale, Young would not have purchased the Device, or would have paid substantially
19   less for it.
20                                              ARKANSAS
21            43.      Plaintiff Cynthia Stacy is a resident and citizen of the State of Arkansas and she
22   purchased an iPhone 6 Plus on or around 2015. Prior to her purchase of the Device, she did not
23   know, nor could she have known through reasonable diligence, of the Battery Issues and Defects in
24   her Device.
25            44.      Not only did Stacy’s Device not operate as Apple warranted and promised
26   initially, but Apple never represented or warranted that iOS updates would cause the way Stacy’s
27   Device operated to fundamentally change. Stacy’s Device did not operate as promised in Apple’s
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 1   advertisements, representations, and the information publicly available in the marketplace.
 2   Additionally, none of the packaging in which the Device was sold to Stacy revealed that there were
 3   any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
 4   otherwise regulate the battery power and speed pursuant to which Stacy’s Device would operate.
 5   Accordingly, not only was Stacy’s Device defective at the point of sale due to its Battery Issues and
 6   Design Defects, but Apple exacerbated the problems with Stacy’s Device via its misrepresentations
 7   and omissions with the iOS software Updates. As a result of Apple’s actions, Stacy did not receive
 8   the benefit of her bargain, and was injured as a result. If Stacy had been told of these Defects,
 9   Battery Issues, and the deceptive manner in which Apple would damage the Device after sale, Stacy
10   would not have purchased the Device, or would have paid substantially less for it.
11                                              CALIFORNIA
12          45.         Plaintiff Amanda Holman is a resident and citizen of the State of California
13   and she purchased an iPhone 5 in January 2015 and an iPhone 6 Plus in October 2016. Prior to her
14   purchase of the Devices, she did not know, nor could she have known through reasonable diligence,
15   of the Battery Issues and Defects in her Devices. At time of initial purchase, her Devices operated
16   on their factory-installed iOS versions. Holman downloaded and installed iOS 9 on her iPhone 5 in
17   or around October 2015 and iOS 10.3.1 on her iPhone 6 Plus in or around May 2017.
18          46.         Not only did Holman’s Devices not operate as Apple warranted and promised
19   initially, but Apple never represented or warranted that iOS 9, 10.3.1, or any of the future updates
20   would cause the way Holman’s Devices operated to fundamentally change. Holman’s Devices,
21   particularly after installation of iOS 9 and 10.3.1, respectively, did not operate as promised in
22   Apple’s advertisements, representations, and the information publicly available in the marketplace.
23   Additionally, none of the packaging in which the Devices were sold to Holman revealed that there
24   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
25   otherwise regulate the battery power and speed pursuant to which Holman’s Devices would operate.
26   Accordingly, not only were Holman’s Devices defective at the point of sale due to its Battery Issues
27   and Design Defects, but Apple exacerbated the problems with Holman’s Devices via its
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 1   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
 2   Holman did not receive the benefit of her bargain and was injured as a result. If Holman had been
 3   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
 4   Devices after sale, Holman would not have purchased the Devices, or would have paid substantially
 5   less for them.
 6                                              CALIFORNIA
 7          47.         Plaintiff John Webb is a resident and citizen of the State of California and he
 8   purchased an iPhone 7 Plus on January 4, 2017. Prior to his purchase of the Device, he did not
 9   know, nor could he have known through reasonable diligence, of the Battery Issues and Defects in
10   his Device. At time of initial purchase, the Device operated on iOS 10. Webb downloaded and
11   installed iOS 11 on his iPhone 7 Plus in or around September 2017.
12          48.         Not only did Webb’s Device not operate as Apple warranted and promised
13   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
14   cause the way Webb’s Device operated to fundamentally change. Webb’s Device, particularly after
15   installation of iOS 11, did not operate as promised in Apple’s advertisements, representations, and
16   the information publicly available in the marketplace. Additionally, none of the packaging in which
17   the Device was sold to Webb revealed that there were any Defects, Battery Issues, or that Apple
18   would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and speed
19   pursuant to which Webb’s Device would operate. Accordingly, not only was Webb’s Device
20   defective at the point of sale due to its Battery Issues and Design Defects, but Apple exacerbated
21   the problems with Webb’s Device via its misrepresentations and omissions with the iOS software
22   Updates. As a result of Apple’s actions, Webb did not receive the benefit of his bargain, and was
23   injured as a result. If Webb had been told of these Defects, Battery Issues, and the deceptive
24   manner in which Apple would damage the Device after sale, Webb would not have purchased the
25   Device, or would have paid substantially less for it.
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 1                                             CALIFORNIA
 2          49.         Plaintiff Laura Gail Diamond is a resident and citizen of the State of California
 3   and she has purchased multiple generations of the iPhone dating back to the iPhone 4 generation,
 4   including an iPhone 6 and 6s Plus in fall 2015, and an iPhone 7 in fall 2016. Prior to her purchases
 5   of the Devices, she did not know, nor could she have known through reasonable diligence, of the
 6   Battery Issues and Defects in her Devices. At time of initial purchase, the Devices operated on their
 7   factory-installed iOS versions.
 8          50.         Not only did Diamond’s Devices not operate as Apple warranted and promised
 9   initially, but Apple never represented or warranted that iOS 11.1 or any future updates would cause
10   the way Diamond’s Devices operated to fundamentally change. Diamond’s Devices, for example
11   after installation of iOS 11.1 on her iPhone 7, did not operate as promised in Apple’s
12   advertisements, representations, and the information publicly available in the marketplace.
13   Additionally, none of the packaging in which the Devices were sold to Diamond revealed that there
14   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
15   otherwise regulate the battery power and speed pursuant to which Diamond’s Devices would
16   operate. Accordingly, not only were Diamond’s Devices defective at the point of sale due to their
17   Battery Issues and Design Defects, but Apple exacerbated the problems with Diamond’s Devices
18   via its misrepresentations and omissions with the iOS software Updates. As a result of Apple’s
19   actions, Diamond did not receive the benefit of her bargain and was injured as a result. If Diamond
20   had been told of these Defects, Battery Issues, and the deceptive manner in which Apple would
21   damage the Devices after sale, Diamond would not have purchased the Devices, or would have paid
22   substantially less for them.
23                                             CALIFORNIA
24          51.         Plaintiff Robert Gilson is a resident and citizen of the State of California and he
25   purchased an iPhone 6 Plus. Prior to his purchases of the Device, he did not know, nor could he
26   have known through reasonable diligence, of the Battery Issues and Defects in his Device. At time
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 1   of initial purchase, the Device operated on iOS 8. In or around January 2017, Gilson downloaded
 2   and installed iOS 10.2.1 on his Device.
 3          52.         Not only did Gilson’s Device not operate as Apple warranted and promised
 4   initially, but Apple never represented or warranted that iOS 10.2.1 or any future updates would
 5   cause the way Gilson’s Device operated to fundamentally change. Gilson’s Device, particularly
 6   after installation of iOS 10.2.1, did not operate as promised in Apple’s advertisements,
 7   representations, and the information publicly available in the marketplace. Additionally, none of
 8   the packaging in which the Device was sold to Gilson revealed that there were any Defects, Battery
 9   Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the
10   battery power and speed pursuant to which Gilson’s Device would operate. Accordingly, not only
11   was Gilson’s Device defective at the point of sale due to its Battery Issues and Design Defects, but
12   Apple exacerbated the problems with Gilson’s Device via its misrepresentations and omissions with
13   the iOS software Updates. As a result of Apple’s actions, Gilson did not receive the benefit of his
14   bargain and was injured as a result. If Gilson had been told of these Defects, Battery Issues, and the
15   deceptive manner in which Apple would damage the Device after sale, Gilson would not have
16   purchased the Device, or would have paid substantially less for it.
17                                             CALIFORNIA
18          53.         Plaintiff Romeo Alba is a resident and citizen of the State of California and he
19   purchased an iPhone 6 Plus in September 2014. Prior to his purchases of the Device, he did not
20   know, nor could he have known through reasonable diligence, of the Battery Issues and Defects in
21   his Device. At time of initial purchase, the iPhone 6 Plus operated on iOS 8. In or around October
22   2017, Alba downloaded and installed iOS 11 on his iPhone 6 Plus.
23          54.         Not only did Alba’s Device not operate as Apple warranted and promised
24   initially, but Apple never represented or warranted that iOS 11 or any future updates would cause
25   the way Alba’s Device operated to fundamentally change. Alba’s Device, particularly after
26   installation of iOS 11, did not operate as promised in Apple’s advertisements, representations, and
27   the information publicly available in the marketplace. Additionally, none of the packaging in which
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 1   the Device was sold to Alba revealed that there were any Defects, Battery Issues, or that Apple
 2   would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and speed
 3   pursuant to which Alba’s Device would operate. Accordingly, not only was Alba’s Device
 4   defective at the point of sale due to its Battery Issues and Design Defects, but Apple exacerbated
 5   the problems with Alba’s Device via its misrepresentations and omissions with the iOS software
 6   Updates. As a result of Apple’s actions, Alba did not receive the benefit of his bargain, and was
 7   injured as a result. If Alba had been told of these Defects, Battery Issues, and the deceptive manner
 8   in which Apple would damage the Device after sale, Alba would not have purchased the Device, or
 9   would have paid substantially less for it.
10                                                CALIFORNIA
11          55.         Plaintiff Sara Hawes is a resident and citizen of the State of California and she
12   leased multiple generations of the iPhone, including an iPhone 5 (in August 2013), two iPhone 6
13   Devices (in September and October 2014), and an iPhone 7 (in September 2016). Prior to her lease
14   of the Devices, she did not know, nor could she have known through reasonable diligence, of the
15   Battery Issues and Defects in her Devices. At time of initial lease, the Devices operated on their
16   factory-installed iOS versions.
17          56.         Not only did Hawes’s Devices not operate as Apple warranted and promised
18   initially, but Apple never represented or warranted that any of the future iOS updates would cause
19   the way Hawes’s Devices operated to fundamentally change. Hawes’s Devices, particularly after
20   installation of subsequent iOS versions, did not operate as promised in Apple’s advertisements,
21   representations, and the information publicly available in the marketplace. Additionally, none of
22   the packaging in which the Devices were sold to Hawes revealed that there were any Defects,
23   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
24   the battery power and speed pursuant to which Hawes’s Devices would operate. Accordingly, not
25   only were Hawes’s Devices defective at the point of lease due to its Battery Issues and Design
26   Defects, but Apple exacerbated the problems with Hawes’s Devices via its misrepresentations and
27   omissions with the iOS software Updates. As a result of Apple’s actions, Hawes did not receive the
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 1   benefit of her bargain and was injured as a result. If Hawes had been told of these Defects, Battery
 2   Issues, and the deceptive manner in which Apple would damage the Devices after sale, Hawes
 3   would not have leased the Devices, or would have paid substantially less for them.
 4                                              CALIFORNIA
 5          57.         Plaintiff Thomas Cook is a resident and citizen of the State of California, and
 6   he purchased an iPhone 6 on October 18, 2014. Prior to his purchase of the Device, he did not
 7   know, nor could he have known through reasonable diligence, of the Battery Issues and Defects in
 8   his Device. At time of initial purchase, the Device operated on iOS 8. Cook downloaded and
 9   installed iOS 10.2.1 on his Device in or around January 2017.
10          58.         Not only did Cook’s Device fail to operate as Apple warranted and promised
11   initially, but Apple never represented or warranted that iOS 10.2.1 or any future updates would
12   cause the way Cook’s Device operated to fundamentally change. Cook’s Device, particularly after
13   installation of iOS 10.2.1, did not operate as promised in Apple’s advertisements, representations,
14   and the information publicly available in the marketplace. Additionally, none of the packaging in
15   which the Device was sold to Cook revealed that there were any Defects, Battery Issues, or that
16   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
17   speed pursuant to which Cook’s Device would operate. Accordingly, not only was Cook’s Device
18   defective at the point of sale due to its Battery Issues and Design Defects, but Apple exacerbated
19   the problems with Cook’s Device via its misrepresentations and omissions with the iOS software
20   Updates. As a result of Apple’s actions, Cook did not receive the benefit of his bargain, and was
21   injured as a result. If Cook had been told of these Defects, Battery Issues, and the deceptive
22   manner in which Apple would damage the Device after sale, Cook would not have purchased the
23   Device, or would have paid substantially less for it.
24                                              CALIFORNIA
25          59.         Plaintiff Ida Villegas is a resident and citizen of the State of California and she
26   purchased an iPhone 5 around the time of its release. Prior to her purchase of the Device, she did
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 1   not know, nor could she have known through reasonable diligence, of the Battery Issues and
 2   Defects in her Device.
 3            60.       Not only did Villegas’s Device not operate as Apple warranted and promised
 4   initially, but Apple never represented or warranted that iOS updates would cause the way Villegas’s
 5   Device operated to fundamentally change. Villegas’s Device did not operate as promised in
 6   Apple’s advertisements, representations, and the information publicly available in the marketplace.
 7   Additionally, none of the packaging in which the Device was sold to Villegas revealed that there
 8   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
 9   otherwise regulate the battery power and speed pursuant to which Villegas’s Device would operate.
10   Accordingly, not only was way Villegas’s Device defective at the point of sale due to its Battery
11   Issues and Design Defects, but Apple exacerbated the problems with Villegas’s Device via its
12   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
13   Villegas did not receive the benefit of her bargain, and was injured as a result. If Villegas had been
14   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
15   Device after sale, Villegas would not have purchased the Device, or would have paid substantially
16   less for it.
17                                              CALIFORNIA
18            61.       Plaintiff Heidi Valle is a resident and citizen of the State of California and she
19   purchased an iPhone 5s, 6 Plus, and 7 roughly as the devices became available for sale. Prior to her
20   purchases of the Devices, she did not know, nor could she have known through reasonable
21   diligence, of the Battery Issues and Defects in her Device. Valle regularly updated iOS as
22   prompted.
23            62.       Not only did Valle’s Devices not operate as Apple warranted and promised
24   initially, but Apple never represented or warranted that iOS updates would cause the way Valle’s
25   Devices operated to fundamentally change. Vales’s Devices did not operate as promised in Apple’s
26   advertisements, representations, and the information publicly available in the marketplace.
27   Additionally, none of the packaging in which the Devices were sold to Valle revealed that there
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 1   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
 2   otherwise regulate the battery power and speed pursuant to which Valle’s Devices would operate.
 3   Accordingly, not only were Valles’s Devices defective at the point of sale due to its Battery Issues
 4   and Design Defects, but Apple exacerbated the problems with Valle’s Devices via its
 5   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
 6   Valle did not receive the benefit of her bargain, and was injured as a result. If Valle had been told
 7   of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
 8   Devices after sale, Valle would not have purchased the Devices, or would have paid substantially
 9   less for it.
10                                              CALIFORNIA
11            63.       Plaintiff Samara Diner is a resident and citizen of the State of California and
12   she purchased an iPhone 6 in late 2016. Prior to her purchase of the Device, she did not know, nor
13   could she have known through reasonable diligence, of the Battery Issues and Defects in her
14   Device. At time of initial purchase, the Device operated on the latest version of iOS. Diner
15   downloaded and installed the latest versions of iOS on her Device within a couple days of receiving
16   any update notifications.
17            64.       Not only did Diner’s Device not operate as Apple warranted and promised
18   initially, but Apple never represented or warranted that any version of iOS or any of the future
19   updates would cause the way Diner’s Device operated to fundamentally change. Diner’s Device,
20   after continued installations, did not operate as promised in Apple’s advertisements,
21   representations, and the information publicly available in the marketplace. Additionally, none of
22   the packaging in which the Device was sold to Diner revealed that there were any Defects, Battery
23   Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the
24   battery power and speed pursuant to which Diner’s Device would operate. Accordingly, not only
25   was Diner’s Device defective at the point of sale due to its Battery Issues and Design Defects, but
26   Apple exacerbated the problems with Diner’s Device via its misrepresentations and omissions with
27   the iOS software Updates. As a result of Apple’s actions, Diner did not receive the benefit of her
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 1   bargain, and was injured as a result. If Diner had been told of these Defects, Battery Issues, and the
 2   deceptive manner in which Apple would damage the Device after sale, Diner would not have
 3   purchased the Device, or would have paid substantially less for it.
 4                                              COLORADO
 5           65.        Plaintiff Gary Merenstein is a resident and citizen of the State of Colorado and
 6   he purchased an iPhone 5c in the Fall of 2013 and an iPhone SE in 2016. Prior to his purchases of
 7   the Devices, he did not know, nor could he have known through reasonable diligence, of the Battery
 8   Issues and Defects in his Devices. At time of initial purchase, the iPhone 5c operated on iOS 7 and
 9   the iPhone SE operated on iOS 9.
10           66.        Not only did Merenstein’s Devices not operate as Apple warranted and promised
11   initially, but Apple never represented or warranted that any future iOS updates would cause the way
12   Merenstein’s Devices operated to fundamentally degrade. Merenstein’s Devices, particularly after
13   installation of the Updates in his iPhone SE, did not operate as promised in Apple’s advertisements,
14   representations, and the information publicly available in the marketplace. Additionally, none of
15   the packaging in which the Devices were sold to Merenstein revealed that there were any Defects,
16   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
17   the battery power and speed pursuant to which Merenstein’s Devices would operate. Not only were
18   Merenstein’s Devices defective at the point of sale due to their Battery Issues and Defects, but
19   Apple exacerbated the problems with Merenstein’s Devices via its misrepresentations and
20   omissions with the iOS software Updates. As a result of Apple’s actions, Merenstein did not
21   receive the benefit of his bargain, and was injured as a result. If Merenstein had been told of these
22   Defects, Battery Issues, and the deceptive manner in which Apple would damage the Devices after
23   sale, Merenstein would not have purchased the Devices, or would have paid substantially less for
24   them.
25                                              COLORADO
26           67.        Plaintiff Steven Connolly is a resident and citizen of the State of Idaho and he
27   purchased two iPhone 6 Devices on February 14, 2015 in Colorado while a Colorado resident.
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 1   Prior to his purchase of the Devices, he did not know, nor could he have known through reasonable
 2   diligence, of the Battery Issues and Defects in his Devices. At time of initial purchase, the iPhone 6
 3   Devices operated on iOS 8.
 4           68.        Not only did Connolly’s Devices not operate as Apple warranted and promised
 5   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
 6   cause the way Connolly’s Devices operated to fundamentally change. Connolly’s Devices,
 7   particularly after installation of iOS 11, did not operate as promised in Apple’s advertisements,
 8   representations, and the information publicly available in the marketplace. Additionally, none of
 9   the packaging in which the Devices were sold to Connolly revealed that there were any Defects,
10   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
11   the battery power and speed pursuant to which Connolly’s Devices would operate. Accordingly,
12   not only were Connolly’s Devices defective at the point of sale due to its Battery Issues and Design
13   Defects, but Apple exacerbated the problems with Connolly’s Devices via its misrepresentations
14   and omissions with the iOS software Updates. As a result of Apple’s actions, Connolly did not
15   receive the benefit of his bargain and was injured as a result. If Connolly had been told of these
16   Defects, Battery Issues, and the deceptive manner in which Apple would damage the Devices after
17   sale, Connolly would not have purchased the Devices, or would have paid substantially less for
18   them.
19                                              COLORADO
20           69.        Plaintiff Bryan Schell is a resident of France and citizen of the State of
21   Wyoming and he purchased an iPhone 5s on May 15, 2014 in Colorado. Prior to his purchase of
22   the Device, he did not know, nor could he have known through reasonable diligence, of the Battery
23   Issues and Defects in his Device. At time of initial purchase, the Device operated on iOS 7.
24           70.        Not only did Schell’s Device not operate as Apple warranted and promised
25   initially, but Apple never represented or warranted that iOS 9 or any of the future updates would
26   cause the way Schell’s Device operated to fundamentally change. Schell’s Device, particularly
27   after installation of iOS 9, did not operate as promised in Apple’s advertisements, representations,
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 1   and the information publicly available in the marketplace. Additionally, none of the packaging in
 2   which the Device was sold to Schell revealed that there were any Defects, Battery Issues, or that
 3   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
 4   speed pursuant to which Schell’s Device would operate. Accordingly, not only was Schell’s Device
 5   defective at the point of sale due to its Battery Issues and Design Defects, but Apple exacerbated
 6   the problems with Schell’s Device via its misrepresentations and omissions with the iOS software
 7   Updates. As a result of Apple’s actions, Schell did not receive the benefit of his bargain, and was
 8   injured as a result. If Schell had been told of these Defects, Battery Issues, and the deceptive
 9   manner in which Apple would damage the Device after sale, Schell would not have purchased the
10   Device, or would have paid substantially less for it.
11                                             CONNECTICUT
12          71.         Plaintiff Sandra Merola is a resident and citizen of the State of Connecticut and
13   she purchased an iPhone 6 Plus in 2015 and purchased an iPhone 7 Plus in December 2017. Prior
14   to her purchases of the Devices, she did not know, nor could she have known through reasonable
15   diligence, of the Battery Issues and Defects in her Devices.
16          72.         Not only did Merola’s Devices not operate as Apple warranted and promised
17   initially, but Apple never represented or warranted that iOS updates would cause the way Merola’s
18   Devices operated to fundamentally change. Merola’s Devices did not operate as promised in
19   Apple’s advertisements, representations, and the information publicly available in the marketplace.
20   Additionally, none of the packaging in which the Devices were sold to Merola revealed that there
21   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
22   otherwise regulate the battery power and speed pursuant to which Merola’s Devices would operate.
23   Accordingly, not only were Merola’s Devices defective at the point of sale due to its Battery Issues
24   and Design Defects, but Apple exacerbated the problems with Merola’s Devices via its
25   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
26   Merola did not receive the benefit of her bargain, and was injured as a result. If Merola had been
27   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
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 1   Device after sale, Merola would not have purchased the Devices, or would have paid substantially
 2   less for them.
 3                                            CONNECTICUT
 4          73.         Plaintiff Ashley Ann Antonucci is a resident and citizen of the State of
 5   Connecticut and she purchased an iPhone 6 shortly after it was released. Prior to her purchase of
 6   the Device, she did not know, nor could she have known through reasonable diligence, of the
 7   Battery Issues and Defects in her Device.
 8          74.         Not only did Antonucci’s Device not operate as Apple warranted and promised
 9   initially, but Apple never represented or warranted that iOS updates would cause the way
10   Antonucci’s Device operated to fundamentally change. Antonucci’s Device did not operate as
11   promised in Apple’s advertisements, representations, and the information publicly available in the
12   marketplace. Additionally, none of the packaging in which the Device was sold to Antonucci
13   revealed that there were any Defects, Battery Issues, or that Apple would use the Updates to
14   “smooth,” “throttle,” or otherwise regulate the battery power and speed pursuant to which
15   Antonucci’s Device would operate. Accordingly, not only was way Antonucci’s Device defective
16   at the point of sale due to its Battery Issues and Design Defects, but Apple exacerbated the
17   problems with Antonucci’s Device via its misrepresentations and omissions with the iOS software
18   Updates. As a result of Apple’s actions, Antonucci did not receive the benefit of her bargain, and
19   was injured as a result. If Antonucci had been told of these Defects, Battery Issues, and the
20   deceptive manner in which Apple would damage the Device after sale, Antonucci would not have
21   purchased the Device, or would have paid substantially less for it.
22                                               DELAWARE
23          75.         Plaintiff Aisha Boyd is a resident and citizen of the State of Delaware and she
24   purchased an iPhone 6 on December 12, 2015. Prior to her purchase of the Device, she did not
25   know, nor could she have known through reasonable diligence, of the Battery Issues and Defects in
26   her Device. At time of initial purchase, the Device operated on iOS 8. Boyd downloaded and
27   installed iOS 11 on her Device in or around October 2017.
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 1           76.        Not only did Boyd’s Devices not operate as Apple warranted and promised
 2   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
 3   cause the way Boyd’s Devices operated to fundamentally change. Boyd’s Devices, particularly
 4   after installation of iOS 11 and 11.3, respectively, did not operate as promised in Apple’s
 5   advertisements, representations, and the information publicly available in the marketplace.
 6   Additionally, none of the packaging in which the Devices were sold to Boyd revealed that there
 7   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
 8   otherwise regulate the battery power and speed pursuant to which Boyd’s Devices would operate.
 9   Accordingly, not only were Boyd’s Devices defective at the point of sale due to their Battery Issues
10   and Design Defects, but Apple exacerbated the problems with Boyd’s Devices via its
11   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
12   Boyd did not receive the benefit of her bargain and was injured as a result. If Boyd had been told of
13   these Defects, Battery Issues, and the deceptive manner in which Apple would damage the Devices
14   after sale, Boyd would not have purchased the Devices, or would have paid substantially less for
15   them.
16                                              DELAWARE
17           77.        Plaintiff Irwin Darack is a resident and citizen of the State of Pennsylvania and
18   he purchased an iPhone 6 on April 22, 2015 in Delaware. Prior to his purchase of the Device, he
19   did not know, nor could he have known through reasonable diligence, of the Battery Issues and
20   Defects in his Device. At time of initial purchase, the Device operated on iOS 8. Darack
21   downloaded and installed iOS 11 on his Device in the fall of 2017.
22           78.        Not only did Darack’s Device not operate as Apple warranted and promised
23   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
24   cause the way Darack’s Device operated to fundamentally change. Darack’s Device, particularly
25   after installation of iOS 11, did not operate as promised in Apple’s advertisements, representations,
26   and the information publicly available in the marketplace. Additionally, none of the packaging in
27   which the Device was sold to Darack revealed that there were any Defects, Battery Issues, or that
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 1   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
 2   speed pursuant to which Darack’s Device would operate. Accordingly, not only was Darack’s
 3   Device defective at the point of sale due to its Battery Issues and Design Defects, but Apple
 4   exacerbated the problems with Darack’s Device via its misrepresentations and omissions with the
 5   iOS software Updates. As a result of Apple’s actions, Darack did not receive the benefit of his
 6   bargain, and was injured as a result. If Darack had been told of these Defects, Battery Issues, and
 7   the deceptive manner in which Apple would damage the Device after sale, Darack would not have
 8   purchased the Device, or would have paid substantially less for it.
 9                                      DISTRICT OF COLUMBIA
10            79.       Plaintiff Brandi S. White is a resident and citizen of the District of Columbia
11   and she purchased an iPhone 6s in July 2016. Prior to her purchase of the Device, she did not
12   know, nor could she have known through reasonable diligence, of the Battery Issues and Defects in
13   her Device.
14            80.       Not only did White’s Device not operate as Apple warranted and promised
15   initially, but Apple never represented or warranted that iOS updates would cause the way White’s
16   Device operated to fundamentally change. White’s Device did not operate as promised in Apple’s
17   advertisements, representations, and the information publicly available in the marketplace.
18   Additionally, none of the packaging in which the Device was sold to White revealed that there were
19   any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
20   otherwise regulate the battery power and speed pursuant to which White’s Device would operate.
21   Accordingly, not only was White’s Device defective at the point of sale due to its Battery Issues
22   and Design Defects, but Apple exacerbated the problems with White’s Device via its
23   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
24   White did not receive the benefit of her bargain, and was injured as a result. If White had been told
25   of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
26   Device after sale, White would not have purchased the Device, or would have paid substantially
27   less for it.
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 1                                        DISTRICT OF COLUMBIA
 2          81.         Plaintiff Lauren Weintraub is a resident and citizen of the District of Columbia
 3   and she leased an iPhone 6 on September 21, 2014 and an iPhone 7 in October 2016. Prior to her
 4   lease of the Devices, she did not know, nor could she have known through reasonable diligence of
 5   the Battery Issues and Defects in her Devices. At time of initial lease, the iPhone 6 operated on iOS
 6   8 and the iPhone 7 operated on iOS 10.    Weintraub downloaded and installed iOS 9 on her iPhone
 7   6 in or around September 2016 and iOS 11 on her iPhone 7 on October 19, 2017.
 8          82.         Not only did Weintraub’s Devices not operate as Apple warranted and promised
 9   initially, but Apple never represented or warranted that iOS 9, 11, or any of the future updates
10   would cause the way Weintraub’s Devices operated to fundamentally change. Weintraub’s
11   Devices, particularly after installation of iOS 9 and 11, respectively, did not operate as promised in
12   Apple’s advertisements, representations, and the information publicly available in the marketplace.
13   Additionally, none of the packaging in which the Devices were sold to Weintraub revealed that
14   there were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,”
15   or otherwise regulate the battery power and speed pursuant to which Weintraub’s Devices would
16   operate. Accordingly, not only were Weintraub’s Devices defective at the point of lease due to
17   their Battery Issues and Design Defects, but Apple exacerbated the problems with Weintraub’s
18   Device via its misrepresentations and omissions with the iOS software Updates. As a result of
19   Apple’s actions, Weintraub did not receive the benefit of her bargain, and was injured as a result. If
20   Weintraub had been told of these Defects, Battery Issues, and the deceptive manner in which Apple
21   would damage the Devices after sale, Weintraub would not have leased the Devices, or would have
22   paid substantially less for them.
23                                                FLORIDA
24          83.         Plaintiff Sandra Brodsky is a resident and citizen of the State of Florida and
25   she, her husband, and her two children have leased iPhones dating back to the first generation,
26   including the iPhone 6 Plus, iPhone 6s Plus, iPhone 7, and iPhone 7 Plus, as well as purchasing the
27   iPad Air 2. Prior to her purchase of the Devices, she did not know, nor could she have known
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 1   through reasonable diligence of the Battery Issues and Defects in her Devices. At time of initial
 2   lease and purchase, the Devices operated on their factory-installed iOS versions.
 3          84.         Not only did Brodsky’s Devices not operate as Apple warranted and promised
 4   initially, but Apple never represented or warranted that the future iOS updates would cause the way
 5   Brodsky’s Devices operated to fundamentally change. Brodsky’s Devices, particularly after
 6   installation of subsequent iOS updates, did not operate as promised in Apple’s advertisements,
 7   representations, and the information publicly available in the marketplace. Additionally, none of
 8   the packaging in which the Devices were sold to Brodsky revealed that there were any Defects,
 9   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
10   the battery power and speed pursuant to which Brodsky’s Devices would operate. Accordingly, not
11   only were Brodsky’s Devices defective at the point of sale or lease due to their Battery Issues and
12   Design Defects, but Apple exacerbated the problems with Brodsky’s Devices via its
13   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
14   Brodsky and her family did not receive the benefit of their bargain, and were injured as a result. If
15   Brodsky and her family had been told of these Defects, Battery Issues, and the deceptive manner in
16   which Apple would damage the Devices after sale, they would not have purchased or leased the
17   Devices, or would have paid substantially less for them.
18                                                FLORIDA
19          85.         Plaintiff Stephen Margolis is a resident and citizen of the State of Florida and
20   he leased multiple generations of the iPhone, including an iPhone 6 on December 30, 2014 and an
21   iPhone 7 on October 14, 2016, and also purchased multiple generations of the iPad, including a
22   sixth generation iPad. Prior to his lease and purchase of the Devices, he did not know, nor could he
23   have known through reasonable diligence, of the Battery Issues and Defects in his Devices. At time
24   of initial lease and purchase, the Devices operated on their factory-installed iOS versions.
25          86.         Not only did Margolis’s Devices not operate as Apple warranted and promised
26   initially, but Apple never represented or warranted that any of the future iOS updates would cause
27   the way Margolis’s Devices operated to fundamentally change. Margolis’s Devices, particularly
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 1   after installation of subsequent iOS updates, like iOS 11 on his iPhone 7, did not operate as
 2   promised in Apple’s advertisements, representations, and the information publicly available in the
 3   marketplace. Additionally, none of the packaging in which the Devices were sold to Margolis
 4   revealed that there were any Defects, Battery Issues, or that Apple would use the Updates to
 5   “smooth,” “throttle,” or otherwise regulate the battery power and speed pursuant to which
 6   Margolis’s Devices would operate. Accordingly, not only were Margolis’s Devices defective at the
 7   point of sale or lease due to their Battery Issues and Design Defects, but Apple exacerbated the
 8   problems with Margolis’s Devices via its misrepresentations and omissions with the iOS software
 9   Updates. As a result of Apple’s actions, Margolis did not receive the benefit of his bargain, and
10   was injured as a result. If Margolis had been told of these Defects, Battery Issues, and the
11   deceptive manner in which Apple would damage the Devices after sale, Margolis would not have
12   purchased or leased the Devices, or would have paid substantially less for them.
13                                                FLORIDA
14          87.         Plaintiff Jessica Greenshner is a resident and citizen of the State of Indiana and
15   she purchased an iPhone 6 in November 2015 in Florida and an iPhone 7 in the fall of 2016 in
16   Floridaa. Prior to her purchase of the Devices, she did not know, nor could she have known
17   through reasonable diligence, of the Battery Issues and Defects in her Devices. At time of initial
18   purchase, the iPhone 6 operated on iOS 8 and the iPhone 7 operated on iOS 10.
19          88.         Not only did Greenshner’s Devices not operate as Apple warranted and promised
20   initially, but Apple never represented or warranted that future iOS updates would cause the way
21   Greenshner’s Device operated to fundamentally change. Greenshner’s Devices, particularly after
22   installation of subsequent iOS updates, did not operate as promised in Apple’s advertisements,
23   representations, and the information publicly available in the marketplace. Additionally, none of
24   the packaging in which the Devices were sold to Greenshner revealed that there were any Defects,
25   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
26   the battery power and speed pursuant to which Greenshner’s Devices would operate. Accordingly,
27   not only were Greenshner’s Devices defective at the point of sale due to their Battery Issues and
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 1   Design Defects, but Apple exacerbated the problems with Greenshner’s Devices via its
 2   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
 3   Greenshner did not receive the benefit of her bargain, and was injured as a result. If Greenshner
 4   had been told of these Defects, Battery Issues, and the deceptive manner in which Apple would
 5   damage the Devices after sale, Greenshner would not have purchased the Devices, or would have
 6   paid substantially less for them.
 7                                                GEORGIA
 8          89.         Plaintiff Jason Ratner is a resident and citizen of the State of Georgia, and he
 9   purchased four iPhone 5c Devices in June 2015 and two iPhone 6s Devices in May 2017 for him
10   and his family. Prior to his purchase of the Devices, he did not know, nor could he have known
11   through reasonable diligence, of the Battery Issues and Defects in his Devices. At time of initial
12   purchase, the Devices operated on their factory-installed iOS versions. Ratner and his family
13   downloaded and installed iOS 10 on their iPhone 5c Devices in the summer of 2016 and iOS 11.4
14   on his iPhone 6s in May 2018.
15          90.         Not only did Ratner’s Devices fail to operate as Apple warranted and promised
16   initially, but Apple never represented or warranted that iOS 10, 11.4, or any of the future updates
17   would cause the way Ratner’s Devices operated to fundamentally change. Ratner’s Devices,
18   particularly after installation of 10 and 11.4, respectively, did not operate as promised in Apple’s
19   advertisements, representations, and the information publicly available in the marketplace.
20   Additionally, none of the packaging in which the Devices were sold to Ratner revealed that there
21   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
22   otherwise regulate the battery power and speed pursuant to which Ratner’s Devices would operate.
23   Accordingly, not only were Ratner’s Devices defective at the point of sale due to its Battery Issues
24   and Design Defects, but Apple exacerbated the problems with Ratner’s Devices via its
25   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
26   Ratner did not receive the benefit of his bargain and was injured as a result. If Ratner had been told
27   of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
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 1   Devices after sale, Ratner would not have purchased the Devices, or would have paid substantially
 2   less for them.
 3                                                GEORGIA
 4          91.         Plaintiff Tamica Gordon is a resident and citizen of the state of Georgia and
 5   she purchased an iPhone 6s on or around December 22, 2015. Prior to her purchase of the device,
 6   she did not know, nor could she have known through reasonable diligence, of the battery issues and
 7   defects in her device. At time of initial purchase or lease, the device operated on the current version
 8   of iOS available at the time. Tamica downloaded and installed version 11.3 of iOS on her device
 9   at some point after the purchase of her device.
10          92.         Not only did Gordon’s device not operate as apple warranted and promised
11   initially, but apple never represented or warranted that iOS 11.3 or any of the future updates would
12   cause the way Gordon’s device operated to fundamentally change. Gordon’s device, particularly
13   after installation of iOS 11.3, did not operate as promised in apple’s advertisements,
14   representations, and the information publicly available in the marketplace. Additionally, none of
15   the packaging in which the device was sold to Gordon revealed that there were any defects, battery
16   issues, or that apple would use the updates to “smooth,” “throttle,” or otherwise regulate the battery
17   power and speed pursuant to which Gordon’s device would operate. Accordingly, not only was
18   Gordon’s device defective at the point of sale due to its battery issues and design defects, but apple
19   exacerbated the problems with Gordon’s device via its misrepresentations and omissions with the
20   ios software updates. As a result of apple’s actions, Gordon did not receive the benefit of her
21   bargain, and was injured as a result. If Gordon had been told of these defects, battery issues, and
22   the deceptive manner in which apple would damage the device after sale, Gordon would not have
23   purchased the device, or would have paid substantially less for it.
24                                                 HAWAII
25          93.         Plaintiff Amy Brown is a resident and citizen of the State of Hawaii and she
26   purchased an iPhone 6 on March 7, 2015. Prior to her purchase of the Device, she did not know,
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 1   nor could she have known through reasonable diligence, of the Battery Issues and Defects in her
 2   Device. At time of initial purchase, her Device operated on iOS 8.
 3          94.         Not only did Brown’s Device not operate as Apple warranted and promised
 4   initially, but Apple never represented or warranted that iOS 10 or any of the future updates would
 5   cause the way Brown’s Device operated to fundamentally change. Brown’s Device, particularly
 6   after installation of iOS 10, did not operate as promised in Apple’s advertisements, representations,
 7   and the information publicly available in the marketplace. Additionally, none of the packaging in
 8   which the Device was sold to Brown revealed that there were any Defects, Battery Issues, or that
 9   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
10   speed pursuant to which Brown’s Device would operate. Accordingly, not only was Brown’s
11   Device defective at the point of sale due to its Battery Issues and Design Defects, but Apple
12   exacerbated the problems with Brown’s Device via its misrepresentations and omissions with the
13   iOS software Updates. As a result of Apple’s actions, Brown did not receive the benefit of her
14   bargain, and was injured as a result. If Brown had been told of these Defects, Battery Issues, and
15   the deceptive manner in which Apple would damage the Device after sale, Brown would not have
16   purchased the Device, or would have paid substantially less for it.
17                                                HAWAII
18          95.         Plaintiff Ruth Beauchan is a resident and citizen of the State of Hawaii and she
19   purchased an iPhone 6 in California in late 2013 or early 2014. Prior to her purchase of the Device,
20   she did not know, nor could she have known through reasonable diligence, of the Battery Issues and
21   Defects in her Device.
22          96.         Not only did Beauchan’s Device not operate as Apple warranted and promised
23   initially, but Apple never represented or warranted that iOS updates would cause the way
24   Beauchan’s Device operated to fundamentally change. Beauchan’s Device, particularly after
25   installation of iOS updates in late 2016/early 2017, did not operate as promised in Apple’s
26   advertisements, representations, and the information publicly available in the marketplace.
27   Additionally, none of the packaging in which the Device was sold to Beauchan revealed that there
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 1   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
 2   otherwise regulate the battery power and speed pursuant to which Beauchan’s Device would
 3   operate. Accordingly, not only was way Beauchan’s Device defective at the point of sale due to its
 4   Battery Issues and Design Defects, but Apple exacerbated the problems with Beauchan’s Device
 5   via its misrepresentations and omissions with the iOS software Updates. As a result of Apple’s
 6   actions, Beauchan did not receive the benefit of her bargain, and was injured as a result. If
 7   Beauchan had been told of these Defects, Battery Issues, and the deceptive manner in which Apple
 8   would damage the Device after sale, Beauchan would not have purchased the Device, or would
 9   have paid substantially less for it. Ultimately, the function of Beauchan’s Device degraded too
10   much for her to continue using and she replaced it with an iPhone 7 on April 18, 2017 in Hawaii.
11                                          HAWAII / OREGON
12          97.         Plaintiff Eric Tanovan is a resident and citizen of California and he leased an
13   iPhone 6 in November 2014 in Hawaii and an iPhone 7 Plus in June 2017 in Oregon, both while
14   residing in Hawaii. Prior to his purchases of the Devices, he did not know, nor could he have
15   known through reasonable diligence, of the Battery Issues and Defects in his Devices. At time of
16   initial purchase, the iPhone 6 operated on iOS 8 and the iPhone 7 Plus operated on iOS 10.
17          98.         Not only did Tanovan’s Devices not operate as Apple warranted and promised
18   initially, but Apple never represented or warranted that any of the future iOS updates would cause
19   the way Tanovan’s Devices operated to fundamentally change. Tanovan’s Devices, particularly
20   after installation of updates like iOS 10 on his iPhone 6 and iOS 11 on his iPhone 7 Plus, did not
21   operate as promised in Apple’s advertisements, representations, and the information publicly
22   available in the marketplace. Additionally, none of the packaging in which the Devices were sold
23   to Tanovan revealed that there were any Defects, Battery Issues, or that Apple would use the
24   Updates to “smooth,” “throttle,” or otherwise regulate the battery power and speed pursuant to
25   which Tanovan’s Devices would operate. Accordingly, not only were Tanovan’s Devices
26   defective at the point of sale due to their Battery Issues and Design Defects, but Apple exacerbated
27   the problems with Tanovan’s Devices via its misrepresentations and omissions with the iOS
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 1   software Updates. As a result of Apple’s actions, Tanovan did not receive the benefit of his
 2   bargain, and was injured as a result. If Tanovan had been told of these Defects, Battery Issues, and
 3   the deceptive manner in which Apple would damage the Devices after sale, Tanovan would not
 4   have purchased the Devices, or would have paid substantially less for them.
 5                                                  IDAHO
 6          99.         Plaintiff Linda Sauer is a resident and citizen of the State of Idaho and she
 7   purchased an iPhone 5s in or around 2015. Prior to her purchase of the Device, she did not know,
 8   nor could she have known through reasonable diligence, of the Battery Issues and Defects in her
 9   Device. At time of initial purchase, the Device operated on iOS 7. Sauer downloaded and installed
10   iOS 8 on her Device after purchase.
11          100.        Not only did Sauer’s Device not operate as Apple warranted and promised
12   initially, but Apple never represented or warranted that any of the future iOS updates would cause
13   the way Sauer’s Device operated to fundamentally change. Sauer’s Device, after installation of
14   subsequent iOS versions, did not operate as promised in Apple’s advertisements, representations,
15   and the information publicly available in the marketplace. Additionally, none of the packaging in
16   which the Device was sold to Sauer revealed that there were any Defects, Battery Issues, or that
17   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
18   speed pursuant to which Sauer’s Device would operate. Accordingly, not only was Sauer’s Device
19   defective at the point of sale due to its Battery Issues and Design Defects, but Apple exacerbated
20   the problems with Sauer’s Device via its misrepresentations and omissions with the iOS software
21   Updates. As a result of Apple’s actions, Sauer did not receive the benefit of her bargain and was
22   injured as a result. If Sauer had been told of these Defects, Battery Issues, and the deceptive
23   manner in which Apple would damage the Device after sale, Sauer would not have purchased the
24   Device, or would have paid substantially less for it.
25                                                ILLINOIS
26          101.        Plaintiff Rifah Alexander is a resident and citizen of the State of Illinois and
27   she purchased an iPhone 6 Plus on April 19, 2015. Prior to her purchase of the Device, she did not
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 1   know, nor could she have known through reasonable diligence, of the Battery Issues and Defects in
 2   her Device.
 3          102.        Not only did Alexander’s Device not operate as Apple warranted and promised
 4   initially, but Apple never represented or warranted that iOS updates would cause the way
 5   Alexander’s Device operated to fundamentally change. Alexander’s Device did not operate as
 6   promised in Apple’s advertisements, representations, and the information publicly available in the
 7   marketplace. Additionally, none of the packaging in which the Device was sold to Alexander
 8   revealed that there were any Defects, Battery Issues, or that Apple would use the Updates to
 9   “smooth,” “throttle,” or otherwise regulate the battery power and speed pursuant to which
10   Alexander’s Device would operate. Accordingly, not only was Alexander’s Device defective at the
11   point of sale due to its Battery Issues and Design Defects, but Apple exacerbated the problems with
12   Alexander’s Device via its misrepresentations and omissions with the iOS software Updates. As a
13   result of Apple’s actions, Alexander did not receive the benefit of her bargain, and was injured as a
14   result. If Alexander had been told of these Defects, Battery Issues, and the deceptive manner in
15   which Apple would damage the Device after sale, Alexander would not have purchased the Device,
16   or would have paid substantially less for it.
17                                                   ILLINOIS
18          103.        Plaintiff Andrew Yashchuk is a resident and citizen of the State of Texas and
19   he purchased two iPhone 6 Pluses in or around September 2014 in Illinois. Prior to his purchase of
20   the Devices, he did not know, nor could he have known through reasonable diligence, of the Battery
21   Issues and Defects in his Devices.
22          104.        Not only did Yashchuk’s Devices not operate as Apple warranted and promised
23   initially, but Apple never represented or warranted that any iOS update would cause the way
24   Yashchuk’s Devices operated to fundamentally change, let alone render any of his Devices
25   inoperable. Yashchuk’s Devices did not operate as promised in Apple’s advertisements,
26   representations, and the information publicly available in the marketplace. Additionally, none of
27   the packaging in which the Devices were sold to Yashchuk revealed that there were any Defects,
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 1   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
 2   the battery power and speed pursuant to which Yashchuk’s Devices would operate. Accordingly,
 3   not only were Yashchuk’s Devices defective at the point of sale due to its Battery Issues and Design
 4   Defects, but Apple exacerbated the problems with Yashchuk’s Device via its misrepresentations
 5   and omissions with the iOS software Updates. As a result of Apple’s actions, Yashchuk did not
 6   receive the benefit of his bargain, and was injured as a result. If Yashchuk had been told of these
 7   Defects, Battery Issues, and the deceptive manner in which Apple would damage the Devices after
 8   sale, Yashchuk would not have purchased the Devices, or would have paid substantially less for
 9   them.
10                                                INDIANA
11           105.       Plaintiff Alisha Boykin is a resident and citizen of the State of Tennessee and
12   she purchased an iPhone 6s on October 14, 2015 in Indiana while residing in Indiana. Prior to her
13   purchase of the Device, she did not know, nor could she have known through reasonable diligence,
14   of the Battery Issues and Defects in her Device. At time of initial purchase, the Device operated on
15   iOS 9. Boykin downloaded and installed iOS 11 on her Device in the fall of 2017.
16           106.       Not only did Boykin’s Device not operate as Apple warranted and promised
17   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
18   cause the way Boykin’s Device operated to fundamentally change. Boykin’s Device, particularly
19   after installation of iOS 11, did not operate as promised in Apple’s advertisements, representations,
20   and the information publicly available in the marketplace. Additionally, none of the packaging in
21   which the Device was sold to Boykin revealed that there were any Defects, Battery Issues, or that
22   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
23   speed pursuant to which Boykin’s Device would operate. Accordingly, not only was Boykin’s
24   Device defective at the point of sale due to its Battery Issues and Design Defects, but Apple
25   exacerbated the problems with Boykin’s Device via its misrepresentations and omissions with the
26   iOS software Updates. As a result of Apple’s actions, Boykin did not receive the benefit of her
27   bargain and was injured as a result. If Boykin had been told of these Defects, Battery Issues, and
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 1   the deceptive manner in which Apple would damage the Device after sale, Boykin would not have
 2   purchased the Device, or would have paid substantially less for it.
 3                                                  IOWA
 4          107.        Plaintiff Tammy Greenfield is a resident and citizen of the State of Iowa and
 5   she purchased five iPhone 6s Devices on September 12, 2015 for her and her family. Prior to her
 6   purchase of the Devices, she did not know, nor could she have known through reasonable diligence,
 7   of the Battery Issues and Defects in her Devices. At time of initial purchase, the Devices operated
 8   on iOS 9.
 9          108.        Not only did Greenfield’s Devices not operate as Apple warranted and promised
10   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
11   cause the way Greenfield’s Devices operated to fundamentally change. Greenfield’s Devices,
12   particularly after installation of iOS 11, did not operate as promised in Apple’s advertisements,
13   representations, and the information publicly available in the marketplace. Additionally, none of
14   the packaging in which the Devices were sold to Greenfield revealed that there were any Defects,
15   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
16   the battery power and speed pursuant to which Greenfield’s Devices would operate. Accordingly,
17   not only were Greenfield’s Devices defective at the point of sale due to its Battery Issues and
18   Design Defects, but Apple exacerbated the problems with Greenfield’s Devices via its
19   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
20   Greenfield did not receive the benefit of her bargain and was injured as a result. If Greenfield had
21   been told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage
22   the Devices after sale, Greenfield would not have purchased the Devices, or would have paid
23   substantially less for them.
24                                                 KANSAS
25          109.        Plaintiff Natasha Bryant is a resident and citizen of the State of Kansas and she
26   purchased an iPhone 5c on November 29, 2013 and an iPhone 6 Plus on July 1, 2016. Prior to her
27   purchase of the Devices, she did not know, nor could she have known through reasonable diligence,
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 1   of the Battery Issues and Defects in her Devices. At time of initial purchase, the iPhone 5c Device
 2   operated on iOS 7 and the iPhone 6 Plus operated on iOS 8.
 3          110.        Not only did Bryant’s Devices not operate as Apple warranted and promised
 4   initially, but Apple never represented or warranted that iOS 10 or any of the future updates would
 5   cause the way Bryant’s Devices operated to fundamentally change. Bryant’s Devices, particularly
 6   after installation of iOS 10, did not operate as promised in Apple’s advertisements, representations,
 7   and the information publicly available in the marketplace. Additionally, none of the packaging in
 8   which the Devices were sold to Bryant revealed that there were any Defects, Battery Issues, or that
 9   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
10   speed pursuant to which Bryant’s Devices would operate. Accordingly, not only were Bryant’s
11   Devices defective at the point of sale due to their Battery Issues and Design Defects, but Apple
12   exacerbated the problems with Bryant’s Devices via its misrepresentations and omissions with the
13   iOS software Updates. As a result of Apple’s actions, Bryant did not receive the benefit of her
14   bargain and was injured as a result. If Bryant had been told of these Defects, Battery Issues, and the
15   deceptive manner in which Apple would damage the Devices after sale, Bryant would not have
16   purchased the Devices, or would have paid substantially less for them.
17                                                 KANSAS
18          111.        Plaintiff John Farris is a resident and citizen of the State of Texas and he
19   purchased an iPhone 6 on October 29, 2014 and and an iPhone 6s on August 2, 2017, both in
20   Kansas while a resident of Kansas. Prior to his purchase of the Devices, he did not know, nor could
21   he have known through reasonable diligence, of the Battery Issues and Defects in his Devices. At
22   time of initial purchase, the iPhone 6 Device operated on iOS 8. In February 2017, Apple
23   automatically downloaded and installed iOS 10.2.1 on Farris’s iPhone 6 Device.
24          112.        Not only did Farris’s Device not operate as Apple warranted and promised
25   initially, but Apple never represented or warranted that iOS 10.2.1 or any of the future updates
26   would cause the way Farris’s Device operated to fundamentally change. Farris’s Device,
27   particularly after installation of iOS 10.2.1, did not operate as promised in Apple’s advertisements,
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 1   representations, and the information publicly available in the marketplace. Additionally, none of
 2   the packaging in which the Device was sold to Farris revealed that there were any Defects, Battery
 3   Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the
 4   battery power and speed pursuant to which Farris’s Device would operate. Accordingly, not only
 5   was Farris’s Devices defective at the point of sale due to its Battery Issues and Design Defects, but
 6   Apple exacerbated the problems with Farris’s Devices via its misrepresentations and omissions with
 7   the iOS software Updates. As a result of Apple’s actions, Farris did not receive the benefit of his
 8   bargain and was injured as a result. If Farris had been told of these Defects, Battery Issues, and the
 9   deceptive manner in which Apple would damage the Devices after sale, Farris would not have
10   purchased the Devices, or would have paid substantially less for them.
11                                               KENTUCKY
12          113.        Plaintiff Herman Praszkier is a resident and citizen of the Commonwealth of
13   Kentucky and he has purchased multiple generations of iPhones, including two iPhone 5 Devices,
14   two iPhone 6 Plus Devices, and two iPhone 7 Devices. Prior to his purchase of the Devices, he did
15   not know, nor could he have known through reasonable diligence, of the Battery Issues and Defects
16   in his Devices. At time of initial purchase, the Devices operated on their factory-installed iOS
17   versions.
18          114.        Not only did Praszkier’s Devices not operate as Apple warranted and promised
19   initially, but Apple never represented or warranted that any of the future iOS updates would cause
20   the way Praszkier’s Devices operated to fundamentally change. Praszkier’s Devices, particularly
21   after installation of subsequent iOS versions, did not operate as promised in Apple’s
22   advertisements, representations, and the information publicly available in the marketplace.
23   Additionally, none of the packaging in which the Devices were sold to Praszkier revealed that there
24   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
25   otherwise regulate the battery power and speed pursuant to which Praszkier’s Devices would
26   operate. Accordingly, not only were Praszkier’s Devices defective at the point of sale due to their
27   Battery Issues and Design Defects, but Apple exacerbated the problems with Praszkier’s Devices
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 1   via its misrepresentations and omissions with the iOS software Updates. As a result of Apple’s
 2   actions, Praszkier did not receive the benefit of his bargain and was injured as a result. If Praszkier
 3   had been told of these Defects, Battery Issues, and the deceptive manner in which Apple would
 4   damage the Devices after sale, Praszkier would not have purchased the Devices, or would have paid
 5   substantially less for them.
 6                                               KENTUCKY
 7          115.        Plaintiff Lawrence Pethick is a resident and citizen of the State of Michigan
 8   and he purchased multiple generations of the iPhone and iPad in Kentucky while a Kentucky
 9   resident, including the iPhone 5, and 6 (purchased in November 2015) and the iPad Air and Air
10   Mini. Prior to his purchases of the Devices, he did not know, nor could he have known through
11   reasonable diligence, of the Battery Issues and Defects in his Devices. At time of initial purchase,
12   the Devices operated on the factory-installed iOS versions.
13          116.        Not only did Pethick’s Devices not operate as Apple warranted and promised
14   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
15   cause the way Pethick’s Devices operated to fundamentally change. Pethick’s Devices, particularly
16   after installation of iOS 11, did not operate as promised in Apple’s advertisements, representations,
17   and the information publicly available in the marketplace. Additionally, none of the packaging in
18   which the Devices were sold to Pethick revealed that there were any Defects, Battery Issues, or that
19   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
20   speed pursuant to which Pethick’s Devices would operate. Accordingly, not only were Pethick’s
21   Devices defective at the point of sale due to its Battery Issues and Design Defects, but Apple
22   exacerbated the problems with Pethick’s Devices via its misrepresentations and omissions with the
23   iOS software Updates. As a result of Apple’s actions, Pethick did not receive the benefit of his
24   bargain and was injured as a result. If Pethick had been told of these Defects, Battery Issues, and
25   the deceptive manner in which Apple would damage the Devices after sale, Pethick would not have
26   purchased the Devices, or would have paid substantially less for them.
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 1                                              LOUISIANA
 2            117.         Plaintiff Kenyotta Smith is a resident and citizen of the State of Louisiana
 3   and she purchased an iPhone 6s on June 22, 2016. Prior to her purchase of the Device, she did not
 4   know, nor could she have known through reasonable diligence, of the Battery Issues and Defects in
 5   her Device.
 6            118.      Not only did Smith’s Device not operate as Apple warranted and promised
 7   initially, but Apple never represented or warranted that iOS updates would cause the way Smith’s
 8   Device operated to fundamentally change. Smith’s Device did not operate as promised in Apple’s
 9   advertisements, representations, and the information publicly available in the marketplace.
10   Additionally, none of the packaging in which the Device was sold to Smith revealed that there were
11   any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
12   otherwise regulate the battery power and speed pursuant to which Smith’s Device would operate.
13   Accordingly, not only was way Smith’s Device defective at the point of sale due to its Battery
14   Issues and Design Defects, but Apple exacerbated the problems with Smith’s Device via its
15   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
16   Smith did not receive the benefit of her bargain, and was injured as a result. If Smith had been told
17   of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
18   Device after sale, Smith would not have purchased the Device, or would have paid substantially
19   less for it.
20                                                 MAINE
21            119.      Plaintiff Judith Thompson is a resident and citizen of the State of Maine and
22   she purchased an iPhone 6 on October 14, 2014. Prior to her purchase of the Device, she did not
23   know, nor could she have known through reasonable diligence of the Battery Issues and Defects in
24   her Device. At time of initial purchase, the Device operated on version 8 of iOS. Thompson
25   downloaded and installed version 11.2 of iOS on her Device in or around December 2017.
26            120.      Not only did Thompson’s Device not operate as Apple warranted and promised
27   initially, but Apple never represented or warranted that version 8 of iOS or any of the future updates
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 1   would cause the way Thompson’s Device operated to fundamentally change. Thompson’s Device,
 2   after installation of various versions of iOS, did not operate as promised in Apple’s advertisements,
 3   representations, and the information publicly available in the marketplace. Additionally, none of
 4   the packaging in which the Device was sold to Thompson revealed that there were any Defects,
 5   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
 6   the battery power and speed pursuant to which Thompson’s Device would operate. Accordingly,
 7   not only was Thompson’s Device defective at the point of sale due to its Battery Issues and Design
 8   Defects, but Apple exacerbated the problems with Thompson’s Device via its misrepresentations
 9   and omissions with the iOS software Updates. As a result of Apple’s actions, Thompson did not
10   receive the benefit of her bargain, and was injured as a result. If Thompson had been told of these
11   Defects, Battery Issues, and the deceptive manner in which Apple would damage the Device after
12   sale, Thompson would not have purchased the Device, or would have paid substantially less for it.
13                                                 MAINE
14          121.        Plaintiff Drew Victory is a resident and citizen of the State of Maine and he
15   purchased an iPhone 6 and an iPhone 6s. Prior to his purchases of the Devices, he did not know,
16   nor could he have known through reasonable diligence of the Battery Issues and Defects in his
17   Devices.
18          122.        Not only did Drews’s Devices not operate as Apple warranted and promised
19   initially, but Apple never represented or warranted that iOS updates would cause the way Drew’s
20   Devices operated to fundamentally change. Drew’s Devices did not operate as promised in Apple’s
21   advertisements, representations, and the information publicly available in the marketplace.
22   Additionally, none of the packaging in which the Devices were sold to Drew revealed that there
23   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
24   otherwise regulate the battery power and speed pursuant to which Drew’s Devices would operate.
25   Accordingly, not only were Drew’s Devices defective at the point of sale due to their Battery Issues
26   and Design Defects, but Apple exacerbated the problems with Drew’s Devices via its
27   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
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 1   Drew did not receive the benefit of his bargain, and was injured as a result. If Drew had been told
 2   of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
 3   Devices after sale, Drew would not have purchased the Devices, or would have paid substantially
 4   less for them.
 5                                              MARYLAND
 6          123.        Plaintiff Johnjulee Ray is a resident and citizen of the State of Maryland and
 7   she purchased an iPhone 6 Plus in or around December 2014. Prior to her purchase of the Device,
 8   she did not know, nor could she have known through reasonable diligence, of the Battery Issues and
 9   Defects in her Device.
10          124.        Not only did Ray’s Device not operate as Apple warranted and promised
11   initially, but Apple never represented or warranted that iOS updates would cause the way Ray’s
12   Device operated to fundamentally change. Ray’s Device did not operate as promised in Apple’s
13   advertisements, representations, and the information publicly available in the marketplace.
14   Additionally, none of the packaging in which the Device was sold to Ray revealed that there were
15   any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
16   otherwise regulate the battery power and speed pursuant to which Ray’s Device would operate.
17   Accordingly, not only was Ray’s Device defective at the point of sale due to its Battery Issues and
18   Design Defects, but Apple exacerbated the problems with Ray’s Device via its misrepresentations
19   and omissions with the iOS software Updates. As a result of Apple’s actions, Ray did not receive
20   the benefit of her bargain, and was injured as a result. If Ray had been told of these Defects,
21   Battery Issues, and the deceptive manner in which Apple would damage the Device after sale, Ray
22   would not have purchased the Device, or would have paid substantially less for it.
23                                           MASSACHUSETTS
24          125.        Plaintiff Laura Ciccone is a resident and citizen of the Commonwealth of
25   Massachusetts and she purchased an iPhone 6s in 2016. Prior to her purchase of the Device, she did
26   not know, nor could she have known through reasonable diligence, of the Battery Issues and
27   Defects in her Device.
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 1            126.      Not only did Ciccone’s Device not operate as Apple warranted and promised
 2   initially, but Apple never represented or warranted that iOS updates would cause the way Ciccone’s
 3   Device operated to fundamentally change. Ciccone’s Device did not operate as promised in
 4   Apple’s advertisements, representations, and the information publicly available in the marketplace.
 5   Additionally, none of the packaging in which the Device was sold to Ciccone revealed that there
 6   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
 7   otherwise regulate the battery power and speed pursuant to which Ciccone’s Device would operate.
 8   Accordingly, not only was Ciccone’s Device defective at the point of sale due to its Battery Issues
 9   and Design Defects, but Apple exacerbated the problems with Ciccone’s Device via its
10   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
11   Ciccone did not receive the benefit of her bargain, and was injured as a result. If Ciccone had been
12   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
13   Device after sale, Ciccone would not have purchased the Device, or would have paid substantially
14   less for it.
15                                          MASSACHUSETTS
16            127.      Plaintiff Jonathan Jed Meyers is a resident and citizen of the Commonwealth
17   of Massachusetts and he purchased an iPhone 6 in or about April 2015. Prior to his purchase of the
18   Device, he did not know, nor could he have known through reasonable diligence, of the Battery
19   Issues and Defects in his Device. Meyers downloaded and installed iOS updates on his Device at or
20   around their release dates.
21            128.      Not only did Meyers’s Device not operate as Apple warranted and promised
22   initially, but Apple never represented or warranted that iOS updates would cause the way Meyers’s
23   Device operated to fundamentally change. Meyers’s Device did not operate as promised in Apple’s
24   advertisements, representations, and the information publicly available in the marketplace.
25   Additionally, none of the packaging in which the Device was sold to Meyers revealed that there
26   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
27   otherwise regulate the battery power and speed pursuant to which Meyer’s Device would operate.
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 1   Accordingly, not only was Meyers’s Device defective at the point of sale due to its Battery Issues
 2   and Design Defects, but Apple exacerbated the problems with Meyers’s Device via its
 3   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
 4   Meyers did not receive the benefit of his bargain, and was injured as a result. If Meyers had been
 5   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
 6   Device after sale, Meyers would not have purchased the Device, or would have paid substantially
 7   less for it.
 8                                           MASSACHUSETTS
 9            129.      Plaintiff Aja Johnson is a resident and citizen of the Commonwealth of
10   Massachusetts and she purchased two iPhone 6 Plues and an iPhone 7. Prior to her purchases of the
11   Devices, she did not know, nor could she have known through reasonable diligence, of the battery
12   issues and defects in her Devices. At time of initial purchase, the Devices operated on various
13   versions of iOS. Johanson downloaded and installed various versions of iOS on her Devices on
14   various dates, as prompted.
15            130.      Not only did Johnson’s Devices not operate as Apple warranted and promised
16   initially, but Apple never represented or warranted that various versions of iOS or any of the future
17   updates would cause the way Johnson’s Devices operated to fundamentally change. Johnson’s
18   Devices, particularly after installation of various versions of iOS, did not operate as promised in
19   Apple’s advertisements, representations, and the information publicly available in the marketplace.
20   Additionally, none of the packaging in which the Devices were sold to Johnson revealed that there
21   were any defects, battery issues, or that Apple would use the updates to “smooth,” “throttle,” or
22   otherwise regulate the battery power and speed pursuant to which Johnson’s Devices would
23   operate. Accordingly, not only were Johnson’s Devices defective at the point of sale due to its
24   battery issues and design defects, but Apple exacerbated the problems with Johnson’s Devices via
25   its misrepresentations and omissions with the iOS software updates. As a result of Apple’s actions,
26   Johnson did not receive the benefit of her bargain, and was injured as a result. If Johnson had been
27   told of these defects, battery issues, and the deceptive manner in which apple would damage the
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 1   Devices after sale, Johnson would not have purchased the Devices, or would have paid substantially
 2   less for them.
 3                                               MICHIGAN
 4          131.        Plaintiff Steven Henry is a resident and citizen of the State of Michigan and he
 5   purchased an iPhone 7 in October 2016. Prior to his purchase of the Device, he did not know, nor
 6   could he have known through reasonable diligence, of the Battery Issues and Defects in his Device.
 7   At time of initial purchase, the Device operated on iOS 10. Henry downloaded and installed iOS
 8   11.2.1 on his Device in December 2017.
 9          132.        Not only did Henry’s Device not operate as Apple warranted and promised
10   initially, but Apple never represented or warranted that iOS 11.2.1 or any of the future updates
11   would cause the way Henry’s Device operated to fundamentally change. Henry’s Device,
12   particularly after installation of iOS 11.2.1, did not operate as promised in Apple’s advertisements,
13   representations, and the information publicly available in the marketplace. Additionally, none of
14   the packaging in which the Device was sold to Henry revealed that there were any Defects, Battery
15   Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the
16   battery power and speed pursuant to which Henry’s Device would operate. Accordingly, not only
17   was Henry’s Device defective at the point of sale due to its Battery Issues and Design Defects, but
18   Apple exacerbated the problems with Henry’s Device via its misrepresentations and omissions with
19   the iOS software Updates. As a result of Apple’s actions, Henry did not receive the benefit of his
20   bargain and was injured as a result. If Henry had been told of these Defects, Battery Issues, and the
21   deceptive manner in which Apple would damage the Device after sale, Henry would not have
22   purchased the Device, or would have paid substantially less for it.
23                                               MICHIGAN
24          133.        Plaintiff Timothy Baldwin is a resident and citizen of the State of Michigan and
25   he purchased an iPhone 6s on March 10, 2016. Prior to his purchase of the Device, he did not
26   know, nor could he have known through reasonable diligence, of the Battery Issues and Defects in
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 1   his Device. At time of initial purchase, the Device operated on iOS 9. Baldwin downloaded and
 2   installed iOS 11.2 on his Device in or around December 2017.
 3          134.        Not only did Baldwin’s Device not operate as Apple warranted and promised
 4   initially, but Apple never represented or warranted that iOS 11.2 or any of the future updates would
 5   cause the way Baldwin’s Device operated to fundamentally change. Baldwin’s Device, particularly
 6   after installation of iOS 11.2, did not operate as promised in Apple’s advertisements,
 7   representations, and the information publicly available in the marketplace. Additionally, none of
 8   the packaging in which the Device was sold to Baldwin revealed that there were any Defects,
 9   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
10   the battery power and speed pursuant to which Baldwin’s Device would operate. Accordingly, not
11   only was Baldwin’s Device defective at the point of sale due to its Battery Issues and Design
12   Defects, but Apple exacerbated the problems with Baldwin’s Device via its misrepresentations and
13   omissions with the iOS software Updates. As a result of Apple’s actions, Baldwin did not receive
14   the benefit of his bargain and was injured as a result. If Baldwin had been told of these Defects,
15   Battery Issues, and the deceptive manner in which Apple would damage the Device after sale,
16   Baldwin would not have purchased the Device, or would have paid substantially less for it.
17                                              MINNESOTA
18          135.        Plaintiff Kristin Hansen is a resident and citizen of the State of Minnesota and
19   she has purchased several iPhones for her and her family, including the iPhone 6, 6s, and SE in
20   2015. Prior to her purchase of the Devices, she did not know, nor could she have known through
21   reasonable diligence, of the Battery Issues and Defects in her Devices. At time of initial purchsae,
22   the Devices operated on their factory-installed iOS versions. Hansen and her family downloaded
23   and installed iOS 11.1 on their Devices in or around November 2017.
24          136.        Not only did Hansen’s Devices not operate as Apple warranted and promised
25   initially, but Apple never represented or warranted that iOS 11.1 or any of the future updates would
26   cause the way Hansen’s Devices operated to fundamentally change. Hansen’s Devices, particularly
27   after installation of iOS 11.1, did not operate as promised in Apple’s advertisements,
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 1   representations, and the information publicly available in the marketplace. Additionally, none of
 2   the packaging in which the Devices were sold to Hansen revealed that there were any Defects,
 3   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
 4   the battery power and speed pursuant to which Hansen’s Devices would operate. Accordingly, not
 5   only were Hansen’s Devices defective at the point of sale due to its Battery Issues and Design
 6   Defects, but Apple exacerbated the problems with Hansen’s Devices via its misrepresentations and
 7   omissions with the iOS software Updates. As a result of Apple’s actions, Hansen did not receive
 8   the benefit of her bargain and was injured as a result. If Hansen had been told of these Defects,
 9   Battery Issues, and the deceptive manner in which Apple would damage the Devices after sale,
10   Hansen would not have purchased the Devices, or would have paid substantially less for them.
11                                              MISSISSIPPI
12          137.        Plaintiff Mary Jackson is a resident and citizen of the State of Mississippi and
13   she purchased an iPhone 6 on December 3, 2014. Prior to her purchase of the Device, she did not
14   know, nor could she have known through reasonable diligence, of the Battery Issues and Defects in
15   her Device.
16          138.        Not only did Jackson’s Device not operate as Apple warranted and promised
17   initially, but Apple never represented or warranted that iOS updates would cause the way Jackson’s
18   Device operated to fundamentally change. Jackson’s Device did not operate as promised in
19   Apple’s advertisements, representations, and the information publicly available in the marketplace.
20   Additionally, none of the packaging in which the Device was sold to Jackson revealed that there
21   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
22   otherwise regulate the battery power and speed pursuant to which Jackson’s Device would operate.
23   Accordingly, not only was Jackson’s Device defective at the point of sale due to its Battery Issues
24   and Design Defects, but Apple exacerbated the problems with Jackson’s Device via its
25   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
26   Jackson did not receive the benefit of her bargain, and was injured as a result. If Jackson had been
27   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
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 1   Device after sale, Jackson would not have purchased the Device, or would have paid substantially
 2   less for it.
 3                                              MISSISSIPPI
 4             139.     Plaintiff Alvin Davis is a resident and citizen of the State of Mississippi and he
 5   purchased an iPhone 6s on December 13, 2016. Prior to his purchase of the Device, he did not
 6   know, nor could he have known through reasonable diligence of the Battery Issues and Defects in
 7   his Device.
 8             140.     Not only did Davis’s Device not operate as Apple warranted and promised
 9   initially, but Apple never represented or warranted that iOS updates would cause the way Davis’s
10   Device operated to fundamentally change. Davis’s Device did not operate as promised in Apple’s
11   advertisements, representations, and the information publicly available in the marketplace.
12   Additionally, none of the packaging in which the Device was sold to Davis revealed that there were
13   any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
14   otherwise regulate the battery power and speed pursuant to which Davis’s Device would operate.
15   Accordingly, not only was way Davis’s Device defective at the point of sale due to its Battery
16   Issues and Design Defects, but Apple exacerbated the problems with Davis’s Device via its
17   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
18   Davis did not receive the benefit of his bargain, and was injured as a result. If Davis had been told
19   of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
20   Device after sale, Davis would not have purchased the Device, or would have paid substantially less
21   for it.
22                                               MISSOURI
23             141.     Plaintiff Kim Burton is a resident and citizen of the State of Missouri and she
24   purchased an iPhone 5s on September 20, 2013, which was delivered between October 8-11, 2013.
25   She also purchased an iPad Mini on or around November 26, 2014. Prior to her purchase of the
26   Devices, she did not know, nor could she have known through reasonable diligence, of the Battery
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 1   Issues and Defects in her Devices. Burton downloaded and installed an iOS 11 update on her
 2   Devices in December 2017, specifically iOS 11.2.1 for her iPad Mini.
 3          142.        Not only did Burton’s Devices not operate as Apple warranted and promised
 4   initially, but Apple never represented or warranted that iOS updates would cause the way Burton’s
 5   Devices operated to fundamentally change. Burton’s Devices, particularly after installation of one
 6   of the iOS 11 updates, did not operate as promised in Apple’s advertisements, representations, and
 7   the information publicly available in the marketplace. Additionally, none of the packaging in which
 8   the Devices were sold to Burton revealed that there were any Defects, Battery Issues, or that Apple
 9   would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and speed
10   pursuant to which Burton’s Devices would operate. Accordingly, not only were Burton’s Device
11   defective at the point of sale due to their Battery Issues and Design Defects, but Apple exacerbated
12   the problems with Burton’s Device via its misrepresentations and omissions with the iOS software
13   Updates. As a result of Apple’s actions, Burton did not receive the benefit of her bargain, and was
14   injured as a result. If Burton had been told of these Defects, Battery Issues, and the deceptive
15   manner in which Apple would damage the Device after sale, Burton would not have purchased the
16   Device, or would have paid substantially less for it.
17                                                MISSOURI
18          143.        Plaintiff Christopher Gautreaux is a resident and citizen of the State of
19   Missouri and he leased multiple generations of the iPhone for him and his family, including an
20   iPhone 5, an iPhone 5s, two iPhone 6 Plus devices leased on October 17, 2014 and February 27,
21   2015, an iPhone 6s on December 1, 2015, and an iPhone 7 Plus on January 30, 2017. Prior to his
22   lease of the Devices, he did not know, nor could he have known through reasonable diligence, of
23   the Battery Issues and Defects in his Devices. At time of initial lease, the Devices operated on their
24   factory-installed iOS versions.
25          144.        Not only did Gautreaux’s Devices not operate as Apple warranted and promised
26   initially, but Apple never represented or warranted that any of the future iOS updates would cause
27   the way Gautreaux’s Devices operated to fundamentally change. Gautreaux’s Devices, particularly
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 1   after installation of subsequent iOS updates, did not operate as promised in Apple’s advertisements,
 2   representations, and the information publicly available in the marketplace. Additionally, none of
 3   the packaging in which the Devices were sold to Gautreaux revealed that there were any Defects,
 4   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
 5   the battery power and speed pursuant to which Gautreaux’s Devices would operate. Accordingly,
 6   not only were Gautreaux’s Devices defective at the point of lease due to its Battery Issues and
 7   Design Defects, but Apple exacerbated the problems with Gautreaux’s Devices via its
 8   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
 9   Gautreaux did not receive the benefit of his bargain and was injured as a result. If Gautreaux had
10   been told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage
11   the Devices after sale, Gautreaux would not have leased the Devices, or would have paid
12   substantially less for them.
13                                               MISSOURI
14          145.        Plaintiff Charlie Bell Daily is a resident and citizen of the State of Missouri and
15   she purchased an iPhone 6s Plus in or about mid-2016. Prior to her purchase of the Device, she did
16   not know, nor could she have known through reasonable diligence, of the Battery Issues and
17   Defects in her Device.
18          146.        Not only did Daily’s Device not operate as Apple warranted and promised
19   initially, but Apple never represented or warranted that any of the iOS updates would cause the way
20   Daily’s Device operated to fundamentally change. Daily’s Device, particularly after installation of
21   a version of iOS, did not operate as promised in Apple’s advertisements, representations, and the
22   information publicly available in the marketplace. Additionally, none of the packaging in which the
23   Device was sold to Daily revealed that there were any Defects, Battery Issues, or that Apple would
24   use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and speed pursuant
25   to which Daily’s Device would operate. Accordingly, not only was Daily’s Device defective at the
26   point of sale due to its Battery Issues and Design Defects, but Apple exacerbated the problems with
27   Daily’s Device via its misrepresentations and omissions with the iOS software Updates. As a result
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 1   of Apple’s actions, Daily did not receive the benefit of her bargain, and was injured as a result. If
 2   Daily had been told of these Defects, Battery Issues, and the deceptive manner in which Apple
 3   would damage the Device after sale, Daily would not have purchased the Device, or would have
 4   paid substantially less for it.
 5                                                MISSOURI
 6           147.        Plaintiff William C. Ellis is a resident and citizen of the State of Missouri and
 7   he purchased an iPhone 7 in or about 2016. Prior to his purchase of the Device, he did not know,
 8   nor could he have known through reasonable diligence, of the Battery Issues and Defects in his
 9   Device.
10           148.        Not only did Ellis’ Device not operate as Apple warranted and promised initially,
11   but Apple never represented or warranted that iOS updates would cause the way Ellis’ Device
12   operated to fundamentally change. Ellis’ Device did not operate as promised in Apple’s
13   advertisements, representations, and the information publicly available in the marketplace.
14   Additionally, none of the packaging in which the Device was sold to Ellis revealed that there were
15   any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
16   otherwise regulate the battery power and speed pursuant to which Ellis’s Device would operate.
17   Accordingly, not only was Ellis’ Device defective at the point of sale due to its Battery Issues and
18   Design Defects, but Apple exacerbated the problems with Ellis’ Device via its misrepresentations
19   and omissions with the iOS software Updates. As a result of Apple’s actions, Ellis did not receive
20   the benefit of his bargain, and was injured as a result. If Ellis had been told of these Defects,
21   Battery Issues, and the deceptive manner in which Apple would damage the Device after sale, Ellis
22   would not have purchased the Device, or would have paid substantially less for it.
23                                                MONTANA
24           149.        Plaintiff Michelle Martino is a resident and citizen of the State of Montana and
25   she purchased an iPhone 6 Plus in Fall 2014. Prior to her purchase of the Device, she did not know,
26   nor could she have known through reasonable diligence, of the Battery Issues and Defects in her
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 1   Device. Martino downloaded and installed a version of iOS on her Device in or around December
 2   2017.
 3            150.     Not only did Martino’s Device not operate as Apple warranted and promised
 4   initially, but Apple never represented or warranted that iOS updates would cause the way Martino’s
 5   Device operated to fundamentally change. Martino’s Device did not operate as promised in
 6   Apple’s advertisements, representations, and the information publicly available in the marketplace.
 7   Additionally, none of the packaging in which the Device was sold to Martino revealed that there
 8   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
 9   otherwise regulate the battery power and speed pursuant to which Martino’s Device would operate.
10   Accordingly, not only was Martino’s Device defective at the point of sale due to its Battery Issues
11   and Design Defects, but Apple exacerbated the problems with Martino’s Device via its
12   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
13   Martino did not receive the benefit of her bargain, and was injured as a result. If Martino had been
14   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
15   Device after sale, Martino would not have purchased the Device, or would have paid substantially
16   less for it.
17                                              NEBRASKA
18            151.     Plaintiff Kevin Browne is a resident and citizen of the State of Nebraska and he
19   purchased an iPhone 6s Plus on October 2, 2015. Prior to his purchase of the Device, he did not
20   know, nor could he have known through reasonable diligence, of the Battery Issues and Defects in
21   his Device.
22            152.     Not only did Browne’s Device not operate as Apple warranted and promised
23   initially, but Apple never represented or warranted that iOS updates would cause the way Browne’s
24   Device operated to fundamentally change. Browne’s Device did not operate as promised in
25   Apple’s advertisements, representations, and the information publicly available in the marketplace.
26   Additionally, none of the packaging in which the Device was sold to Browne revealed that thise
27   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
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 1   othiswise regulate the battery power and speed pursuant to which Browne’s Device would operate.
 2   Accordingly, not only was way Browne’s Device defective at the point of sale due to its Battery
 3   Issues and Design Defects, but Apple exacerbated the problems with Browne’s Device via its
 4   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
 5   Browne did not receive the benefit of his bargain, and was injured as a result. If Browne had been
 6   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
 7   Device after sale, Browne would not have purchased the Device, or would have paid substantially
 8   less for it.
 9                                               NEBRASKA
10            153.          Plaintiff Jill Klingman is a resident and citizen of the State of Nebraska and
11   she purchased an iPhone 6 in or around 2015 and an iPhone 7 on October 28, 2017. Prior to her
12   purchase of the Devices, she did not know, nor could she have known through reasonable diligence,
13   of the Battery Issues and Defects in her Devices. At time of initial purchase, the iPhone 6 operated
14   on iOS 8 and the iPhone 7 operated on iOS 10. Klingman downloaded and installed iOS 10 on her
15   iPhone 6 in or around November 2016.
16            154.          Not only did Klingman’s Devices not operate as Apple warranted and
17   promised initially, but Apple never represented or warranted that any of the future iOS updates
18   would cause the way Klingman’s Devices operated to fundamentally change. Klingman’s Devices,
19   particularly after installation of subsequent iOS versions, did not operate as promised in Apple’s
20   advertisements, representations, and the information publicly available in the marketplace.
21   Additionally, none of the packaging in which the Devices were sold to Klingman revealed that there
22   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
23   otherwise regulate the battery power and speed pursuant to which Klingman’s Devices would
24   operate. Accordingly, not only were Klingman’s Devices defective at the point of sale due to its
25   Battery Issues and Design Defects, but Apple exacerbated the problems with Klingman’s Devices
26   via its misrepresentations and omissions with the iOS software Updates. As a result of Apple’s
27   actions, Klingman did not receive the benefit of her bargain, and was injured as a result. If
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 1   Klingman had been told of these Defects, Battery Issues, and the deceptive manner in which Apple
 2   would damage the Devices after sale, Klingman would not have purchased the Devices, or would
 3   have paid substantially less for them.
 4                                                 NEVADA
 5          155.        Plaintiff Angela Boykin is a resident and citizen of the State of Nevada and she
 6   purchased an iPhone 6s on February 25, 2016. Prior to her purchase of the Device, she did not
 7   know, nor could she have known through reasonable diligence, of the Battery Issues and Defects in
 8   her Device. At time of initial purchase, the Device operated on iOS 9.
 9          156.        Not only did Boykin’s Device not operate as Apple warranted and promised
10   initially, but Apple never represented or warranted that iOS 10.3.2 or any of the future updates
11   would cause the way Boykin’s Device operated to fundamentally change. Boykin’s Device,
12   particularly after installation of 10.3.2, did not operate as promised in Apple’s advertisements,
13   representations, and the information publicly available in the marketplace. Additionally, none of
14   the packaging in which the Device was sold to Boykin revealed that there were any Defects, Battery
15   Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the
16   battery power and speed pursuant to which Boykin’s Device would operate. Accordingly, not only
17   was Boykin’s Device defective at the point of sale due to its Battery Issues and Design Defects, but
18   Apple exacerbated the problems with Boykin’s Device via its misrepresentations and omissions
19   with the iOS software Updates. As a result of Apple’s actions, Boykin did not receive the benefit of
20   her bargain and was injured as a result. If Boykin had been told of these Defects, Battery Issues,
21   and the deceptive manner in which Apple would damage the Device after sale, Boykin would not
22   have purchased the Device, or would have paid substantially less for it.
23                                                 NEVADA
24          157.        Plaintiff Barbara Moriello is a resident and citizen of the State of Nevada and
25   she purchased an iPhone 6 on in April 2015. Prior to her purchase of the Device, she did not know,
26   nor could she have known through reasonable diligence, of the Battery Issues and Defects in her
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 1   Device. At time of initial purchase, the Device operated on iOS 8. Moriello downloaded and
 2   installed iOS 11 on her Device in or around the fall of 2017.
 3          158.        Not only did Moriello’s Device not operate as Apple warranted and promised
 4   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
 5   cause the way Moriello’s Device operated to fundamentally change. Moriello’s Device,
 6   particularly after installation of 11, did not operate as promised in Apple’s advertisements,
 7   representations, and the information publicly available in the marketplace. Additionally, none of
 8   the packaging in which the Device was sold to Moriello revealed that there were any Defects,
 9   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
10   the battery power and speed pursuant to which Moriello’s Device would operate. Accordingly, not
11   only was Moriello’s Device defective at the point of sale due to its Battery Issues and Design
12   Defects, but Apple exacerbated the problems with Moriello’s Device via its misrepresentations and
13   omissions with the iOS software Updates. As a result of Apple’s actions, Moriello did not receive
14   the benefit of her bargain and was injured as a result. If Moriello had been told of these Defects,
15   Battery Issues, and the deceptive manner in which Apple would damage the Device after sale,
16   Moriello would not have purchased the Device, or would have paid substantially less for it.
17                                           NEW HAMPSHIRE
18          159.        Plaintiff Thomas Toth is a resident and citizen of the State of New Hampshire
19   and he purchased two iPhone 5s Devices for him and his wife in March 2015 in Massachusetts and
20   two iPhone 7 Devices for him and his wife in July 2017 in New Hampshire. Prior to his purchase of
21   the Devices, he did not know, nor could he have known through reasonable diligence, of the Battery
22   Issues and Defects in his Devices. At time of initial purchase, the iPhone 5s Devices operated on
23   iOS 7 and the iPhone 7 Devices operated on iOS 10. Toth and his wife downloaded and installed
24   iOS 10.2.1 in January 2017 and iOS 10.3 in April 2017, respectively, on their iPhone 5s Devices.
25          160.        Not only did Toth’s Devices not operate as Apple warranted and promised
26   initially, but Apple never represented or warranted that iOS 10.2.1, 10.3 or any of the future updates
27   would cause the way Toth’s Devices operated to fundamentally change. Toth’s Devices,
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 1   particularly after installation of iOS 10.2.1 and 10.3, did not operate as promised in Apple’s
 2   advertisements, representations, and the information publicly available in the marketplace.
 3   Additionally, none of the packaging in which the Devices were sold to Toth revealed that there
 4   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
 5   otherwise regulate the battery power and speed pursuant to which Toth’s Devices would operate.
 6   Accordingly, not only were Toth’s Devices defective at the point of sale due to its Battery Issues
 7   and Design Defects, but Apple exacerbated the problems with Toth’s Devices via its
 8   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
 9   Toth did not receive the benefit of his bargain and was injured as a result. If Toth had been told of
10   these Defects, Battery Issues, and the deceptive manner in which Apple would damage the Devices
11   after sale, Toth would not have purchased the Devices, or would have paid substantially less for
12   them.
13                                              NEW JERSEY
14           161.       Plaintiff Caren Schmidt is a resident and citizen of the State of New Jersey and
15   she purchased an iPhone 5 in 2014 and an iPhone 6s in November 2016. Prior to her purchase of
16   the Devices, she did not know, nor could she have known through reasonable diligence, of the
17   Battery Issues and Defects in her Devices. At time of initial purchase, the Devices operated on their
18   factory-installed iOS versions.
19           162.       Not only did Schmidt’s Devices not operate as Apple warranted and promised
20   initially, but Apple never represented or warranted that iOS 10, 11.3, or any of the future updates
21   would cause the way Schmidt’s Devices operated to fundamentally change. Schmidt’s Devices,
22   particularly after installation of 10 and 11.3, respectively, did not operate as promised in Apple’s
23   advertisements, representations, and the information publicly available in the marketplace.
24   Additionally, none of the packaging in which the Devices were sold to Schmidt revealed that there
25   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
26   otherwise regulate the battery power and speed pursuant to which Schmidt’s Devices would
27   operate. Accordingly, not only were Schmidt’s Devices defective at the point of sale due to their
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 1   Battery Issues and Design Defects, but Apple exacerbated the problems with Schmidt’s Devices via
 2   its misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
 3   Schmidt did not receive the benefit of her bargain, and was injured as a result. If Schmidt had been
 4   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
 5   Devices after sale, Schmidt would not have purchased the Devices, or would have paid substantially
 6   less for them.
 7                                              NEW JERSEY
 8          163.        Plaintiff Jacquelyn O’Neill is a resident and citizen of the State of New Jersey
 9   and she purchased an iPhone 6 on March 21, 2015. Prior to her purchase of the Device, she did not
10   know, nor could she have known through reasonable diligence, of the Battery Issues and Defects in
11   her Device. At time of initial purchase, the Device operated on its factory-installed iOS versions.
12          164.        Not only did O’Neill’s Device not operate as Apple warranted and promised
13   initially, but Apple never represented or warranted that iOS 10.2.1 or any of the future updates
14   would cause the way O’Neill’s Device operated to fundamentally change. O’Neill’s Device,
15   particularly after installation of iOS 10.2.1, did not operate as promised in Apple’s advertisements,
16   representations, and the information publicly available in the marketplace. Additionally, none of
17   the packaging in which the Device was sold to O’Neill revealed that there were any Defects,
18   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
19   the battery power and speed pursuant to which O’Neill’s Device would operate. Accordingly, not
20   only was O’Neill’s Device defective at the point of sale due to its Battery Issues and Design
21   Defects, but Apple exacerbated the problems with O’Neill’s Device via its misrepresentations and
22   omissions with the iOS software Updates. As a result of Apple’s actions, O’Neill did not receive
23   the benefit of her bargain and was injured as a result. If O’Neill had been told of these Defects,
24   Battery Issues, and the deceptive manner in which Apple would damage the Device after sale,
25   O’Neill would not have purchased the Device, or would have paid substantially less for it.
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 1                                             NEW MEXICO
 2          165.        Plaintiff Brandon Farmer is a resident and citizen of the State of New Mexico
 3   and he purchased several generations of the iPhone, including an iPhone 5, 5s, 6, and 7. Prior to his
 4   purchase of the Devices, he did not know, nor could he have known through reasonable diligence,
 5   of the Battery Issues and Defects in his Devices. At time of initial purchase, the Devices operated
 6   on their factory-installed iOS version.
 7          166.        Not only did Farmer’s Devices not operate as Apple warranted and promised
 8   initially, but Apple never represented or warranted that any of the future iOS updates would cause
 9   the way Farmer’s Devices operated to fundamentally change. Farmer’s Devices, particularly after
10   installation of subsequent iOS versions, did not operate as promised in Apple’s advertisements,
11   representations, and the information publicly available in the marketplace. Additionally, none of
12   the packaging in which the Devices were sold to Farmer revealed that there were any Defects,
13   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
14   the battery power and speed pursuant to which Farmer’s Devices would operate. Accordingly, not
15   only were Farmer’s Devices defective at the point of sale due to their Battery Issues and Design
16   Defects, but Apple exacerbated the problems with Farmer’s Devices via its misrepresentations and
17   omissions with the iOS software Updates. As a result of Apple’s actions, Farmer did not receive
18   the benefit of his bargain and was injured as a result. If Farmer had been told of these Defects,
19   Battery Issues, and the deceptive manner in which Apple would damage the Device after sale,
20   Farmer would not have purchased the Device, or would have paid substantially less for it.
21                                             NEW MEXICO
22          167.        Plaintiff Patrick DeFillippo is a resident and citizen of the State of New
23   Mexico and he purchased several generations of the iPhone, including an iPhone 5 and an iPhone 7.
24   Prior to his purchase of the Devices, he did not know, nor could he have known through reasonable
25   diligence, of the Battery Issues and Defects in his Devices. At time of initial purchase, the Devices
26   operated on their factory-installed iOS version.
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 1           168.        Not only did DeFillippo’s Devices not operate as Apple warranted and promised
 2   initially, but Apple never represented or warranted that any of the future iOS updates would cause
 3   the way DeFillippo’s Devices operated to fundamentally change. DeFillippo’s Devices,
 4   particularly after installation of subsequent iOS versions, did not operate as promised in Apple’s
 5   advertisements, representations, and the information publicly available in the marketplace.
 6   Additionally, none of the packaging in which the Devices were sold to DeFillippo revealed that
 7   there were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,”
 8   or otherwise regulate the battery power and speed pursuant to which DeFillippo’s Devices would
 9   operate. Accordingly, not only were DeFillippo’s Devices defective at the point of sale due to their
10   Battery Issues and Design Defects, but Apple exacerbated the problems with DeFillippo’s Devices
11   via its misrepresentations and omissions with the iOS software Updates. As a result of Apple’s
12   actions, DeFillippo did not receive the benefit of his bargain and was injured as a result. If
13   DeFillippo had been told of these Defects, Battery Issues, and the deceptive manner in which Apple
14   would damage the Device after sale, DeFillippo would not have purchased the Device, or would
15   have paid substantially less for it.
16                                               NEW YORK
17           169.        Plaintiff Aniledis Batista is a resident and citizen of the State of New York and
18   she purchased an iPhone 6 in 2015 and an iPhone 7 Plus in August 2017. Prior to her purchase of
19   the Devices, she did not know, nor could she have known through reasonable diligence, of the
20   Battery Issues and Defects in her Devices. At time of initial purchase, her iPhone 6 operated on
21   iOS 8 and her iPhone 7 Plus operated on iOS 10.
22           170.        Not only did Batista’s Devices not operate as Apple warranted and promised
23   initially, but Apple never represented or warranted that iOS 10, 11, or any of the future updates
24   would cause the way Batista’s Devices operated to fundamentally change. Batista’s Devices,
25   particularly after installation of iOS 10 and 11, respectively, did not operate as promised in Apple’s
26   advertisements, representations, and the information publicly available in the marketplace.
27   Additionally, none of the packaging in which the Devices were sold to Batista revealed that there
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 1   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
 2   otherwise regulate the battery power and speed pursuant to which Batista’s Devices would operate.
 3   Accordingly, not only were Batista’s Devices defective at the point of sale due to their Battery
 4   Issues and Design Defects, but Apple exacerbated the problems with Batista’s Devices via its
 5   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
 6   Batista did not receive the benefit of her bargain and was injured as a result. If Batista had been
 7   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
 8   Devices after sale, Batista would not have purchased the Devices, or would have paid substantially
 9   less for them.
10                                               NEW YORK
11          171.        Plaintiff Benjamin Lazarus is a resident and citizen of the State of New York
12   and he purchased an iPhone 5 on September 13, 2013 and an iPhone 7 on December 13, 2016.
13   Prior to his purchase of the Devices, he did not know, nor could he have known through reasonable
14   diligence, of the Battery Issues and Defects in his Devices. At time of initial purchase, the Devices
15   operated on their factory-installed iOS versions.
16          172.        Not only did Lazarus’s Devices not operate as Apple warranted and promised
17   initially, but Apple never represented or warranted that any of the future iOS updates would cause
18   the way Lazarus’s Devices operated to fundamentally change. Lazarus’s Devices, particularly after
19   installation of subsequent iOS versions, did not operate as promised in Apple’s advertisements,
20   representations, and the information publicly available in the marketplace. Additionally, none of
21   the packaging in which the Device was sold to Lazarus revealed that there were any Defects,
22   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
23   the battery power and speed pursuant to which Lazarus’s Devices would operate. Accordingly, not
24   only were Lazarus’s Devices defective at the point of sale due to their Battery Issues and Design
25   Defects, but Apple exacerbated the problems with Lazarus’s Devices via its misrepresentations and
26   omissions with the iOS software Updates. As a result of Apple’s actions, Lazarus did not receive
27   the benefit of his bargain and was injured as a result. If Lazarus had been told of these Defects,
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 1   Battery Issues, and the deceptive manner in which Apple would damage the Devices after sale,
 2   Lazarus would not have purchased the Devices, or would have paid substantially less for them.
 3                                              NEW YORK
 4          173.        Plaintiff Judy Milman is a resident and citizen of the State of New York and
 5   she purchased an iPhone 6s in March 2016. Prior to her purchase of the Device, she did not know,
 6   nor could she have known through reasonable diligence, of the Battery Issues and Defects in her
 7   Device. At time of initial purchase, the Device operated on iOS 9. Milman downloaded and
 8   installed iOS 10 on her Device in or around September 2016.
 9          174.        Not only did Milman’s Device not operate as Apple warranted and promised
10   initially, but Apple never represented or warranted that iOS 10 or any of the future updates would
11   cause the way Milman’s Device operated to fundamentally change. Milman’s Device, particularly
12   after installation of iOS 10, did not operate as promised in Apple’s advertisements, representations,
13   and the information publicly available in the marketplace. Additionally, none of the packaging in
14   which the Device was sold to Milman revealed that there were any Defects, Battery Issues, or that
15   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
16   speed pursuant to which Milman’s Device would operate. Accordingly, not only was Milman’s
17   Device defective at the point of sale due to its Battery Issues and Design Defects, but Apple
18   exacerbated the problems with Milman’s Device via its misrepresentations and omissions with the
19   iOS software Updates. As a result of Apple’s actions, Milman did not receive the benefit of her
20   bargain and was injured as a result. If Milman had been told of these Defects, Battery Issues, and
21   the deceptive manner in which Apple would damage the Device after sale, Milman would not have
22   purchased the Device, or would have paid substantially less for it.
23                                          NORTH CAROLINA
24          175.        Plaintiff Sherri Yelton is a resident and citizen of the State of North Carolina
25   and she purchased an iPhone 6s in January 2016. Prior to her purchase of her Device, she did not
26   know, nor could she have known through reasonable diligence, of the Battery Issues and Defects in
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 1   her Device. At time of initial lease, the Device operated on iOS 9. Yelton downloaded and
 2   installed iOS 11 on her Device in the fall of 2017.
 3          176.        Not only did Yelton’s Device not operate as Apple warranted and promised
 4   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
 5   cause the way Yelton’s Device operated to fundamentally change. Yelton’s Device, particularly
 6   after installation of iOS 11, did not operate as promised in Apple’s advertisements, representations,
 7   and the information publicly available in the marketplace. Additionally, none of the packaging in
 8   which the Device was sold to Yelton revealed that there were any Defects, Battery Issues, or that
 9   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
10   speed pursuant to which Yelton’s Device would operate. Accordingly, not only was Yelton’s
11   Device defective at the point of sale due to its Battery Issues and Design Defects, but Apple
12   exacerbated the problems with Yelton’s Device via its misrepresentations and omissions with the
13   iOS software Updates. As a result of Apple’s actions, Yelton did not receive the benefit of her
14   bargain and was injured as a result. If Yelton had been told of these Defects, Battery Issues, and the
15   deceptive manner in which Apple would damage the Device after sale, Yelton would not have
16   purchased the Device, or would have paid substantially less for it.
17                                          NORTH CAROLINA
18          177.        Plaintiff Brinley McGill is a resident and citizen of the State of North Carolina
19   and she purchased an iPhone 6s Plus on or about June or July of 2016. Prior to her purchase of the
20   Device, she did not know, nor could she have known through reasonable diligence, of the Battery
21   Issues and Defects in her Device.
22          178.        Not only did McGill’s Device not operate as Apple warranted and promised
23   initially, but Apple never represented or warranted that iOS updates would cause the way McGill’s
24   Device operated to fundamentally change. McGill’s Device did not operate as promised in Apple’s
25   advertisements, representations, and the information publicly available in the marketplace.
26   Additionally, none of the packaging in which the Device was sold to McGill revealed that there
27   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
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 1   otherwise regulate the battery power and speed pursuant to which McGill’s Device would operate.
 2   Accordingly, not only was McGill’s Device defective at the point of sale due to its Battery Issues
 3   and Design Defects, but Apple exacerbated the problems with McGill’s Device via its
 4   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
 5   McGill did not receive the benefit of her bargain, and was injured as a result. If McGill had been
 6   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
 7   Device after sale, McGill would not have purchased the Device, or would have paid substantially
 8   less for it.
 9                                          NORTH CAROLINA
10            179.      Plaintiff Jeanette Taylor is a resident and citizen of the State of North Carolina
11   and she purchased an iPhone 6 and an iPhone SE in or about September 2017. Prior to her purchase
12   of the Devices, she did not know, nor could she have known through reasonable diligence, of the
13   Battery Issues and Defects in her Devices. At time of initial purchase, the Devices operated on a
14   certain iOS. Taylor installed an update on her Devices in or around October or November 2017.
15            180.      Not only did Taylor’s Devices not operate as Apple warranted and promised
16   initially, but Apple never represented or warranted that iOS updates would cause the way Taylor’s
17   Devices operated to fundamentally change. Taylor’s Devices did not operate as promised in
18   Apple’s advertisements, representations, and the information publicly available in the marketplace.
19   Additionally, none of the packaging in which the Devices was sold to Taylor revealed that there
20   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
21   otherwise regulate the battery power and speed pursuant to which Taylor’s Devices would operate.
22   Accordingly, not only were Taylor’s Devices defective at the point of sale due to their Battery
23   Issues and Design Defects, but Apple exacerbated the problems with Taylor’s Devices via its
24   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
25   Taylor did not receive the benefit of her bargain, and was injured as a result. If Taylor had been
26   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
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 1   Devices after sale, Taylor would not have purchased the Devices, or would have paid substantially
 2   less for it.
 3                                     NORTH DAKOTA/ALASKA
 4            181.      Plaintiff Matthew Shaske is a resident and citizen of the State of North Dakota
 5   and he leased three iPhone 6 Devices for him and his family in early 2015 in Alaska while residing
 6   in Alaska and three iPhone 7 Devices for him and his family in February 2017 in North Dakota
 7   while residing in North Dakota. Prior to his lease of the Devices, he did not know, nor could he
 8   have known through reasonable diligence, of the Battery Issues and Defects in his Device. At time
 9   of initial purchase, his iPhone 6 Devices operated on iOS 8. Shaske and his family downloaded and
10   installed iOS 10 on their Devices in or around September 2016.
11            182.      Not only did Shaske’s Devices not operate as Apple warranted and promised
12   initially, but Apple never represented or warranted that iOS 10 or any of the future updates would
13   cause the way Shaske’s Devices operated to fundamentally change. Shaske’s Devices, particularly
14   after installation of iOS 10, did not operate as promised in Apple’s advertisements, representations,
15   and the information publicly available in the marketplace. Additionally, none of the packaging in
16   which the Devices were sold to Shaske revealed that there were any Defects, Battery Issues, or that
17   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
18   speed pursuant to which Shaske’s Devices would operate. Accordingly, not only were Shaske’s
19   Devices defective at the point of lease due to their Battery Issues and Design Defects, but Apple
20   exacerbated the problems with Shaske’s Devices via its misrepresentations and omissions with the
21   iOS software Updates. As a result of Apple’s actions, Shaske did not receive the benefit of his
22   bargain and was injured as a result. If Shaske had been told of these Defects, Battery Issues, and
23   the deceptive manner in which Apple would damage the Devices after sale, Shaske would not have
24   leased the Devices, or would have paid substantially less for them.
25                                                  OHIO
26            183.      Plaintiff Kelly A. Jankowski is a resident and citizen of the State of Ohio and
27   she purchased an iPhone 6 approximately four years ago. Prior to her purchase of the Device, she
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 1   did not know, nor could she have known through reasonable diligence, of the Battery Issues and
 2   Defects in her Device.
 3          184.        Not only did Jankowski’s Device not operate as Apple warranted and promised
 4   initially, but Apple never represented or warranted that iOS updates would cause the way
 5   Jankowski’s Device operated to fundamentally change. Jankowski’s Device did not operate as
 6   promised in Apple’s advertisements, representations, and the information publicly available in the
 7   marketplace. Additionally, none of the packaging in which the Device was sold to Jankowski
 8   revealed that there were any Defects, Battery Issues, or that Apple would use the Updates to
 9   “smooth,” “throttle,” or otherwise regulate the battery power and speed pursuant to which
10   Jankowski’s Device would operate. Accordingly, not only was way Jankowski’s Device defective
11   at the point of sale due to its Battery Issues and Design Defects, but Apple exacerbated the
12   problems with Jankowski’s Device via its misrepresentations and omissions with the iOS software
13   Updates. As a result of Apple’s actions, Jankowski did not receive the benefit of her bargain, and
14   was injured as a result. If Jankowski had been told of these Defects, Battery Issues, and the
15   deceptive manner in which Apple would damage the Device after sale, Jankowski would not have
16   purchased the Device, or would have paid substantially less for it.
17                                                   OHIO
18          185.        Plaintiff Kristin Bilic is a resident and citizen of the State of Ohio and she
19   purchased an iPhone 6 on December 5, 2014. Prior to her purchase of the Device, she did not
20   know, nor could she have known through reasonable diligence, of the Battery Issues and Defects in
21   her Device.
22          186.        Not only did Bilic’s Device not operate as Apple warranted and promised
23   initially, but Apple never represented or warranted that iOS updates would cause the way Bilic’s
24   Device operated to fundamentally change. Bilic’s Device did not operate as promised in Apple’s
25   advertisements, representations, and the information publicly available in the marketplace.
26   Additionally, none of the packaging in which the Device was sold to Bilic revealed that there were
27   any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
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 1   otherwise regulate the battery power and speed pursuant to which Bilic’s Device would operate.
 2   Accordingly, not only was way Bilic’s Device defective at the point of sale due to its Battery Issues
 3   and Design Defects, but Apple exacerbated the problems with Bilic’s Device via its
 4   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
 5   Bilic did not receive the benefit of her bargain, and was injured as a result. If Bilic had been told of
 6   these Defects, Battery Issues, and the deceptive manner in which Apple would damage the Device
 7   after sale, Bilic would not have purchased the Device, or would have paid substantially less for it.
 8                                                   OHIO
 9          187.        Plaintiff Samuel Mangano is a resident and citizen of the State of Ohio and he
10   has leased multiple generations of the iPhone, including two iPhone 5c Devices and an iPhone 6 for
11   him and his family in September 2014 and three iPhone 7 Devices for him and his family in
12   September 2016. Prior to his lease of the Devices, he did not know, nor could he have known
13   through reasonable diligence, of the Battery Issues and Defects in his Devices. At time of initial
14   lease, the Devices operated on their factory-installed iOS versions.
15          188.        Not only did Mangano’s Devices not operate as Apple warranted and promised
16   initially, but Apple never represented or warranted that any of the future iOS updates would cause
17   the way Mangano’s Devices operated to fundamentally change. Mangano’s Devices, particularly
18   after installation of subsequent iOS versions, did not operate as promised in Apple’s
19   advertisements, representations, and the information publicly available in the marketplace.
20   Additionally, none of the packaging in which the Devices were sold to Mangano revealed that there
21   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
22   otherwise regulate the battery power and speed pursuant to which Mangano’s Devices would
23   operate. Accordingly, not only were Mangano’s Devices defective at the point of lease due to their
24   Battery Issues and Design Defects, but Apple exacerbated the problems with Mangano’s Devices
25   via its misrepresentations and omissions with the iOS software Updates. As a result of Apple’s
26   actions, Mangano did not receive the benefit of his bargain and was injured as a result. If Mangano
27   had been told of these Defects, Battery Issues, and the deceptive manner in which Apple would
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 1   damage the Devices after sale, Mangano would not have purchased the Devices, or would have paid
 2   substantially less for them.
 3                                              OKLAHOMA
 4             189.     Plaintiff Sarah Stone is a resident and citizen of the State of Oklahoma and she
 5   purchased an iPhone 7 Plus in late 2016 or early 2017. Prior to her purchase of the Device, she did
 6   not know, nor could she have known through reasonable diligence, of the Battery Issues and
 7   Defects in her Device.
 8             190.     Not only did Stone’s Device not operate as Apple warranted and promised
 9   initially, but Apple never represented or warranted that iOS updates would cause the way Stone’s
10   Device operated to fundamentally change. Stone’s Device did not operate as promised in Apple’s
11   advertisements, representations, and the information publicly available in the marketplace.
12   Additionally, none of the packaging in which the Device was sold to Stone revealed that there were
13   any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
14   otherwise regulate the battery power and speed pursuant to which Stone’s Device would operate.
15   Accordingly, not only was way Stone’s Device defective at the point of sale due to its Battery
16   Issues and Design Defects, but Apple exacerbated the problems with Stone’s Device via its
17   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
18   Stone did not receive the benefit of her bargain, and was injured as a result. If Stone had been told
19   of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
20   Device after sale, Stone would not have purchased the Device, or would have paid substantially less
21   for it.
22                                                OREGON
23             191.     Plaintiff Susan Rutan is a resident and citizen of the State of California and she
24   purchased an iPhone 6s Plus in Oregon. Prior to her purchase of the Device, she did not know, nor
25   could she have known through reasonable diligence, of the Battery Issues and Defects in her
26   Device.
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 1          192.        Not only did Rutan’s Device not operate as Apple warranted and promised
 2   initially, but Apple never represented or warranted that iOS updates would cause the way Rutan’s
 3   Device operated to fundamentally change. Rutan’s Device did not operate as promised in Apple’s
 4   advertisements, representations, and the information publicly available in the marketplace.
 5   Additionally, none of the packaging in which the Device was sold to Rutan revealed that there were
 6   any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
 7   otherwise regulate the battery power and speed pursuant to which Rutan’s Device would operate.
 8   Accordingly, not only was Rutan’s Device defective at the point of sale due to its Battery Issues and
 9   Design Defects, but Apple exacerbated the problems with Rutan’s Device via its misrepresentations
10   and omissions with the iOS software Updates. As a result of Apple’s actions, Rutan did not receive
11   the benefit of her bargain, and was injured as a result. If Rutan had been told of these Defects,
12   Battery Issues, and the deceptive manner in which Apple would damage the Device after sale,
13   Rutan would not have purchased the Device, or would have paid substantially less for it
14                                                OREGON
15          193.        Plaintiff Megan Mesloh is a resident and citizen of the State of Oregon and she
16   purchased an iPhone 5c on June 24, 2014. Prior to her purchase of the Device, she did not know,
17   nor could she have known through reasonable diligence of the Battery Issues and Defects in her
18   Device. At time of initial purchase, the Device operated on the latest version of iOS. Mesloh
19   downloaded and installed version 10.2 of iOS on her Device.
20          194.        Not only did Mesloh’s Device not operate as Apple warranted and promised
21   initially, but Apple never represented or warranted that version 10.2 of iOS or any future versions
22   would cause the way Mesloh’s Device operated to fundamentally change. Mesloh’s Device,
23   particularly after installation of version 10.2 of iOS, did not operate as promised in Apple’s
24   advertisements, representations, and the information publicly available in the marketplace.
25   Additionally, none of the packaging in which the Device was sold to Mesloh revealed that there
26   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
27   otherwise regulate the battery power and speed pursuant to which Mesloh’s Device would operate.
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 1   Accordingly, not only was Mesloh’s Device defective at the point of sale due to its Battery Issues
 2   and Design Defects, but Apple exacerbated the problems with Mesloh’s Device via its
 3   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
 4   Mesloh did not receive the benefit of her bargain, and was injured as a result. If Mesloh had been
 5   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
 6   Device after sale, Mesloh would not have purchased the Device, or would have paid substantially
 7   less for it.
 8                                           PENNSYLVANIA
 9            195.      Plaintiff Beckie Erwin is a resident and citizen of the Commonwealth of
10   Pennsylvania and she purchased three iPhone 6s’s in July 2016, two of which were for her children.
11   Prior to her purchase of the Devices, she did not know, nor could she have known through
12   reasonable diligence of the Battery Issues and Defects in her Devices.
13            196.      Not only did Erwin’s Devices not operate as Apple warranted and promised
14   initially, but Apple never represented or warranted that iOS updates would cause the way Erwin’s
15   Devices operated to fundamentally change. Erwin’s Devices did not operate as promised in
16   Apple’s advertisements, representations, and the information publicly available in the marketplace.
17   Additionally, none of the packaging in which the Devices were sold to Erwin revealed that there
18   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
19   otherwise regulate the battery power and speed pursuant to which Erwin’s Devices would operate.
20   Accordingly, not only was Erwin’s Devices defective at the point of sale due to their Battery Issues
21   and Design Defects, but Apple exacerbated the problems with Erwin’s Devices via its
22   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
23   Erwin did not receive the benefit of her bargain, and was injured as a result. If Erwin had been told
24   of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
25   Devices after sale, Erwin would not have purchased the Devices, or would have paid substantially
26   less for it.
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 1                                            PENNSYLVANIA
 2          197.        Plaintiff Darlane Saracina is a resident and citizen of the Commonwealth of
 3   Pennsylvania and she purchased an iPhone 5s and iPhone 6s Plus on various dates. Prior to her
 4   purchase of the Devices, she did not know, nor could she have known through reasonable diligence,
 5   of the Battery Issues and Defects in her Devices. At time of initial purchase, the Devices operated
 6   on various versions of iOS. Saracina downloaded and installed various versions of iOS on her
 7   Devices on various dates.
 8          198.        Not only did Saracina’s Devices not operate as Apple warranted and promised
 9   initially, but Apple never represented or warranted that versions of iOS or any of the future updates
10   would cause the way Saracina’s Devices operated to fundamentally change. Saracina’s Devices,
11   particularly after installation of various versions of iOS, did not operate as promised in Apple’s
12   advertisements, representations, and the information publicly available in the marketplace.
13   Additionally, none of the packaging in which the Devices were sold to Saracina revealed that there
14   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
15   otherwise regulate the battery power and speed pursuant to which Saracina’s Devices would
16   operate. Accordingly, not only were Saracina’s Devices defective at the point of sale due to their
17   Battery Issues and Design Defects, but Apple exacerbated the problems with Saracina’s Devices via
18   its misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
19   Saracina did not receive the benefit of her bargain, and was injured as a result. If Saracina had been
20   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
21   Devices after sale, Saracina would not have purchased the Devices, or would have paid
22   substantially less for them.
23                                            RHODE ISLAND
24          199.        Plaintiff Stephen Heffner is a resident and citizen of the State of Rhode Island
25   and he purchased an iPhone 6. Prior to his purchase of the Device, he did not know, nor could he
26   have known through reasonable diligence, of the Battery Issues and Defects in his Device. After
27   purchasing the device, Heffner downloaded and installed iOS 8.3 on his Device.
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 1           200.       Not only did Heffner’s Device not operate as Apple warranted and promised
 2   initially, but Apple never represented or warranted that iOS 8.3 or any of the future updates would
 3   cause the way Heffner’s Device operated to fundamentally change. Heffner’s Device, particularly
 4   after installation of iOS 8.3, did not operate as promised in Apple’s advertisements, representations,
 5   and the information publicly available in the marketplace. Additionally, none of the packaging in
 6   which the Device was sold to Heffner revealed that there were any Defects, Battery Issues, or that
 7   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
 8   speed pursuant to which Heffner’s Device would operate. Accordingly, not only was Heffner’s
 9   Device defective at the point of sale due to its Battery Issues and Design Defects, but Apple
10   exacerbated the problems with Heffner’s Device via its misrepresentations and omissions with the
11   iOS software Updates. As a result of Apple’s actions, Heffner did not receive the benefit of his
12   bargain, and was injured as a result. If Heffner had been told of these Defects, Battery Issues, and
13   the deceptive manner in which Apple would damage the Device after sale, Heffner would not have
14   purchased the Device, or would have paid substantially less for it.
15                                            RHODE ISLAND
16           201.       Plaintiff Brian Macinanti is a resident and citizen of the State of RHODE
17   ISLAND and he purchased an iPhone 6 on or around September 23, 2015. Prior to his purchase of
18   the Device, he did not know, nor could he have known through reasonable diligence, of the Battery
19   Issues and Defects in his Device. At time of initial purchase, the Device operated on version of 9.0
20   of iOS. Macinanti downloaded and installed version 11.4 of iOS on his Device in or around June
21   2017.
22           202.       Not only did Macinanti’s Device not operate as Apple warranted and promised
23   initially, but Apple never represented or warranted that version 9.0 of iOS or any future updates
24   would cause the way Macinanti’s Device operated to fundamentally change. Macinanti’s Device,
25   after installation of versions of iOS, did not operate as promised in Apple’s advertisements,
26   representations, and the information publicly available in the marketplace. Additionally, none of
27   the packaging in which the Device was sold to Macinanti revealed that there were any Defects,
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 1   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
 2   the battery power and speed pursuant to which Macinanti’s Device would operate. Accordingly,
 3   not only was Macinanti’s Device defective at the point of sale due to its Battery Issues and Design
 4   Defects, but Apple exacerbated the problems with Macinanti’s Device via its misrepresentations
 5   and omissions with the iOS software Updates. As a result of Apple’s actions, Macinanti did not
 6   receive the benefit of his bargain and was injured as a result. If MACINANTI had been told of
 7   these Defects, Battery Issues, and the deceptive manner in which Apple would damage the Device
 8   after sale, Macinanti would not have purchased the Device, or would have paid substantially less
 9   for it.
10                                         SOUTH CAROLINA
11             203.    Plaintiff Charlene Lowery is a resident and citizen of the State of South
12   Carolina and she purchased an iPhone 6 in or about 2016. Prior to her purchase of the Device, she
13   did not know, nor could she have known through reasonable diligence, of the Battery Issues and
14   Defects in her Device.
15             204.    Not only did Lowery’s Device not operate as Apple warranted and promised
16   initially, but Apple never represented or warranted that iOS updates would cause the way Lowery’s
17   Device operated to fundamentally change. Lowery’s Device did not operate as promised in Apple’s
18   advertisements, representations, and the information publicly available in the marketplace.
19   Additionally, none of the packaging in which the Device was sold to Lowery revealed that there
20   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
21   otherwise regulate the battery power and speed pursuant to which Lowery’s Device would operate.
22   Accordingly, not only was Lowery’s Device defective at the point of sale due to its Battery Issues
23   and Design Defects, but Apple exacerbated the problems with Lowery’s Device via its
24   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
25   Lowery did not receive the benefit of her bargain, and was injured as a result. If Lowery had been
26   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
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 1   Device after sale, Lowery would not have purchased the Device, or would have paid substantially
 2   less for it.
 3                                          SOUTH CAROLINA
 4            205.      Plaintiff Patti Burriss is a resident and citizen of the State of South Carolina
 5   and she purchased an iPhone 6 in the fall of 2014. She traded in her iPhone 6 for an iPhone 7 (her
 6   “Device”) in the spring of 2016. She also purchased an iPad Air in approximately 2014 and two
 7   iPad Air 2 Devices in approximately 2016. Prior to her purchase of the Device, she did not know,
 8   nor could she have known through reasonable diligence, of the Battery Issues and Defects in her
 9   Device.
10            206.      Not only did Burriss’s Device not operate as Apple warranted and promised
11   initially, but Apple never represented or warranted that iOS updates would cause the way Burriss’s
12   Device operated to fundamentally change. Burriss’s Device did not operate as promised in Apple’s
13   advertisements, representations, and the information publicly available in the marketplace.
14   Additionally, none of the packaging in which the Device was sold to Burriss revealed that there
15   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
16   otherwise regulate the battery power and speed pursuant to which Burriss’s Device would operate.
17   Accordingly, not only was way Burriss’s Device defective at the point of sale due to its Battery
18   Issues and Design Defects, but Apple exacerbated the problems with Burriss’s Device via its
19   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
20   Burriss did not receive the benefit of her bargain, and was injured as a result. If Burriss had been
21   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
22   Device after sale, Burriss would not have purchased the Device, or would have paid substantially
23   less for it.
24                                            SOUTH DAKOTA
25            207.      Plaintiff Denise Bakke is a resident and citizen of the State of South Dakota and
26   she purchased an iPhone 5s in August 2015 and an iPhone 6 in August 2016. Prior to her purchase
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 1   of the Devices, she did not know, nor could she have known through reasonable diligence of the
 2   Battery Issues and Defects in her Devices.
 3            208.      Not only did Bakke’s Devices not operate as Apple warranted and promised
 4   initially, but Apple never represented or warranted that iOS updates would cause the way Bakke’s
 5   Devices operated to fundamentally change. Bakke’s Devices did not operate as promised in
 6   Apple’s advertisements, representations, and the information publicly available in the marketplace.
 7   Additionally, none of the packaging in which the Devices were sold to Bakke revealed that there
 8   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
 9   otherwise regulate the battery power and speed pursuant to which Bakke’s Devices would operate.
10   Accordingly, not only were Bakke’s Devices defective at the point of sale due to their Battery
11   Issues and Design Defects, but Apple exacerbated the problems with Bakke’s Devices via its
12   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
13   Bakke did not receive the benefit of her bargain, and was injured as a result. If Bakke had been told
14   of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
15   Devices after sale, Bakke would not have purchased the Devices, or would have paid substantially
16   less for it.
17                                                TENNESSEE
18            209.      Plaintiff Jodi Johnson is a resident and citizen of the State of Tennessee and she
19   purchased an iPhone 5s in or around 2015. Prior to her purchase of the Device, she did not know,
20   nor could she have known through reasonable diligence, of the Battery Issues and Defects in her
21   Device. At time of initial purchase, the Device operated on iOS 7. Johnson downloaded and
22   installed iOS 11 on her Device in or around November or December 2017.
23            210.      Not only did Johnson’s Device not operate as Apple warranted and promised
24   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
25   cause the way Johnson’s Device operated to fundamentally change. Johnson’s Device, particularly
26   after installation of iOS 11, did not operate as promised in Apple’s advertisements, representations,
27   and the information publicly available in the marketplace. Additionally, none of the packaging in
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 1   which the Device was sold to Johnson revealed that there were any Defects, Battery Issues, or that
 2   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
 3   speed pursuant to which Johnson’s Device would operate. Accordingly, not only was Johnson’s
 4   Device defective at the point of sale due to its Battery Issues and Design Defects, but Apple
 5   exacerbated the problems with Johnson’s Device via its misrepresentations and omissions with the
 6   iOS software Updates. As a result of Apple’s actions, Johnson did not receive the benefit of her
 7   bargain, and was injured as a result. If Johnson had been told of these Defects, Battery Issues, and
 8   the deceptive manner in which Apple would damage the Device after sale, Johnson would not have
 9   purchased the Device, or would have paid substantially less for it.
10                                                 TEXAS
11          211.        Plaintiff Lillie Reap Diaz is a resident and citizen of the State of Texas and she
12   purchased an iPhone 6 in 2015. Prior to her purchase of the Device, she did not know, nor could
13   she have known through reasonable diligence, of the Battery Issues and Defects in her Device.
14          212.        Not only did Diaz’s Device not operate as Apple warranted and promised
15   initially, but Apple never represented or warranted that iOS updates would cause the way Diaz’s
16   Device operated to fundamentally change. Diaz’s Device, particularly after installation of an iOS
17   update in late 2016/early 2017, did not operate as promised in Apple’s advertisements,
18   representations, and the information publicly available in the marketplace. Additionally, none of
19   the packaging in which the Device was sold to Diaz revealed that there were any Defects, Battery
20   Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the
21   battery power and speed pursuant to which Diaz’s Device would operate. Accordingly, not only
22   was way Diaz’s Device defective at the point of sale due to its Battery Issues and Design Defects,
23   but Apple exacerbated the problems with Diaz’s Device via its misrepresentations and omissions
24   with the iOS software Updates. As a result of Apple’s actions, Diaz did not receive the benefit of
25   her bargain, and was injured as a result. If Diaz had been told of these Defects, Battery Issues, and
26   the deceptive manner in which Apple would damage the Device after sale, Diaz would not have
27   purchased the Device, or would have paid substantially less for it.
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 1                                                  TEXAS
 2            213.     Plaintiff Craig Jonathan Moore is a resident and citizen of the State of Texas
 3   and he purchased an iPhone 6s in the fall of 2016. Due to problems with his Device, he traded it in
 4   for an iPhone 7 Plus in 2017. Prior to his purchases of the Devices, he did not know, nor could he
 5   have known through reasonable diligence, of the Battery Issues and Defects in his Device.
 6            214.     Not only did Moore’s Device not operate as Apple warranted and promised
 7   initially, but Apple never represented or warranted that iOS updates would cause the way Moore’s
 8   Devices operated to fundamentally change. Moore’s Devices did not operate as promised in
 9   Apple’s advertisements, representations, and the information publicly available in the marketplace.
10   Additionally, none of the packaging in which the Devices were sold to Moore revealed that there
11   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
12   otherwise regulate the battery power and speed pursuant to which Moore’s Device would operate.
13   Accordingly, not only were Moore’s Devices defective at the point of sale due to their Battery
14   Issues and Design Defects, but Apple exacerbated the problems with Moore’s Devices via its
15   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
16   Moore did not receive the benefit of his bargain, and was injured as a result. If Moore had been
17   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
18   Devices after sale, Moore would not have purchased the Devices, or would have paid substantially
19   less for it.
20                                                  UTAH
21            215.     Plaintiff Annamarie Vinacco is a resident and citizen of the State of Utah and
22   she purchased an iPhone 6 Plus in the fall of 2014 and an iPad Pro in 2016. Prior to her purchase of
23   the Devices, she did not know, nor could she have known through reasonable diligence, of the
24   Battery Issues and Defects in her Devices. At time of initial purchase, her iPhone 6 Plus operated
25   on iOS 8 and her iPad Pro operated on iOS 9.
26            216.     Not only did Vinacco’s Devices not operate as Apple warranted and promised
27   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
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 1   cause the way Vinacco’s Devices operated to fundamentally change. Vinacco’s Devices,
 2   particularly after installation of iOS 11, did not operate as promised in Apple’s advertisements,
 3   representations, and the information publicly available in the marketplace. Additionally, none of
 4   the packaging in which the Devices were sold to Vinacco revealed that there were any Defects,
 5   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
 6   the battery power and speed pursuant to which Vinacco’s Devices would operate. Accordingly, not
 7   only were Vinacco’s Devices defective at the point of sale due to their Battery Issues and Design
 8   Defects, but Apple exacerbated the problems with Vinacco’s Devices via its misrepresentations and
 9   omissions with the iOS software Updates. As a result of Apple’s actions, Vinacco did not receive
10   the benefit of her bargain and was injured as a result. If Vinacco had been told of these Defects,
11   Battery Issues, and the deceptive manner in which Apple would damage the Devices after sale,
12   Vinacco would not have purchased the Devices, or would have paid substantially less for them.
13                                                  UTAH
14           217.       Plaintiff Henry Becker is a resident and citizen of the State of Utah and he
15   purchased an iPhone 6 Plus for himself on March 30, 2015 and an iPhone 6 for his wife on June 2,
16   2015. Prior to his purchase of the Devices, he did not know, nor could he have known through
17   reasonable diligence, of the Battery Issues and Defects in his Devices. At time of initial purchase,
18   their iPhone 6 and 6 Plus operated on iOS 8, and the iPhone X Devices operated on iOS 11. Becker
19   and his wife downloaded and installed iOS 11 on their iPhone 6 and 6 Plus Devices in the fall of
20   2017.
21           218.       Not only did Becker’s Devices not operate as Apple warranted and promised
22   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
23   cause the way Becker’s Devices operated to fundamentally change. Becker’s Devices, particularly
24   after installation of iOS 11, did not operate as promised in Apple’s advertisements, representations,
25   and the information publicly available in the marketplace. Additionally, none of the packaging in
26   which the Devices were sold to Becker revealed that there were any Defects, Battery Issues, or that
27   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
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 1   speed pursuant to which Becker’s Devices would operate. Accordingly, not only were Becker’s
 2   Devices defective at the point of sale due to their Battery Issues and Design Defects, but Apple
 3   exacerbated the problems withBecker’s Devices via its misrepresentations and omissions with the
 4   iOS software Updates. As a result of Apple’s actions, Becker did not receive the benefit of his
 5   bargain and was injured as a result. If Becker had been told of these Defects, Battery Issues, and
 6   the deceptive manner in which Apple would damage the Devices after sale, Becker would not have
 7   purchased the Devices, or would have paid substantially less for them.
 8                                               VERMONT
 9          219.        Plaintiff Georgiana D’Alessandro is a resident and citizen of the State of
10   Vermont and she purchased an iPhone 6 in or about March 2015. Prior to her purchase of the
11   Device, she did not know, nor could she have known through reasonable diligence, of the Battery
12   Issues and Defects in her Device. D’Alessandro downloaded and installed iOS updates as
13   recommended.
14          220.           Not only did D’Alessandro’s Device not operate as Apple warranted and
15   promised initially, but Apple never represented or warranted that iOS updates would cause the way
16   D’Alessandro’s Device operated to fundamentally change. D’Alessandro’s Device did not operate
17   as promised in Apple’s advertisements, representations, and the information publicly available in
18   the marketplace. Additionally, none of the packaging in which the Device was sold to
19   D’Alessandro revealed that there were any Defects, Battery Issues, or that Apple would use the
20   Updates to “smooth,” “throttle,” or otherwise regulate the battery power and speed pursuant to
21   which D’Alessandro’s Device would operate. Accordingly, not only was D’Alessandro’s Device
22   defective at the point of sale due to its Battery Issues and Design Defects, but Apple exacerbated
23   the problems with D’Alessandro’s Device via its misrepresentations and omissions with the iOS
24   software Updates. As a result of Apple’s actions, D’Alessandro did not receive the benefit of her
25   bargain, and was injured as a result. If D’Alessandro had been told of these Defects, Battery Issues,
26   and the deceptive manner in which Apple would damage the Device after sale, D’Alessandro would
27   not have purchased the Device, or would have paid substantially less for it.
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 1                                                VIRGINIA
 2          221.        Plaintiff Aurelia Flores is a resident and citizen of the Commonwealth of
 3   Virginia and she purchased an iPhone 6s and iPad Mini. Prior to her purchase of the Devices, she
 4   did not know, nor could she have known through reasonable diligence of the Battery Issues and
 5   Defects in her Devices. At time of initial purchase, the Devices operated on the current version of
 6   iOS at that time. Flores downloaded and installed version 11.4 of iOS on her Devices.
 7          222.        Not only did Flores’s Devices not operate as Apple warranted and promised
 8   initially, but Apple never represented or warranted that version 11.4 of iOS or any of the future
 9   updates would cause the way Flores’s Devices operated to fundamentally change. Flores’s
10   Devices, particularly after installation of version 11.4 of iOS, did not operate as promised in
11   Apple’s advertisements, representations, and the information publicly available in the marketplace.
12   Additionally, none of the packaging in which the Devices were sold to Flores revealed that there
13   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
14   otherwise regulate the battery power and speed pursuant to which Flore’s Devices would operate.
15   Accordingly, not only were Flore’s Devices defective at the point of sale due to their Battery Issues
16   and Design Defects, but Apple exacerbated the problems with Flore’s Devices via its
17   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
18   Flores did not receive the benefit of her bargain, and was injured as a result. If Flores had been told
19   of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
20   Devices after sale, Flores would not have purchased the Devices, or would have paid substantially
21   less for them.
22                                             WASHINGTON
23          223.        Plaintiff Thomas Anthony Ciccone is a resident and citizen of the State of
24   Washington and he purchased an iPhone 6s in June 2014. Prior to his purchase of the Device, he
25   did not know, nor could he have known through reasonable diligence, of the Battery Issues and
26   Defects in his Device.
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 1            224.      Not only did Ciccone’s Device not operate as Apple warranted and promised
 2   initially, but Apple never represented or warranted that iOS updates would cause the way Ciccone’s
 3   Device operated to fundamentally change. Ciccone’s Device did not operate as promised in
 4   Apple’s advertisements, representations, and the information publicly available in the marketplace.
 5   Additionally, none of the packaging in which the Device was sold to Ciccone revealed that there
 6   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
 7   otherwise regulate the battery power and speed pursuant to which Ciccone’s Device would operate.
 8   Accordingly, not only was way Ciccone’s Device defective at the point of sale due to its Battery
 9   Issues and Design Defects, but Apple exacerbated the problems with Ciccone’s Device via its
10   misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
11   Ciccone did not receive the benefit of his bargain, and was injured as a result. If Ciccone had been
12   told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage the
13   Device after sale, Ciccone would not have purchased the Device or would have paid substantially
14   less for it.
15                                             WASHINGTON
16            225.      Plaintiff Kristopher Kingston is a resident and citizen of the State of
17   Washington and he purchased an iPhone 6s Plus in January 2016. Prior to his purchase of his
18   Device, he did not know, nor could he have known through reasonable diligence, of the Battery
19   Issues and Defects in his Device. At time of initial purchase, his Device operated on iOS 9.
20   Kingston downloaded and installed iOS 11 on the Device in the fall of 2017.
21            226.      Not only did Kingston’s Device not operate as Apple warranted and promised
22   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
23   cause the way Kingston’s Device operated to fundamentally change. Kingston’s Device,
24   particularly after installation of iOS 11, did not operate as promised in Apple’s advertisements,
25   representations, and the information publicly available in the marketplace. Additionally, none of
26   the packaging in which the Device was sold to Kingston revealed that there were any Defects,
27   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
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 1   the battery power and speed pursuant to which Kingston’s Device would operate. Accordingly, not
 2   only was Kingston’s Device defective at the point of sale due to its Battery Issues and Design
 3   Defects, but Apple exacerbated the problems with Kingston’s Device via its misrepresentations and
 4   omissions with the iOS software Updates. As a result of Apple’s actions, Kingston did not receive
 5   the benefit of his bargain, and was injured as a result. If Kingston had been told of these Defects,
 6   Battery Issues, and the deceptive manner in which Apple would damage the Device after sale,
 7   Kingston would not have purchased the Device, or would have paid substantially less for it.
 8                                            WEST VIRGINIA
 9           227.        Plaintiff Tonya Margarette Thompson is a resident and citizen of the State of
10   West Virginia and she purchased an iPhone 7 Plus in the summer of 2017 after her iPhone 5c
11   seemed to slow down. Prior to her purchase of the Device, she did not know, nor could she have
12   known through reasonable diligence, of the Battery Issues and Defects in her Device. Thompson
13   also replaced two 6s Pluses for her children in approximately the same timeframe.
14           228.        Not only did Thompson’s Device not operate as Apple warranted and promised
15   initially, but Apple never represented or warranted that iOS would cause the way Thompson’s
16   Device operated to fundamentally change. Thompson’s Device did not operate as promised in
17   Apple’s advertisements, representations, and the information publicly available in the marketplace.
18   Additionally, none of the packaging in which the Device was sold to Thompson revealed that there
19   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
20   otherwise regulate the battery power and speed pursuant to which Thompson’s Device would
21   operate. Accordingly, not only was way Thompson’s Device defective at the point of sale due to its
22   Battery Issues and Design Defects, but Apple exacerbated the problems with Thompson’s Device
23   via its misrepresentations and omissions with the iOS software Updates. As a result of Apple’s
24   actions, Thompson did not receive the benefit of her bargain, and was injured as a result. If
25   Thompson had been told of these Defects, Battery Issues, and the deceptive manner in which Apple
26   would damage the Device after sale, Thompson would not have purchased the Device, or would
27   have paid substantially less for it.
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 1                                              WISCONSIN
 2          229.        Plaintiff Dale Johnson is a resident and citizen of the State of Wisconsin and he
 3   purchased an iPhone 6s Plus on March 1, 2016. Prior to his purchase of the Device, he did not
 4   know, nor could he have known through reasonable diligence, of the Battery Issues and Defects in
 5   his Device. At time of initial purchase, the Device operated on iOS 9. Johnson downloaded and
 6   installed iOS 11.2 on his Device in December 2017.
 7          230.        Not only did Johnson’s Device not operate as Apple warranted and promised
 8   initially, but Apple never represented or warranted that iOS 11.2 or any of the future updates would
 9   cause the way Johnson’s Device operated to fundamentally change. Johnson’s Device, particularly
10   after installation of iOS 11.2, did not operate as promised in Apple’s advertisements,
11   representations, and the information publicly available in the marketplace. Additionally, none of
12   the packaging in which the Device was sold to Johnson revealed that there were any Defects,
13   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
14   the battery power and speed pursuant to which Johnson’s Device would operate. Accordingly, not
15   only was Johnson’s Device defective at the point of sale due to its Battery Issues and Design
16   Defects, but Apple exacerbated the problems with Johnson’s Device via its misrepresentations and
17   omissions with the iOS software Updates. As a result of Apple’s actions, Johnson did not receive
18   the benefit of his bargain and was injured as a result. If Johnson had been told of these Defects,
19   Battery Issues, and the deceptive manner in which Apple would damage the Device after sale,
20   Johnson would not have purchased the Device, or would have paid substantially less for it.
21                                              WISCONSIN
22          231.        Plaintiff Kyle Herman is a resident and citizen of the State of Wisconsin and he
23   purchased an iPhone 6 on May 6, 2016. Prior to his purchase of the Device, he did not know, nor
24   could he have known through reasonable diligence, of the Battery Issues and Defects in his Device.
25   At time of initial purchase, the Device operated on its factory-installed iOS versions. Herman
26   downloaded and installed iOS 10.0 on his Device in September 2016.
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 1          232.        Not only did Herman’s Device not operate as Apple warranted and promised
 2   initially, but Apple never represented or warranted that iOS 10.0 or any of the future updates would
 3   cause the way Herman’s Device operated to fundamentally change. Herman’s Device, for example
 4   after installation of iOS 10.0, did not operate as promised in Apple’s advertisements,
 5   representations, and the information publicly available in the marketplace. Additionally, none of
 6   the packaging in which the Device was sold to Herman revealed that there were any Defects,
 7   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
 8   the battery power and speed pursuant to which Herman’s Device would operate. Accordingly, not
 9   only was Herman’s Device defective at the point of sale due to its Battery Issues and Design
10   Defects, but Apple exacerbated the problems with Herman’s Devices via its misrepresentations and
11   omissions with the iOS software Updates. As a result of Apple’s actions, Herman did not receive
12   the benefit of his bargain and was injured as a result. If Herman had been told of these Defects,
13   Battery Issues, and the deceptive manner in which Apple would damage the Devices after sale,
14   Herman would not have purchased the Devices, or would have paid substantially less for them.
15                                               WYOMING
16          233.        Plaintiff Quinn Lewis is a resident and citizen of the State of Wyoming and he
17   purchased an iPhone 6 on November 24, 2017. Prior to his purchase of the Device, he did not
18   know, nor could he have known through reasonable diligence, of the Battery Issues and Defects in
19   his Device. At time of initial purchase, the Device operated on its factory-installed iOS. Lewis
20   downloaded and installed iOS 11.3 on his Device in or around April 2018.
21          234.        Not only did Lewis’s Device not operate as Apple warranted and promised
22   initially, but Apple never represented or warranted that iOS 11.3 or any of the future updates would
23   cause the way Lewis’s Device operated to fundamentally change. Lewis’s Device, particularly after
24   installation of iOS 11.3, did not operate as promised in Apple’s advertisements, representations, and
25   the information publicly available in the marketplace. Additionally, none of the packaging in which
26   the Device was sold to Lewis revealed that there were any Defects, Battery Issues, or that Apple
27   would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and speed
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 1   pursuant to which Lewis’s Device would operate. Accordingly, not only was Lewis’s Device
 2   defective at the point of sale due to its Battery Issues and Design Defects, but Apple exacerbated
 3   the problems with Lewis’s Device via its misrepresentations and omissions with the iOS software
 4   Updates. As a result of Apple’s actions, Lewis did not receive the benefit of his bargain and was
 5   injured as a result. If Lewis had been told of these Defects, Battery Issues, and the deceptive
 6   manner in which Apple would damage the Device after sale, Lewis would not have purchased the
 7   Device, or would have paid substantially less for it.
 8                                             PUERTO RICO
 9          235.        Plaintiff Shiriam Torres is a resident and citizen of Puerto Rico and she
10   purchased an iPhone 6s in October 2015 and an iPhone 7 Plus in March 2017. Prior to her purchase
11   of the Devices, she did not know, nor could she have known through reasonable diligence, of the
12   Battery Issues and Defects in her Devices. At time of initial purchase, her iPhone 6s operated on
13   iOS 9 and her iPhone 7 Plus operated on iOS 10.
14          236.        Not only did Torres’s Devices not operate as Apple warranted and promised
15   initially, but Apple never represented or warranted that any of the future iOS updates would cause
16   the way Torres’s Devices operated to fundamentally change. Torres’s Devices, particularly after
17   installation of subsequent iOS versions, did not operate as promised in Apple’s advertisements,
18   representations, and the information publicly available in the marketplace. Additionally, none of
19   the packaging in which the Devices were sold to Torres revealed that there were any Defects,
20   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
21   the battery power and speed pursuant to which Torres’s Devices would operate. Accordingly, not
22   only were Torres’s Devices defective at the point of sale due to its Battery Issues and Design
23   Defects, but Apple exacerbated the problems with Torres’s Devices via its misrepresentations and
24   omissions with the iOS software Updates. As a result of Apple’s actions, Torres did not receive the
25   benefit of her bargain and was injured as a result. If Torres had been told of these Defects, Battery
26   Issues, and the deceptive manner in which Apple would damage the Devices after sale, Torres
27   would not have purchased the Devices, or would have paid substantially less for them.
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 1                                         VIRGIN ISLANDS (US)
 2          237.        Plaintiff Adam Shapiro is a resident and citizen of the United States Virgin
 3   Islands and he purchased two iPhone 6s Devices for his wife and child in or around 2015 in Florida
 4   and an iPhone 7 Plus for himself in or around 2016 in Florida. Shapiro has also purchased multiple
 5   generations of iPad Devices. Prior to his purchase of the Devices, he did not know, nor could he
 6   have known through reasonable diligence of the Battery Issues and Defects in his Devices. At time
 7   of initial purchase, the Devices operated on their factory-installed iOS version.
 8          238.        Not only did Shapiro’s Devices not operate as Apple warranted and promised
 9   initially, but Apple never represented or warranted that any of the future iOS updates would cause
10   the way Shapiro’s Devices operated to fundamentally change. Shapiro’s Devices, particularly after
11   installation of subsequent iOS versions, did not operate as promised in Apple’s advertisements,
12   representations, and the information publicly available in the marketplace. Additionally, none of
13   the packaging in which the Devices were sold to Shapiro revealed that there were any Defects,
14   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
15   the battery power and speed pursuant to which Shapiro’s Devices would operate. Accordingly, not
16   only were Shapiro’s Devices defective at the point of sale due to their Battery Issues and Design
17   Defects, but Apple exacerbated the problems with Shapiro’s Devices via its misrepresentations and
18   omissions with the iOS software Updates. As a result of Apple’s actions, Shapiro did not receive
19   the benefit of his bargain and was injured as a result. If Shapiro had been told of these Defects,
20   Battery Issues, and the deceptive manner in which Apple would damage the Devices after sale,
21   Shapiro would not have purchased the Devices, or would have paid substantially less for them.
22                                                BELGIUM
23          239.        Plaintiff Marianne Wagner is a resident and citizen of the Country of Belgium
24   and she purchased an iPhone 6s in June 2017. Prior to her purchase of the Device, she did not
25   know, nor could she have known through reasonable diligence, of the Battery Issues and Defects in
26   her Device. Wagner downloaded and installed the first iOS update available on her Device.
27

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 1          240.        Not only did Wagner’s Device not operate as Apple warranted and promised
 2   initially, but Apple never represented or warranted that iOS updates would cause the way Wagner’s
 3   Device operated to fundamentally change. Wagner’s Device, particularly after installation of her
 4   initial iOS update, did not operate as promised in Apple’s advertisements, representations, and the
 5   information publicly available in the marketplace. Additionally, none of the packaging in which the
 6   Device was sold to Wagner revealed that there were any Defects, Battery Issues, or that Apple
 7   would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and speed
 8   pursuant to which Wagner’s Device would operate. Accordingly, not only was Wagner’s Device
 9   defective at the point of sale due to its Battery Issues and Design Defects, but Apple exacerbated
10   the problems with Wagner’s Device via its misrepresentations and omissions with the iOS software
11   Updates. As a result of Apple’s actions, Wagner did not receive the benefit of her bargain, and was
12   injured as a result. If Wagner had been told of these Defects, Battery Issues, and the deceptive
13   manner in which Apple would damage the Device after sale, Wagner would not have purchased the
14   Device, or would have paid substantially less for it.
15                                                 BRAZIL
16          241.        Plaintiff Guilherme Canoa de Oliveira is a resident and citizen of Brazil and
17   he purchased an iPhone 6s on November 17, 2016. Prior to his purchase of the Device, he did not
18   know, nor could he have known through reasonable diligence, of the Battery Issues and Defects in
19   his Device. At time of initial purchase, the Device operated on iOS 9. Canoa de Oliveira
20   downloaded and installed iOS 11.2.2 on his Device in or around January 2018.
21          242.        Not only did Canoa de Oliveira’s Device not operate as Apple warranted and
22   promised initially, but Apple never represented or warranted that iOS 11.2.2 or any of the future
23   updates would cause the way Canoa de Oliveira’s Device operated to fundamentally change. Canoa
24   de Oliveira’s Device, particularly after installation of iOS 11.2.2, did not operate as promised in
25   Apple’s advertisements, representations, and the information publicly available in the marketplace.
26   Additionally, none of the packaging in which the Device was sold to Canoa de Oliveira revealed
27   that there were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,”
28
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 1   “throttle,” or otherwise regulate the battery power and speed pursuant to which Canoa de Oliveira’s
 2   Device would operate. Accordingly, not only was Canoa de Oliveira’s Device defective at the point
 3   of sale due to its Battery Issues and Design Defects, but Apple exacerbated the problems with
 4   Canoa de Oliveira’s Device via its misrepresentations and omissions with the iOS software
 5   Updates. As a result of Apple’s actions, Canoa de Oliveira did not receive the benefit of his bargain
 6   and was injured as a result. If Canoa de Oliveira had been told of these Defects, Battery Issues, and
 7   the deceptive manner in which Apple would damage the Device after sale, Canoa de Oliveira would
 8   not have purchased the Device, or would have paid substantially less for it.
 9                                                CANADA
10          243.        Plaintiff Hanpeng Chen is a resident and citizen of Canada and he purchased an
11   iPhone 6 in or around September 2015. Prior to his purchase of the Device, he did not know, nor
12   could he have known through reasonable diligence, of the Battery Issues and Defects in his Device.
13   At time of initial purchase, his Device operated on iOS 8. In or around July 2016, Apple provided a
14   new iPhone 6 to Chen when his original Device had color distortion on its screen. Chen
15   downloaded iOS 11 on his new Device in or around October 2017.
16          244.        Not only did Chen’s Device not operate as Apple warranted and promised
17   initially, but Apple never represented or warranted that any of the future iOS updates would cause
18   the way Chen’s Device operated to fundamentally change. Chen’s Device, particularly after
19   installation of iOS 11, did not operate as promised in Apple’s advertisements, representations, and
20   the information publicly available in the marketplace. Additionally, none of the packaging in which
21   the Device was sold to Chen revealed that there were any Defects, Battery Issues, or that Apple
22   would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and speed
23   pursuant to which Chen’s Device would operate. Accordingly, not only were Chen’s Device
24   defective at the point of sale due to its Battery Issues and Design Defects, but Apple exacerbated
25   the problems with Chen’s Device via its misrepresentations and omissions with the iOS software
26   Updates. As a result of Apple’s actions, Chen did not receive the benefit of his bargain and was
27   injured as a result. If Chen had been told of these Defects, Battery Issues, and the deceptive manner
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 1   in which Apple would damage the Device after sale, Chen would not have purchased the Device, or
 2   would have paid substantially less for it.
 3                                                CANADA
 4          245.        Plaintiff Elisa Gaudio is a resident and citizen of Canada and she purchased an
 5   iPhone 6 Plus November 11, 2014. Prior to her purchase of the Device, she did not know, nor
 6   could she have known through reasonable diligence, of the Battery Issues and Defects in her
 7   Device. At time of initial purchase, her Device operated on iOS 9.
 8          246.        Not only did Gaudio’s Device not operate as Apple warranted and promised
 9   initially, but Apple never represented or warranted that any of the future iOS updates would cause
10   the way Gaudio’s Device operated to fundamentally change. Gaudio’s Devices, particularly after
11   installation of subsequent iOS versions, did not operate as promised in Apple’s advertisements,
12   representations, and the information publicly available in the marketplace. Additionally, none of
13   the packaging in which the Device was sold to Gaudio revealed that there were any Defects, Battery
14   Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the
15   battery power and speed pursuant to which Gaudio’s Device would operate. Accordingly, not only
16   was Gaudio’s Device defective at the point of sale due to its Battery Issues and Design Defects, but
17   Apple exacerbated the problems with Gaudio’s Device via its misrepresentations and omissions
18   with the iOS software Updates. As a result of Apple’s actions, Gaudio did not receive the benefit of
19   her bargain and was injured as a result. If Gaudio had been told of these Defects, Battery Issues,
20   and the deceptive manner in which Apple would damage the Device after sale, Gaudio would not
21   have purchased the Device, or would have paid substantially less for it.
22                                                 CHILE
23          247.        Plaintiff Corporación Nacional de Consumidores y Usuarios de Chile
24   (“CONADECUS”) is a private non-profit organization with its principal place of business in
25   Santiago, Chile. CONADECUS has represented hundreds of thousands Chilean consumers in
26   collective- or diffuse-interest actions to date. CONADECUS has standing to pursue this action on
27   behalf of its members or constituents under Hunt v. Wash. State Apple Advertising Comm’n, 432
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 1   U.S. 333 (1977). CONADECUS’s members, Chilean consumers, purchased the iPhone 5, 5s, 5c, 6,
 2   6 Plus, 6s, 6s Plus, SE, 7, and 7 Plus Devices. Prior to their purchase of the Devices, they did not
 3   know, nor could they have known through reasonable diligence, of the Battery Issues and Defects
 4   in their Devices.
 5          248.         Not only did CONADECUS’s members’ Devices not operate as Apple warranted
 6   and promised initially, but Apple never represented or warranted that any of the future iOS updates
 7   would cause the way CONADECUS’s members’ Devices operated to fundamentally change.
 8   CONADECUS’s members’ Devices, particularly after installation of subsequent iOS versions, did
 9   not operate as promised in Apple’s advertisements, representations, and the information publicly
10   available in the marketplace. Additionally, none of the packaging in which the Devices were sold
11   to CONADECUS’s members revealed that there were any Defects, Battery Issues, or that Apple
12   would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and speed
13   pursuant to which CONADECUS’s members’ Devices would operate. Accordingly, not only were
14   CONADECUS’s members’ Devices defective at the point of sale due to their Battery Issues and
15   Design Defects, but Apple exacerbated the problems with CONADECUS’s members’ Devices via
16   its misrepresentations and omissions with the iOS software Updates. As a result of Apple’s actions,
17   CONADECUS’s members did not receive the benefit of their bargain and were injured as a result.
18   If CONADECUS’s members had been told of these Defects, Battery Issues, and the deceptive
19   manner in which Apple would damage the Devices after sale, CONADECUS’s members would not
20   have purchased the Devices, or would have paid substantially less for them.
21                                                  CHINA
22          249.         Plaintiff Kaixuan Ni is a permanent resident of the United States residing in
23   California and a citizen of the People’s Republic of China and he purchased an iPhone 6 Plus in
24   2015 in China. Prior to his purchases of the Device, he did not know, nor could he have known
25   through reasonable diligence, of the Battery Issues and Defects in his Device. At time of initial
26   purchase, his Device operated on iOS 8.
27

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 1             250.     Not only did Ni’s Device not operate as Apple warranted and promised initially,
 2   but Apple never represented or warranted that any of the future iOS updates would cause the way
 3   Ni’s Device operated to fundamentally change. Ni’s Device, particularly after installation of new
 4   iOS updates, did not operate as promised in Apple’s advertisements, representations, and the
 5   information publicly available in the marketplace. Additionally, none of the packaging in which the
 6   Device was sold to Ni revealed that there were any Defects, Battery Issues, or that Apple would use
 7   the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and speed pursuant to
 8   which Ni’s Device would operate. Accordingly, not only was Ni’s Device defective at the point of
 9   sale due to its Battery Issues and Design Defects, but Apple exacerbated the problems with Ni’s
10   Device via its misrepresentations and omissions with the iOS software Updates. As a result of
11   Apple’s actions, Ni did not receive the benefit of his bargain, and was injured as a result. If Ni had
12   been told of these Defects, Battery Issues, and the deceptive manner in which Apple would damage
13   the Device after sale, Ni would not have purchased the Device, or would have paid substantially
14   less for it.
15                                               COLOMBIA
16             251.     Plaintiff Dr. Juliana Caceres is a citizen of Colombia and she purchased an
17   iPhone 6s on December 1, 2016 at Mac Center in Bogotá, Colombia. Caceres is a pediatric
18   pulmonologist working and residing in Bogotá, Colombia. Prior to her purchase of the Device, she
19   did not know, nor could she have known through reasonable diligence, of the Battery Issues and
20   Defects in her Device. At time of initial purchase, the Device operated on iOS 10. Caceres’
21   general practice is to update her software when it becomes available, and she upgraded to iOS
22   10.2.1.
23             252.     Not only did Caceres’ Device not operate as Apple warranted and promised
24   initially, but Apple never represented or warranted that iOS 10.2.1 or any of the future updates
25   would cause the Device operation to fundamentally change. Caceres’ Device, particularly after
26   installation of iOS 10.2.1, did not operate as promised in Apple’s advertisements, representations,
27   and the information publicly available in the marketplace. Additionally, none of the packaging in
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 1   which the Device was sold revealed that there were any Defects, Battery Issues, or that Apple
 2   would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and speed
 3   pursuant to which the Device would operate. Accordingly, not only was the Device defective at the
 4   point of sale due to its Battery Issues and Design Defects, but Apple exacerbated the problems with
 5   the Device via its misrepresentations and omissions with the iOS software Updates. As a result of
 6   Apple’s actions, Caceres did not receive the benefit of her bargain, and was injured as a result. If
 7   Caceres had been told of these Defects, Battery Issues, and the deceptive manner in which Apple
 8   would damage the Device after sale, Caceres would not have purchased the Device, or would have
 9   paid substantially less for it
10                                                   INDIA
11           253.        Plaintiff Nakul Chandra is a resident and citizen of INDIA and he purchased
12   an iPhone 7 on October 26, 2016. Prior to his purchase of the Device, he did not know, nor could
13   he have known through reasonable diligence of the Battery Issues and Defects in his Device. At
14   time of initial purchase, the Device operated on the latest version of iOS at the time.
15           254.        Not only did Chandra’s Device not operate as Apple warranted and promised
16   initially, but Apple never represented or warranted that any version of iOS or future updates would
17   cause the way Chandra’s Device operated to fundamentally change. Chandra’s Device, after
18   installation of versions of iOS did not operate as promised in Apple’s advertisements,
19   representations, and the information publicly available in the marketplace. Additionally, none of
20   the packaging in which the Device was sold to Chandra revealed that there were any Defects,
21   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
22   the battery power and speed pursuant to which Chandra’s Device would operate. Accordingly, not
23   only was Chandra’s Device defective at the point of sale due to its Battery Issues and Design
24   Defects, but Apple exacerbated the problems with Chandra’s Device via its misrepresentations and
25   omissions with the iOS software Updates. As a result of Apple’s actions, Chandra did not receive
26   the benefit of his bargain, and was injured as a result. If Chandra had been told of these Defects,
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 1   Battery Issues, and the deceptive manner in which Apple would damage the Device after sale,
 2   Chandra would not have purchased the Device, or would have paid substantially less for it.
 3                                                  JAPAN
 4          255.        Plaintiff Prof. Arisa Wakabayashi is a citizen and resident of Japan,
 5   temporarily living in New York on research cebatical, and she purchased an iPhone 5s 2014 at a Bic
 6   Camera store in Tokyo. Wakabayashi is a professor of law at Komazawa University and is
 7   currently a resident of New York, NY for a year while on a teaching sabbatical at Fordham
 8   University. Prior to her purchase of the Device, she did not know, nor could she have known
 9   through reasonable diligence, of the Battery Issues and Defects in her Device. At time of initial
10   purchase, the Device operated on iOS 8. Wakabayashi’s general practice is to update her software
11   when it becomes available, and she upgraded to iOS 10.2.1. In January 2018, Wakabayashi
12   upgraded to an iPhone X to improve performance.
13          256.        Not only did Wakabayashi’s Device not operate as Apple warranted and
14   promised initially, but Apple never represented or warranted that iOS 10.2.1 or any of the future
15   updates would cause the Device operation to fundamentally change. Wakabayashi’s Device,
16   particularly after installation of iOS 10.2.1, did not operate as promised in Apple’s advertisements,
17   representations, and the information publicly available in the marketplace. Additionally, none of
18   the packaging in which the Device was sold revealed that there were any Defects, Battery Issues, or
19   that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power
20   and speed pursuant to which the Device would operate. Accordingly, not only was the Device
21   defective at the point of sale due to its Battery Issues and Design Defects, but Apple exacerbated
22   the problems with the Device via its misrepresentations and omissions with the iOS software
23   Updates. As a result of Apple’s actions, Wakabayashi did not receive the benefit of her bargain,
24   and was injured as a result. If Wakabayashi had been told of these Defects, Battery Issues, and the
25   deceptive manner in which Apple would damage the Device after sale, Wakabayashi would not
26   have purchased the Device, or would have paid substantially less for it
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 1                                                MEXICO
 2          257.        Plaintiff Linda Sonna is a citizen of the United States and permanent resident of
 3   Mexico, and she purchased an iPhone SE on September 1, 2017. Prior to her purchase of the
 4   Device, she did not know, nor could she have known through reasonable diligence, of the Battery
 5   Issues and Defects in her Device.
 6          258.        Not only did Sonna’s Device not operate as Apple warranted and promised
 7   initially, but Apple never represented or warranted that any of the future iOS updates would cause
 8   the way Sonna’s Device operated to fundamentally change. Sonna’s Device, particularly after
 9   installation of subsequent iOS versions, did not operate as promised in Apple’s advertisements,
10   representations, and the information publicly available in the marketplace. Additionally, none of
11   the packaging in which the Device was sold to Sonna revealed that there were any Defects, Battery
12   Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the
13   battery power and speed pursuant to which Sonna’s Device would operate. Accordingly, not only
14   was Sonna’s Device defective at the point of sale due to its Battery Issues and Design Defects, but
15   Apple exacerbated the problems with Sonna’s Device via its misrepresentations and omissions with
16   the iOS software Updates. As a result of Apple’s actions, Sonna did not receive the benefit of her
17   bargain, and was injured as a result. If Sonna had been told of these Defects, Battery Issues, and
18   the deceptive manner in which Apple would damage the Device after sale, Sonna would not have
19   purchased the Device, or would have paid substantially less for it.
20                                         THE NETHERLANDS
21          259.        Plaintiff Lilav Akrawy is a resident and citizen of the Netherlands and she
22   purchased an iPhone 6 on November 13, 2014. Prior to her purchase of the Device, she did not
23   know, nor could she have known through reasonable diligence of the Battery Issues and Defects in
24   her Device. At time of initial purchase, the Device operated on iOS 8. Akrawy downloaded and
25   installed iOS 11 on her Device in or around September 2017.
26          260.        Not only did Akrawy’s Device not operate as Apple warranted and promised
27   initially, but Apple never represented or warranted that iOS 11 or any of the future updates would
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 1   cause the way Akrawy’s Device operated to fundamentally change. Akrawy’s Device, particularly
 2   after installation of iOS 11, did not operate as promised in Apple’s advertisements, representations,
 3   and the information publicly available in the marketplace. Additionally, none of the packaging in
 4   which the Device was sold to Akrawy revealed that there were any Defects, Battery Issues, or that
 5   Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the battery power and
 6   speed pursuant to which Akrawy’s Device would operate. Accordingly, not only was Akrawy’s
 7   Device defective at the point of sale due to its Battery Issues and Design Defects, but Apple
 8   exacerbated the problems with Akrawy’s Device via its misrepresentations and omissions with the
 9   iOS software Updates. As a result of Apple’s actions, Akrawy did not receive the benefit of her
10   bargain, and was injured as a result. If Akrawy had been told of these Defects, Battery Issues, and
11   the deceptive manner in which Apple would damage the Device after sale, Akrawy would not have
12   purchased the Device, or would have paid substantially less for it.
13                                                NORWAY
14          261.        Plaintiff Burim Daci is a resident and citizen of Norway and he purchased an
15   iPhone 6s in December 2016. Prior to his purchase of the Device, he did not know, nor could he
16   have known through reasonable diligence of the Battery Issues and Defects in his Device. At time
17   of initial purchase, the Device operated on the latest version of iOS.
18          262.        Not only did Daci’s Device not operate as Apple warranted and promised
19   initially, but Apple never represented or warranted that any version of iOS or any future updates
20   would cause the way Daci’s Device operated to fundamentally change. Daci’s Device, after
21   installation of various versions of iOS, did not operate as promised in Apple’s advertisements,
22   representations, and the information publicly available in the marketplace. Additionally, none of
23   the packaging in which the Device was sold to DACI revealed that there were any Defects, Battery
24   Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the
25   battery power and speed pursuant to which Daci’s Device would operate. Accordingly, not only
26   was Daci’s Device defective at the point of sale due to its Battery Issues and Design Defects, but
27   Apple exacerbated the problems with Daci’s Device via its misrepresentations and omissions with
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 1   the iOS software Updates. As a result of Apple’s actions, Daci did not receive the benefit of his
 2   bargain, and was injured as a result. If Daci had been told of these Defects, Battery Issues, and the
 3   deceptive manner in which Apple would damage the Device after sale, Daci would not have
 4   purchased the Device, or would have paid substantially less for it.
 5                                                  PERU
 6          263.        Plaintiff Pedro Luis Espejo Miranda is a resident and citizen of PERU and he
 7   purchased an iPhone 5s at the end of 2013. Prior to his purchase of the Device, he did not know,
 8   nor could she have known through reasonable diligence of the Battery Issues and Defects in his
 9   Device. At time of initial purchase, the Device operated on the current version of iOS at that time.
10          264.        Not only did Espejo’s Device not operate as Apple warranted and promised
11   initially, but Apple never represented or warranted that any versions of iOS or any of the future
12   updates would cause the way Espejo’s Device operated to fundamentally change. Espejo’s Device,
13   after installation of versions of iOS, did not operate as promised in Apple’s advertisements,
14   representations, and the information publicly available in the marketplace. Additionally, none of
15   the packaging in which the Device was sold to Espejo revealed that there were any Defects, Battery
16   Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate the
17   battery power and speed pursuant to which Espejo’s Devices would operate. Accordingly, not only
18   was Espejo’s Device defective at the point of sale due to their Battery Issues and Design Defects,
19   but Apple exacerbated the problems with Espejo’s Device via its misrepresentations and omissions
20   with the iOS software Updates. As a result of Apple’s actions, Espejo did not receive the benefit of
21   his bargain, and was injured as a result. If Espejo had been told of these Defects, Battery Issues,
22   and the deceptive manner in which Apple would damage the Devices after sale, ESPEJO would not
23   have purchased the Device, or would have paid substantially less for it.
24                                                 RUSSIA
25          265.        Plaintiff Roman Dubianskii is a resident and citizen of RUSSIA and he
26   purchased an iPhone 5s in December 2013. Prior to his purchase of the Device, he did not know,
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 1   nor could he have known through reasonable diligence, of the Battery Issues and Defects in his
 2   Device. At time of initial purchase, the Device operated on the current version of iOS.
 3           266.            Not only did Dubianskii’s Device not operate as Apple warranted and
 4   promised initially, but Apple never represented or warranted that versions of iOS or any of the
 5   future updates would cause the way Dubianskii’s Device operated to fundamentally change.
 6   Dubianskii’s Device, after installation of versions of iOS, did not operate as promised in Apple’s
 7   advertisements, representations, and the information publicly available in the marketplace.
 8   Additionally, none of the packaging in which the Device was sold to Dubianskii revealed that there
 9   were any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
10   otherwise regulate the battery power and speed pursuant to which Dubianskii’s Device would
11   operate. Accordingly, not only was Dubianskii’s Device defective at the point of sale due to their
12   Battery Issues and Design Defects, but Apple exacerbated the problems with Dubianskii’s Device
13   via its misrepresentations and omissions with the iOS software Updates. As a result of Apple’s
14   actions, Dubianskii did not receive the benefit of his bargain, and was injured as a result. If
15   Dubianskii had been told of these Defects, Battery Issues, and the deceptive manner in which Apple
16   would damage the Device after sale, Dubianskii would not have purchased the Device, or would
17   have paid substantially less for it.
18                                             SOUTH KOREA
19           267.        Plaintiff Heekyung Jo is a resident and citizen of South Korea and she
20   purchased an iPhone 6 in or about 2014. Prior to her purchase of the Device, she did not know, nor
21   could she have known through reasonable diligence, of the Battery Issues and Defects in her
22   Device. Jo downloaded and installed iOS updates as recommended.
23           268.        Not only did Jo’s Device not operate as Apple warranted and promised initially,
24   but Apple never represented or warranted that iOS updates would cause the way Jo’s Device
25   operated to fundamentally change. Jo’s Device did not operate as promised in Apple’s
26   advertisements, representations, and the information publicly available in the marketplace.
27   Additionally, none of the packaging in which the Device was sold to Jo revealed that there were any
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 1   Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise
 2   regulate the battery power and speed pursuant to which Jo’s Device would operate. Accordingly,
 3   not only was Jo’s Device defective at the point of sale due to its Battery Issues and Design Defects,
 4   but Apple exacerbated the problems with Jo’s Device via its misrepresentations and omissions with
 5   the iOS software Updates. As a result of Apple’s actions, Jo did not receive the benefit of her
 6   bargain, and was injured as a result. If Jo had been told of these Defects, Battery Issues, and the
 7   deceptive manner in which Apple would damage the Device after sale, Jo would not have
 8   purchased the Device, or would have paid substantially less for it.
 9                                             SOUTH KOREA
10          269.        Plaintiff Youngro Lee is a resident and citizen of the South Korea, and he
11   purchased an iPhone 6s on or about November 2015. Prior to his purchase of the Device, he did not
12   know, nor could he have known through reasonable diligence, of the Battery Issues and Defects in
13   her Device. Lee downloaded and installed the iOS updates on his Device as recommended.
14          270.        Not only did Lee’s Device not operate as Apple warranted and promised
15   initially, but Apple never represented or warranted that iOS updates would cause the way Lee’s
16   Device operated to fundamentally change. Lee’s Device did not operate as promised in Apple’s
17   advertisements, representations, and the information publicly available in the marketplace.
18   Additionally, none of the packaging in which the Device was sold to Lee revealed that there were
19   any Defects, Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or
20   otherwise regulate the battery power and speed pursuant to which Lee’s Device would operate.
21   Accordingly, not only was Lee’s Device defective at the point of sale due to its Battery Issues and
22   Design Defects, but Apple exacerbated the problems with Lee’s Device via its misrepresentations
23   and omissions with the iOS software Updates. As a result of Apple’s actions, Lee did not receive
24   the benefit of her bargain, and was injured as a result. If Lee had been told of these Defects, Battery
25   Issues, and the deceptive manner in which Apple would damage the Device after sale, Lee would
26   not have purchased the Device, or would have paid substantially less for it.
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 1                                              UNITED KINGDOM
 2          271.        Plaintiff Kushagra Sharma is a resident and citizen of the United Kingdom and
 3   he purchased an iPhone 6 Plus in April 2016. Prior to his purchase of the Device, he did not know,
 4   nor could he have known through reasonable diligence of the Battery Issues and Defects in his
 5   Device. At time of initial purchase, the Device operated on the latest version of iOS.
 6          272.        Not only did Sharma’s Device not operate as Apple warranted and promised
 7   initially, but Apple never represented or warranted that any version of iOS or any future updates
 8   would cause the way Sharma’s Device operated to fundamentally change. Sharma’s Device, after
 9   installation of a version of iOS, did not operate as promised in Apple’s advertisements,
10   representations, and the information publicly available in the marketplace. Additionally, none of
11   the packaging in which the Device was sold to Sharma revealed that there were any Defects,
12   Battery Issues, or that Apple would use the Updates to “smooth,” “throttle,” or otherwise regulate
13   the battery power and speed pursuant to which Sharma’s Device would operate. Accordingly, not
14   only was Sharma’s Device defective at the point of sale due to its Battery Issues and Design
15   Defects, but Apple exacerbated the problems with Sharma’s Device via its misrepresentations and
16   omissions with the iOS software Updates. As a result of Apple’s actions, Sharma did not receive
17   the benefit of his bargain, and was injured as a result. If Sharma had been told of these Defects,
18   Battery Issues, and the deceptive manner in which Apple would damage the Device after sale,
19   Sharma would not have purchased the Device, or would have paid substantially less for it.
20      B. Defendants and Their Relevant Corporate Structure
21          273.        Apple Inc. (“Apple”), is a corporation that was created under the laws of the
22   State of California, and has its principal place of business in Cupertino, California. Apple is the
23   world’s largest information technology company by revenue and the world’s third-largest mobile
24   phone developer. There are currently over one billion Apple products in active use worldwide.
25          274.        Throughout the events at issue here, Apple has operated through its directors,
26   officers, employees and agents, and each such person acted within the course and scope of such
27

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 1   agency, representation or employment and was acting with the consent, permission and
 2   authorization of Apple.
 3          275.       Apple has represented that the “design, manufacture, and testing” of the Devices
 4   “has always been done by [ ] Apple Inc., which is based in California.” See Exhibit 4 (Transcript of
 5   House of Commons Standing Committee on Industry, Science, and Technology).
 6          CHOICE OF LAW: DESIGNED BY APPLE IN CUPERTINO, CALIFORNIA
 7          276.       By using their Devices or downloading a software update, Device users are
 8   presented with the iOS Software License Agreement. There are separate Software License
 9

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13   Agreements for each version of iOS software including: iPhone iOS 3.1, iOS 4.1, iOS 5.0, iOS 5.1,

14   iOS 6.0, iOS 7.0, iOS 8.0, iOS 8.1, iOS 9.0, iOS 9.1, iOS 10, iOS 11, and iOS 11.2. The agreements

15   do not differ in material terms, and provide that California law governs the agreements6:

16   See, e.g., Exhibits 5, 6 (Samples of Agreements).

17          277.       To the extent they apply, the iOS Software Licensing Agreements are effective at

18   the point of sale—as soon as the customers turn on their Devices—and are thus part of the benefit

19   of the consumers’ bargain. Without the iOS, for which there is a purported licensing agreement, the

20   Devices simply do not work.

21          278.       Apple elected to have California law govern all claims and disputes concerning

22   the common software required to operate all of the Devices at issue in this lawsuit. Accordingly,

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      California law applies unless the consumer is based in the United Kingdom. A subclass is
26   bringing their claims based upon the United Kingdom’s licensing agreements, and choice of law
     provisions therein. As will be demonstrated by Plaintiffs in their subsequent class certification
27   brief(s), trial plans and other techniques can be adopted by the Court to ensure manageability of
     such separate classes.
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 1   the application of California law to all of the class members’ claims is fair, appropriate, and an
 2   election affirmatively made by Apple consistent in its agreements.
 3          279.        By using their Devices, consumers are told that they agree to be bound by
 4   California law as consumers must run Apple’s proprietary iOS to use their Devices.
 5          280.        Beyond Apple’s election of California law to govern the claims described herein,
 6   the State of California has a significant interest in regulating the conduct of businesses operating
 7   within its borders. California, which seeks to protect the rights and interests of California and all
 8   residents and citizens of the United States against a company headquartered and doing business in
 9   California, has a greater interest in the claims of Plaintiffs and class members than any other state or
10   country and is most intimately concerned with the claims and outcome of this litigation.
11          281.        The principal place of business of Apple, located at 1 Apple Park Way (formerly
12   1 Infinite Loop) in Cupertino, California, is the “nerve center” of its business activities—the place
13   where its high-level officers direct, control, and coordinate the corporation’s activities, including its
14   marketing, software development, and major policy, financial, and legal decisions. As admitted by
15   Apple in its Form 10-K for the fiscal period ended September 24, 2016 (the “2016 Form 10-K”),
16   “most of the Company’s key personnel” are from Silicon Valley.
17          282.        Indeed, Apple’s Devices proudly display that they were “Designed by Apple in
18   California.”
19          283.        Apple’s response to the allegations herein, and corporate decisions surrounding
20   such response, were made from and in California.
21          284.        Apple’s breaches of duty to Plaintiffs and the Class emanated from California,
22   and the Devices at issue herein were designed, manufactured, and tested in California.
23          285.        Application of California law with respect to Plaintiffs’ and Class members’
24   claims is neither arbitrary nor fundamentally unfair because California has a state interest in the
25   claims of the Plaintiffs and the Class based upon Apple’s significant and ongoing contacts with
26   California.
27

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 1            286.      Under California’s choice of law principles, which are applicable to this action,
 2   the common law of California applies to the common law claims of all class members.
 3   Additionally, given California’s significant interest in regulating the conduct of businesses
 4   operating within its borders, California’s consumer protection laws may be applied to non-resident
 5   Plaintiffs and class members.
 6                                   SUBSTANTIVE ALLEGATIONS
 7       I.      APPLE ISSUED MATERIALLY FALSE STATEMENTS EMANATING FROM
 8                     CALIFORNIA TO SELL DEFECTIVE DEVICES TO THE CLASS
 9            287.      The first Apple “smartphone” blazed onto the market in 2007, and the first Apple
10   iPad did the same in 2010.7 These two product lines have historically comprised the majority of
11   Apple’s product sales since at least 2013.
12            288.      Apple engaged in a multiple year, consistent marketing plan of constantly
13   introducing new iterations or generations of the Devices that emphasized battery power designed to
14   keep pace with ever improving processor “chips,” and a panoply of ever-increasing, cutting edge
15   features loaded onto the Devices.8 Apple’s statements were materially false in view of the Defects,
16   and were designed to cause consumers to upgrade their Devices.9
17

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20    Upon information and belief, the following entities have manufacturing, supply and/or other
     contracting business relationships with Apple for hardware or other features on one or more of the
21   Devices: Pegatron Corporation, Hon Hai Precision Industry Co., Ltd. (Foxconn Technology
     Group), Compal Electronics, Inc., and Wistron Corp.
22   8
       As stated in Apple’s 2016 Form 10-K at 4: “The Company believes that sales of its innovative and
     differentiated products are enhanced by knowledgeable salespersons who can convey the value of
23   the hardware and software integration and demonstrate the unique solutions that are available on its
     products. The Company further believes providing direct contact with its targeted customers is an
24   effective way to demonstrate the advantages of it products over those of its competitors and
     providing a high-quality sales and after-sales support experience is critical to attracting new and
25   retaining existing customers.”
26
     9
       As admitted by Apple in its 2016 Form 10-K at 5: “The Company’s future financial condition and
     operating results depend on the Company’s ability to continue to develop and offer new innovative
27   products and services in each of the markets in which it competes.” See also 2016 Form 10-K at 9:
     “Due to the highly volatile and competitive nature of the industries in which the Company
28   competes, the Company must continually introduce new products, services and technologies,
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 1          289.        Apple has also marketed its Devices in a fashion to drive consumers to consider
 2   their Devices, particularly iPhones, as an extension of themselves—something they cannot live
 3   without, do not have to be weighed down carrying, and do not need to haul around a battery cord to
 4   intermittently keep powered. Apple CEO Timothy Cook, during the March 21, 2016 Apple Special
 5   Event at the Company’s then-current Cupertino headquarters, stated that Apple knows iPhones are
 6   “deeply personal” and an “extension of ourselves.” The Devices, when operating as promised, are
 7   to be a one-stop location for all forms of personal and business use, including, but not limited to,
 8   cell phone, e-mail and internet usage, messaging, calendars, calculators, photos and photo editing,
 9   watching videos, movies and television programming, monitoring health, receiving digital print
10   magazine subscriptions, reading digital books, playing video games, and a host of other applications
11   (collectively the “Features”).
12          290.        Apple has thus cultivated a dependent relationship between consumers and their
13   Devices, and has exploited that relationship to fuel consumer demand to buy more devices to make
14   money.10 Perhaps borrowing a cue from the car industry, Apple self-created a market designed to
15   lure consumers into buying the “latest and greatest” model of the Devices, with the central theme of
16   the marketing ploy being Devices with access to Apple’s i0S system to provide more Features,
17   powerful processor chips, and long lasting battery life, all the while in thinner and more light-
18   weight versions.11 The parade of Apple’s constant marketing plan for each of the Devices
19

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     enhance existing products and services, effectively stimulate customer demand for new and
22   upgraded products and successfully manage the transition to these new and upgraded products.”
     10
23      As detailed in the chart herein at Section IV, for nearly every year since at least the fiscal year
     ended 2013, sales of the Devices collectively accounted for at least 70% percent of Apple’s
24   revenues (2013: 72.1%; 2014: 72.3%; 2015: 76.2%; 2016: 72.8%; 2017: 70%) and totaled nearly
     $800 billion.
25   11
        In addition, with little variation, the key elements of the box packaging for the Devices was
     substantially similar and included references to Apple’s Cupertino, California address, as well as
26   statements on the box, inserts and/or Devices representing: “Designed by Apple in California.”
     While the packaging contains certain literature, none of the literature contained disclosures
27   regarding the Defects, making Apple’s omissions and inadequate disclosures materially false and
     misleading.
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 1   demonstrates the marketing message Apple sought to convey: faster, longer battery life, more
 2   Features, all crammed into increasingly thinner and lighter physical boundaries.
 3                                                      A.         iPhones
 4                                                II.        IPHONE 5
 5             291.       On September 12, 2012, Apple issued a press release from San Francisco,
 6   California, captioned “Apple Introduces iPhone 5: Thinnest, Lightest iPhone Ever Features All-
 7   New Aluminum Design, Stunning 4-Inch Retina Display, A 6 Chip & Ultrafast Wireless.” The
 8   device was slated to run on iOS 6 initially. The press release states, in pertinent part (with emphasis
 9   added):
10             … the thinnest and lightest iPhone ever . . . an Apple-designed A6 chip for blazing
               fast performance; and ultrafast wireless technology[]—all while delivering even
11             better battery life.[]
12                                                      *          *     *
13             “iPhone 5 is the most beautiful consumer device that we’ve ever created,” said Philip
               Schiller, Apple’s senior vice president of Worldwide Marketing. “We’ve packed an
14             amazing amount of innovation and advanced technology into a thin and light, jewel-
               like device with a stunning 4-inch Retina display, blazing fast A6 chip, ultrafast
15             wireless, even longer battery life; and we think customers are going to love it.”
16             iPhone 5 is the thinnest smartphone in the world, . . . 18 percent thinner and 20 percent
               lighter than iPhone 4S.
17
                                                        *          *     *
18
               The all-new A6 chip was designed by Apple to maximize performance and power
19             efficiency to support all the incredible new features in iPhone 5, including the stunning
               new 4-inch Retina display—all while delivering even better battery life. With up to
20             twice the CPU and graphics performance, almost everything you do on iPhone 5 is
               blazing fast for launching apps, loading web pages and downloading email
21             attachments.
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 1          292.         On September 12, 2012, Apple hosted a Special Event in San Francisco,
 2   California to announce the iPhone5.12 The Special Event underscored the false representations
 3   about the device and failed to disclose the Defects.
 4          293.        In addition to marketing the iPhone 5 via its press release and Special Event,
 5   Apple posted similar advertising on its website and in stores for these products. Apple boasted
 6   about its new design being “[t]he thinnest, lightest, fastest iPhone ever”:
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            294.        Apple’s marketing materials further boasted “[p]erformance and graphics up to
22
     twice as fast. With battery life to spare.” That is, “even at is accelerated speed, iPhone 5 has more
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     12
        As with all Devices (and the majority of the Updates) identified herein, Apple routinely hosts a
26   “Special Event” presentation for the new product and/or iOS. These Special Events are
     traditionally hosted from a location in California, and are attended by Apple executives and staff, as
27   well as media and other persons in the technology field. These events are videotaped, posted on
     Apple’s website, and also reposted online by various media or other sources.
28
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 1   than twice enough battery power to last throughout the day—up to 8 hours of browsing on a cellular
 2   connection, up to 8 hours of talk time, and up to 10 hours of video playback time.”
 3          295.        As set forth herein, these were materially false statements that failed to warn
 4   Plaintiffs and the Class of the known Defects.
 5                                            III.     IPHONE 5S
 6          296.        On September 10, 2013, Apple unveiled the iPhone 5s at its Cupertino,
 7   California headquarters. It was released on September 20, 2013, along with its lower-cost
 8   counterpart, the iPhone 5C. These devices, upon initial release, operated on iOS 7 software.
 9          297.        Apple’s September 10, 2013 press release, issued from Cupertino, California, is
10   captioned “Apple Announces iPhone 5s—The Most Forward-Thinking Smartphone in the World.”
11   The press release states, in pertinent part (with emphasis added):
12          Apple today announced iPhone 5s, the most forward-thinking iPhone yet, featuring an
            all-new A7 chip, making iPhone 5s the world’s first smartphone with 64-bit desktop-
13          class architecture for blazing fast performance in the palm of your hand. iPhone 5s
            redefines the best smartphone experience in the world with amazing new features all
14          packed into a remarkable thin and light design. . . .
15                                              *       *        *
16          The all-new A7 chip in iPhone 5s brings 64-bit desktop-class architecture to a
            smartphone for the first time. With up to twice the CPU and graphics performance,
17          almost everything you do on iPhone 5s is faster and better than ever, from launching
            apps and editing photos to playing graphic-intensive games—all while delivering
18          great battery life. . . .
19                                              *       *        *
20          iPhone 5s features a remarkable thin and light, precision-crafted design that customers
            around the world love, including an anodized aluminum body with diamond cut
21          chamfered edges, a stunning 4-inch Retina display and glass inlays. . . .
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 1          298.        On September 10, 2013, Apple also hosted a Special Event from Cupertino,
 2   California to announce the product. The Special Event simply underscored the false representations
 3   about the device and failed to disclose the Defects.13
 4          299.        In addition to the press release and marketing of the new iPhone 5s, and the
 5   Special Event, Apple used similar advertising on its website and in its stores to market the thinness
 6   of the phone, its extended battery life, and fast speeds as part of its overall marketing scheme.
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                                               IV.    IPHONE 5C
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            300.        On September 10, 2013, Apple unveiled the iPhone 5c at its Cupertino,
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     California headquarters. It was released on September 20, 2013, along with its higher-end
19
     counterpart, the iPhone 5s. These devices, upon initial release, operated on iOS 7 software.
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24   13
        For example, during the Special Event, Apple’s SVP, Worldwide Marketing, stated the following
     of the iPhone 5s: “What about battery life we're really happy to tell you the team has done a
25   phenomenal job they do have battery life that's equal or greater than the iPhone 5 had 10 hours 3G
     talktime eight hours 3G browsing 10 hours LTE browsing Wi-Fi browsing video playback 40 hours
26   of music listening up to 250 hours of standby so that's the first of our breakthrough technologies in
     the iPhone 5s a 64-bit class architecture an incredible performance of a7 and m7.” P. Schiller SVP,
27   Worldwide Marketing, Apple, Apple Special Event at 45:22 (Sept. 10, 2013) available at:
     (https://www.youtube.com/watch?v=yBX-KpMoxYk).
28
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 1          301.        Apple’s September 10, 2013 press release, issued from Cupertino, California, is
 2   captioned “Apple Introduces iPhone 5c—The Most Colorful iPhone Yet.” The press release states,
 3   in pertinent part (with emphasis added):
 4          . . . iPhone 5c is built on a foundation of features people know and love like the
            beautiful 4-inch Retina display, blazing fast performance of the A6 chip, and the 8
 5          megapixel iSight camera—all while delivering great battery life. . . .
 6                                              *       *        *
 7          iPhone 5c comes with all the features customers love in iPhone 5, and more. The
            Apple-designed A6 chip provides incredible performance and power efficiency, all
 8          while delivering great battery life, so almost everything you do on iPhone 5c is blazing
            fast, from launching apps and loading web pages to downloading email attachments.
 9

10          302.        On September 10, 2013, Apple also hosted a Special Event from Cupertino,
11   California to announce the product. The Special Event simply underscored the false representations
12   about the device and failed to disclose the Defects.14 In addition to the press release, Special Event
13   and marketing of the new iPhone 5c, Apple used similar advertising on its website and in its stores
14   to market the its extended battery life and fast speeds as part of its overall marketing scheme.
15                                      V.      IPHONE 6 AND 6 PLUS
16          303.        On September 19, 2014, the iPhone 6 and iPhone 6 Plus were released for sale
17   (with pre-ordering available on September 12, 2014). These devices, on the initial date of release,
18   operated on iOS 8 software.
19          304.        Apple’s September 9, 2014 press release for the iPhone 6 and iPhone 6 Plus,
20   issued from Cupertino, California, is captioned “Apple Announces iPhone6 & iPhone 6 Plus—The
21   Biggest Advancements in iPhone History,” and states in pertinent part (emphasis added):
22          Apple today announced iPhone6 and iPhone 6 Plus, the biggest advancements in
            iPhone history . . . in an all-new dramatically thin and seamless design. . . .
23

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         For example, during the Special Event, P. Schiller, Apple’s SVP, Worldwide Marketing stated
26   of the iPhone 5c: “It's powered by an apple designed a6 chip that gives great performance and great
     battery life in fact the battery inside the iPhone 5c is slightly larger than the battery was in the
27   iPhone 5 before.”) - P. Schiller SVP, Worldwide Marketing, Apple, Apple Special Event at 25:36 -
     25:44 (Sept. 10, 2013) available at: (https://www.youtube.com/watch?v=yBX-KpMoxYk).
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            engineered to be the thinnest ever . . . [and include] the Apple-designed A8 chip with
 1          second generation 64-bit desktop-class architecture for blazing fast performance and
            power efficiency . . . . Both models include iOS8, the latest version of the world’s
 2          most advanced mobile operating system, featuring a simpler, faster and more intuitive
            user experience . . . .
 3

 4                                           *      *          *
 5          iPhone 6 and iPhone 6 Plus are the biggest advancements in iPhone history,” said Tim
            Cook, Apple’s CEO. “The iPhone is the most loved smartphone in the world with the
 6          highest customer satisfaction in the industry and we are making it much better in every
            way. Only Apple can combine the best hardware, software and services at this
 7          unprecedented level and we think customers are going to love it.
 8
                                             *      *          *
 9
            With second generation 64-bit desktop-class architecture, the all-new A8 chip offers
10          faster performance and is more energy efficient, delivering higher sustained
            performance with great battery life.
11

12          305.           On September 9, 2014, Apple hosted a Special Event from Cupertino, California
13   to announce iPhone 6 and iPhone 6 Plus. The Special Event simply underscored the false
14   representations about the devices and failed to disclose the Defects.
15          306.           In addition to marketing the iPhone 6 and iPhone 6 Plus via the September 9,
16   2014 press release and Special Event, Apple posted similar advertising on its website and in stores
17   for these products.
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 1          307.       Consistent with previous messaging, Apple touted the iPhone 6’s thin design.
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16          308.       Apple advertised that iPhone 6’s A8 chip was the “fastest yet,” “power

17   efficient,” and could “sustain higher performance—so you can play graphics-intensive games or

18   enjoy video at higher frame rates for longer than ever” with the promise of:

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25                              VI.     IPHONE 6S AND IPHONE 6S PLUS

26          309.           On September 25, 2015, the iPhone 6s and iPhone 6s Plus were released for

27   sale (with pre-ordering on September 12, 2015), and initially operated on iOS9 software.

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 1          310.            Apple’s September 9, 2015 press release for the iPhone 6s and iPhone 6s
 2   Plus, issued from San Francisco, California is captioned “Apple Introduces iPhone 6s & iPhone 6s
 3   Plus,” and states in pertinent part (emphasis added):
 4          . . . the most advanced iPhones ever . . . . iPhone 6s and iPhone 6s Plus also introduce
            a transformative new approach to photography called Live Photos, bringing still
 5          images to life by capturing a moment in motion. Live Photos, 3D Touch and other
            advancements in the new iPhones are powered by the Apple-designed A9 chip, the
 6          most advanced chip ever in a smartphone, delivering faster performance and great
            battery life.
 7

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                                           *       *          *
 9
            A9, Apple’s third generation 64-bit chip powers these innovations with 70 percent
10          faster CPU and 90 percent faster GPU performance than the A8, all with gains in
            energy efficiency for great battery life. The A9 chip and iOS 9 are architected
11          together for optimal performance where it matters most, in real world usage. M9,
            Apple’s next-generation motion coprocessor, is embedded into A9, allowing more
12          features to run all the time at lower power, including “Hey Siri,” without iPhone
            needing to be plugged in.
13
                                           *       *          *
14
            . . . The foundation of iOS is even stronger with software updates that require less
15          space to install and advanced security features to further protect your devices.

16

17          311.            On September 9, 2015, Apple hosted a Special Event from San Francisco,

18   California to announce the iPhone 6s and iPhone 6s Plus. The Special Event simply underscored the

19   false representations about the devices and failed to disclose the Defects.15

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       For example, during the Special Event, P. Schiller, SVP, Worldwide Marketing, for Apple stated:
24   "Thank you, Craig . . . Inside your iPhone is the fastest chip we've ever built into a phone, the new
     A9 chip, also our third-generation 64-bit chip. It's built with a new transistor architecture. It means
25   we can drive faster performance while being more energy efficient. And our software team has
     worked together with our chip team to enable it to be maximum performance for the kinds of tasks
26   we do every day. And it delivers a big jump in performance. Compared to the A8, it is 70% faster at
     CPU tasks, and at graphics tasks, it's 90% faster. This is a big jump in performance. It's going to
27   make using our phone so much faster and a lot more fun." P. Schiller, SVP, Worldwide Marketing,
     Apple Special Event for iPhone 6S, iPhone 6S Plus, at 27 (Sept. 9, 2015).
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 1          312.           In addition to the marketing of the iPhone 6s and iPhone 6s Plus via the
 2   September 9, 2015 press release and Special Event, Apple posted similar advertising on its website
 3   and in stores for these products.
 4                                            VII.   IPHONE SE
 5          313.            On March 21, 2016, Apple announced the iPhone SE for release in April
 6   2016. The iPhone SE operated on iOS 9.3 software upon release.
 7          314.            Apple’s March 21, 2016 press release for the iPhone SE, issued from
 8   Cupertino, California, is captioned “Apple Introduces the iPhone SE—The Most Powerful Phone
 9   with a Four-Inch Display.” The press release states, in pertinent part (with emphasis added):
10          Apple today introduced iPhone SE, the most powerful phone with a four-inch display
            . . . . iPhone SE offers exceptional performance with the same 64-bit A9 chip offered
11          in iPhone 6s and iPhone 6s Plus for blazing fast speeds, longer battery life, faster
            wireless, a 12-megapixel iSight® camera featuring Live Photos and 4K video, and
12          Touch ID with Apple Pay.
13                                             *       *        *
14          . . . The 64-bit A9 chip, introduced in iPhone 6s and iPhone 6s Plus, offers iPhone SE
            customers two times faster CPU and three times faster GPU performance compared to
15          iPhone 5s, all with gains in energy efficiency for improved battery life.
16
            315.        The iPhone SE was also introduced at the Apple Special Event held in Cupertino,
17
     California on March 23, 2016. The Special Event simply underscored the false representations
18
     about the device and failed to disclose the Defects.16 In addition to the marketing of the iPhone SE
19

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       For example, during the March 2016 Special Event, Apple’s Vice President iPhone Product
     Marketing, Greg Joswiak, stated the following (emphasis added):
23

24   . . . the iPhone SE delivers incredible battery improvements across the board.

25                                             *       *        *
26
     But it’s on the inside where the iPhone SE really shines. It’s got advanced technologies that make
27   this the most powerful four-inch phone ever. It’s incredibly powerful which makes it even better
     to do the things that iPhone customers want to do, including playing the most graphic intensive
28   games. So at the heart of the iPhone SE, of course, is our chips: our amazing Apple A9 chip with its
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 1   via the March 21, 2016 press release, Apple posted similar advertising on its website and in stores
 2   for these products.
 3                                VIII. IPHONE 7 AND IPHONE 7 PLUS
 4          316.           On September 16, 2016, the iPhone 7 and iPhone 7 Plus were released for
 5   sale (with pre-ordering on September 9, 2016), initially operating on iOS 10 software.
 6          317.           Apple’s September 7, 2016 press release for the iPhone 7 and iPhone 7 Plus,
 7   issued from San Francisco, California is captioned “Apple introduces iPhone 7 & iPhone 7 Plus, the
 8   best, most advanced iPhone ever,” and states in pertinent part (emphasis added):
 9          Including Breakthrough New Camera Systems, the Best Battery Life Ever in an
            iPhone and Water & Dust Resistance
10
                                                *      *        *
11
            Apple today introduced iPhone 7 and iPhone 7 Plus, the best, most advanced iPhone
12          ever, packed with unique innovations that improve all the ways iPhone is used every
            day. The new iPhone features new advanced camera systems that take pictures like
13          never before, more power and performance with the best battery life ever in an
            iPhone . . . .
14
                                                *      *        *
15
            More Performance & Battery Life
16
            The new custom-designed Apple A10 Fusion chip features a new architecture that
17          powers these innovations, making it the most powerful chip ever in a smartphone,
            while also getting more time between charges with the longest battery life ever in an
18          iPhone. The A10 Fusion’s CPU now has four cores, seamlessly integrating two high-
            performance cores that run up to two times faster than iPhone 6, and two high-
19          efficiency cores that are capable of running at just one-fifth the power of the high-
            performance cores. Graphics performance is also more powerful, running up to three
20          times faster than iPhone 6 at as little as half the power, enabling a new level of gaming
            and professional apps.
21
                                                *      *        *
22
            iPhone 7 and iPhone 7 Plus come with iOS 10, the biggest release ever of the world’s
23          most advanced mobile operating system.
24

25

26
27   embedded M9 motion coprocessor. This means that the iPhone SE has the same processing
     performance as the iPhone 6S which is literally double the speed of the iPhone 5S.
28
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 1          318.            Apple also held a Special Event on September 7, 2016 from San Francisco,
 2   California to introduce the iPhone 7 and iPhone 7 Plus. The Special Event simply underscored the
 3   false representations about the devices and failed to disclose the Defects.
 4          319.            In addition to the marketing of the iPhone 7 and iPhone 7 Plus via the
 5   September 7, 2016 press release and Special Event, Apple posted similar advertising on its website
 6   and in stores for these products.
 7

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17          320.            Apple’s CEO Tim Cook raved about the new Devices during the Company’s
18   quarterly earnings call with analysts on October 25, 2016 stating:
19          As for our newest products, we're thrilled with the customer response to iPhone 7 and
            iPhone 7 Plus. These are the best iPhones we've ever made, with breakthrough camera
20          systems, immersive stereo speakers, and the best iPhone performance in battery life
            ever, thanks to the custom-designed Apple A10 Fusion chip. They feature the
21          brightest, most colorful iPhone displays to date and come in gorgeous new finishes.
            Demand continues to outstrip supply, but we're working very hard to get them into
22          customers' hands as quickly as possible.17
23

24

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     17
26      In addition to (or a component of) the Defects described herein, certain of the Devices have been
     reported as causing fire, explosions and/or injuries. See e.g. Anthony Cuthbertson, “Apple Store
27   Evacuated After iPhone Battery Explosion,” Newsweek (Jan. 10, 2018) (Available online at
     http://www.newsweek.com/iphone-battery-mysterious-explosion-causes-apple-store-evacuation-
28   776529) (last visited June 18, 2018). As recently as May 11, 2018, reports have surfaced of an iPhone
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 1                                                    B.       iPads
 2             321.          Each iPad described herein sold by Apple to consumers was encased in a box
 3   with labeling and inserts substantially similar to that described in section above for the iPhones.
 4                                          Fourth Generation iPad
 5             322.          On October 23, 2012, Apple issued a press release from San Jose, California,
 6   announcing the fourth generation iPad. This iPad initially ran on iOS 6 and was the first iPad to
 7   feature a Retina display.18 The press release advertised that the iPad included (with emphasis
 8   added):
 9             [A] new Apple-designed A6X chip that delivers up to twice the CPU performance
               and up to twice the graphics performance of the A5X chip, all while delivering an
10             incredible 10 hours of battery life in the same thin and light iPad design. Other new
               features include a FaceTime HD camera, twice the Wi-Fi performance when
11             compared to previous iPad models and support for additional LTE carriers
               worldwide.6
12

13             323.          On October 23, 2012, Apple hosted a Special Event from San Jose,
14   California to announce the Fourth Generation iPad. The Special Event simply underscored the false
15   representations about the device, and failed to disclose the Defects.
16                                                  iPad Mini
17             324.          Simultaneous to the October 23, 2012 announced release of the fourth
18   generation iPad, Apple also announced the all-new iPad mini. The iPad mini debuted on iOS 6,
19   “the world’s most advance mobile operating system with over 200 new features.” The press release
20

21

22

23

24   6s exploding and catching fire. Upon information and belief, Apple’s throttling of the Devices may
     also have been out of fear of a massive recall akin to what its competitor, Samsung Electronics Co.,
25   Ltd undertook related to one of its phones in 2016 (the “Samsung Recall”) due to consumer injuries
     related to lithium-ion batteries contained within their product.
26   18
       iOS 6 was first announced via an Apple press release issued on June 11, 2012 from San
27   Francisco, California, promising that the update would introduce 200 new features.

28
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 1   contained the following representations, in pertinent part, concerning the iPad mini (with emphasis
 2   added):
 3             [A] completely new iPad design that is 23 percent thinner and 53 percent lighter than
               the third generation iPad. The new iPad mini features a stunning 7.9-inch Multi-Touch
 4             display . . . ultrafast wireless performance1 and an incredible 10 hours of battery
               life[]—every inch an iPad, yet in a revolutionary design you can hold in one hand . . .
 5             iPad mini is as thin as a pencil and as light as a pad of paper, yet packs a fast A5 child,
               FaceTime HD and 5 megapixel iSight cameras and ultrafast wireless—all while
 6             delivering up to 10 hours of battery life . . . The dual-core A5 chip delivers responsive
               graphics and a fast, fluid Multi-Touch experience, while still providing all-day
 7             battery life . . . iPad mini features dual-band 802.11n Wi-Fi support for speeds up to
               150 Mbps,[] which is twice the Wi-Fi performance compared to previous iPad
 8             models.19
 9
                                                        iPad Air
10
               325.            On October 22, 2013, Apple issued a press release from San Francisco,
11
     California, announcing the release of the iPad Air, which initially ran on iOS 7. The release was
12
     captioned as “Apple Announces iPad Air—Dramatically Thinner, Lighter & More Powerful iPad”
13
     and included advertising statements (emphasis added) that the iPad Air is:
14
               [T]he latest generation of [Apple’s] category defining device, featuring a stunning 9.7-
15             inch Retina display in a new thinner and lighter design, Precision-engineered to
               weigh just one pound, iPad Air is 20 percent thinner and 28 percent lighter than the
16             fourth generation iPad, and with a narrower bezel the borders of iPad Air are
               dramatically thinner—making content even more immersive . . . [The] iPad Air . . .
17             delivers all-day battery life in the lightest full-sized tablet in the world . . . [T]he new
               power-efficient A7 chip allows the battery to be even smaller, helping reduce the
18             overall volume by 24 percent from the previous generation while doubling its
               performance and maintaining its up to 10-hour battery life1 . . . With up to twice the
19             CPU and graphics performance on iPad Air . . . almost everything you do is faster
               and better than ever, from launching apps and editing photos to playing graphic-
20             intensive games—all while delivering all-day battery life.
21

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     19
        At Apple’s Special Event, held on October 23, 2012 in San Jose, California, it was represented
     by Apple’s SVP Worldwide Marketing that: “[T]he new iPad Mini with Retina display is also
25   powered by this brand new A7 chip with its 64-bit architecture. This delivers a huge jump in
     performance for iPad Mini up to four times faster at CPU tasks and up to eight times faster at
26   graphics tasks. You're going to feel performance across everything you do that's so fast. And still
     that great all day 10-hour battery life.”
27   P. Schiller SVP, Worldwide Marketing, Apple Special Event at 1:17:01-1:17:21 (Oct. 22, 2013)
     available at: (https://www.youtube.com/watch?v=4FunXnJQxYU).
28
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 1           326.            Apple also conducted a Special Event on October 22, 2013. The Special
 2   Event simply underscored the false representations about the device and failed to disclose the
 3   Defects.20
 4                                                  iPad Mini 221
 5           327.            On the same day as the release of the iPad Air, Apple also announced via
 6   press release from San Francisco, California the new iPad Mini with 7.9-inch Retina display, which
 7   similarly initially ran on iOS 7. Moreover, the press release stated, in pertinent part, that the new
 8   iPad Mini had “the same amazingly thin and light design,” including that (emphasis added):
 9           [F]eature[s] the powerful and power-efficient Apple-designed A7 chip with 64-bit
             desktop-class architecture, ultrafast wireless with faster built-in Wi-Fi and expanded
10           LTE cellular connectivity . . . ‘It is so thin, light and powerful, once you hold one in
             your hand you will understand what a tremendous advancement this is,’ said Philip
11           Schiller, Apple’s senior vice president of Worldwide Marketing . . . [with] up to four
             times the CPU and eight times the graphic performance on iPad mini with Retina
12           display, almost everything you do is faster and better than ever, from launching apps
             and editing photos to playing graphic-intensive games—all while delivering all day
13           battery life.
14

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     20
19       For example, during the Special Event, Apple executive J. Ivie stated, in pertinent part
     (emphasis added) that:
20            The new A7 chip is incredibly powerful. And also, very power efficient. Because of
              this efficiency, the battery could get smaller yet critically without any loss in
21            battery life. And of course, by reducing the battery size, the product became
              significantly lighter. We reduced the dimensions of the bezel with less mass. The
22            iPad S still retains its structural rigidity. There's a simplicity to it, but there's nothing
              precious about it. This integrity, this durability inspires confidence in a product
23            that's meant to be taken places, handled, and really used. With the iPad, we set out
              to redefine mobile computing. Up until now, 64-bit architecture is something you'd
24            normally only find in desktop computers. The new Apple-designed A7 chip brings
              64-bit technology. All of its advanced computing graphics to this ultra-portable, 1-
25            pound device. But even with all of this added processing power, iPad Air still has
              an impressive 10-hour battery life.
26
     J. Ive, SVP of Design, Apple Special Event at 1:13:04 (Oct. 22, 2013) available at:
27   https://www.youtube.com/watch?v=4FunXnJQxYU
     21
        Initially, Apple called the iPad mini 2 the “iPad mini with Retina® display.”
28
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 1          328.          On October 22, 2013, Apple also announced the release of the iPad Mini2 at
 2   the Special Event. The Special Event simply underscored the false representations about the device
 3   and failed to disclose the Defects.22
 4                                    Update to Fourth Generation iPad
 5          329.            On March 18, 2014, Apple announced through a press release from
 6   Cupertino, California that the “iPad with Retina display replaces iPad 2 as the most affordable 9.7-
 7   inch iPad.” The press release, titled “Apple Updates Most Affordable 9.7-inch iPad with Retina
 8   display, Improved Cameras & Enhanced Performance—Now Available Starting at $399” featured
 9   the iPad’s (with emphasis added):
10          [F]ast A6X chip, and 5MP iSight camera, offering a dramatic upgrade in
            performance, power and value compared to the iPad 2 it replaces,’ said Philip
11          Schiller, Apple’s senior vice president of Worldwide Marketing. The iPad line sets
            the gold-standard in mobile computing and all iPads have access to the largest and
12          best ecosystem of more than 500,000 iPad optimized apps from the App Store.
13
                                                  iPad Air 2
14
            330.            The iPad Air 2 was introduced through a press release issued on October 16,
15
     2014 from Cupertino, California. The iPad Air 2 initially ran on iOS 8.1, and at the time of its
16
     release, it was advertised (emphasis added) as:
17
            [T]he thinnest and most powerful iPad ever. Now just 6.1 mm thin and weighing less
18          than a pound, the iPad Air 2 features an improved Retina display for enhanced contrast
            and richer, more vibrant colors . . . [a] second generation 64-bit A8X chip, all-new
19          iSight and FaceTime HD cameras, faster WiFi and LTE wireless, and includes the
            revolutionary Touch ID fingerprint identity sensor. Engineered for unmatched
20          portability and ease of use, iPad Air 2 offers a beautiful, precision unibody enclosure
21

22

23   22
        For example, during the Special Event on October 22, 2013, Apple’s SVP Worldwide Marketing
     (P. Schiller) also stated (emphasis added):
24
             And the new iPad Mini with Retina display is also powered by this brand new A7
25           chip with its 64-bit architecture. This delivers a huge jump in performance for iPad
             Mini up to four times faster at CPU tasks and up to eight times faster a graphics
26           tasks. You're going to feel performance across everything you do that's so fast. And
             still that great all day 10-hour battery life.
27   P. Schiller SVP, Worldwide Marketing, Apple Special Event at 1:17:01-1:17:21 (Oct. 22, 2013)
     available at: (https://www.youtube.com/watch?v=4FunXnJQxYU).
28
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            of anodized aluminum for durability and a solid feel . . . the new Apple-designed A8X
 1          chip [ ] delivers a 40 percent improvement in CPU performance and 2.5 times the
            graphic performance of iPad Air, while still delivers the up to 10-hour battery life[]
 2          users expect while working, playing games or surfing the web.
 3
            331.          The iPad Air 2 was also discussed at the October 16, 2014 Apple Special Event
 4
     in Cupertino, California. The Special Event simply underscored the false representations about the
 5
     device and failed to disclose the Defects.23
 6
                                                The iPad Mini 3
 7
            332.             Alongside the iPad Air 2, Apple introduced the iPad Mini 3 on October 16,
 8
     2014 in Cupertino, California via press release. The iPad mini 3 similarly ran on iOS 8.1, but
 9
     continued to feature a “stunning Retina display, amazing A7 chip, 5MP iSight camera, FaceTime
10
     HD camera and ultrafast wireless.” Upgrades to the iPad mini 3 included Touch ID “so users can
11
     unlock their iPad with just the touch of a finger and make purchases easily and securely within apps
12
     using Apple Pay.1”
13
                                           iPad Pro and iPad Mini4
14
            333.             On September 9, 2015, Apple issued a press release from San Francisco,
15
     California, announcing the iPad Pro, which came with Apple’s new iOS 9. As stated in the release,
16
     in pertinent part (with emphasis added):
17
            Apple today introduced the all-new iPad Pro, featuring a stunning 12.9-inch Retina
18          display with 5.6 million pixels, the most ever in an iOS device, and groundbreaking
            performance with the new 64-bit A9X chip, rivaling most portable PCs. The new
19          larger iPad Pro is thin and light and provides all-day battery life.
20                                              *      *        *
21

22

23
     23
        During the Apple Special Event, P. Schiller, SVP of Worldwide Marketing at Apple stated:
24
             Just look what the team is done the original iPad started with an A4 chip and now
25           we’re 12X faster than that with iPad air 2. But check out this graphics performance
             we're now at a 180x faster. . . . And all this power in such a thin package the team
26           has worked to ensure that you have that great all-day battery life 10 hours of battery
             so you don't have to give up any of that.
27    P. Schiller SVP, Worldwide Marketing, Apple Special Event at 45:01 (Oct. 16, 2014) available at:
     https://www.youtube.com/watch?v=sBfvJn-fpnc.
28
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            iPad Pro is the most advanced and powerful iPad . . . far and away the fastest iOS
 1          device we have ever made — its A9X chip beats most portable PCs in both CPU and
            graphics tasks, but is thin and light enough to hold all day . . .
 2
                                                   *     *        *
 3
            iPad Pro delivers groundbreaking performance and energy efficiency, so you can
 4          tackle the most demanding tasks. Apple’s powerful new 64-bit A9X chip, with third-
            generation 64-bit architecture, provides desktop-class CPU performance and console-
 5          class graphics. Ultra-fast wireless connectivity . . . . *All-day 10-hour battery life**
            delivers the efficiency that users have come to expect from iPad.
 6

 7          334.             On September 9, 2015, Apple hosted a Special Event from San Francisco,
 8   California to announce the release of the product, and reportedly the iPad Mini4 as well. The
 9   Special Event simply underscored the false representations about the devices and failed to disclose
10   the Defects.
11          335.        Subsequent advertisements, focusing on the thinness and speed of the iPad
12   Mini4, also failed to disclose the Defects.
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 1                                               9.7-Inch iPad Pro.
 2             336.           On March 21, 2016, from Cupertino, California, Apple issued a press release
 3   that introduced the all-new 9.7-inch iPad Pro, which initially ran on iOS 9.3 (with emphasis added).
 4             The new iPad Pro delivers incredible performance with the 64-bit A9X chip that
               rivals most portable PCs, along with a four-speaker audio system that is twice as
 5             powerful1 . . . ‘iPad Pro is a new generation of iPad that is indispensable and
               immersive, enabling people to be more productive and more creative. It’s incredibly
 6             fast, extremely portable . . .
 7                                                 *      *        *
 8             Pro Performance
 9             The new iPad Pro is just 6.1mm thin and weighs just under one pound, yet delivers
               groundbreaking performance, connectivity and versatility so you can tackle the most
10             demanding tasks wherever you go. The powerful A9X chip with third-generation 64-
               bit architecture provides performance that rivals many laptops and console-class
11             graphics, while also delivering all day battery life.[] Ultrafast wireless connectivity .
               ...
12

13             337.           On March 21, 2016, Apple hosted a Special Event Keynote from Cupertino,
14   California, to announce the 9.7-inch iPad Pro. The Special Event simply underscored the false
15   representations about the device and failed to disclose the Defects. For example, during the Special
16   Event, Apple’s P. Schiller stated (emphasis added) that:
17             iPad Pro changes the way people discover, capture, edit, design and produce. At the
               heart of its versatility is its performance. The A9X chip was designed specifically for
18             iPad Pro to provide more power than most PCs in a thin, light, intuitive device you
               can take anywhere with you. The immersive iPad experience starts with its retina
19             display. Each one is individually calibrated, so you always see vibrant color, contrast,
               and clarity.
20

21                                            Fifth Generation iPad24
22             338.           On March 21, 2017, Apple announced via press release from Cupertino,
23   California it had “updated its most popular-sized iPad, featuring a brighter 9.7-inch Retina display
24

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27
     24
          The fifth generation iPad was introduced as the “9.7-inch iPad.”
28
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 1   and best-in-class performance at its most affordable price ever.” The new iPad initially came with
 2   iOS 10. As stated by Apple in the press release (emphasis added), the iPad was:
 3          [d]esigned for unmatched portability and ease of use, along with incredible
            performance and all-day battery life, iPad is the world’s most popular tablet and
 4          primary computing device for millions of customers around the world . . . Philip
            Schiller, Apple’s senior vice president of Worldwide Marketing[] [stated] ‘New
 5          customers and anyone looking to upgrade will love this new iPad for use at home, in
            school, and for work, with its gorgeous Retina display, our powerful A9 chip, and
 6          access to more than 1.3 million apps designed specifically for it.’ . . . The Apple-
            designed A9 chip with 64-bit desktop-class architecture delivers fast processing and
 7          graphics performance for apps and games, while maintaining the same all-day
            battery life1 customers have come to expect from iPad.
 8
 9                              iPad Pro in 10.5-inch and 12.9-inch Models
10          339.           The iPad Pro in 10.5-inch and 12.9-inch models was announced in a press
11   release on June 5, 2017 from San Jose, California. The all-new iPad Pro models were initially set
12   to be powered by iOS 11, which “will radically change what users can do with the iPad.” Apple
13   further advertised in the press release that the new iPad Pro models featured (with emphasis added):
14          [T]he world’s most advance display with ProMotion technology and incredible
            performance with the new A10X Fusion chip. The new 10.5-inch model reduces the
15          borders by nearly 40 percent to fit into an incredibly compact package that still weighs
            just one pound. Combined with powerful new iPad features in iOS 11 coming this
16          fall, like the all-new Files app, customizable Dock, improved multitasking and deeper
            integration of Apple Pencil, iPad Pro gives users the ability to be even more productive
17          and creative.
18          ‘These are by far the most powerful iPads we’ve ever created . . .’ said Greg Jaswiak,
            Apple’s vice president of Product Marketing.
19
                                               *       *        *
20
            Groundbreaking Performance Powered by A10X Fusion Chip
21
            iPad Pro delivers groundbreaking performance, . . . The powerful new 64-bit A10X
22          Fusion chip provides performance that is faster than most PC laptops shipping today,
            so tacking complex tasks like editing photos and 4k video, rendering 3D images or
23          playing games feels effortless. A six-core CPU and 12-core GPU deliver up to 30
            percent faster CPU performance and 40 percent faster graphics performance than
24          the industry-leading A9X chip, while delivering-all day battery life.[]
25
            340.       The iPad Pro model was also discussed at the June 2017 WWDC Keynote, held
26
     at the San Jose McEnery Convention Center, with Apple executive Joswiak emphasizing that these
27
     iPad Pro models have “amazing performance, again especially for devices so thin and light and a
28
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 1   simple one-pound package you can take with you everywhere you go. And what’s also cool is,
 2   despite all this performance, the new iPad Pro still delivers the same all day 10-hour battery that
 3   our iPad users love.”25
 4          341.            Moreover, on Apple’s conference call with analysts to release financial
 5   results for the third fiscal quarter of 2017, CEO Tim Cook exclaimed that “the all-new 10.5-inch
 6   iPad Pro, launched in June, features the world’s most advanced display with ProMotion technology
 7   and is more powerful than most PC desktops.”26
 8                                         Sixth Generation iPad27
 9          342.            The sixth generation iPad was released on March 27, 2018, running on the
10   iOS11.3 software. In a press release from Chicago, Illinois, Apple announced the new iPad would
11   come with “Apple Pencil plus even greater performance, starting at $329.” The announcement also
12   emphasized that:
13          The new iPad is more versatile and capable than ever, features a large Retina display,
            the A10 Fusion chip and advanced sensors that help deliver immersive augmented
14          reality, and provides unmatched portability, ease of use and all-day battery life.[]
15                                              *       *        *
16          The new iPad features the Apple-designed A10 Fusion chip with 64-bit desktop-class
            architecture, delivering 40 percent faster CPU and 50 percent faster graphics
17          performance for seamless multitasking and graphics-intensive apps.[]
18
            343.        On March 27, 2018, Apple hosted a Special Event from Chicago, Illinois, to
19
     announce this iPad. The Special Event simply underscored the ongoing false representations about
20
     the device and failed to disclose the Defects.
21

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     25
        G. Joswiak 2017 WWDC Keynote at 1:43:44-1:43:52, available at:
26   https://developer.apple.com/videos/play/wwdc2017/101/?time=6229 (emphasis added).
     26
27      T. Cook 2017 Q3 Earnings Call at 2.
     27
        The Sixth Generation iPad is also known as “iPad 2018”.
28
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 1               IX.   APPLE’S MATERIALLY FALSE STATEMENTS AND OMISSIONS
 2                                      CONCERNING THE IOS SOFTWARE
 3          344.            As admitted by Apple in its 2016 Form 10-K at 9: “The Company’s financial
 4   condition and operating results depend substantially on the Company’s ability to continually
 5   improve iOS and iOS devices in order to maintain their functional and design advantages.”
 6          345.            In line with Apple’s admitted emphasis on iOS, the Company progressively
 7   issued numerous updates to iOS from the initial sale of each of the Devices and continuing through
 8   to the present date. As set forth herein, the first of the Devices, largely the iPads, ran on iOS6 when
 9   initially released. Going forward in time, each new iOS release promised even better features and
10   performance, all material misstatements directed to the Class. The following outlines the various
11   main versions of iOS released for one or more of the Devices since June 11, 2012. Major updates
12   to iOS, such as iOS 6, 7, 8, 9, 10, 11 and 12, are generally announced by Apple via press releases
13   and Special Event presentations.
14          346.         As further detailed above, it was Apple’s constant release of these updates, each
15   with new Features and requiring a further draw on the batteries and processor chips of the Devices
16   to run that contributed to the Defects.
17          347.         With regard to the Devices at issue herein, Apple kicked off (for certain of the
18   iPads) with iOS6.
19          348.         On June 11, 2012, Apple issued a press release from San Francisco, California,
20   announcing that iOS 6 would be released in the Fall of 2012, and would introduce 200 new
21   features.
22          349.         On January 28, 2013, Apple issued a press release from Cupertino, California,
23   announcing, “Apple Updates iOS to 6.1.,” and promising that users could experience “ultrafast
24   wireless performance** to browse, download and stream content at blazing fast speeds.”
25   Moreover, it was represented that:
26          iOS 6 is the world’s most advanced mobile operating system, and with nearly 300
            million iPhone, iPad and iPod touch devices on iOS 6 in just five months, it may be
27          the most popular new version of an OS in history,” said Philip Schiller, Apple’s senior
            vice president of Worldwide Marketing. “iOS 6.1 brings LTE support to even more
28
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             markets around the world, so even more users can enjoy ultrafast Safari browsing . . .
 1
                                                 *       *        *
 2
             Availability
 3
             iOS 6.1 is available as a free software update today. iOS 6.1 is compatible with iPhone
 4           5, iPhone 4S, iPhone 4, iPhone 3GS, iPad (third and fourth generation), iPad mini,
             iPad 2 and iPod touch (fourth and fifth generation).
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 6           350.            On June 10, 2013, Apple unveiled iOS 7 through a press release from San
 7   Francisco, California. Apple represented iOS 7 as “the most significant iOS update since the
 8   original iPhone, featuring a stunning new user interface.” Moreover, according to Jony Ive,
 9   Apple’s senior vice president of Design, iOS 7 has “a profound and enduring beauty in simplicity,
10   in clarity, in efficiency.”
11           351.            On September 10, 2013, Apple issued a press release from Cupertino,
12   California, announcing that iOS 7 would be available for the public to download on September 18,
13   2013 for “iPhone, iPad and iPod touch users as a free software update.” The release represented
14   that “iOS 7 has been engineered with deep technical and design integration with both the iPhone 5s
15   and iPhone 5C” as:
16           Apple engineered iOS 7 to take full advantage of the advanced 64-bit technologies in
             iPhone 5s, including the native 64-bit kernel, libraries and drivers. Al the built-in apps
17           have been re-engineered for 64-bit, and iOS 7 provides a seamless developer transition
             with Xcode support and the ability to run both 32-bit and 64-bit apps.
18

19           352.            On June 2, 2014, Apple issued a press release from San Francisco, California
20   announcing the “unveiling” of iOS 8, stating, in pertinent part, that it provided a “simpler, faster
21   and more intuitive user experience.” Another press release on iOS 8 was released from Cupertino,
22   California on September 9, 2014 reiterating this statement.
23           353.            Apple also featured iOS 8 during a June 15, 2015 Apple Special Event it
24   hosted in San Francisco, California, wherein Craig Federighi, SVP, Software Engineering stated
25   (with emphasis added):
26           Next, you guessed it, iOS. Now our current big release of iOS is iOS 8 and iOS 8 was
             a huge release with tons of new features for users and a phenomenal set of technologies
27           . . . . So, we’re now looking forward to iOS 9 and as we can see of what we wanted
             to accomplish, first and foremost, we wanted to elevate the foundations of the
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               platform. Things like extending your battery life, improving performance and
 1             enhancing security to protect customer data.28
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               354.           On June 8, 2015, Apple issued a press release from San Francisco,
 3
     California, announcing the “preview” of iOS 9. The release stated, in pertinent part (emphasis
 4
     added):
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               iOS 9 makes the foundation of iOS even stronger with refinements including battery
 6             optimization that provides a typical user with an additional hour of battery life**, and
               a low-power mode to help further extend battery life.
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 8             355.           On the same day, June 8, 2016, at the Apple WWDC 2015 Keynote, Craig
 9   Federighi, SVP Software Engineering at Apple stated the following about iOS 9 (with emphasis
10   added):
11             Now with battery life, we focused on real-world use cases and optimized them, and
               we’re seeing an addition of one hour of typical use on a full charge on iPhone. Now
12             we know that for a lot if you’re running low on power, you start searching all over for
               switches and turning off features in the hope of extending your battery life, a little bit
13             further. Well now in iOS 9 we give you a single switch in what we call low-power
               mode. It pulls levers that you didn’t even know existed and is able to extend battery
14             life for additional three hours of typical use on top of that additional hour. It’s
               really great.29
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16             356.           Then on September 9, 2016, Apple issued a press release from San
17   Francisco, California, announcing that iOS 9 was available for download starting September 16,
18   2016. Apple further represented iOS 9 as (emphasis added):
19             [T]he world’s most advanced mobile operating system, will be available on
               Wednesday, September 16 as a free update for iPhone, iPad and iPod touch users. iOS
20             9 makes iOS devices more intelligent and proactive with powerful search and
               improved Siri features, all while protecting users’ privacy.
21
               The way you interact with iPad gets even better with iOS 9, thanks to new multitasking
22             features . . . Built-in apps become more powerful . . .
23             ‘iOS 9 is packed with intelligence that makes every experience with iPhone and iPad
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        C. Federighi, SVP, Software Engineering, Apple Special Event at 23:16-24:28 (June 15, 2015).
27   29
        C. Federighi, SVP, Software Engineering, Apple, Apple WWDC 2015 Keynote at 63:13-63:57
     (emphasis added).
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               even more powerful — Siri can do more than ever and new proactive assistance helps
 1             you get more done before you ask, all while protecting users’ privacy,” said Craig
               Federighi, Apple’s senior vice president of Software Engineering. “With iOS 9 we
 2             focused on strengthening the foundation of iOS with a deep focus on quality, and with
               the help of more than one million users who participated in our first ever public beta
 3             program, we’re excited to release the best version of iOS yet.’
 4                                               *        *        *
 5             iPad Experience
 6             iOS 9 delivers new multitasking features designed specifically for iPad that allow you
               to do even more. . .
 7
                                                 *        *        *
 8
               This latest release makes the foundation of iOS even stronger with refinements
 9             including battery optimization that provides a typical user with an additional hour of
               battery life, and a low-power mode to further extend battery life.
10

11             357.           Notably, Apple developed it A9 chip and iOS 9 together “for optimal
12   performance where it matters most, in real world usage.”30
13             358.           On June 13, 2016, Apple issued a press release from San Francisco,
14   California previewing iOS 10, “the biggest iOS release ever.” In iOS 10, Apple purported to make
15   “accessing the information you need is easier and quicker than ever.” The release also featured
16   “‘beautifully redesigned apps for Music, Maps, and News that are more intuitive and more
17   powerful, making everything you love about your iPhone and iPad even better,’ said Craig
18   Federighi, Apple’s senior vice president of Software Engineering.” iOS 10 also “increase[ed]
19   security and privacy with powerful technologies like Differential Privacy.”
20             359.           On January 23, 2017, Apple issued a press release announcing the release of
21   iOS 10.2.1. Shortly thereafter, Apple caused the issuance of a notification to appear on the Devices
22   advising that iOS 10.2.1 was available for installation. As alleged herein, iOS 10.2.1 was designed
23   by Apple to throttle the Devices, contrary to what Apple stated about the update.
24             360.       Apple represented as follows concerning the update on the Devices:
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          Apple iPhone 6 Press Release (Sept. 9, 2015).
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10            361.       On September 18, 2017, Apple issued a press release announcing the availability

11   of iOS 11. As stated in the release, in pertinent part:

12            Starting Tuesday, iPhone and iPad customers around the world will be able to update
              their devices to iOS 11, a major update to the world’s most advanced mobile operating
13            system and the biggest software release ever for iPad.
14
              362.       According to later reports by Apple at the 2018 WWDC: “iOS 11 supports
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     devices that were introduced as far back as 2013, like the iPhone 5S. And we just love the way
16
     customers race to update to our newest releases. In fact, half of our customers upgraded to iOS 11
17
     in just seven weeks. It’s incredible. Now as we stand here today, 81 percent of our over a billion
18
     active iOS devices are running our latest release.”31
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          C. Federighi 2018 WWDC Keynote at 10:59-11:44.
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 1          363.            On December 2, 2017, Apple announced the release of iOS 11.2.0. Shortly
 2   thereafter, Apple caused the issuance of a notification to appear on the Devices advising that iOS
 3   11.2.0 was available for installation. Apple represented as follows concerning the update:
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14          364.        As alleged herein, iOS 11.2.0 was another update designed to throttle the

15   Devices and exacerbate the Defects.

16          365.        Just weeks after the issuance of iOS 11.2.0, Apple was forced to issue the

17   December 20 Admission, followed eight days later by the Apology. In a series of the Updates

18   issues after 11.2.0 (including, but not limited to, 11.2.1, and the 11.3 and 11.4 series), Apple

19   proceeded to attempt to cover its tracks and quell consumer ire, though failing to admit the Defects.

20   Apple’s latest software machination is iOS 12.

21          366.        On June 4, 2018, Apple issued a press release from San Jose, California,

22   announcing iOS12, which stated that the update (emphasis added):

23          [I]s designed to make everyday tasks on iPhone and iPad faster and more responsive
            with performance improvements across the system. Camera launches up to 70 percent
24          faster, the keyboard appears up to 50 percent faster and typing is more responsive.
            Even when there is a lot going on across the system, apps can launch up to twice as
25          fast. From iPhone 5s, introduced in 2013, to the most advanced iPhone ever, iPhone
            X, iOS 12 brings performance improvements to more devices than any previous
26          version.

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 1          367.             Apple also announced iOS 12 at the 2018 WWDC Keynote held at the San
 2   Jose McEnery Convention Center (at 14:22-14:51) with Apple’s Senior Vice President of Software
 3   Engineering, Craig Federighi, stating in pertinent part (emphasis added):
 4          Well now on IOS 12, we’re much smarter. When we detect that you need a burst of
            performance, like when you begin scrolling or launching an app, we ramp up
 5          processor performance instantly to its highest states, delivering high performance
            and to ramp it down just as fast to preserve battery life. Now, these are just some of
 6          the improvements that are coming to not just our older devices, but the full range of
            devices, and that's a quick update on performance.32
 7

 8          368.             Similarly, at the 2018 WWDC, Apple’s Federighi represented that iOS 12
 9   was intended to: “[D]eliver[ ] all of these features across such a wide range of devices while
10   maintaining high performance is a challenge we take really seriously, and so for iOS 12, we are
11   doubling down on performance. We’re working top to bottom making improvements, to make your
12   device faster and more responsive, and because we want these changes to be available to the full
13   range of our customers, iOS12 will be available on all the same devices as iOS 11. This is the
14   largest base ever supported by an Apple release. And we’re focusing our efforts especially on the
15   oldest devices.”33
16          369.          Apple’s iOS12 remains part of its crisis public relations effort. Apple continues
17   to conceal the Defects inherent in the Devices that caused the need for the Updates. With the filing
18   of this action, consumers are now able to climb into the driver’s seat to obtain full relief for the
19   damages they have suffered, and to prevent Apple’s ongoing repetition of the misconduct. As
20   highlighted in a recent media article “what most users have been asking for” is for the updates to
21   “focus on improving reliability and performance for the devices people already own.”34 Apple
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        2018 WWDC Keynote at 14:22-14:51.
     33
25      2018 WWDC Keynote at 12:09-12:58.
     34
        Kof Leswing,“The new version of iOS is the strongest sign yet that Apple finally believes the
26   customer is always right,” Business Insider (June 27, 2018) (Available online at
     https://www.yahoo.com/finance/news/version-ios-strongest-sign-yet-183500270.html) (“For most
27   people, there’s only one feature in the latest version of IOS that matters: a big bump in
     performance.”) (last checked June 27, 2018).
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 1   knew this was the focus of consumers from the outset—indeed it was the center of its marketing
 2   plan—and yet it purposefully denied that to consumers by throttling the Devices without any
 3   disclosure or authorization.
 4                        X.        THE INHERENT DEFECTS IN THE DEVICES
 5           370.       At all material times, Apple developed and sold Devices that contained an
 6   inherent mismatch between battery performance and the operational needs of the Devices.
 7   Although it is foreseeable that lithium-ion batteries degrade over time, Apple knowingly failed to
 8   plan for the power requirements of its Devices during the normal life of the battery.
 9           371.       On information and belief, this inadequate planning was the product of the
10   improper design of the batteries (such as their designed margin for degradation), the rated power
11   that Apple’s iOS software demanded from the batteries, and/or a combination thereof (the
12   “Defects”). As a result of the Defects, the Devices were inadequate to meet the power needs of the
13   iOS system for the normal lifetime of a battery.
14           372.       And because Apple hermetically sealed the defective batteries within the
15   Devices, preventing consumers from easily replacing the batteries, the Defects caused even greater
16   harm.
17           A.     Key Power Components of the Devices
18           373.       Apple’s power mismatch stems in part from the premium Apple placed on
19   designing ever “thinner” Devices while nonetheless promising “faster” and “stronger” performance
20   with “long” battery life. This design model places critical limitations on battery size.
21           374.       The exploded-view diagram below,35 of an iPhone 7, shows how major
22   components are integrated into the device:
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       Adrian Diaconescu, “Preliminrya iphone 7 BOM Isout : cheapert o make than galazy S7, costlier
27   than iPhone 6s,” Pocketnow (Sept. 21, 2016 (available at http://pocketnow.com/2016/09/21/iphone-
     7-manufacturing-costs-galaxy-s7-iphone-6s).
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14          375.       The main printed circuit board (PCB), also called the main logic board, is nestled
15   against the battery, as depicted in the image below, from an iPhone 6. The integrated circuits and
16   other small components comprising the main logic board are the “brain,” so to speak, of the mobile
17   device, and are responsible substantial power usage.36
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       Q Novo, The Anatomy of an iPhone 6, https://qnovo.com/anatomy-of-an-iphone/ (last visited
     June 30, 2018).
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10              376.     The back side of the logic board (depicted below) houses, among other things,

11   two power management integrated circuits (called PMICs), a primary and a secondary one. The

12   primary PMIC provides a number of critical functions such as providing voltage rails to the logic

13   board as well as battery charging. This is also where the primary battery management functions

14   tend to reside.37

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          Id.
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 1          377.        Similarly, the main components of an iPad can be seen in this exploded view of
 2   an iPad Air:
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13          378.        Apple was among the first companies to sell a smartphone with non-user

14   replaceable lithium-ion batteries. Indeed, “before the iPhone, cell phones without user-replaceable

15   batteries were almost unheard of.”38

16          379.        Apple chose to equip its Devices with a battery that is not replaceable by users.

17   Special skills and tools, including a pentalobe screwdriver, are required to replace the lithium-ion

18   batteries in the Devices. Apple also chose to not sell replacement batteries directly to consumers

19   and instead requires consumers seeking a new battery to pay for the battery and battery installation

20   by an Apple representative.

21          380.        Critically, the batteries used in the Devices require careful handling and

22   packaging, and while rechargeable, there are limits to how often they can be recharged. Lithium-

23   ion batteries work on ion and electron movement between the positive and negative electrodes. The

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        Kyle Wiens, “Apple’s Latest ‘Innovation’ is Turning Planned Obsolescence into Planned
27   Failure,” IFixit (Jan. 20, 2011) (available at https://www.ifixit.com/blog/2011/01/20/apples-
     latestinnovation-is-turning-planned-obsolescence-into-planned-failure).
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 1   primary measure of battery performance is capacity. A lithium-ion battery’s capacity is degraded
 2   over time by discharge/recharge cycles, elevated temperatures, and aging.
 3          381.         It is well known to smartphone manufacturers, including Apple, that lithium-ion
 4   batteries degrade over time as the number of discharge/recharge cycles increases.
 5          382.         Apple represents that its battery is “designed to retain up to 80% of its original
 6   capacity at 500 complete charge cycles.”39
 7          383.         This representation, plainly designed to convey to consumers how long the
 8   battery in their Device should continue to function well, is misleading. It only tells half of the
 9   story. It may (or may not) be that Apple’s batteries retain a certain “capacity” (i.e., how long they
10   could hold a charge before needing to be recharged) once they reach the age of 500 charge cycles,
11   but that says nothing about the rate at which they are able to deliver power at that point in their life.
12          384.         In actuality, Apple’s batteries (as designed) degraded overly quickly, such that
13   they were incapable of delivering the power required to run the Devices during the normal life of a
14   lithium-ion battery.
15

16                  B.      Apple Compounded the Defects by Stressing Device Batteries With
17                  Power-Hungry Software: iOS Updates
18          385.         Apple’s battery designs were also inadequate because they could not handle the
19   power demands of the software Apple mandated users to run.
20          386.         When Apple releases a new operating system, it pushes the software directly to
21   the customers’ device through a red signal with a number in it that notifies users of the existence of
22   an available “software update.”
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        Apple, Battery Service and Recycling, https://www.apple.com/batteries/service-and-recycling
     (last visited June 1, 2018).
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            387.         Within minutes, device owners can click on the prompt and download the new
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     operating system.
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            388.         It is very difficult, if not impossible, for typical Apple owners to avoid
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     downloading an iOS update. As one site explains:
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            The bad news is there’s no easy way to stop iOS from repeatedly throwing this alert
19          at you....
20          To encourage people to get on the latest version of iOS, Apple implemented a feature
            called Automatic Downloads. This download updates in the background, and once it
21          is downloaded, you are pushed to install it. Apple typically installs the software update
            at night when the iPhone, or iPad, is plugged in and charging.40
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        Lucy Hattersley, “How to Stop iOS Nagging You to Update to the Latest Version,” MacWorld
     (July 6, 2016) (available at https://www.macworld.co.uk/how-to/iphone/how-stop-ios-nagging-you-
26   update-latest-version-3641478). In this context, “jailbreaking” means to modify the iPhone to
     remove restrictions imposed by Apple and install apps not unauthorized by Apple. Navid Nield,
27   “What is jailbreaking?” Tech Radar (June 6, 2016) (available at https://www.techradar.com/how-
     to/phone-and-communications/mobile-phones/what-is-jailbreaking-1322927).
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 1          389.        Turning off the updates and the daily push notifications requires users to delve
 2   deep into their settings or to forgo WiFi, which ordinary customers would not do.41
 3          C.      The Release of iOS 10 Was Secretly Designed to Camouflage the Defects
 4          390.        In the Fall of 2016, iPhone users reported increasing occurrences of sudden
 5   shutdowns of iPhones 5 and 6 running versions of iOS 10 software, including when their devices
 6   indicated that battery life was still at or above 30%. 42, 43 As noted herein, even the inventor of the
 7   iPod, Tony Fadell, voiced concern about this problem, commenting that the battery on his own
 8   iPhone kept shutting down despite having a significant amount of charge left in it: “It’s happening
 9   to me every other day-especially while using the mapping app. Have to always carry an external
10   battery to revive it.... Issue with battery/shutdown algorithms?!”44
11          391.        As Apple was aware, and confirmed with the diagnostic information it obtained,
12   the shutdown problem was the foreseeable consequence of a serious design defect in Apple’s
13   iPhones. The speed for which Apple’s products are known and marketed to consumers comes from
14   powerful processing units which are supposed to perform calculations and render graphics on its
15   smart-phones at top speeds. As these processing units become faster and more powerful, however,
16   they also require more power from the phone’s battery.
17          392.        A further complication is that the impedance of lithium-ion batteries used in
18   iPhones increases as the cells age, resulting in both a reduction in overall battery capacity and a
19   reduction in the battery’s ability to produce peak power output.45
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        Hattersly, How to Stop iOS Nagging You, supra.
23   42
        Apple Discussion Thread, https://discussions.apple.com/message/30989226?start=165&tstart=0 (last
24   visited June 30, 2018).
     43
        Apple Discussion Thread,https://discussions.apple.com/message/30989226?start=165&tstart=0 (last
25   visited June 30, 2018).
     44
26      Tony Fadell Twitter Comment, Dec. 1, 2016,
     https://twitter.com/tfadell/status/804232051595640833.
27   45
        Apple, iPhone Battery and Performance, https://support.apple.com/en-us/HT208387 (last visited
     June 30, 2018).
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 1           393.       The amount of power that the processing unit requires during its daily operation
 2   varies: sometimes very little; sometimes a great deal; and the battery should be designed and
 3   capable of producing enough peak power to keep pace with even the processor’s highest demands.
 4   A battery and processor must be designed such that even as the battery ages and loses performance,
 5   it will still be capable of meeting the processor’s peak power demands for years to come.
 6           394.       Electronics manufacturers like Apple are aware of this fact and thus must design
 7   batteries to be more powerful than they need to be so that as they grow weaker, they still have the
 8   ability to meet the processor’s peak power demands.
 9           395.       Apple’s iPhone 6, for example, uses Apple’s proprietary A8 System on a Chip
10   (“SoC”) as its processor. This processor has low-power cores and high-power cores. The low
11   power cores perform most of the day-to-day functions of the iPhone, and the high-power cores
12   handle more graphically intensive activities such as gaming, recording and editing video, running
13   certain applications at other times.46
14           396.       When the high-power cores are active, they can draw peak power from the
15   battery, which the battery should be capable of meeting for the lifetime of the smart-phone.47 But
16   when the battery ages and is unable to deliver the peak power demanded by the phone’s processor,
17   the processor and phone switch off and will not turn on again until the phone is plugged into the
18   wall.
19           397.       The shutdown problem iPhone users were experiencing in Fall 2016 thus
20   resulted from a significant design defect: the battery was not designed with enough power to meet
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        See, e.g., Mike Wuerthele, “‘A!1 Fusion’ in iPhone X appears to be a six core processor,
     according to iOS 11 leak,” Apple Insider (Sept. 10, 2017),
25   https://appleinsider.com/articles/17/09/10/a11-fusion-in-iphone-x-appears-to-be-a-six-core-
     processor-according-to-ios-11-leak; Ryan Smith, “Analyzing Apple’s A8 SoC: PowerVR GX6450
26   & More,” AnandTech (Sept. 10, 2014), https://www.anandtech.com/show/8514/analyzing-apples-
     a8-soc-gx6650-more.
27   47
             Reddit Thread, PSA: iPhone slow? Try replacing your battery!,
     https://www.reddit.com/r/iphone/comments/7inu45/psa_iphone_slow_try_replacing_your_battery/.
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 1   the peak demands of the phone’s processor as the battery aged. The result was that iPhones worked
 2   as expected when new, but even after a few months or years, began to cease functioning, i.e.,
 3   switching off at random intervals, when the iPhone processor required too much power of its
 4   flagging iPhone battery.
 5          D.      Apple Released iOS 10.2.1 To Further Conceal the Defects
 6          398.           After confirming this defect with the software diagnostics it surreptitiously
 7   deployed in user’s Devices, Apple could have been transparent with its millions of customers and
 8   disclosed the defect. Instead, Apple released iOS 10.2.1 on January 23, 2017 as a seemingly
 9   routine update of its operating system.
10          399.           The alert to download iOS 10.2.1 stated that the update included “bug fixes” and
11   improvements in device security. A depiction of the original iOS 10.2.1 notification on an iPhone
12   is set forth below:
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 1          400.       Sometime in February 2017, Apple added to its “Read Me” notes the following
 2   statement to be displayed on users’ iPhones with the software upgrade: iOS 10.2.1 “also improves
 3   power management during peak workloads to avoid unexpected shutdowns on iPhone.”48
 4          401.       On or about February 23, 2017, Apple issued a statement that “[w]ith iOS 10.2.1,
 5   Apple made improvements to reduce occurrences of unexpected shutdowns that a small number of
 6   users were experiencing with their iPhone.”49
 7          402.       Throughout 2017, however, Apple failed to inform customers that the “fix” to
 8   the shutdown problem in iOS 10.2.1 came with a significant – and undisclosed – tradeoff: the
 9   update artificially slowed down the processors in Apple’s Devices. The software change Apple
10   introduced with iOS 10.2.1 concerns the “powerd” system, short for “power daemon,” which
11   controls CPU and GPU speed and power.50 In computer science parlance, Apple concealed within
12   the iOS updates secret commands which “underclocked” the processors in the affected phones,
13   causing them to perform calculations across the board at a slower rate than the hardware was
14   capable of supporting, and slower than they had operated before the iOS updates.
15          403.       Running at a slower rate after the update, the processors in Apple’s Devices
16   would demand less power during peak operation. This diminished requirement for peak power
17   would reduce and eliminate instances where the processor would outpace its battery, meaning that
18   even in their weakened condition, the older batteries could supply enough peak power to meet the
19   now reduced demands of the processors. Although this “fix” would prevent outright shutdowns, it
20   would slow the customers’ product and would scale, meaning as the batteries continued to grow
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23   48
        Apple Support, Download iOS 10.0-10.3.3 Information,
     https://support.apple.com/kb/dl1893?locale=en_US; see also February 2, 2018 Letter from Cynthia
24   Hogan to Committee on Energy & Commerce, U.S. House of Representatives.
25
     49
        Matthew Panzarino, “Apple says iOS 10.2.1 has reduced unexpected iPhone 6s shutdown issues
     by 80%,” Tech Crunch (Feb. 23, 2017), https://techcrunch.com/2017/02/23/apple-says-ios-10-2-1-
26   has-reduced-unexpected-iphone-6s-shutdown-issues-by-80/.
     50
        Michael Potuck, “Geekbench developer links iPhone performance issues to battery age and iOS
27   updates,” 9 to 5 Mac (Dec. 18, 2017), http://9to5mac.com/2017/12/18/iphone-battery-performance-
     issues/.
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 1   weaker, the fix would continue to slow the processors so that demand never outpaced available
 2   power.51
 3          404.       Neither the software update notification nor the software update release notes
 4   made any mention of this severe throttling effect. Apple concealed the problem; Apple concealed
 5   the solution; and Apple concealed that its solution would slow its customers’ products.
 6          405.       Users of Apple devices immediately began reporting reduced functionality, but
 7   there was no way for ordinary consumers to quantify these inklings or give them credence.
 8          406.       As detailed herein, Apple had to continue releasing the “throttling” software in
 9   future versions of its iOS as new Devices went to market. On September 19, 2017, Apple released
10   iOS 11. Immediately upon downloading iOS 11, existing Apple iPhone and iPad users began to
11   experience a marked decrease in battery life on their Devices.
12          407.       One study of thousands of iPhone users within a monitored network compared
13   the relative battery life of existing iPhones operating on iOS 10 versus iOS 11. The chart below
14   shows the rate at which an iPhone with a fully charged battery lost battery power:52
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26   51
        Reddit Thread, PSA: iPhone slow? Try replacing your battery!, supra.
27   52
        Liarna LA Porta, “iPhone users charged up over iOS 11 battery drain,” Wander (Sept. 21, 2017),
     https://wandera.com/blog/ios-11-battery-drain/.
28
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 1          408.         This study revealed that existing iPhones operating on the iOS 10 software on
 2   average drained to 0% battery after 240 minutes (4 hours), whereas those operating on iOS 11 on
 3   average drained to 0% battery after only 96 minutes (just over 1½ hours). In other words, iOS 11
 4   reduced the average iPhone’s battery life by more than 60%. The study demonstrates the
 5   substantially increased power demands that Apple foist upon users’ Devices through its iOS update.
 6                  E.      The Defects in Apple’s Devices, and the Impact of Throttling, Is
 7                  Evidenced by Independent Analysis
 8          409.         As set forth above, on December 9, 2017, a Reddit user by the handle “TeckFire”
 9   posted online benchmarks (measurements of the speed with which a phone’s processor performs its
10   computations) of his iPhone 6 operating on its old battery, and again after he had replaced it with a
11   new battery. The iPhone’s processor’s speed had remarkably increased over 50%. This was
12   incongruous: a new battery alone should not have had any impact on the processor speed. 53
13          410.         Then on December 18, 2017, spurred by the ensuing discussion from TeckFire’s
14   post, John Poole, a software engineer at Primate Labs, published a report based on an analysis of
15   100,000 iPhones and concluding that the decrease in performance of the affected iPhones was
16   caused by the iOS 10.2.1 and iOS 11.2 updates, and not the normal decreased function that would
17   be caused by an aging battery.54
18          411.         Poole’s analysis, which measures computer processing benchmarks, showed that
19   after updating an iPhone 6s to an iOS 11, there were more “cluster points” where performance
20   would slow down. The chart below shows phone performance before and after iOS updates that
21   use a “throttling” program. Ordinarily, operations run smoothly until the battery dies. The “power
22   management” update bottled up user performance at several points to limit the taxing of the battery:
23

24

25   53
        Reddit Thread, PSA: iPhone slow? Try replacing your battery!, supra.
26   54
        John Poole, “iPhone Performance and Battery Age,” Primate Labs (Dec. 18, 2017) (available at
     https://www.geekbench.com/blog/2017/12/iphone-performance-and-battery-age/). See also Exhibit
27   4 (Testimony of John Poole to House of Commons Standing Committee on Industry, Science, and
     Technology.
28
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 1          412.        As Poole explained, “where the peaks happen represents the cluster of phones
 2   running at that particular performance level. And the height of the peaks (in blue) represents the
 3   relative frequency of benchmarks being performed at that performance level.” This translates to a
 4   real loss of performance. For example, “the iPhone 6s is slowed down by nearly 60%.” This
 5   “effectively turns the device’s performance into that of a device 1-2 generations older.”55
 6          413.        A processor’s speed is set, in part, by its clock speed which is measured in Hertz
 7   (Hz); the faster a processor is clocked, the faster a processor will normally perform tasks. For
 8   example, Apple advertises the iPhone 6 as having a processor speed of 1.4 GHz.56 But benchmark
 9   tests run by iPhone 6 users following the iOS 10.2.1 update revealed a processor speed of
10   600MHz;57 less than half as fast as Apple advertises.58
11          414.        As noted above, on December 20, 2017, Apple admitted to journalists that the
12   iOS 10.2.1 and iOS 11 software updates included a throttling “feature” to slow down older iPhone
13   models.
14          415.        Attempting to deflect attention from its misdeed, in connection with its
15   December 2017 “revelations” it also asserted: “We now believe that another contributor to these
16   user experiences is the continued chemical aging of the batteries in older iPhone 6 and iPhone 6s
17   devices, many of which are still running on their original batteries.”59
18          416.        Other smart phone manufacturers, however, use similar lithium-ion batteries and
19   have not experienced the same problems or resorted to throttling their phones’ performance.
20

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22   55
        Paulo Santos, “Apple: All You Wanted to Know on the iPhone Throttling Scandal,” Seeking
     Alpha (Dec. 26, 2017), (available at https://seekingalpha.com/article/4133931-apple-wanted-know-
23   iphone-throttling-scandal).
     56
24      1.4 GHz = 1,400,000,000 Hz.
     57
        600 MHz = 600,000,000 Hz.
25   58
        Tom Warren and Nick Statt, “Apple confirms iPhones with older batteries will take hits in
26   performance,” The Verge (Dec. 20, 2017) (available at
     https://www.theverge.com/2017/12/20/16800058/apple-iphone-slow-fix-battery-life-capacity).
27   59
        Apple website, “A Message to Our Customers about iPhone Batteries and Performance,” dated
     December 28, 2017, available at: https://www.apple.com/iphone-battery-and-performance/.
28
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 1   Samsung, for example, guarantees its Galaxy S7 and Note & lithium-ion batteries will retain 95%
 2   of their capacity for at least two years; likewise, LG and Google warranty their smart phones’
 3   batteries for two years. Apple’s warranty is shorter:
 4          Your battery is designed to retain up to 80% of its original capacity at 500 complete
            charge cycles. The one-year warranty includes service coverage for a defective
 5          battery. If it is out of warranty, Apple offers a battery service for $79, plus $6.95
            shipping, subject to local tax.60
 6

 7          417.        Apple has failed to address, or deny, the fact that it never asked its purchasers for
 8   their authorization to slow down their devices, nor inform them of this change.61 As a result,
 9   Plaintiffs and other Class members were not notified when the power management technique was
10   taking effect and were deceived into thinking that their devices were no longer capable of providing
11   an adequate level of performance. Furthermore, they were not informed of Apple’s own misgivings
12   about the ability of its batteries to deliver on Apple’s representations.
13         XI.     APPLE’S REVENUES DEPEND ON SELLING NEW DEVICES, AND THE
14               “UPGRADE” FINANCIAL MODEL WAS CRITICALLY FAILING IN 2016-2017
15          418.        As set forth above, Plaintiffs and the Class need not plead Apple’s motive for
16   deceit. While the discovery process will be used to hone the reasons for Apple’s malfeasance, it is
17   apparent that Apple was and is financially dependent on selling new versions of the Devices. Some
18   have even raised concerns that Apple engages in a “planned obsolescence” scheme to send
19   consumers rushing to upgrade their Devices. Under any scenario, Apple’s conduct was unlawful
20   and fraudulent, and also unfair to consumers by causing them to believe their Devices were failing.
21

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     60
24      Apple, Battery Service and Recycling, https://www.apple.com/batteries/service-and-recycling/
     (last visited June 30, 2018). The iPad battery warranty is also one year, Apple warrants that “Your
25   battery is designed to retain up to 80% of its original capacity at 1000 complete charge cycles.”
     61
        Apple website, “A Message to Our Customers about iPhone Batteries and Performance,” dated
26   December 28, 2017, available at: https://www.apple.com/iphone-battery-and-performance/. See
     also Apple Maximizing Battery Performance Website,
27   https://www.apple.com/batteries/maximizing-performance/ (last visited December 21, 2017)
     (emphasis added).
28
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 1          419.            As detailed in the chart below, sales of the Devices comprised the bulk of
 2   Apple’s total sales from at least fiscal year (“FY”) 2013-2017,62 and continuing thru the latest Form
 3   10-Q’s filed by the Company for FY 2018:63
 4                                    FY 2013-2017 iPhone & iPad Sales
 5                                      (as Percentage of Total Sales)
                   70.00%
 6
                   60.00%
 7                 50.00%
                   40.00%
 8
                   30.00%
 9                 20.00%
                   10.00%
10
                    0.00%
11                                1            2             3             4          5

                                                   Series1       Series2
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14          420.            In April 2016, news of the pending financial woes Apple faced from declining
15   iPhone sales hit the news media. On April 27, 2016, Apple filed its Form 10-Q for the quarterly
16   fiscal period ending March 26, 2016 (“2Q16”) reporting that, for the first time since Apple began
17   selling iPhones in 2007, the company sold fewer iPhones than it had sold in the same quarter the
18   previous year (i.e. the second fiscal quarter of 2015, or “2Q15”).64 iPhone sales were down 16% in
19

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21   62
        Data in this chart is dervied from Apple’s Form 10-K Annual Reports filed with the SEC for the
22   fiscal years ending 2013-2017. Apple’s fiscal year ends on the 52- or 53-week period that ends on
     the last Saturday of September in a given calendar year. Apple historically also counted on ramped
23   up sales just prior to the holiday season when it released the “latest and greatest” iPhone just before
     its fiscal year end. This trick worked for Apple in both 2012 and 2014, where the Company
24   enjoyed unit sales jumps of 29% and 46%, respectively, when a “radically new” iPhone was
     released (iPhone 5 released September 21, 2012) and (iPhones 6 and 6 Plus released September 19,
25   2014).
     63
        Fiscal year 2018 (“FY 2018”) cumulative sales of the Devices, as a percentage of Apple’s overall
26   revenue, is 66.6% for iPhones and 6.6% for iPads. See Reports on Form 10-Q filed by Apple for
     the quarterly periods ended December 30, 2017 (“1Q18”) and March 31, 2018 (“2Q18”).
27   64
          See Apple Form 10-Q for 2Q16 filed April 27, 2016 at 25. See also Brian Barrett, “Apple’s
28   iPhone Sales Just Fell for the First Time—It Won’t Be the Last,” Wired (April 26, 2016) (citing
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 1   2Q16 from 2Q15. Indeed, the 2Q16 Form 10-Q reflects that Apple’s unit sales in each major
 2   product line had declined from 2Q15—iPad declined by 19% and Mac by 12%.
 3          421.        On July 27, 2016, Apple filed its Form 10-Q for the quarterly fiscal period ended
 4   June 25, 2016 (the “3Q16 Form 10Q”). The 3Q16 Form 10Q (at 24-25) also reported an ongoing
 5   decline of unit sales across iPhone (15%) and iPad (9%), as compared to the third fiscal quarter of
 6   2015 (“3Q15”).
 7          422.        These downward unit sales trends ultimately caused Apple to report an annual
 8   sales decline for the first time since 2001.65
 9          423.        As admitted by Apple in its Annual Report on Form 10-K for the fiscal year
10   ended September 24, 2016, filed with the SEC on October 26, 2016 (the “2016 Form 10-K”),
11   iPhones suffered an 8% decline over fiscal year 2015 (“FY15”) unit sales:
12          iPhone net sales decreased during 2016 compared to 2015. The Company believes the
            sales decline was due primarily to a lower rate of iPhone upgrades during 2016
13          compared to 2015 and challenging macroeconomic conditions in a number of major
            markets in 2016.
14

15          424.        With regard to iPads, which suffered a 17% decline over FY15 unit sales, the
16   2016 Form 10-K stated:
17          iPad net sales decreased during 2016 compared to 2015 primarily due to lower unit
            sales and the effect of weakness in most foreign currencies relative to the U.S. dollar,
18          partially offset by higher ASPs due to a shift in mix to higher-priced iPads. The
            Company believes the decline in iPad sales is due in part to a longer repurchase cycle
19          for iPads and some level of cannibalization from the Company’s other products.
20
            425.        By the Fall of 2016, the smartphone industry was facing slowing growth due to a
21
     stagnating market with more consumers “holding onto their smartphones longer” and waiting to
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25   both 16% drop in 2Q16 and 32% drop from 4Q15), https://www.wired.com/2016/04/iphone-sales-
     decline/. The iPhone is “so critical to Apple’s balance sheet that its fall led to a 13 percent drop in
26   the company’s revenue.” Id. (emphasis added). And although Apple still saw room for growth in
     China, analysts observed that “Apple’s not going to double their sales anymore.” Id.
27   65
        See Seth Fiegerman, “Apple's annual sales fall for first time since 2001,” CNN Money (Oct. 25,
     2016), http://money.cnn.com/2016/10/25/technology/apple-earnings-decline/index.html.
28
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 1   upgrade their devices. Worse yet, growth in the market was predicted to come from international
 2   markets favoring lower priced devices from Android vendors, as opposed to the premium
 3   smartphone prices demanded by Apple.66
 4          426.        In addition, in late 2016, Apple was reportedly experiencing increased
 5   competition in the “smartphone” market. Competitors were ramping up their own versions of
 6   smartphones at the end of 2016, just before the Updates were issued. For example, in October
 7   2016, Google was launching its smartphone, known as the “Pixel.” As reported in an October 25,
 8   2016 online article published by Rupert Neate on theguardian.com, entitled, “Apple’s annual profits
 9   fall for first time in 15 years as iPhone sales decline”:
10          The iPhone, which first launched in June 2007, has transformed the telecoms industry
            but Apple is now facing more intense competition from the likes of Google, which last
11          week released its first branded smartphone, the Pixel, and upstart rivals offering much
            cheaper smartphone devices in key markets such as China.67
12

13          427.        Therefore, Apple was in a crunch to find ways to increase sales (i.e., consumers
14   upgrading to buy new versions of the Devices)—and avoid a recall like Samsung — just at the time
15   it was forced to launch the Updates to mask the Defects.68
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        See, e.g., Elad Nathanson, “2016: A Pivotal For The Smartphone Industry,” Forbes (Sept. 12,
     2016), https://www.forbes.com/sites/eladnatanson/2016/09/12/2016-a-pivotal-year-for-the-
20   smartphone-industry/#7b516c68386e. In addition, between late 2016 and early 2017, third-party
     vendors phased out two-year service contracts where consumers could buy the newest iPhone for a
21   bargain price. See, e.g., Aaron Pressman, “The Death of the $199 iPhone Marks A New Era for
     Wireless,” Fortune (Jan. 11, 2017), http://fortune.com/2017/01/11/death-of-the-199-iphone-
22   wireless-subsidy (discussing how the end of two-year service contracts with lower pricing on new
     phones was a factor in changing consumer purchasing patterns toward maintaining phones longer).
23   67
        See Rupert Neate, “Apple's annual profits fall for first time in 15 years as iPhone sales decline,”
     The Guardian (Oct. 25, 2016), https://www.theguardian.com/technology/2016/oct/25/apple-profits-
24   sales-decline-2016-iphone-7 (last visited July 2, 2018).
25
     68
        See Associated Press, “Sales of iPhones decline, but Apple predicts a better-than-expected
     holiday season,” Los Angeles Times (Oct. 25, 2016), http://www.latimes.com/business/la-fi-tn-
26   apple-earns-20161025-snap-story.html (“After stumbling in 2016, Apple is betting on a better year
     ahead. The Silicon Valley tech giant is forecasting a return to growth in iPhone sales this winter
27   after a rare slump that depressed Apple's revenue and stock performance over the last three quarters.
     Apple has been struggling with shrinking demand for its signature products at a time when analysts
28   say it is increasingly difficult for tech companies to come up with dramatically new features. Many
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 1          428.        Apple’s conduct, described herein, was intentionally deceptive and, separately,
 2   was malicious in that it was intended to cause economic injury to Plaintiffs and the Class. On
 3   information and belief based on the course of conduct described above, one or more of Apple’s
 4   officers, directors or managing agents authorized or ratified Apple’s misconduct.
 5                               XII.   RELATED CASES AND PROCEEDINGS
 6          A.      United States – California State Court
 7          429.        There are currently four related class actions pending in California state courts.
 8   Two of them – Rosalia v. Apple, Inc., CGC-18-564832 (San Francisco) and Tandel v. Apple, Inc.,
 9   17CIV05874 (San Mateo) – are being coordinated under C.C.P. § 404.1, and Judge Karnow
10   recommended pursuant to CRC 3.530 that the Judicial Council assign a trial judge in San Francisco.
11   See Apple OS Cases, Proceeding No. 4976, Order Dated June 26, 2018. The other two cases are
12   not yet formally coordinated – Santino v. Apple, Inc., BC690396 (Los Angeles) and Krueger v.
13   Apple Inc., 18CV329447 (Santa Clara), but Judge Karnow noted both in his Order Dated June 26,
14   2018 and said “the parties should consider a stipulated order adding on other cases.” Id. at 1, n.1.
15   Apple moved to stay proceedings in the lead case (Rosalia) “pending the outcome of the parallel
16   federal litigation” but Judge Karnow deferred ruling at least until the Judicial Counsel assigns a
17   coordination trial judge.
18          B.      United States – Federal Cases Not Consolidated
19          430.        Three federal cases have not yet been consolidated with the MDL. Two are pro
20   se cases, one pending in New York and one recently transferred to the Northern District of
21   California by the JPML and related to the MDL, but not yet consolidated. See Oliver v. Apple Inc,
22   5:18-MD-3638-EJD (N.D. Cal.); see also JMPL Conditional Transfer Order No. 4 [Oliver ECF No.
23   11]. The third case (Donahoe v. Apple, Inc., 1:18-cv-0763 (N.D. Ohio)) is a class action asserted on
24   behalf of Ohio residents, and the plaintiff’s motion to vacate the JPML’s conditional transfer order
25

26
27   consumers are holding on to their old smartphones and PCs for longer, seeing little reason to buy a
     new model that's only slightly better.”).
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 1   no. 2 has been assigned to the July 26, 2018 Panel meeting in Santa Fe, New Mexico. The matter
 2   has been designated for consideration without oral argument.
 3          C.      United States – Congressional and Senate Proceedings
 4          431.       On January 12, 2018, the United States House of Representatives Committee on
 5   Energy and Commerce wrote a letter to Apple CEO Tim Cook requesting responses to 13
 6   questions. See Exhibit 1. On February 2, 2018, Apple responded by letter. See Exhibit 2. It is not
 7   clear whether the investigation is continuing because the previous day, February 1, 2018, following
 8   reports of related investigations at the Department of Justice and Securities and Exchange
 9   Commission (see below, Section V.D.), two members of Congress (Rep. Robin Kelly of Illinois and
10   Emanuel Cleaver II of Missouri) not directly involved in the House investigation said that “we
11   don’t know what will come of the DOJ and SEC probes” and suggested that further House action
12   would await word from the DOJ and SEC.
13          432.       On January 10, 2018, the United States Senate Committee on Commerce,
14   Science & Transportation launched an investigation of the Defect and the Update. Chairman Sen.
15   John Thune sent a letter to Apple CEO Tim Cook posing eight questions, and during an interview
16   with CNBC said:
17
            They [Apple] just acknowledged after the holidays that this is actually happening, which is
18
            an admission that we think is long overdue but that being the case, we at least now want to
19          find out what they are doing to inform consumers. The fact remains there are a lot of
            unanswered questions about this practice and obviously I think consumers have a right to
20          know and so we’re going to make sure that Apple is forthcoming and responsive and we’ll
            take additional steps as necessary.
21

22   On February 2, 2018, Apple responded to Sen. Thune’s letter, and promised to update the
23   Committee. See Exhibit 3. The investigation in ongoing.
24          D.      United States – Federal Regulatory Proceedings
25          433.       On January 30, 2018, Bloomberg News reported that both the Securities and
26   Exchange Commission and the Department of Justice were independently investigating Apple for
27   how it disclosed information related to the Updates. The agencies have demanded documents and
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 1   information, according to anonymous sources who spoke to Bloomberg News. Although the
 2   agencies declined to comment to the reports, Apple confirmed both investigations, said “we have
 3   received questions from some government agencies and we are responding to them.”
 4          E.      Canada – Regulatory Proceedings
 5          434.        On March 1, 2018, the Standing Committee on Industry, Science and
 6   Technology in the Canadian House of Commons held hearings on the Defect and Updates. A
 7   transcript of the hearing appears as Exhibit 4 to this Complaint. Those providing testimony
 8   included a representative of the Canadian Competition Bureau (Ms. Alexa Gendron-O’Donnell),
 9   who confirmed that her office is investigating Apple related to the Defect and the Update, and that
10   she has the ability to participate in information-sharing with investigators in the United States,
11   France, Israel and South Korea.
12          435.        Importantly, when Nathaniel Erskine-Smith (Member of Parliament for Beaches-
13   East York) asked Apple to disclose internal communications, opinions or advice given to Apple
14   Canada or Apple Inc. regarding whether the Defect should be made public, Apple’s representative
15   refused: “I’m not going to make that undertaking . . . If the committee wants to make a direction
16   about things, we'll reconsider. But the fact is, as people here know, Apple is exposed to a number of
17   class actions in the United States.” Member of Parliament Brian Masse, who pushed for the
18   committee to study the issue, said the reason for his push “was about Canada responding to a
19   problem that is obviously international.”
20          F.      Canada – Litigation
21          436.        On February 23, 2018, plaintiff Cherif Saleh filed a statement of claim in the
22   Ontario Superior Court of Justice against Apple Inc. and Apple Canada Inc. alleging eight common
23   law and statutory counts and seeking damages and punitive damages on behalf of a class of
24   Canadian citizens, excluding Quebec, related to the Defect and the Software Updates. On March 2,
25   2018, plaintiff Antonio Gaudio filed a similar statement of claim against Apple, Inc. and Apple
26   Canada, Inc. in the Ontario Superior Court on behalf of a class that includes all persons,
27   corporations, and other entities in Canada, excluding residents of Quebec, who purchased a Device.
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 1   The plaintiffs in both cases have agreed to cooperate with each other and have temporarily agreed
 2   to hold the action in abeyance in favor of MDL 2827 and are willing to discuss having the Canadian
 3   court officially stay the actions in favor of MDL 2827 if the stay would comport with the principles
 4   of the cross-border notice protocols set forth by the American Bar Association in August 2011.
 5          G.      Canada – Litigation – Quebec
 6          437.        On December 29, 2017, Plaintiff Raphael Badaoui filed a class action in Quebec
 7   Superior Court (District of Montreal) against Apple Canada Inc. and Apple Inc., Case No. 500-06-
 8   000897-179. The plaintiff is seeking class action status on behalf of all consumers in Quebec who
 9   purchased certain Apple Devices and were injured as a result of the Defect and the Updates. The
10   case is pending.
11          H.      Israel – Regulatory Proceedings
12          438.        On April 9, 2018, the Israeli Consumer Protection and Fair Trade Authority (part
13   of the Economy Ministry) announced that it launched an investigation into Apple for possible
14   breaches of duty to users to disclose that the Updates would slow the performance of certain model
15   iPhones. Rony Friedman, CEO of Apple Israel, was questioned in a private session about whether
16   Apple provided “essential” information on the true purpose and effect of the Software Updates. The
17   investigation continues.
18          I.      Israel – Litigation
19          439.        Five class actions have been filed against Apple in Israel. A hearing was held at
20   the district court in Tel Aviv on April 10, 2018, in which it was agreed that all five class actions
21   will be consolidated and an amended motion for class action would be filed within 90 days (in
22   Israel, the motion for class action precedes the motion to dismiss). As written in the court’s
23   decision, the reason for 90 days is to follow after the consolidated amended complaint in the United
24   States. Lead counsel have been appointed by the Court and have conferred with Lead Counsel in
25   the United States. Israeli counsel are now preparing the amended and consolidated motion.
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 1          J.      France – Criminal Proceedings
 2          440.        On December 27, 2018, an environmental group called HOP (“Halte à
 3   l’Obsolescence Programmée” or “Stop the Programmed Obsolescence”) filed a complaint with the
 4   Prosecutor of the French Republic asserting counts under Article L. 441-2 of the French Consumer
 5   Code (planned obsolescence) and Article L. 441-1 of the Consumer Code (deception) against Apple
 6   France. Article L. 441-2 prohibits “the practice of planned obsolescence that is defined by the use
 7   of techniques by which the head of the marketing of a product is to deliberately reduce the life span
 8   to increase the replacement rate.” HOP alleged that Apple’s purposefully slowdown of iPhones via
 9   the Updates was done deliberately in violation of the Consumer Code, which is a criminal offense.
10   According to French media, prosecutors accepted the complaint and opened a formal probe on
11   January 5, 2018.
12          K.      Italy – Regulatory Proceedings
13          441.        On January 18, 2018, Italy’s antitrust enforcer (the Autorit Garante della
14   Concorrenza e del Mercato) (“AGCM”) announced that it launched an investigation into consumer
15   complaints that Apple was purposefully slowing certain Devices after software updates in order to
16   force Italian citizens to buy news ones, based on faked obsolescence. The AGCM claims that if the
17   behavior were proven, it would violate Articles 20, 21, 22 and 24 of the consumer code. The
18   investigation is continuing.
19          L.      China – Regulatory Proceedings
20          442.        On January 15, 2018, the Xinhua state news agency reported that the Shanghai
21   Consumer Council wrote to Apple asking it to explain the reports of the Device Defects and
22   slowing caused by the Updates. The Council said it received almost three times as many
23   complaints about Apple products in 2017 compared to just two years prior. The investigation is
24   continuing.
25         M.       Russia – Litigation
26          443.        Starting in January, 2018, individual lawsuits were filed against Apple in the
27   Tverskoy (Moscow district) court, led by legal services firm Lex Borealis in Moscow. Legal
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 1   funding is reportedly being provided by NLF Group. Attorneys at Lex Borealis said in a joint
 2   statement with NLF Group that in addition to the early suits filed, they were handling “at least
 3   several hundred” claims running into “several tens of millions of rubles.” Although the actions
 4   started in Moscow, counsel for the early claimants said they would consider similar litigation in the
 5   provinces.
 6          N.      South Korea – Litigation
 7          444.        In March 2018, an opt-in class action suit on behalf of more than 60,000 named
 8   plaintiffs was filed in Seoul against Apple Inc. and its Korean subsidiary in the Seoul Central
 9   District Court, alleging purposeful Device degradation. It set a record for the most number of
10   plaintiffs in a single lawsuit. It followed two earlier suits by a consumer advocacy group called
11   Citizens United for Consumer Sovereignty brought on behalf of 401 plaintiffs and 122 plaintiffs,
12   respectively. The plaintiffs are seeking compensation damages on behalf of those customers who
13   opt in (out of approximately 10 million Korean buyers of certain Apple Devices), and lead counsel
14   in the action reported to the press that they are watching the U.S. litigation closely.
15          O.      South Korea – Regulatory Proceedings
16          445.        Following a complaint made by Seoul-based Citizens United for Consumer
17   Sovereignty (the same group discussed above) against Apple CEO Tim Cook and the head of
18   Apple’s Korean subsidiary, the Seoul Central District Prosecutors Office opened a formal probe
19   with its intellectual property crime unit. The CUCS claimed that Apple deliberately slowed older
20   model iPhones in order to push Apple customers towards newer, more expensive modes of the
21   company’s phones as part of a planned obsolescence strategy. The probe is continuing.
22                       XIII. APPLE’S SOFTWARE LICENSE AGREEMENTS
23          446.        In order to use any Device sold by Apple, consumers must use Apple’s
24   proprietary iOS, which provides the code by which the Devices are operated. Without the iOS, the
25   Devices do not work as they are intended.
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 1          447.        Apple claims that Device users agree to be bound by the iOS Software License
 2   Agreement by using their Devices or downloading software updates69 Although the iOS Software
 3   License Agreements differ slightly based upon country in which the Device was sold and by
 4   version of iOS, the material terms are the same, and—with the exception of the United Kingdom
 5   and as previously described herein—provide that California law governs the agreement.
 6          448.        Consumers do not have a choice in selecting software for use on their Devices
 7   other than choosing the timing of a software upgrade; that is, consumers must use Apple’s operating
 8   system if they do not want to risk voiding the warranties that are provided with the sale of any
 9   Device.
10          449.        Accordingly, consumers must use Apple’s operating system, ostensibly subject
11   to the terms of the iOS Software License Agreement, to use their Devices. The iOS Software
12   License Agreement is thus part of the benefit of Plaintiffs’ and class members’ bargains when
13   purchasing Devices to the extent they apply.
14          450.        Because of this, to the extent they apply, the iOS Software License Agreements
15   are part of the benefit of consumers’ bargain when purchasing the Devices, because consumers
16   expect that their Devices will operate as advertised and intended upon purchase of the Devices.
17          451.        Apple’s iOS Software License Agreement attempts to include language that
18   disclaims certain warranties; however, the agreement is one-sided, does not allow consumers to
19   negotiate separate terms, is an unconscionable contract of adhesion, and would essentially render
20   consumers’ Devices incapable of operation—and from performing any function—if the operating
21   software were corrupted, ceased to function, and restricted the use of Devices as they were intended
22   and marketed to be used.
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        Versions of those agreements for each iOS, incorporated herein by reference, are available at
27   https://www.apple.com/legal/sla/ (last visited June 27, 2018). A sample of these agreements are
     also attached hereto as Exhibits 5, 6.
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 1          452.        Additionally, the limitation period in the iOS Software License Agreement
 2   prevents consumers from discovering any defects in operating software within the applicable and
 3   unenforceable limitations period even with the use of diligence as Apple is in the exclusive control
 4   of information regarding its proprietary software.
 5          453.        Any limitations periods in the iOS Software License Agreement are thus
 6   unconscionable and unenforceable.
 7          454.        Additionally, attempts to limit liability for software Updates that would cause
 8   Devices to become inoperable are unconscionable and unenforceable, as the operating software is
 9   necessary in order to use the Devices, and fully realize the benefit of consumers’ bargains.
10                                          CLASS ALLEGATIONS
11          455.        Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), as applicable, and (c)(4),
12   Plaintiffs seek certification of the following class:
13          All purchasers, owners, users or lessees of the following Apple Devices: the
14          Apple iPhone 5, 5s, 5c, 6, 6s 6 Plus, 6s Plus, SE, 7, 7 Plus, and the Apple iPad,
15          including the Fourth Generation, Mini, Air, Mini 2, Update to Fourth
16          Generation, Air 2, Mini 3, Mini 4, Pro, and 9.7-Inch Pro, Fifth Generation,
17          10.5-Inch Pro, 12.9-Inch Pro, and Sixth Generation in the United States and
18          Foreign Countries.70
19          456.        If necessary, Plaintiffs also seek to represent subclasses of individuals who
20   purchased Apple Devices in each of the 50 states and U.S. territories, as well as foreign countries
21   with representative plaintiffs as addressed in this Complaint. As detailed below in their respective
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       For purposes of this Consolidated Amended Complaint, “Foreign Countries” refers to Argentina,
     Australia, Azerbaijan, Belgium, Brazil, Canada, Chile, China, Columbia, the Czech Republic,
26   Denmark, France, Germany, Greece, Hong Kong, India, Italy, Japan, Malaysia, Mexico, the
     Netherlands, New Zealand, Nigeria, Norway, Peru, Poland, Portugal, Romania, Russia, Saudi
27   Arabia, South Africa, South Korea, Spain, Sweden, Switzerland, Taiwan, Turkey, the Ukraine, and
     Venezuela.
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 1   causes of action, each state subclass is referenced by the name of its state (i.e., the Alabama
 2   Subclass, the Washington Subclass, etc.).
 3          457.        Plaintiff Sharma also seeks to represent a separate class of individuals who
 4   purchased Apple Devices in the United Kingdom, referred to herein as the “U.K. Subclass.”
 5          458.        Collectively, unless otherwise so stated, the above-defined classes and subclasses
 6   are referred to herein as the “Class.”
 7          459.        Excluded from the Class and U.K. Class are Apple, its subsidiaries, affiliates,
 8   officers, directors, and employees and persons who have settled with and validly released Apple
 9   from separate, non-class legal actions against Apple based on the conduct alleged herein.
10          460.        Numerosity: Federal Rule of Civil Procedure 23(a)(1). The members of each
11   class are so numerous and geographically dispersed that individual joinder of all class members is
12   impracticable. Plaintiffs are informed and believe—based upon the publicly-available information
13   discussed herein—that there are millions of class members, making joinder impracticable. Those
14   individuals’ identities are available through Apple’s records, and class members may be notified of
15   the pendency of this action by recognized, Court-approved notice dissemination methods.
16          461.        Commonality and Predominance: Federal Rules of Civil Procedure 23(a)(2)
17   and 23(b)(3). Apple has acted with respect to Plaintiffs and the other members of the proposed
18   Class in a manner generally applicable to each of them. There is a well-defined community of
19   interest in the questions of law and fact involved, which affect all class members. The questions of
20   law and fact common to the Class predominate over the questions that may affect individual class
21   members, including the following:
22              a. Whether Apple designed, manufactured, advertised, promoted, and sold Devices that
23                  it knew contained Defects or Battery Issues, and withheld that information from
24                  consumers or purposefully misrepresented the Devices to consumers;
25              b. Whether Apple designed updated iOS to address Defects or Battery Issues in a
26                  manner that slowed the performance of those Devices;
27              c. Whether and to what extent Apple disclosed the effect of iOS Updates to Device
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 1               performance;
 2            d. Whether Apple used the iOS modification to profit from Plaintiffs and the other
 3               class members by inducing them to buy new replacements for their Devices;
 4            e. Whether Apple is subject to liability for fraudulently concealing material facts from
 5               Plaintiffs and the other class members;
 6            f. Whether Apple is subject to liability for violating the Consumers Legal Remedies
 7               Act (“CLRA”), Cal. Civ. Code §§ 1750, et seq., and other applicable and similar
 8               laws of the United States and territories and laws of foreign countries (such as the
 9               United Kingdom);
10            f. Whether Apple’s conduct has violated the Unfair Competition Law (“UCL”), Cal.
11               Bus. & Prof. Code §§ 17200, et seq., and other applicable and similar laws of the
12               United States and territories and laws of foreign countries (such as the United
13               Kingdom);
14            g. Whether Apple’s conduct has violated the Consumer Fraud and Abuse Act, 18
15               U.S.C. § 1030, et seq.;
16            h. Whether Apple’s conduct has violated Cal. Penal Code § 502.
17            i. Whether Apple’s conduct violated any additional federal law, law from any United
18               States state or territory, or similar laws of foreign countries;
19            j. Whether Apple has been unjustly enriched as a result of its fraudulent conduct, such
20               that it would be inequitable for Apple to retain the benefits conferred upon it by
21               Plaintiffs and the other class members;
22            k. Whether compensatory or consequential damages should be awarded to Plaintiffs
23               and the other class members;
24            l. Whether punitive damages should be awarded to Plaintiffs and the other class
25               members;
26            m. Whether restitution should be awarded to Plaintiffs and the other class members; and
27            n. Whether other, additional relief is appropriate, and what that relief should be.
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 1          462.        Typicality: Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’ claims are
 2   typical of other class members’ claims because Plaintiffs and class members were subjected to the
 3   same allegedly unlawful conduct and damaged in the same way.
 4          463.        Adequacy of Representation: Federal Rule of Civil Procedure 23(a)(4).
 5   Plaintiffs are adequate class representatives because their interests do not conflict with the interests
 6   of class members who they seek to represent, Plaintiffs have retained counsel competent and
 7   experienced in complex class action litigation, and Plaintiffs intend to prosecute this action
 8   vigorously. The class members’ interests will be fairly and adequately protected by Plaintiffs and
 9   their counsel.
10          464.        Declaratory and Injunctive Relief: Federal Rule of Civil Procedure 23(b)(2).
11   The prosecution of separate actions by individual class members would create a risk of inconsistent
12   or varying adjudications with respect to individual class members that would establish incompatible
13   standards of conduct for Apple. Such individual actions would create a risk of adjudications that
14   would be dispositive of the interests of other class members and impair their interests. Apple has
15   acted and/or refused to act on grounds generally applicable to the Class, making final injunctive
16   relief or corresponding declaratory relief appropriate.
17          465.        Injunctive relief is particularly necessary in this case because: (1) Plaintiffs
18   desire to purchase products with the same qualities and attributes as Apple advertised the Devices
19   to have; (2) if Apple actually manufactured Devices with the qualities and attributes as deceptively
20   represented, Plaintiffs would purchase those Devices; (3) but Plaintiffs do not have the ability to
21   determine whether Apple’s representations are true concerning the Devices if they purchase such
22   Devices in the future. Indeed, Plaintiffs, and putative class members, in the future will likely want
23   to purchase Devices manufactured by Apple; however, they expect that Apple will not misrepresent
24   or conceal defects in those Devices (or subsequently-released iPhones and iPads), and will provide
25   clear explanations regarding the Updates to those Devices (without concealing or misrepresenting
26   what the Updates will do).
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 1          466.        Superiority: Federal Rule of Civil Procedure 23(b)(3). A class action is
 2   superior to any other available means for the fair and efficient adjudication of this controversy, and
 3   no unusual difficulties are likely to be encountered in the management of this class action. The
 4   damages or other financial detriment suffered by Plaintiffs and class members are relatively small
 5   compared to the burden and expense that would be required to individually litigate their claims
 6   against Apple, so it would be impracticable for class members to individually seek redress for
 7   Apple’s wrongful conduct. Even if class members could afford litigation, the court system could
 8   not. Individualized litigation creates a potential for inconsistent or contradictory judgments and
 9   increases the delay and expense to all parties and the court system. By contrast, the class action
10   device presents far fewer management difficulties and provides the benefits of single adjudication,
11   economies of scale, and comprehensive supervision by a single court.
12                      TOLLING OF APPLICABLE LIMITATIONS PERIODS
13          467.        Discovery Rule Tolling. Neither Plaintiffs nor the other class members could
14   have discovered through the exercise of reasonable diligence that their Devices were defective
15   within the time period of any applicable statutes of limitation. Nor could they have determined
16   with the exercise of any reasonable diligence that the Updates to the iOS would further exacerbate
17   the problems with their Devices.
18          468.        Fraudulent Concealment Tolling. Throughout the time period relevant to this
19   action, Apple concealed from and failed to disclose to Plaintiffs and the other class members vital
20   information concerning the Defects, Battery Issues, and problems with the Updates described
21   herein. Indeed, Apple kept Plaintiffs and the other class members ignorant of vital information
22   essential to the pursuit of their claims. As a result, neither Plaintiffs nor the other class members
23   could have discovered the Defect, Battery Issues, or problems with the iOS Updates, even upon
24   reasonable exercise of diligence.
25          469.        Despite its knowledge of the above, Apple failed to disclose and concealed, and
26   continues to conceal, critical information from Plaintiffs and the other class members, even though,
27   at any point in time, it could have done so through individual correspondence, media release, or by
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 1   other means. Although Apple has issued public apologies for throttling Device speeds in its iOS
 2   Updates, it has not fully revealed the true nature of the Device Defects and Battery Issues.
 3          470.        Plaintiffs and the other Class members justifiably relied on Apple to disclose any
 4   defects in their Devices or issues that the iOS Updates would cause to those Devices, because same
 5   were hidden and not discoverable through reasonable efforts by Plaintiffs and class members.
 6          471.        Thus, the running of all applicable statutes of limitation have been suspended
 7   with respect to any claims that Plaintiffs and the other class members have sustained as a result of
 8   the Defects, Battery Issues, or iOS Updates, by virtue of the fraudulent concealment doctrine.
 9          472.        Estoppel. Apple was under a continuous duty to disclose to Plaintiffs and the
10   other class members the true nature, quality, and character of its Devices and iOS Updates. Apple,
11   however, concealed the true nature, quality, and character of the Devices and iOS Updates, as
12   described herein. Based upon the foregoing, Apple is estopped from relying on any statutes of
13   limitations in defense of this action.
14                                            CAUSES OF ACTION
15                                      ON BEHALF OF THE CLASS
16                                                   COUNT 1
17                     VIOLATIONS OF THE COMPUTER FRAUD AND ABUSE ACT,
18                                            18 U.S.C. § 1030, et seq.
19          473.        The Plaintiffs identified above (“Plaintiff,” for purposes of this Count),
20   individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
21   herein. In the alternative, Plaintiff brings this claim on behalf of the Subclasses.
22          474.        Apple caused Plaintiff and class members to download and install iOS Updates
23   to their Devices without informing its customers that the iOS Updates contained code that would
24   diminish Device performance, or throttle performance, in order to compensate for undisclosed
25   Defects in those Devices. Accordingly, Plaintiff and class members did not give permission for
26   Apple to install iOS Updates onto their Devices—nor could they—as Apple did not provide
27   material information to Plaintiff and class members regarding the updates.
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 1          475.        Apple violated 18 U.S.C. § 1030(a) by knowingly causing the transmission of
 2   iOS software Updates to Plaintiff and class members’ devices to access, collect, and transmit
 3   information to Devices, which are protected computers as defined in 18 U.S.C. § 1030(e)(2)(B)
 4   because they are used in interstate commerce and/or communication. By transmitting information
 5   to class members’ Devices, Apple intentionally caused damage without authorization to class
 6   members’ devices by impairing the ability of those Devices to operate as warranted, represented,
 7   and advertised.
 8          476.        Apple violated 18 U.S.C. § 1030(a)(5)(A)(iii) by intentionally accessing Plaintiff
 9   and class members’ Devices—protected computers—without authorization, and as a result, caused
10   damage to Plaintiff and class members’ Devices by impairing the integrity of those Devices.
11          477.        Apple’s conduct has caused loss to Plaintiff and class members in real, economic
12   damages. Plaintiff and class members have additionally suffered loss by reason of these violations,
13   in terms of added expense in operating their Devices, which have been throttled, or in the purchase
14   of new, unthrottled Devices.
15          478.        Unless Apple is restrained and enjoined, Apple will continue to commit such
16   acts. Plaintiff’s remedy at law is thus inadequate to compensate for these inflicted and threatened
17   injuries, entitling Plaintiff to remedies including injunctive relief as provided by § 1030(g).
18          479.        Plaintiff and the Class seek all monetary and non-monetary relief allowed by
19   law, including damages and punitive damages, an order enjoining the acts and practices described
20   above, attorneys’ fees, and costs under the Consumer Fraud and Abuse Act.
21                                                 COUNT 2
22                      VIOLATIONS OF THE CONSUMER LEGAL REMEDIES ACT,
23                                       Cal. Civ. Code § 1750, et seq.
24          480.        The Plaintiffs identified above (“Plaintiff,” for purposes of this Count),
25   individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
26   herein. In the alternative, Plaintiff brings this claim on behalf of the California Subclass.
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 1           481.       The Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq. (“CLRA”),
 2   is a comprehensive statutory scheme that is to be liberally construed to protect consumers against
 3   unfair and deceptive business practices in connection with the conduct of businesses providing
 4   goods, property or services to consumers primarily for personal, family, or household use.
 5           482.       In accordance with the liberal application and construction of the CLRA,
 6   application of the CLRA to all class members is appropriate, given that Apple’s conduct as
 7   described herein originated from California, the Devices and iOS code were designed and
 8   originated in California, and Apple’s uniform iOS Software License Agreement provides that
 9   California law shall apply.
10           483.       Apple’s uniform iOS Software License Agreement governs the reach of the
11   Class’s claims because Apple’s violations of the CLRA were caused, in part, by the installation of
12   certain operating software that throttled Device performance in order to further conceal the Defects
13   and Battery Issues in Apple’s Devices.
14           484.       Apple is a “person” as defined by Civil Code §§ 1761(c) and 1770, and has
15   provided “services” as defined by Civil Code §§ 1761(b) and 1770.
16           485.       Plaintiff and the class members are “consumers” as defined by Civil Code §§
17   1761(d) and 1770, and have engaged in a “transaction” as defined by Civil Code §§ 1761(e) and
18   1770.
19           486.       Apple’s acts and practices were intended to and did result in the sales of products
20   and services to Plaintiff and the class members in violation of Civil Code § 1770, including:
21              a. Representing that goods or services have characteristics that they do not have;
22              b. Representing that goods or services are of a particular standard, quality, or grade when
23                  they were not;
24              c. Advertising goods or services with intent not to sell them as advertised; and
25              d. Representing that the subject of a transaction has been supplied in accordance with a
26                  previous representation when it has not.
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 1          487.        Apple’s representations and omissions were material because they were likely to
 2   deceive reasonable consumers.
 3          488.        Had Apple disclosed to Plaintiffs and class members that it misrepresented the
 4   Devices and operating software, omitted material information regarding the Defects and Battery
 5   Issues, omitted material information regarding the operating software, and was otherwise engaged
 6   in common business practices that ultimately hurt consumers, Apple would have been unable to
 7   continue in business and it would have been forced to disclose the uniform defects in its Devices.
 8   Instead, Apple represented that its Devices were continually improving in speed and battery life and
 9   performed better than other devices on the market. Plaintiff and the class members acted
10   reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they could
11   not have discovered.
12          489.        As a direct and proximate result of Apple’s violations of California Civil Code §
13   1770, Plaintiff and class members have suffered and will continue to suffer injury, ascertainable
14   losses of money or property, and monetary and non-monetary damages, including from not
15   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
16   dealing with Device performance issues.
17          490.        Apple has already received notice of the class members’ intent to seek damages
18   in compliance with California Civil Code § 1782(a), and, on January 24, 2018, responded and
19   rejected such Section 1782 notice. Apple also received a supplemental notice pursuant to
20   California Civil Code § 1782 concerning its wrongful conduct as alleged herein by Plaintiff and
21   class members. Any further notice would be an exercise in futility for Plaintiff.
22          491.        Plaintiff and the Class seek all monetary and non-monetary relief allowed by
23   law, including damages and punitive damages, an order enjoining the acts and practices described
24   above, attorneys’ fees, and costs under the CLRA.
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 1                                                 COUNT 3
 2                  VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW,
 3                                  Cal. Bus. & Prof. Code § 17200, et seq.
 4          492.        The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 5   individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
 6   herein. In the alternative, Plaintiff brings this claim on behalf of the California Subclass.
 7          493.        In accordance with the liberal application and construction of the UCL,
 8   application of the UCL to all class members is appropriate, given that Apple’s conduct as described
 9   herein originated from California, the Devices and iOS code were designed and originated in
10   California, and Apple’s uniform iOS Software License Agreement provides that California law
11   shall apply.
12          494.        Apple’s uniform iOS Software License Agreement governs the reach of the
13   Class’s claims because Apple’s violations of the UCL were caused, in part, by the installation of
14   certain operating software that throttled Device performance in order to further conceal the Defects
15   and Battery Issues in Apple’s Devices.
16          495.        Apple is a “person” as defined by Cal. Bus. & Prof. Code § 17201.
17          496.        Apple violated Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”) by engaging in
18   unlawful, unfair, and deceptive business acts and practices.
19          497.        Apple’s “unfair” acts and practices include:
20              a. Knowingly designing, developing, manufacturing, advertising, and selling Devices
21                  with significant defects that result in the Devices not operating as intended,
22                  represented, or advertised under normal usage;
23              b. Developing software Updates that merely hide the aforementioned Defects and
24                  Battery Issues by throttling Device performance, resulting in the Devices operating
25                  at slower speeds than intended, represented, or advertised under normal usage;
26              c. Concealing material information from consumers regarding its Devices, the Battery
27                  Issues, and Defects so that consumers were unable to make informed choices when
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 1                 purchasing the Devices;
 2              d. Concealing material information from consumers regarding the Updates to operating
 3                 software, so that consumers would not nor could they know that the Updates
 4                 throttled their Devices; and
 5              e. Using uniform, deceptive business practices such as throttling software to slow down
 6                 Devices, requiring consumers to spend additional money on replacement batteries or
 7                 Devices as a result of the Defects and Battery Issues.
 8          498.       Apple has engaged in “unlawful” business practices by violating multiple laws,
 9   including the CLRA, Cal. Civ. Code §§ 1780, et seq., and California common law.
10          499.       Apple’s unlawful, unfair, and deceptive acts and practices include:
11              a. Knowingly designing, developing, manufacturing, advertising, and selling Devices
12                 with significant defects that result in the Devices not operating as intended,
13                 represented, or advertised under normal usage;
14              b. Developing software Updates that merely hide the aforementioned Defects and
15                 Battery Issues by throttling Device performance, resulting in the Devices operating
16                 at slower speeds than intended, represented, or advertised under normal usage;
17              c. Concealing material information from consumers regarding its Devices, the Battery
18                 Issues, and Defects so that consumers were unable to make informed choices when
19                 purchasing the Devices;
20              d. Concealing material information from consumers regarding the Updates to operating
21                 software, so that consumers would not nor could they know that the Updates
22                 throttled their Devices; and
23              e. Using uniform, deceptive business practices such as throttling software to slow down
24                 Devices, requiring consumers to spend additional money on replacement batteries or
25                 Devices as a result of the Defects and Battery Issues.
26          500.       Apple violated § 17200’s prohibition against engaging in unlawful acts and
27   practices by engaging in false and misleading advertising and by omitting material facts from
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 1   purchasers of its Devices. As alleged more fully herein, Apple’s marketing and sale of Devices,
 2   and more specifically its failure to inform customers of the negative and throttling impact iOS
 3   Updates would have on those Devices, violated Cal. Civ. Code § 1750, et seq., common law, and
 4   other statutory violations as alleged herein. Plaintiff reserves the right to allege other violations of
 5   the law, which constitute other unlawful business acts and practices. Apple’s conduct is ongoing
 6   and continues to this date.
 7          501.        Apple violated § 17200’s prohibition against unfair conduct by failing to inform
 8   its customers about the Defects and Battery Issues in the Devices; engaging in a pattern or practice
 9   of concealing those facts and urging its customers to install regular updates to the iOS software to
10   throttle those devices—thereby depriving those Device owners of the performance of those devices
11   that existed at the time of purchase. This conduct is substantially injurious to consumers, offends
12   public policy, is immoral, unethical, oppressive, and unscrupulous as the gravity of the conduct—
13   crippling Devices that are, in many instances, consumers’ lifelines—outweighs any alleged benefit.
14   Specifically, the utility gained by “upgrading” the iOS software of the Devices was outweighed by
15   the diminishment of the Device functionality. Apple engaged in this conduct at the expense of its
16   customers’ rights when other, lawful alternatives were available (such as providing customers’ with
17   full information about the Devices and iOS software, or offering batteries to customers who
18   experienced Battery Issues).
19          502.        Apple engaged in this conduct to gain an unfair commercial advantage over its
20   competitors, seeking to avoid public knowledge of the Battery Issues and Defects in its Devices to
21   avoid damage to its sales or reputation. It withheld critical and material information from Plaintiff
22   and class members, competitors, and the marketplace, all to its unfair competitive advantage.
23          503.        Apple’s business practices, as alleged herein, constitute fraudulent conduct
24   because they were likely to deceive, and did deceive, class members into purchasing Devices, and
25   upgrading those Devices with iOS Updates, when those Devices were defective and the Updates
26   would only throttle the Devices instead of fixing them.
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 1             504.      Apple’s representations and omissions—all which emanated from California—
 2   were material because they were likely to deceive reasonable consumers.
 3             505.      California law prohibits unauthorized computer access and fraud pursuant to Cal.
 4   Penal Code § 502.
 5             506.      As a result of Apple’s installation of iOS Upgrades on Plaintiff’s and class
 6   members’ devices, Apple knowingly accessed and without permission altered, damaged, deleted,
 7   destroyed, and otherwise used any data stored on Plaintiff’s and class members’ devices.
 8             507.      Plaintiff and class members did not know that Apple’s iOS Update would throttle
 9   Device performance; accordingly, Apple did not have permission to install iOS Updates on class
10   members’ Devices.
11             508.      Apple accessed and without permission altered and used data on class members’
12   Devices to execute a scheme or artifice to defraud the class members’ by, among other things,
13   maintaining market share, convincing Plaintiff and class members to purchase new Devices, and to
14   otherwise ensure that Plaintiff and class members would not discover Apple’s underlying fraud
15   regarding its omissions and misrepresentations regarding the Devices. As a result, Apple violated
16   Cal. Penal Code § 502.
17             509.      The iOS Updates led to the deterioration of the Devices and functionality of the
18   Devices as a whole, driving customers to purchase new Devices who would not have outlaid the
19   additional costs had they known the truth, and Apple not concealed the Device Defects and Battery
20   Issues.
21             510.      As a direct and proximate result of Apple’s unfair, unlawful, and fraudulent acts
22   and practices, Plaintiff and class members were injured and lost money or property, including from
23   not receiving the benefit of their bargain in purchasing the Devices, and increased time and expense
24   in dealing with Device performance issues.
25             511.      Apple acted intentionally, knowingly, and maliciously to violate California’s
26   Unfair Competition Law, and recklessly disregarded Plaintiff and class members’ rights. Apple’s
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 1   knowledge of the Devices’ performance issues, and release of software to throttle phone
 2   performance, put it on notice that the Devices were not as it advertised.
 3          512.        Plaintiff and class members seek all monetary and non-monetary relief allowed
 4   by law, including restitution of all profits stemming from Apple’s unfair, unlawful, and fraudulent
 5   business practices; declaratory relief; reasonable attorneys’ fees and costs under California Code of
 6   Civil Procedure § 1021.5; injunctive relief; and other appropriate equitable relief.
 7                                                 COUNT 4
 8            VIOLATIONS OF CALIFORNIA’S FALSE AND MISLEADING ADVERTISING
 9                                                       LAW,
10                                  Cal. Bus. & Prof. Code § 17500, et seq.
11          513.        The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
12   individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
13   herein. In the alternative, Plaintiff brings this claim on behalf of the California Subclass.
14          514.        Apple’s acts and practices, as described herein, have deceived and/or are likely
15   to continue to deceive class members and the public. As described in Counts I and II above, and
16   throughout this Complaint, Apple misrepresented the Devices, concealed the Devices’ defects and
17   Battery Issues, concealed the throttling capabilities of its updated operational software, and
18   misrepresented the purpose of iOS Updates.
19          515.        By its actions, Apple disseminated uniform advertising regarding iOS Updates
20   based out of California, and governed by California law. The advertising was, by its very nature,
21   unfair, deceptive, untrue, and misleading within the meaning of Cal. Bus. & Prof. Code § 17500, et
22   seq. Such advertisements were intended to and likely did deceive the consuming public for the
23   reasons detailed herein.
24          516.        The above-described false, misleading, and deceptive advertising Apple
25   disseminated continues to have a likelihood to deceive in that Apple failed to disclose the true
26   nature of the iOS Updates and the Devices. Apple failed to instigate a public information campaign
27   to alert consumers of the Defects and Battery Issues and the iOS Updates. Instead, Apple continued
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 1   to misrepresent the true nature of the iOS Updates and the Devices, continuing to deceive
 2   consumers.
 3          517.        Apple continued to misrepresent to consumers that its Devices were fast and had
 4   long battery lives, however, the Devices contained Defects and Battery Issues. Had Apple
 5   disclosed those issues, rather than falsely advertising the Devices’ properties, consumers would
 6   have not purchased or paid significantly less for the Devices.
 7          518.        In making and disseminating the statements alleged herein, Apple knew, or
 8   should have known, its advertisements were untrue and misleading in violation of California law.
 9   Plaintiff and other class members based their purchasing decisions on Apple’s omitted material
10   facts. The revenues to Apple attributable to products sold in those false and misleading
11   advertisements amount to hundreds of millions of dollars. Plaintiff and class members were injured
12   in fact and lost money and property as a result.
13          519.        The misrepresentations and non-disclosures by Apple of the material facts
14   described and detailed herein constitute false and misleading advertising and, therefore, constitute
15   violations of Cal. Bus. & Prof Code § 17500, et seq.
16          520.        As a result of Apple’s wrongful conduct, Plaintiff and the class members lost
17   money. Plaintiff and the class members are therefore entitled to restitution as appropriate for this
18   cause of action.
19          521.        Plaintiff and class members seek all monetary and non-monetary relief allowed
20   by law, including restitution of all profits stemming from Apple’s unfair, unlawful, and fraudulent
21   business practices; declaratory relief; reasonable attorneys’ fees and costs under California Code of
22   Civil Procedure § 1021.5; injunctive relief; and other appropriate equitable relief.
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 1                                                 COUNT 5
 2                      CALIFORNIA COMPUTER DATA ACCESS AND FRAUD ACT,
 3                                       Cal. Penal Code § 502, et seq.
 4             522.     The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 5   individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
 6   herein. In the alternative, Plaintiff brings this claim on behalf of the California Subclass.
 7             523.     In pushing Updates to its iOS to unsuspecting users of its Devices, Apple
 8   violated the California Penal Code, Computer Data Access and Fraud Act, Cal. Penal Code § 502,
 9   et seq.
10             524.     When Apple provided iOS Updates to consumers—Plaintiffs and class
11   members—they did not know, nor could they in the exercise of reasonable diligence know, that the
12   software Updates contained code that would throttle their Devices, designed solely to further
13   conceal the Defects and Battery Issues in those Devices.
14             525.     Because consumers did not know that the iOS Updates contained such throttling
15   code, they did not give Apple permission to access their Devices to alter the data or computer
16   systems on those Devices.
17             526.     Apple provided the iOS Updates to consumers as part of a scheme or artifice to
18   defraud and deceive, because it provided the Updates to consumers instead of informing them of
19   the Defects and Battery Issues inherent on their Devices. Indeed, Apple could have informed
20   consumers that the Battery Issues they were having with their Devices could be resolved via a
21   battery replacement. Apple instead chose concealment, and throttling Devices via the installation of
22   software that would do so.
23             527.     Apple offered iOS Updates to consumers to throttle their Devices as a means to
24   encourage consumers to purchase new devices, wrongfully obtaining money from those consumers.
25             528.      By offering the iOS Updates to consumers, instead of revealing the truth, Apple
26   disrupted or caused the disruption of consumer services when it improperly and unlawfully throttled
27   users and class members’ Devices. Plaintiffs and class members did not consent to having their
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 1   Devices throttled, and had they known that the iOS Updates would throttle their Devices, they
 2   would not have installed the iOS Updates.
 3          529.        As a result of Apple’s unlawful conduct, Plaintiffs and class members were
 4   damaged in an amount to be determined at trial.
 5          530.        Plaintiff and the Class seek all monetary and non-monetary relief allowed by
 6   law, including damages and punitive damages, an order enjoining the acts and practices described
 7   above, attorneys’ fees, and costs under the CDAFA
 8                                                 COUNT 6
 9                                           TRESPASS TO CHATTELS
10          531.        The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
11   individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
12   herein. In the alternative, Plaintiff brings this claim on behalf of the Subclasses.
13          532.        California common law prohibits the intentional intermeddling with personal
14   property in the possession of another, without consent, that results in either a) the deprivation of the
15   use of that personal property; or b) the impairment of the condition, quality, or usefulness of the
16   property.
17          533.        Apple impaired the condition, quality, and usefulness of Plaintiff and class
18   members’ Devices, or parts of them, without their knowledge or consent. Such acts constituted an
19   intentional interference with the use and enjoyment of the Devices.
20          534.        Apple acted intentionally, because it knew that Plaintiff and class members were
21   downloading computer software onto their Devices that reduced the performance of the Devices.
22   Plaintiff and other class members only consented to the installation of iOS Updates that would
23   improve performance, not diminish performance.
24          535.        Apple engaged in deception to gain access to the Devices and install new
25   computer software or iOS Updates.
26          536.        Plaintiff and class members suffered actual damages as a result of Apple’s
27   actions in an amount to be determined at trial.
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 1          537.         Furthermore, Plaintiff seeks punitive damages because Apple’s trespass was
 2   committed from wanton or malicious motives, or reckless disregard of the rights of Plaintiff and the
 3   Class, for the purpose of concealing the Defect.
 4                                                  COUNT 7
 5                                                       FRAUD
 6          538.         The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 7   individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
 8   herein. In the alternative, Plaintiff brings this claim on behalf of the Subclasses.
 9          539.         At the time Plaintiff and class members purchased their Devices, Apple did not
10   disclose, but instead concealed and misrepresented, the Battery Issues and Defects in the Devices as
11   discussed herein.
12          540.         Further, Apple represented that Updates to its iOS were designed to improve
13   Device performance, and otherwise resolve issues that could have a negative impact on Plaintiffs’
14   and class members’ device experiences.
15          541.         Apple omitted that the Updates to its iOS were actually designed to further
16   conceal the Defects and Battery Issues in the Devices. Further, Apple omitted and affirmatively
17   misrepresented the true reason for the Updates for its Devices—that such Updates were designed to
18   downgrade Device speed and processing capabilities in order to disguise fundamental Device
19   Defects and Battery Issues.
20          542.         Apple knew, or should have known, that these Updates were falsely portrayed to
21   the consumer public.
22          543.         Apple also knew that its omissions and misrepresentations regarding the Updates
23   and Devices were material, and that a reasonable consumer would rely upon Apple’s
24   representations (and corresponding omissions) in making purchasing decisions.
25          544.         Apple, by its clear admissions in December 2017, in fact intended to deceive
26   Plaintiff and class members.
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 1          545.         Plaintiff and class members did not know—nor could they have known through
 2   reasonable diligence—about the Defects and Battery Issues in the Devices, nor could they have
 3   known about what the Upgrades were designed to really do.
 4          546.         Plaintiff and class members would have been reasonable in relying on Apple’s
 5   misrepresentations (and corresponding omissions) in making their purchasing decisions and
 6   downloading Updates.
 7          547.         Plaintiff and class members had a right to rely upon Apple’s representations (and
 8   corresponding omissions) as Apple maintained a monopolistic control over what the Updates to the
 9   iOS included, and what information was available regarding the Defects and Battery Issues in the
10   Devices, when Updates were provided to consumers, how those Updates were promoted to
11   consumers, and why consumers should update their iOS.
12          548.         Plaintiff and class members sustained damages as a result of their reliance on
13   Apple’s omissions and misrepresentations, thus causing Plaintiff and class members to sustain
14   actual losses and damages in a sum to be determined at trial, including punitive damages.
15                                                    COUNT 8
16                                            CONSTRUCTIVE FRAUD
17          549.         The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
18   individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
19   herein. In the alternative, Plaintiff brings this claim on behalf of the Subclasses. This cause of
20   action is brought in the alternative to fraud.
21          550.         At the time Plaintiff and class members purchased their Devices, Apple did not
22   disclose, but instead concealed and misrepresented, the Battery Issues and Defects in the Devices as
23   discussed herein.
24          551.         Further, Apple represented that Updates to its iOS were designed to improve
25   Device performance, and otherwise resolve issues that could have a negative impact on Plaintiff’s
26   and class members’ device experiences.
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 1          552.        Apple omitted that the Updates to its iOS were actually designed to further
 2   conceal the Defects and Battery Issues in the Devices. Further, Apple omitted and affirmatively
 3   misrepresented the true reason for the Updates for its Devices—that such Updates were designed to
 4   downgrade Device speed and processing capabilities in order to disguise fundamental Device
 5   Defects and Battery Issues.
 6          553.        Apple knew, or should have known, that these Updates were falsely portrayed to
 7   the consumer public.
 8          554.        Apple also knew that its omissions and misrepresentations regarding the Updates
 9   and Devices were material, and that a reasonable consumer would rely upon Apple’s
10   representations (and corresponding omissions) in making purchasing decisions.
11          555.        Apple had an obligation not to omit or misrepresent Defects, Battery Issues, or
12   the purpose of Updates because: (a) it was in the sole possession of such information; (b) it made
13   partial representations regarding the quality of Devices and Updates; (c) Plaintiff and class
14   members relied upon Apple to make full disclosures based upon the relationship between Plaintiff
15   and class members, who relied upon Apple’s representations and omissions, and were reasonable in
16   doing so, with the full knowledge of Apple that they did and would have been reasonable in doing
17   so.
18          556.        Plaintiff and class members did not know—nor could they have known through
19   reasonable diligence—about the Defects and Battery Issues in the Devices, nor could they have
20   known about what the Upgrades were designed to really do.
21          557.        Plaintiff and class members would have been reasonable in relying on Apple’s
22   misrepresentations (and corresponding omissions) in making their purchasing decisions and
23   downloading Updates.
24          558.        Plaintiff and class members had a right to rely upon Apple’s representations (and
25   corresponding omissions) as Apple maintained a monopolistic control over what the Updates to the
26   iOS included, and what information was available regarding the Defects and Battery Issues in the
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 1   Devices, when Updates were provided to consumers, how those Updates were promoted to
 2   consumers, and why consumers should update their iOS.
 3          559.         Apple breached its duty to Plaintiff and class members to make full disclosures
 4   of the Defects, Battery Issues, and Updates.
 5          560.         Plaintiff and class members sustained damages as a result of their reliance on
 6   Apple’s omissions and misrepresentations, and Apple’s breach of its duty, thus causing Plaintiff
 7   and class members to sustain actual losses and damages in a sum to be determined at trial.
 8                                                  COUNT 9
 9                                         FRAUDULENT INDUCEMENT
10          561.         The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
11   individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
12   herein. In the alternative, Plaintiff brings this claim on behalf of the Subclasses.
13          562.         At the time Plaintiff and class members purchased their Devices, Apple did not
14   disclose, but instead concealed and misrepresented, the Battery Issues and Defects in the Devices as
15   discussed herein.
16          563.         Further, Apple represented that Updates to its iOS were designed to improve
17   Device performance, and otherwise resolve issues that could have a negative impact on Plaintiff’s
18   and class members’ device experiences.
19          564.         Apple omitted that the Updates to its iOS were actually designed to further
20   conceal the Defects and Battery Issues in the Devices. Further, Apple omitted and affirmatively
21   misrepresented the true reason for the Updates for its Devices—that such Updates were designed to
22   downgrade Device speed and processing capabilities in order to disguise fundamental Device
23   Defects and Battery Issues.
24          565.         Apple knew, or should have known, that these Updates were falsely portrayed to
25   the consumer public.
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 1          566.        Apple also knew that its omissions and misrepresentations regarding the Updates
 2   and Devices were material, and that a reasonable consumer would rely upon Apple’s
 3   representations (and corresponding omissions) in making purchasing decisions.
 4          567.        Apple, by its clear admissions in December 2017, in fact intended to deceive
 5   Plaintiff and class members.
 6          568.        Plaintiff and class members did not know—nor could they have known through
 7   reasonable diligence—about the Defects and Battery Issues in the Devices, nor could they have
 8   known about what the Upgrades were designed to really do.
 9          569.        Plaintiff and class members would have been reasonable in relying on Apple’s
10   misrepresentations (and corresponding omissions) in making their purchasing decisions and
11   downloading Updates.
12          570.        Plaintiff and class members had a right to rely upon Apple’s representations (and
13   corresponding omissions) as Apple maintained a monopolistic control over what the Updates to the
14   iOS included, and what information was available regarding the Defects and Battery Issues in the
15   Devices, when Updates were provided to consumers, how those Updates were promoted to
16   consumers, and why consumers should update their iOS.
17          571.        Apple intended to induce—and did, indeed, induce—Plaintiff and class members
18   from purchasing Devices and downloading Updates based upon its affirmative representations and
19   omissions.
20          572.        Plaintiff and class members sustained damages as a result of their reliance on
21   Apple’s omissions and misrepresentations, thus causing Plaintiff and class members to sustain
22   actual losses and damages in a sum to be determined at trial.
23                                                 COUNT 10
24                                           BREACH OF CONTRACT
25          573.        The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
26   individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
27   herein. In the alternative, Plaintiff brings this claim on behalf of the Subclasses.
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 1            574.      Apple solicited and invited Plaintiffs and class members to buy new Devices.
 2   Plaintiff and class members accepted Apple’s offers and bought Devices from Apple.
 3            575.      Plaintiff and class members formed contracts with Apple at the time they
 4   purchased their Apple Devices. The terms of the contracts include promises and affirmations made
 5   by Apple on its website and through marketing that the Devices would perform as advertised, even
 6   after updating the latest iOS.
 7            576.      Further, Plaintiff and class members entered into implied contracts with Apple
 8   wherein Apple agreed not to purposefully interfere with, negatively affect, or otherwise harm
 9   Plaintiff’s and class members’ Devices or usage of the Devices.
10            577.      Updates to the iOS are governed by an agreement that provides that California
11   law shall govern the agreement between Plaintiff and class members on one hand, and Apple on the
12   other.
13            578.      Plaintiff reasonably relied upon representations that the Devices would perform
14   as advertised and warranted, and class members would be reasonable in relying upon those same
15   representations.
16            579.      Plaintiff and class members performed their obligations under their contracts
17   with Apple.
18            580.      Apple’s Devices did not perform as advertised or promised. Accordingly, Apple
19   breached its contract with customers.
20            581.      As a result of Apple’s breach, Plaintiff and class members have been damaged in
21   an amount equal to the purchase price of the Devices.
22            582.      All conditions precedent to Apple’s liability under its contractual obligations,
23   including notice, have been performed by Plaintiff and the Class.
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 1                                                     COUNT 11
 2                     BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
 3           583.           The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 4   individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
 5   herein. In the alternative, Plaintiff brings this claim on behalf of the Subclasses.
 6           584.           In every contract or agreement there is an implied promise of good faith and fair
 7   dealing under California law.
 8           585.           As described herein, contracts with California choice of law provisions govern
 9   the agreements between Apple and its customers.
10           586.           In dealings between Apple and its customers, Apple has power affecting the
11   rights of its users.
12           587.           Apple entered into contracts with the class members at the Plaintiff at the time of
13   the download of the iOS Updates.
14           588.           Apple contractually promised in the iOS 10.2.1 update and later Updates to
15   “deliver the best experience for its customers, which includes overall performance and prolonging
16   the life of their devices.”
17           589.           Each Plaintiff did all, or substantially all, of the things that the contracts required
18   them to do.
19           590.           The iOS 10.2.1 update throttled Device performance as a means to mitigate
20   issues customers were experiencing with Battery Issues.
21           591.           Apple did not inform customers that, rather than throttling devices by installing
22   iOS 10.2.1, those customers could replace the batteries in their Devices.
23           592.           Despite its contractual promises to prolong the life of the devices, Apple instead
24   purposefully took actions to reduce the life of the devices, and purposefully failed to notify
25   customers that replacing the battery would restore performance that had been artificially throttled
26   by iOS 10.2.1 and later updates to iOS.
27           593.           Apple’s actions were objectively unreasonable given Apple’s promises.
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 1          594.        Apple’s conduct evaded the spirit of the bargain made between Apple and the
 2   Plaintiff and class members.
 3          595.        As a result of Apple’s misconduct and breach of its duty of good faith and fair
 4   dealing, Plaintiff and the Class suffered damages. Plaintiff and the class members did not receive
 5   the benefit of the bargain for which they contracted and for which they paid valuable consideration.
 6
                                                   COUNT 12
 7
                                           MONEY HAD AND RECEIVED
 8
            596.        The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 9
     individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
10
     herein. In the alternative, Plaintiff brings this claim on behalf of the Subclasses.
11
            597.        As a result of the Plaintiff’s and class members’ purchase of the Devices, Apple
12
     obtained money for its own use and benefit, and, as a result of its breaches of contract and breaches
13
     of the good faith and fair dealing implied in those agreements, became indebted to the Plaintiff and
14
     class members in an amount to be determined at trial.
15
            598.        No part of any of the monies due and owing to Plaintiff and class members has
16
     been repaid, although Plaintiff and class members demand repayment, leaving the balance due,
17
     owing, and unpaid in an amount to be determined at trial plus interest.
18
                                                   COUNT 13
19
                                FRAUDULENT OMISSION OR CONCEALMENT
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            599.        The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
21
     individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
22
     herein. In the alternative, Plaintiff brings this claim on behalf of the Subclasses.
23
            600.        At all relevant times, Apple was engaged in the business of designing,
24
     manufacturing, distributing, and selling the Devices.
25
            601.        Apple, acting through its representatives or agents, delivered Devices to its own
26
     retail stores, distributors, and various other distribution channels.
27

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 1          602.        Apple willfully, falsely, and knowingly omitted various material facts regarding
 2   the quality and character of the Devices and iOS Updates.
 3          603.        Rather inform consumers of the truth regarding Device Defects and Battery
 4   Issues, and that the iOS Updates would degrade Device performance, Apple concealed material
 5   information related to Device Defects, Battery Issues, and that iOS Updates would throttle Devices.
 6          604.        Apple omitted this material information to drive up sales and maintain its market
 7   power, as consumers would not purchase Devices, or would pay substantially less for them, had
 8   consumers known the truth.
 9          605.        Plaintiff and the class members accepted the terms of use, which were silent on
10   the performance-throttling features that Apple installed in their Devices. Plaintiff and class
11   members had no way of knowing about the Devices’ Defects, Battery Issues, or that the iOS
12   Updates would throttle their Devices.
13          606.        Plaintiff and class members could not have discovered the above information on
14   their own, because Apple was in the exclusive possession of such information.
15          607.        Although Apple had a duty to ensure the accuracy of the release statements
16   published with respect to iOS Updates, and to ensure accuracy of information regarding the
17   performance of its Devices, it did not fulfill these duties.
18          608.         Plaintiff and class members sustained injury due to the purchase of Devices that
19   did not live up to performance representations, and the installation of iOS Updates that throttled
20   Devices without their knowledge. Plaintiff and class members are entitled to recover full or partial
21   refunds for Devices or batteries they purchased due to Apple’s misrepresentations, or they are
22   entitled to damages for the diminished value of their Devices, amounts to be determined at trial.
23          609.        Apple’s acts were done maliciously, oppressively, deliberately, and with intent to
24   defraud, and in reckless disregard of Plaintiff’s and class members’ rights and well-being, and in
25   part to enrich itself in California at the expense of consumers. Apple’s acts were done to gain
26   commercial advantage over competitors, and to drive consumers away from consideration of
27

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 1   competitor devices. Apple’s conduct warrants an assessment of punitive damages in an amount
 2   sufficient to deter such conduct in the future.
 3
                                                   COUNT 14
 4
                                     FRAUDULENT MISREPRESENTATION
 5
            610.        The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 6
     individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
 7
     herein. In the alternative, Plaintiff brings this claim on behalf of the Subclasses.
 8
            611.        At all relevant times, Apple was engaged in the business of designing,
 9
     manufacturing, distributing, and selling the Devices.
10
            612.        Apple, acting through its representatives or agents, delivered Devices to its own
11
     retail stores, distributors, and various other distribution channels.
12
            613.        Apple willfully, falsely, and knowingly omitted various material facts regarding
13
     the quality and character of the Devices and iOS Updates.
14
            614.        Rather inform consumers of the truth regarding Device Defects and Battery
15
     Issues, and that the iOS Updates would degrade Device performance, Apple misrepresented the
16
     Devices’ speed, power, and battery life, and misrepresented the content of pertinent iOS Updates,
17
     telling its customers that the iOS Updates would improve the overall functionality of the Devices.
18
            615.        Apple made these material misrepresentations to boost or maintain sales of the
19
     Devices, and in order to falsely assure purchasers of Devices that Apple is a reputable company and
20
     that its Devices and iOS Updates are reliable and able to perform as promised. The false
21
     representations were material to consumers because the representations played a significant role in
22
     the value of the Devices purchased.
23
            616.        Plaintiff and the class members accepted the terms of use, which were silent on
24
     the performance-throttling features that Apple installed in their Devices. Plaintiff and class
25
     members had no way of knowing that Apple’s misrepresentations as to the contents of the subject
26
     iOS Updates were misleading.
27

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 1          617.        Plaintiff and class members could not have discovered the misleading nature of
 2   Apple’s misrepresentations on their own, because Apple was in the exclusive possession of such
 3   information.
 4          618.        Although Apple had a duty to ensure the accuracy of the release statements
 5   published with respect to iOS Updates, and to ensure accuracy of information regarding the
 6   performance of its Devices, it did not fulfill these duties.
 7          619.        Apple misrepresented material facts partly to pad and protect its profits, as it saw
 8   that profits and sales for its Devices were falling and to maintain and grow its reputation as a
 9   premier designer and vendor of the Devices. Such benefits came at the expense of Plaintiff and
10   class members.
11          620.        Plaintiff and class members were unaware of these material misrepresentations,
12   and they would not have acted as they did had they known the truth. Plaintiff’s and class members’
13   actions were justified given Apple’s misrepresentations. Apple was in the exclusive control of
14   material facts, and such facts were not known to the public.
15          621.        Due to Apple’s misrepresentations, Plaintiff and class members sustained injury
16   due to the purchase of Devices that did not live up to performance representations, and the
17   installation of iOS Updates that throttled Devices without their knowledge. Plaintiff and class
18   members are entitled to recover full or partial refunds for Devices or batteries they purchased due to
19   Apple’s misrepresentations, or they are entitled to damages for the diminished value of their
20   Devices, amounts to be determined at trial.
21          622.        Apple’s acts were done maliciously, oppressively, deliberately, and with intent to
22   defraud, and in reckless disregard of Plaintiff’s and class members’ rights and well-being, and in
23   part to enrich itself in California at the expense of consumers. Apple’s acts were done to gain
24   commercial advantage over competitors, and to drive consumers away from consideration of
25   competitor devices. Apple’s conduct warrants an assessment of punitive damages in an amount
26   sufficient to deter such conduct in the future.
27

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 1                                                 COUNT 15
 2                                    NEGLIGENT MISREPRESENTATION
 3          623.        The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 4   individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
 5   herein. In the alternative, Plaintiff brings this claim on behalf of the Subclasses.
 6          624.        Apple negligently and recklessly omitted certain material facts regarding the
 7   Devices and impact of the iOS Upgrade on those Devices. Apple failed to warn consumers that its
 8   Devices contained material Defects—including Defects and Battery Issues—that resulted in the
 9   Devices not performing as warranted or advertised. Additionally, Apple then failed to warn
10   consumers that the iOS Update it designed to address the Defects and Battery Issues would actually
11   degrade Device performance, resulting in a loss of functionality and performance so that the
12   Devices did not perform as advertised or warranted.
13          625.        The advertisements and warranties, which were made expressly through uniform
14   representations from Apple that emanated from its corporate headquarters in California, were
15   material and would have been considered by a reasonable consumer in making purchasing
16   decisions.
17          626.        Plaintiff and class members acquired Devices and downloaded iOS Updates
18   believing that the Devices would function as advertised.
19          627.        As a result, Plaintiff and class members were directly and proximately injured by
20   Apple’s negligence in failing to inform Plaintiff and class members of the material Defects in the
21   Devices and that the iOS Updates would cause Device performance degradation.
22                                                 COUNT 16
23                               QUASI-CONTRACT / UNJUST ENRICHMENT
24          628.        The Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
25   individually and on behalf of the Class, repeats and alleges Paragraphs 1-472, as if fully alleged
26   herein. In the alternative, Plaintiff brings this claim on behalf of the Subclasses. This claim is
27   brought in the alternative to contract-based causes of action.
28
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 1          629.        Plaintiff and class members purchased Devices from Apple, and those Devices
 2   were not as Apple represented them to be, enticing Plaintiff and the Class to purchase the Devices.
 3   Had Plaintiff and the Class known of the Defects, they would have paid less for their Devices and
 4   would not have paid for repairs, service or upgrades caused by the Defect.
 5          630.        Accordingly, Plaintiff and class members were damaged, and Apple was unjustly
 6   enriched by the purchase price of those Devices.
 7          631.        Plaintiff and class members are entitled to damages in the amount Apple was
 8   unjustly enriched, to be determined at trial.
 9          632.        Furthermore, Apple’s conduct was willful, intentionally deceptive, and intended
10   to cause economic injury to Plaintiff and the Class. Apple is therefore liable to pay punitive
11   damages under California law.
12                 CLAIMS ON BEHALF OF THE UNITED KINGDOM SUBCLASS
13                                                   COUNT 17
14         VIOLATION OF THE CONSUMER PROTECTION FROM UNFAIR TRADING
15                                 REGULATIONS 2008 (2008 No. 1277)
16                               (on behalf of the United Kingdom Subclass)
17          633.        The United Kingdom Plaintiff identified above (“Plaintiff,” for purposes of this
18   Count and the following Count under United Kingdom law), individually and on behalf of the
19   United Kingdom Subclass, repeats and alleges Paragraphs 1-472, as if fully alleged herein.
20          634.        The Consumer Protection from Unfair Trading Regulations 2008 (2008 No.
21   1277) (the “Regulations”) prohibits unfair commercial practices and misleading commercial
22   practices, whether through misleading actions or omissions. Plaintiff asserts a claim against
23   Defendant for violation of the Regulations, on behalf of the United Kingdom Subclass.
24          635.        Plaintiff and members of the United Kingdom Subclass were, at all relevant
25   times, “consumers” as defined in Part 1, Provision 2 of the Regulations.
26          636.        Defendant was, at all relevant times, a “trader” as defined in Part 1, Provision 2
27   of the Regulations.
28
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 1          637.          Defendant’s actions constitute unfair commercial practices as defined in Part 2,
 2   Provisions 3 of the Regulations, as they contravened the requirements of professional diligence and
 3   materially distorted or were likely to materially distort the economic behavior of average consumers
 4   in the United Kingdom.
 5          638.          Similarly, Defendant’s actions constituted misleading actions and/or omissions
 6   as defined in Part 2, Provisions 5 and 6 of the Regulations.
 7          639.          In particular, and without limitation, Defendant knowingly or recklessly made
 8   the following representations contrary to the Consumer Protection from Unfair Trading
 9   Regulations:
10                  a.       Defendant falsely represented that the Devices were of a particular standard,
11          quality, or grade when they were of another;
12                  b.       Defendant    falsely represented that the        Devices   had performance,
13          characteristics, uses, or benefits they did not have; and
14                  c.       Defendant falsely gave to the public warranties and guarantees of the
15          performance, efficacy, or length of life of the Devices that were not based on an adequate or
16          proper test thereof.
17          640.          Defendant expressly but falsely warranted to Plaintiff and the United Kingdom
18   Subclass the qualities of the Devices. Defendant materially misrepresented these qualities by
19   providing a product that Defendant has admitted it knew suffered a battery defect, knew to suffer
20   unexpected shutdowns, and knew—and intended—to suffer slow processing after the iOS 10.2.1
21   and iOS 11 Software Updates.
22          641.          Defendant knowingly sold defective Devices without informing consumers of
23   multiple defects of which it knew.
24          642.          Defendant knew that the iOS 10 and iOS 11 Updates would slow the Devices’
25   processing speed, weaken the Devices’ processing power, and deteriorate the Devices’ performance
26   and functionality.
27

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 1           643.        Defendant fraudulently omitted to disclose facts within its knowledge to Plaintiff
 2   and United Kingdom Subclass, including: (i) that the iOS 10.2.1 and iOS 11 Updates would cause
 3   the Devices to run more slowly, and (ii) that the decrease in processing speed could be ameliorated,
 4   at least in part, by replacing the battery.
 5           644.        Defendant falsely, misleadingly, and deceptively made representations about the
 6   iOS 10.2.1 and iOS 11 Updates by highlighting only the positive aspects of these updates and
 7   intentionally concealing the updates’ performance-degrading, negative effects.
 8           645.        Specifically, Defendant made identical or substantially similar false, misleading
 9   and deceptive marketing statements as those cited above throughout the United Kingdom.
10           646.        In the absence of Defendant’s unfair and misleading commercial practices
11   alleged hereinabove, Plaintiff and the United Kingdom Subclass would not have purchased the
12   Devices, or would not have paid as much as they in fact paid for the Devices.
13           647.        Plaintiff and the United Kingdom Subclass seek redress for Defendant’s unfair
14   and misleading commercial practices pursuant to section 27K the Regulations, as amended by The
15   Consumer Protection (Amendment) Regulations 2014 (2014 No. 870).
16           648.        As a result of Defendant’s unfair and misleading commercial practices, Plaintiff
17   and the United Kingdom Subclass were damaged in amounts to be proven at trial.
18                                                 COUNT 18
19                  VIOLATION OF THE CONSUMER RIGHTS ACT 2015 (2015 C. 15)
20                                  (on behalf of United Kingdom Subclass)
21           649.        Plaintiff reasserts and reallege the allegations contained in Paragraphs 1-472 of
22   this Complaint.
23           650.        The Consumer Rights Act 2015 (the “Act”) requires that written, oral or implied
24   contracts for goods, digital content or services in the United Kingdom be of satisfactory quality on
25   the standard of a “reasonable person.”
26           651.        Plaintiff asserts a claim against Defendant for violation of the Act, on behalf of
27   the United Kingdom Subclass for purchases on or after March 26, 2015.
28
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 1          652.        Plaintiff and members of the United Kingdom Subclass were, at all relevant
 2   times, “consumers” as defined in Chapter 1, section 2 of the Act.
 3          653.        Defendant was, at all relevant times, a “trader” as defined in Chapter 1, section 2
 4   of the Act.
 5          654.        The Devices are “goods” as defined in Chapter 1, section 2 of the Act.
 6          655.        The iOS 10.2.1 and later Software Updates are “digital content” as defined in
 7   Chapter 1, section 2 of the Act.
 8          656.        Pursuant to Chapter 2, section 9 and Chapter 3, section 34 of the Act,
 9   Defendant’s contract for sale of the Affected Phones and its provision of the Software Updates to
10   Plaintiff and the members of the United Kingdom Subclass included terms that required the Devices
11   and the Software Updates to be of a satisfactory quality.
12          657.        Pursuant to Chapter 2, section 10 and Chapter 3, section 35, Defendant’s contract
13   for sale of the Devices and its provision of the Software Updates to Plaintiff and the members of the
14   United Kingdom Subclass included terms that required the Devices and the Software Updates to be
15   for a particular purpose.
16          658.        Pursuant to Chapter 2, section 11 and Chapter 3, section 36, Defendant’s contract
17   for sale of the Devices and its provision of the Software Updates to Plaintiff and the members of the
18   United Kingdom Subclass included terms that required the Devices and the Software Updates to be
19   as described.
20          659.        The Devices, which suffered from the Defect, were not of a satisfactory quality,
21   were not fit for their particular purpose and were not as described and breached the terms described
22   in Chapter 2, sections 9, 10 and 11.
23          660.        The Software Updates, which slowed the Affected Phones’ processing speed,
24   weakened the Devices’ processing power, and deteriorated the Devices’ performance and
25   functionality, were not of a satisfactory quality, were not fit for their particular purpose and were
26   not as described and breached the terms described in Chapter 3, sections 34, 35 and 36.
27

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 1           661.        Plaintiff and the United Kingdom Subclass have a right to enforce the breached
 2   terms under Chapter 2, section 19 and Chapter 3, section 42 of the Act.
 3           662.        As a result of Defendant’s conduct, Plaintiffs and the United Kingdom Subclass
 4   were damaged in amounts to be proven at trial.
 5                        CLAIMS ON BEHALF OF THE ALABAMA SUBCLASS
 6
                                         COUNT 19
 7                         ALABAMA DECEPTIVE TRADE PRACTICES ACT,

 8                                          Ala. Code §§ 8-19-1, et seq.

 9           663.        The Alabama Plaintiff(s) identified above (“Plaintiff,” for purposes of this

10   Count), individually and on behalf of the Alabama Subclass, repeats and alleges Paragraphs 1-472,

11   as if fully alleged herein.

12           664.        Apple is a “person” as defined by Ala. Code § 8-19-3(5).

13           665.        Plaintiff and Alabama Subclass members are “consumers” as defined by Ala.

14   Code § 8-19-3(2).

15           666.        Apple received notice pursuant to Ala. Code § 8-19-10(e) concerning its

16   wrongful conduct as alleged herein by Plaintiff and Alabama Subclass members. However, sending

17   pre-suit notice pursuant to Ala. Code § 8-19-10(e) would have been an exercise in futility for

18   Plaintiff, as Apple has already been informed of the allegedly unfair and unlawful conduct as

19   described herein as of the date of the first-filed lawsuit in December 2017, and has yet to offer class

20   members remedy in accordance with similar consumer protection statutes.

21           667.        Apple advertised, offered, or sold goods or services in Alabama, and engaged in

22   trade or commerce directly or indirectly affecting the people of Alabama.

23           668.        Apple engaged in deceptive acts and practices in the conduct of trade or

24   commerce, in violation of the Alabama Deceptive Trade Practices Act, Ala. Code § 8-19-5,

25   including:

26           a. Representing that goods or services have sponsorship, approval, characteristics,

27                ingredients, uses, benefits, or qualities that they do not have;

28           b. Representing that goods or services are of a particular standard, quality, or grade, or that
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 1              goods are of a particular style or model, if they are of another; and
 2          c. Engaging in any other unconscionable, false, misleading, or deceptive act or practice in
 3              the conduct of trade or commerce.
 4          669.        Apple’s representations and omissions were material because they were likely to
 5   deceive reasonable consumers.
 6          670.        Apple intended to mislead Plaintiff and Alabama Subclass members and induce
 7   them to rely on its misrepresentations and omissions.
 8          671.        Had Apple disclosed to Plaintiff and Alabama Subclass members that it
 9   misrepresented the Devices and operating software, omitted material information regarding the
10   Defects and Battery Issues, omitted material information regarding the operating software, and was
11   otherwise engaged in deceptive, common business practices, Apple would have been unable to
12   continue in business and it would have been forced to disclose the uniform defects in its Devices.
13   Instead, Apple represented that its Devices were continually improving in speed and battery life and
14   performed better than other devices on the market. Plaintiff and the Alabama Subclass members
15   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
16   could not have discovered.
17          672.        Apple acted intentionally, knowingly, and maliciously to violate the Alabama
18   Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Alabama Subclass
19   members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of software
20   to throttle phone performance, put it on notice that the Devices were not as it advertised.
21          673.        As a direct and proximate result of Apple’s deceptive acts and practices, Plaintiff
22   and Alabama Subclass members have suffered and will continue to suffer injury, ascertainable
23   losses of money or property, and monetary and non-monetary damages, including from not
24   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
25   dealing with Device performance issues.
26
27

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 1          674.          Apple’s deceptive acts and practices caused substantial injury to Plaintiff and
 2   Alabama Subclass members, which they could not reasonably avoid, and which outweighed any
 3   benefits to consumers or to competition.
 4          675.          Plaintiff and the Alabama Subclass seek all monetary and non-monetary relief
 5   allowed by law, including the greater of (a) actual damages or (b) statutory damages of $100; treble
 6   damages; injunctive relief; attorneys’ fees, costs, and any other relief that is just and proper.
 7                          CLAIMS ON BEHALF OF THE ALASKA SUBCLASS
 8                                                   COUNT 20
 9                                   ALASKA CONSUMER PROTECTION ACT,
10                                        Alaska Stat. §§ 45.50.471, et seq.
11          676.          The Alaska Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
12   individually and on behalf of the Alaska Subclass, repeats and alleges Paragraphs 1-472, as if fully
13   alleged herein.
14          677.          Apple advertised, offered, or sold goods or services in Alaska and engaged in
15   trade or commerce directly or indirectly affecting the people of Alaska.
16          678.          Alaska Subclass members are “consumers” as defined by Alaska Stat. §
17   45.50.561(4).
18          679.          Apple received notice pursuant to Alaska Stat. § 45.50.535 concerning its
19   wrongful conduct as alleged herein by Plaintiff and Alaska Subclass members. However, sending
20   pre-suit notice pursuant to Alaska Stat. § 45.50.535 is an exercise in futility for Plaintiff, as Apple
21   has already been informed of the allegedly unfair and unlawful conduct as described herein as of
22   the date of the first-filed lawsuit in December 2017, and has yet to offer class members remedy in
23   accordance with similar consumer protection statutes.
24          680.          Apple engaged in unfair or deceptive acts and practices in the conduct of trade or
25   commerce, in violation Alaska Stat. § 45.50.471, including:
26              a. Representing that goods or services have sponsorship, approval, characteristics,
27                     ingredients, uses, benefits, or qualities that they do not have;
28
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 1              b. Representing that goods or services are of a particular standard, quality, or grade,
 2                  when they are of another;
 3              c. Advertising goods or services with intent not to sell them as advertised;
 4              d. Engaging in any other conduct creating a likelihood of confusion or of
 5                  misunderstanding and which misleads, deceives, or damages a buyer in connection
 6                  with the sale or advertisements of its goods or services; and
 7              e. Using or employing deception, fraud, false pretense, false promise,
 8                  misrepresentation, or knowingly concealing, suppressing, or omitting a material fact
 9                  with intent that others rely upon the concealment, suppression, or omission in
10                  connection with the sale or advertisement of its goods or services whether or not a
11                  person was in fact misled, deceived, or damaged.
12          681.        Apple’s representations and omissions were material because they were likely to
13   deceive reasonable consumers.
14          682.        Apple intended to mislead Plaintiff and Alaska Subclass members and induce
15   them to rely on its misrepresentations and omissions.
16          683.        Apple acted intentionally, knowingly, and maliciously to violate Alaska’s
17   Consumer Protection Act, and recklessly disregarded Plaintiff and Alaska Subclass members’
18   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
19   phone performance, put it on notice that the Devices were not as it advertised.
20          684.        As a direct and proximate result of Apple’s unfair and deceptive acts and
21   practices, Plaintiff and Alaska Subclass members have suffered and will continue to suffer injury,
22   ascertainable losses of money or property, and monetary and non-monetary damages, including
23   from not receiving the benefit of their bargain in purchasing the Devices, and increased time and
24   expense in dealing with Device performance issues.
25          685.        Plaintiff and the Alaska Subclass seek all monetary and non-monetary relief
26   allowed by law, including the greater of (a) three times their actual damages or (b) statutory
27

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 1   damages in the amount of $500; punitive damages; reasonable attorneys’ fees and costs; injunctive
 2   relief; and any other relief that is necessary and proper.
 3                       CLAIMS ON BEHALF OF THE ARIZONA SUBCLASS
 4                                                 COUNT 21
 5                                     ARIZONA CONSUMER FRAUD ACT,
 6                                          A.R.S. §§ 44-1521, et seq.
 7          686.        The Arizona Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 8   individually and on behalf of the Arizona Subclass, repeats and alleges Paragraphs 1-472, as if fully
 9   alleged herein.
10          687.        Apple is a “person” as defined by A.R.S. § 44-1521(6).
11          688.        Apple advertised, offered, or sold goods or services in Arizona and engaged in
12   trade or commerce directly or indirectly affecting the people of Arizona.
13          689.        Apple engaged in deceptive and unfair acts and practices, misrepresentation, and
14   the concealment, suppression, and omission of material facts affecting the people of Arizona in
15   connection with the sale and advertisement of “merchandise” (as defined in Arizona Consumer
16   Fraud Act, A.R.S. § 44-1521(5)) in violation of A.R.S. § 44-1522(A).
17          690.        Apple’s representations and omissions were material because they were likely to
18   deceive reasonable consumers.
19          691.        Apple intended to mislead Plaintiff and Arizona Subclass members and induce
20   them to rely on its misrepresentations and omissions.
21          692.        Had Apple disclosed to Plaintiff and Arizona Subclass members that it
22   misrepresented the Devices and operating software, omitted material information regarding the
23   Defects and Battery Issues, omitted material information regarding the operating software, and was
24   otherwise engaged in deceptive, common business practices, Apple would have been unable to
25   continue in business and it would have been forced to disclose the uniform defects in its Devices.
26   Instead, Apple represented that its Devices were continually improving in speed and battery life and
27   performed better than other devices on the market. Plaintiff and the Arizona Subclass members
28
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 1   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
 2   could not have discovered.
 3           693.        Apple acted intentionally, knowingly, and maliciously to violate Arizona’s
 4   Consumer Fraud Act, and recklessly disregarded Plaintiff and Arizona Subclass members’ rights.
 5   Apple’s knowledge of the Devices’ performance issues, and release of software to throttle phone
 6   performance, put it on notice that the Devices were not as it advertised.
 7           694.        As a direct and proximate result of Apple’s unfair and deceptive acts and
 8   practices, Plaintiff and Arizona Subclass members have suffered and will continue to suffer injury,
 9   ascertainable losses of money or property, and monetary and non-monetary damages, including
10   from not receiving the benefit of their bargain in purchasing the Devices, and increased time and
11   expense in dealing with Device performance issues.
12           695.        Plaintiff and Arizona Subclass members seek all monetary and non-monetary
13   relief allowed by law, including compensatory damages; disgorgement; punitive damages;
14   injunctive relief; and reasonable attorneys’ fees and costs.
15                       CLAIMS ON BEHALF OF THE ARKANSAS SUBCLASS
16                                                 COUNT 22
17                             ARKANSAS DECEPTIVE TRADE PRACTICES ACT,
18                                         A.C.A. §§ 4-88-101, et seq.
19           696.        The Arkansas Plaintiff(s) identified above (“Plaintiff,” for purposes of this
20   Count), individually and on behalf of the Arkansas Subclass, repeats and alleges Paragraphs 1-472,
21   as if fully alleged herein.
22           697.        Apple is a “person” as defined by A.C.A. § 4-88-102(5).
23           698.        Apple’s products and services are “goods” and “services” as defined by A.C.A.
24   §§ 4-88-102(4) and (7).
25           699.        Apple advertised, offered, or sold goods or services in Arkansas and engaged in
26   trade or commerce directly or indirectly affecting the people of Arkansas.
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 1          700.        The Arkansas Deceptive Trade Practices Act (“ADTPA”), A.C.A. §§ 4-88-101,
 2   et seq., prohibits unfair, deceptive, false, and unconscionable trade practices.
 3          701.        Apple engaged in acts of deception and false pretense in connection with the sale
 4   and advertisement of services in violation of A.C.A. § 4-88-1-8(1) and concealment, suppression
 5   and omission of material facts, with intent that others rely upon the concealment, suppression or
 6   omission in violation of A.C.A. § 4-88-1-8(2), and engaged in the following deceptive and
 7   unconscionable trade practices defined in A.C.A. § 4-88-107:
 8          a. Knowingly making a false representation as to the characteristics, ingredients, uses,
 9              benefits, alterations, source, sponsorship, approval, or certification of goods or services
10              and as to goods being of a particular standard, quality, grade, style, or model;
11          b. Advertising goods or services with the intent not to sell them as advertised;
12          c. Employing consistent bait-and-switch advertising of an attractive but insincere offer to
13              sell a product or service which the seller in truth does not intend or desire to sell, as
14              evidenced by acts demonstrating an intent not to sell the advertised product or services;
15          d. Knowingly taking advantage of a consumer who is reasonably unable to protect his or
16              her interest because of ignorance; and
17          e. Engaging in other unconscionable, false, or deceptive acts and practices in business,
18              commerce, or trade.
19          702.        Apple’s representations and omissions were material because they were likely to
20   deceive reasonable consumers.
21          703.        Apple intended to mislead Plaintiff and Arkansas Subclass members and induce
22   them to rely on its misrepresentations and omissions.
23          704.        Had Apple disclosed to Plaintiffs and class members that it misrepresented the
24   Devices and operating software, omitted material information regarding the Defects and Battery
25   Issues, omitted material information regarding the operating software, and was otherwise engaged
26   in deceptive, common business practices, Apple would have been unable to continue in business
27   and it would have been forced to disclose the uniform defects in its Devices. Instead, Apple
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 1   represented that its devices were continually improving in speed and battery life and performed
 2   better than other devices on the market. Plaintiff and the Arkansas Subclass members acted
 3   reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they could
 4   not have discovered.
 5           705.        Apple acted intentionally, knowingly, and maliciously to violate Arkansas’s
 6   Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Arkansas Subclass
 7   members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of software
 8   to throttle phone performance, put it on notice that the Devices were not as it advertised.
 9           706.        As a direct and proximate result of Apple’s unconscionable, unfair, and
10   deceptive acts or practices and Plaintiff and Arkansas Subclass members’ reliance thereon, Plaintiff
11   and Arkansas Subclass members have suffered and will continue to suffer injury, ascertainable
12   losses of money or property, and monetary and non-monetary damages, including from not
13   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
14   dealing with Device performance issues.
15           707.        Plaintiff and the Arkansas Subclass members seek all monetary and non-
16   monetary relief allowed by law, including actual financial losses; injunctive relief; and reasonable
17   attorneys’ fees and costs.
18                      CLAIMS ON BEHALF OF THE COLORADO SUBCLASS
19                                                 COUNT 23
20                                 COLORADO CONSUMER PROTECTION ACT,
21                                     Colo. Rev. Stat. §§ 6-1-101, et seq.
22           708.        The Colorado Plaintiff(s) identified above (“Plaintiff,” for purposes of this
23   Count), individually and on behalf of the Colorado Subclass, repeats and alleges Paragraphs 1-472,
24   as if fully alleged herein.
25           709.        Apple is a “person” as defined by Colo. Rev. Stat. § 6-1-102(6).
26           710.        Apple engaged in “sales” as defined by Colo. Rev. Stat. § 6-1-102(10).
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 1          711.        Plaintiff and Colorado Subclass members, as well as the general public, are
 2   actual or potential consumers of the products and services offered by Apple or successors in interest
 3   to actual consumers.
 4          712.        Apple engaged in deceptive trade practices in the course of its business, in
 5   violation of Colo. Rev. Stat. § 6-1-105(1), including:
 6              a. Knowingly making a false representation as to the characteristics of products and
 7                  services;
 8              b. Representing that services are of a particular standard, quality, or grade, though
 9                  Apple knew or should have known that there were or another;
10              c. Advertising services with intent not to sell them as advertised; and
11              d. Failing to disclose material information concerning its services which was known at
12                  the time of an advertisement or sale when the failure to disclose the information was
13                  intended to induce the consumer to enter into the transaction.
14          713.        Apple’s representations and omissions were material because they were likely to
15   deceive reasonable consumers.
16          714.        Apple intended to mislead Plaintiff and Colorado Subclass members and induce
17   them to rely on its misrepresentations and omissions.
18          715.        Had Apple disclosed to Plaintiff and Colorado Subclass members that it
19   misrepresented the Devices and operating software, omitted material information regarding the
20   Defects and Battery Issues, omitted material information regarding the operating software, and was
21   otherwise engaged in deceptive, common business practices, Apple would have been unable to
22   continue in business and it would have been forced to disclose the uniform defects in its Devices.
23   Instead, Apple represented that its Devices were continually improving in speed and battery life and
24   performed better than other devices on the market. Plaintiff and the Colorado Subclass members
25   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
26   could not have discovered.
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 1            716.       Apple acted intentionally, knowingly, and maliciously to violate Colorado’s
 2   Consumer Protection Act, and recklessly disregarded Plaintiff and Subclass members’ rights.
 3   Apple’s knowledge of the Devices’ performance issues, and release of software to throttle phone
 4   performance, put it on notice that the Devices were not as it advertised.
 5            717.       As a direct and proximate result of Apple’s deceptive trade practices, Colorado
 6   Subclass members suffered injuries to their legally protected interests.
 7            718.       Apple’s deceptive trade practices significantly impact the public, because Apple
 8   is the second-largest Device manufacturer in the world, with hundreds of thousands of sales of
 9   those Devices to Colorado consumers.
10            719.       Plaintiff and Colorado Subclass members seek all monetary and non-monetary
11   relief allowed by law, including the greater of: (a) actual damages, or (b) $500, or (c) three times
12   actual damages (for Apple’s bad faith conduct); injunctive relief; and reasonable attorneys’ fees and
13   costs.
14                    CLAIMS ON BEHALF OF THE CONNECTICUT SUBCLASS
15                                                 COUNT 24
16                                      Connecticut Unfair Trade Practices Act,
17                                             C.G.S.A. § 42-110g
18            720.       The Connecticut Plaintiff(s) identified above (“Plaintiff,” for purposes of this
19   Count), individually and on behalf of the Connecticut Subclass, repeats and alleges Paragraphs 1-
20   472, as if fully alleged herein.
21            721.       Apple is a “person” as defined by C.G.S.A. § 42-110a(3).
22            722.       Apple is engaged in “trade” or “commerce” as those terms are defined by
23   C.G.S.A. § 42-110a(4).
24            723.       At the time of filing this Complaint, Plaintiff has sent notice to the Attorney
25   General and Commissioner of Consumer Protection pursuant to C.G.S.A. § 42-110g(c). Plaintiff
26   will provide a file-stamped copy of the Complaint to the Attorney General and Commissioner of
27   Consumer Protection.
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 1          724.        Apple advertised, offered, or sold goods or services in Connecticut, and engaged
 2   in trade or commerce directly or indirectly affecting the people of Connecticut.
 3          725.        Apple engaged in deceptive acts and practices and unfair acts and practices in the
 4   conduct of trade or commerce, in violation of the C.G.S.A. § 42-110b, including:
 5              a. Representing that goods or services have sponsorship, approval, characteristics,
 6                  ingredients, uses, benefits, or qualities that they do not have;
 7              b. Representing that goods or services are of a particular standard, quality, or grade, or
 8                  that goods are of a particular style or model, if they are of another; and
 9              c. Engaging in any other unconscionable, false, misleading, or deceptive act or practice
10                  in the conduct of trade or commerce.
11          726.        Apple’s representations and omissions were material because they were likely to
12   deceive reasonable consumers.
13          727.        Apple intended to mislead Plaintiff and Connecticut Subclass members and
14   induce them to rely on its misrepresentations and omissions.
15          728.        Had Apple disclosed to Plaintiff and Connecticut Subclass members that it
16   misrepresented the Devices and operating software, omitted material information regarding the
17   Defects and Battery Issues, omitted material information regarding the operating software, and was
18   otherwise engaged in deceptive, common business practices, Apple would have been unable to
19   continue in business and it would have been forced to disclose the uniform defects in its Devices.
20   Instead, Apple represented that its Devices were continually improving in speed and battery life and
21   performed better than other devices on the market. Plaintiff and the Connecticut Subclass members
22   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
23   could not have discovered.
24          729.        Apple acted intentionally, knowingly, and maliciously to violate the Connecticut
25   Unfair Trade Practices Act, and recklessly disregarded Plaintiff and Connecticut Subclass
26   members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of software
27   to throttle phone performance, put it on notice that the Devices were not as it advertised.
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 1             730.      As a direct and proximate result of Apple’s deceptive acts and practices, Plaintiff
 2   and Connecticut Subclass members have suffered and will continue to suffer injury, ascertainable
 3   losses of money or property, and monetary and non-monetary damages, including from not
 4   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
 5   dealing with Device performance issues.
 6             731.      Apple’s deceptive acts and practices caused substantial, ascertainabile injury to
 7   Plaintiff and Connecticut Subclass members, which they could not reasonably avoid, and which
 8   outweighed any benefits to consumers or to competition.
 9             732.      Apple’s violations of Connecticut law were done with reckless indifference to
10   the Plaintiff and the Connecticut Subclass or was with an intentional or wanton violation of those
11   rights.
12             733.      Plaintiff requests damages in the amount to be determined at trial, including
13   statutory and common law damages, attorneys’ fees, and punitive damages.
14                      CLAIMS ON BEHALF OF THE DELAWARE SUBCLASS
15                                                  COUNT 25
16                                   DELAWARE CONSUMER FRAUD ACT,
17                                          6 Del. Code §§ 2513, et seq.
18             734.      The Delaware Plaintiff(s) identified above (“Plaintiff,” for purposes of this
19   Count), individually and on behalf of the Delaware Subclass, repeats and alleges Paragraphs 1-472,
20   as if fully alleged herein.
21             735.      Apple is a “person” that is involved in the “sale” of “merchandise,” as defined by
22   6 Del. Code § 2511(7), (8), and (6).
23             736.      Apple advertised, offered, or sold goods or services in Delaware and engaged in
24   trade or commerce directly or indirectly affecting the people of Delaware.
25             737.      Apple used and employed deception, fraud, false pretense, false promise,
26   misrepresentation, and the concealment, suppression, and omission of material facts with intent that
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 1   others rely upon such concealment, suppression and omission, in connection with the sale and
 2   advertisement of merchandise, in violation of 6 Del. Code § 2513(a).
 3          738.        Apple’s representations and omissions were material because they were likely to
 4   deceive reasonable consumers.
 5          739.        Apple acted intentionally, knowingly, and maliciously to violate Delaware’s
 6   Consumer Fraud Act, and recklessly disregarded Plaintiff and Delaware Subclass members’ rights.
 7   Apple’s knowledge of the Devices’ performance issues, and release of software to throttle phone
 8   performance, put it on notice that the Devices were not as it advertised.
 9          740.        Had Apple disclosed to Plaintiff and Delaware Subclass members that it
10   misrepresented the Devices and operating software, omitted material information regarding the
11   Defects and Battery Issues, omitted material information regarding the operating software, and was
12   otherwise engaged in deceptive, common business practices, Apple would have been unable to
13   continue in business and it would have been forced to disclose the uniform defects in its Devices.
14   Instead, Apple represented that its Devices were continually improving in speed and battery life and
15   performed better than other devices on the market. Plaintiff and the Delaware Subclass members
16   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
17   could not have discovered.
18          741.        Apple’s unlawful trade practices were gross, oppressive, and aggravated, and
19   Apple breached the trust of Plaintiff and the Delaware Subclass members.
20          742.        As a direct and proximate result of Apple’s unlawful acts and practices, Plaintiff
21   and Delaware Subclass members have suffered and will continue to suffer injury, ascertainable
22   losses of money or property, and monetary and non-monetary damages, including from not
23   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
24   dealing with Device performance issues.
25          743.        Plaintiff and Delaware Subclass members seek all monetary and non-monetary
26   relief allowed by law, including damages under 6 Del. Code § 2525 for injury resulting from the
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 1   direct and natural consequences of Apple’s unlawful conduct; injunctive relief; and reasonable
 2   attorneys’ fees and costs.
 3             CLAIMS ON BEHALF OF THE DISTRICT OF COLUMBIA SUBCLASS
 4                                                   COUNT 26
 5                          DISTRICT OF COLUMBIA CONSUMER PROTECTION
 6                                               PROCEDURES ACT,
 7                                       D.C. Code §§ 28-3904, et seq.
 8          744.        The District of Columbia Plaintiff(s) identified above (“Plaintiff,” for purposes
 9   of this Count), individually and on behalf of the District of Columbia Subclass, repeats and alleges
10   Paragraphs 1-472, as if fully alleged herein.
11          745.        Apple is a “person” as defined by D.C. Code § 28-3901(a)(1).
12          746.        Apple is a “merchant” as defined by D.C. Code § 28-3901(a)(3).
13          747.        Plaintiff and District of Columbia Subclass members are “consumers” who
14   purchased or received goods or services for personal, household, or family purposes, as defined by
15   D.C. Code § 28-3901.
16          748.        Apple advertised, offered, or sold goods or services in District of Columbia and
17   engaged in trade or commerce directly or indirectly affecting the people of District of Columbia.
18          749.        Apple engaged in unfair, unlawful, and deceptive trade practices,
19   misrepresentations, and the concealment, suppression, and omission of material facts with respect
20   to the sale and advertisement of goods and services in violation of D.C. Code § 28-3904, including:
21              a. Representing that goods or services have characteristics that they do not have;
22              b. Representing that goods or services are of a particular standard, quality, grade, style,
23                  or model, when they are of another;
24              c. Misrepresenting a material fact that has a tendency to mislead;
25              d. Failing to state a material fact where the failure is misleading;
26              e. Advertising or offering goods or services without the intent to sell them as
27                  advertised or offered; and
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 1               f. Representing that the subject of a transaction has been supplied in accordance with a
 2                    previous representation when it has not.
 3           750.        Apple’s representations and omissions were material because they were likely to
 4   deceive reasonable consumers.
 5           751.        Apple intended to mislead Plaintiff and District of Columbia Subclass members
 6   and induce them to rely on its misrepresentations and omissions.
 7           752.        The above unfair and deceptive practices and acts by Apple were immoral,
 8   unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and
 9   District of Columbia Subclass members that they could not reasonably avoid; this substantial injury
10   outweighed any benefits to consumers or to competition.
11           753.        Apple acted intentionally, knowingly, and maliciously to violate the District of
12   Columbia’s Consumer Protection Procedures Act, and recklessly disregarded Plaintiff and District
13   of Columbia Subclass members’ rights. Apple’s knowledge of the Devices’ performance issues,
14   and release of software to throttle phone performance, put it on notice that the Devices were not as
15   it advertised.
16           754.        As a direct and proximate result of Apple’s unfair, unlawful, and deceptive trade
17   practices, Plaintiff and District of Columbia Subclass members have suffered and will continue to
18   suffer injury, ascertainable losses of money or property, and monetary and non-monetary damages,
19   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
20   time and expense in dealing with Device performance issues.
21           755.        Plaintiff and District of Columbia Subclass members seek all monetary and non-
22   monetary relief allowed by law, including actual damages, restitution, injunctive relief, punitive
23   damages, attorneys’ fees and costs, the greater of treble damages or $1500 per violation, and any
24   other relief that the Court deems proper.
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 1                       CLAIMS ON BEHALF OF THE FLORIDA SUBCLASS
 2                                                COUNT 27
 3                     FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT,
 4                                       Fla. Stat. §§ 501.201, et seq.
 5          756.        The Florida Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 6   individually and on behalf of the Florida Subclass, repeats and alleges Paragraphs 1-472, as if fully
 7   alleged herein.
 8          757.        Plaintiff and Florida Subclass members are “consumers” as defined by Fla. Stat.
 9   § 501.203.
10          758.        Apple advertised, offered, or sold goods or services in Florida and engaged in
11   trade or commerce directly or indirectly affecting the people of Florida.
12          759.        Apple engaged in unconscionable, unfair, and deceptive acts and practices in the
13   conduct of trade and commerce, in violation of Fla. Stat. § 501.204(1).
14          760.        Apple’s representations and omissions were material because they were likely to
15   deceive reasonable consumers.
16          761.        Had Apple disclosed to Plaintiff and Florida Subclass members that it
17   misrepresented the Devices and operating software, omitted material information regarding the
18   Defects and Battery Issues, omitted material information regarding the operating software, and was
19   otherwise engaged in deceptive, common business practices, Apple would have been unable to
20   continue in business and it would have been forced to disclose the uniform defects in its Devices.
21   Instead, Apple represented that its Devices were continually improving in speed and battery life and
22   performed better than other devices on the market. Plaintiff and the Florida Subclass members
23   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
24   could not have discovered.
25          762.        As a direct and proximate result of Apple’s unconscionable, unfair, and
26   deceptive acts and practices, Plaintiff and Florida Subclass members have suffered and will
27   continue to suffer injury, ascertainable losses of money or property, and monetary and non-
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 1   monetary damages, including from not receiving the benefit of their bargain in purchasing the
 2   Devices, and increased time and expense in dealing with Device performance issues.
 3           763.         Plaintiff and Florida Subclass members seek all monetary and non-monetary
 4   relief allowed by law, including actual or nominal damages under Fla. Stat. § 501.21; declaratory
 5   and injunctive relief; reasonable attorneys’ fees and costs, under Fla. Stat. § 501.2105(1); and any
 6   other relief that is just and proper.
 7                         CLAIMS ON BEHALF OF THE GEORGIA SUBCLASS
 8                                                    COUNT 28
 9                        GEORGIA UNIFORM DECEPTIVE TRADE PRACTICES ACT,
10                                            O.C.G.A. §§ 10-1-390, et seq.
11           764.         The Georgia Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
12   individually and on behalf of the Georgia Subclass, repeats and alleges Paragraphs 1-472, as if fully
13   alleged herein.
14           765.         Apple, Plaintiff, and Georgia Subclass members are “persons” within the
15   meaning of § 10-1-371(5) of the Georgia Uniform Deceptive Trade Practices Act (“Georgia
16   UDTPA”).
17           766.         Apple received notice pursuant to O.C.G.A. § 10-1-399 concerning its wrongful
18   conduct as alleged herein by Plaintiff and Georgia Subclass members. However, sending pre-suit
19   notice pursuant to O.C.G.A. § 10-1-399 is an exercise in futility for Plaintiff, as Apple has already
20   been informed of the allegedly unfair and unlawful conduct as described herein as of the date of the
21   first-filed lawsuit in December 2017, and has yet to offer class members remedy in accordance with
22   similar consumer protection statutes.
23           767.         Apple engaged in deceptive trade practices in the conduct of its business, in
24   violation of O.C.G.A. § 10-1-372(a), including:
25               a. Representing that goods or services have characteristics that they do not have;
26               b. Representing that goods or services are of a particular standard, quality, or grade if
27                     they are of another;
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 1              c. Advertising goods or services with intent not to sell them as advertised; and
 2              d. Engaging in other conduct that creates a likelihood of confusion or
 3                  misunderstanding.
 4          768.       Apple’s deceptive trade practices include:
 5              a. Knowingly designing, developing, manufacturing, advertising, and selling Devices
 6                  with significant defects that result in the Devices not operating as intended,
 7                  represented, or advertised under normal usage;
 8              b. Developing software Updates that merely hide the aforementioned Defects and
 9                  Battery Issues by throttling Device performance, resulting in the Devices operating
10                  at slower speeds than intended, represented, or advertised under normal usage;
11              c. Concealing material information from consumers regarding its Devices, the Battery
12                  Issues, and Defects so that consumers were unable to make informed choices when
13                  purchasing the Devices;
14              d. Concealing material information from consumers regarding the Updates to operating
15                  software, so that consumers would not nor could they know that the Updates
16                  throttled their Devices; and
17              e. Using uniform, deceptive business practices such as throttling software to slow down
18                  Devices, requiring consumers to spend additional money on replacement batteries or
19                  Devices as a result of the Defects and Battery Issues.
20          769.       Apple’s representations and omissions were material because they were likely to
21   deceive reasonable consumers.
22          770.       Apple intended to mislead Plaintiff and Georgia Subclass members and induce
23   them to rely on its misrepresentations and omissions.
24          771.       In the course of its business, Apple engaged in activities with a tendency or
25   capacity to deceive.
26          772.       Apple acted intentionally, knowingly, and maliciously to violate Georgia’s
27   Uniform Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Georgia Subclass
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 1   members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of software
 2   to throttle phone performance, put it on notice that the Devices were not as it advertised.
 3          773.         Had Apple disclosed to Plaintiff and Georgia Subclass members that it
 4   misrepresented the Devices and operating software, omitted material information regarding the
 5   Defects and Battery Issues, omitted material information regarding the operating software, and was
 6   otherwise engaged in deceptive, common business practices, Apple would have been unable to
 7   continue in business and it would have been forced to disclose the uniform defects in its Devices.
 8   Instead, Apple represented that its Devices were continually improving in speed and battery life and
 9   performed better than other devices on the market. Plaintiff and the Georgia Subclass members
10   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
11   could not have discovered.
12          774.         As a direct and proximate result of Apple’s deceptive trade practices, Plaintiff
13   and Georgia Subclass members have suffered and will continue to suffer injury, ascertainable losses
14   of money or property, and monetary and non-monetary damages, including from not receiving the
15   benefit of their bargain in purchasing the Devices, and increased time and expense in dealing with
16   Device performance issues.
17          775.         Plaintiff and Georgia Subclass members seek all relief allowed by law, including
18   injunctive relief, and reasonable attorneys’ fees and costs, under O.C.G.A. § 10-1-373.
19                         CLAIMS ON BEHALF OF THE HAWAII SUBCLASS
20                                                 COUNT 29
21                     HAWAII UNFAIR PRACTICES AND UNFAIR COMPETITION ACT,
22                                      Haw. Rev. Stat. §§ 480-1, et seq.
23          776.         The Hawaii Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
24   individually and on behalf of the Hawaii Subclass, repeats and alleges Paragraphs 1-472, as if fully
25   alleged herein.
26          777.         Plaintiff and Hawaii Subclass members are “consumers” as defined by Haw.
27   Rev. Stat. § 480-1.
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 1          778.        Plaintiffs, the Hawaii Subclass members, and Apple are “persons” as defined by
 2   Haw. Rev. Stat. § 480-1.
 3          779.        Apple advertised, offered, or sold goods or services in Hawaii and engaged in
 4   trade or commerce directly or indirectly affecting the people of Hawaii.
 5          780.        Apple engaged in unfair or deceptive acts or practices, misrepresentations, and
 6   the concealment, suppression, and omission of material facts with respect to the sale and
 7   advertisement of the goods and services purchased by Hawaii Subclass members in violation of
 8   Haw. Rev. Stat. § 480-2(a).
 9          781.        Apple’s representations and omissions were material because they were likely to
10   deceive reasonable consumers.
11          782.        Apple intended to mislead Plaintiff and Hawaii Subclass members and induce
12   them to rely on its misrepresentations and omissions.
13          783.        The foregoing unlawful and deceptive acts and practices were immoral,
14   unethical, oppressive, and unscrupulous.
15          784.        Apple acted intentionally, knowingly, and maliciously to violate Hawaii’s Unfair
16   Practices and Unfair Competition Act, and recklessly disregarded Plaintiff and Hawaii Subclass
17   members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of software to
18   throttle phone performance, put it on notice that the Devices were not as it advertised.
19          785.        As a direct and proximate result of Apple’s deceptive acts and practices, Plaintiff
20   and Hawaii Subclass members have suffered and will continue to suffer injury, ascertainable losses
21   of money or property, and monetary and non-monetary damages, including from not receiving the
22   benefit of their bargain in purchasing the Devices, and increased time and expense in dealing with
23   Device performance issues.
24          786.        Plaintiff and Hawaii Subclass members seek all monetary and non-monetary
25   relief allowed by law, including actual damages, benefit of the bargain damages, treble damages,
26   injunctive relief, and reasonable attorneys’ fees and costs.
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 1                                                  COUNT 30
 2                          HAWAII UNIFORM DECEPTIVE TRADE PRACTICE ACT,
 3                                       Haw. Rev. Stat. §§ 481A-3, et seq.
 4          787.          The Hawaii Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 5   individually and on behalf of the Hawaii Subclass, repeats and alleges Paragraphs 1-472, as if fully
 6   alleged herein.
 7          788.          Plaintiff and Hawaii Subclass members are “persons” as defined by Haw. Rev.
 8   Stat. § 481A-2.
 9          789.          Apple engaged in unfair and deceptive trade practices in the conduct of its
10   business, violating Haw. Rev. Stat. § 481A-3, including:
11              a. Representing that goods or services have characteristics that they do not have;
12              b. Representing that goods or services are of a particular standard, quality, or grade if
13                     they are of another;
14              c. Advertising goods or services with intent not to sell them as advertised; and
15              d. Engaging in other conduct that creates a likelihood of confusion or
16                     misunderstanding.
17          790.          Apple’s representations and omissions were material because they were likely to
18   deceive reasonable consumers.
19          791.          The above unfair and deceptive practices and acts by Apple were immoral,
20   unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and
21   Hawaii Subclass members that they could not reasonably avoid; this substantial injury outweighed
22   any benefits to consumers or to competition.
23          792.          As a direct and proximate result of Apple’s unfair, unlawful, and deceptive trade
24   practices, Plaintiff and Hawaii Subclass members have suffered and will continue to suffer injury,
25   ascertainable losses of money or property, and monetary and non-monetary damages, including
26   from not receiving the benefit of their bargain in purchasing the Devices, and increased time and
27   expense in dealing with Device performance issues.
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 1          793.          Plaintiff and Hawaii Subclass members seek all monetary and non-monetary
 2   relief allowed by law, including injunctive relief, attorneys’ fees and costs, and any other relief that
 3   the Court deems proper.
 4                           CLAIMS ON BEHALF OF THE IDAHO SUBCLASS
 5                                                   COUNT 31
 6                                    IDAHO CONSUMER PROTECTION ACT,
 7                                          Idaho Code §§ 48-601, et seq.
 8          794.          The Idaho Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 9   individually and on behalf of the Idaho Subclass, repeats and alleges Paragraphs 1-472, as if fully
10   alleged herein.
11          795.          Apple is a “person” as defined by Idaho Code § 48-602(1).
12          796.          Apple’s conduct as alleged herein pertained to “goods” and “services” as defined
13   by Idaho Code § 48-602(6) and (7).
14          797.          Apple advertised, offered, or sold goods or services in Idaho and engaged in
15   trade or commerce directly or indirectly affecting the people of Idaho.
16          798.          Apple engaged in unfair and deceptive acts or practices, and unconscionable acts
17   and practices, in the conduct of trade and commerce with respect to the sale and advertisement of
18   goods and services, in violation of Idaho Code §§ 48-603 and 48-603(C), including:
19              a. Representing that goods or services have sponsorship, approval, characteristics,
20                     ingredients, uses, benefits, or quantities that they do not have;
21              b. Representing that goods are of a particular standard, quality, or grade when they are
22                     of another;
23              c. Advertising goods or services with intent not to sell them as advertised;
24              d. Engaging in other acts and practices that are otherwise misleading, false, or
25                     deceptive to consumers; and
26              e. Engaging in unconscionable methods, acts or practices in the conduct of trade or
27                     commerce.
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 1          799.        Apple’s representations and omissions were material because they were likely to
 2   deceive reasonable consumers.
 3          800.        Apple intended to mislead Plaintiff and Idaho Subclass members and induce
 4   them to rely on its misrepresentations and omissions. Apple knew its representations and omissions
 5   were false.
 6          801.        Apple acted intentionally, knowingly, and maliciously to violate Idaho’s
 7   Consumer Protection Act, and recklessly disregarded Plaintiff and Idaho Subclass members’ rights.
 8   Apple’s knowledge of the Devices’ performance issues, and release of software to throttle phone
 9   performance, put it on notice that the Devices were not as it advertised.
10          802.        As a direct and proximate result of Apple’s unfair, deceptive, and
11   unconscionable conduct, Plaintiff and Idaho Subclass members have suffered and will continue to
12   suffer injury, ascertainable losses of money or property, and monetary and non-monetary damages,
13   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
14   time and expense in dealing with Device performance issues.
15          803.        Plaintiff and Idaho Subclass members seek all monetary and non-monetary relief
16   allowed by law, including damages, punitive damages, injunctive relief, costs, and attorneys’ fees.
17                       CLAIMS ON BEHALF OF THE ILLINOIS SUBCLASS
18                                                COUNT 32
19           ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT,
20                                          815 ILCS §§ 505, et seq.
21          804.        The Illinois Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
22   individually and on behalf of the Illinois Subclass, repeats and alleges Paragraphs 1-472, as if fully
23   alleged herein.
24          805.        Apple is a “person” as defined by 815 ILCS §§ 505/1(c).
25          806.        Plaintiff and Illinois Subclass members are “consumers” as defined by 815 ILCS
26   §§ 505/1(e).
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 1          807.         Apple’s conduct as described herein was in the conduct of “trade” or
 2   “commerce” as defined by 815 ILCS § 505/1(f). Apple’s conduct is described in full detail above.
 3          808.         Apple’s deceptive, unfair, and unlawful trade acts or practices, in violation of
 4   815 ILCS § 505/2.
 5          809.         Apple’s representations and omissions were material because they were likely to
 6   deceive reasonable consumers.
 7          810.         Apple intended to mislead Plaintiff and Illinois Subclass members and induce
 8   them to rely on its misrepresentations and omissions.
 9          811.         The above unfair and deceptive practices and acts by Apple were immoral,
10   unethical, oppressive, and unscrupulous. These acts caused substantial injury that these consumers
11   could not reasonably avoid; this substantial injury outweighed any benefit to consumers or to
12   competition.
13          812.         Apple acted intentionally, knowingly, and maliciously to violate Illinois’s
14   Consumer Fraud Act, and recklessly disregarded Plaintiff and Illinois Subclass members’ rights.
15   Apple’s knowledge of the Devices’ performance issues, and release of software to throttle phone
16   performance, put it on notice that the Devices were not as it advertised.
17          813.         As a direct and proximate result of Apple’s unfair, unlawful, and deceptive acts
18   and practices, Plaintiff and Illinois Subclass members have suffered and will continue to suffer
19   injury, ascertainable losses of money or property, and monetary and non-monetary damages,
20   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
21   time and expense in dealing with Device performance issues.
22          814.         Plaintiff and Illinois Subclass members seek all monetary and non-monetary
23   relief allowed by law, including damages, restitution, punitive damages, injunctive relief, and
24   reasonable attorneys’ fees and costs.
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 1                                                   COUNT 33
 2                        ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT,
 3                                            815 ILCS §§ 510/2, et seq.
 4          815.          The Illinois Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 5   individually and on behalf of the Illinois Subclass, repeats and alleges Paragraphs 1-472, as if fully
 6   alleged herein.
 7          816.          Apple is a “person” as defined by 815 ILCS §§ 510/1(5).
 8          817.          Apple engaged in deceptive trade practices in the conduct of its business, in
 9   violation of 815 ILCS §§ 510/2(a), including:
10              a. Representing that goods or services have characteristics that they do not have;
11              b. Representing that goods or services are of a particular standard, quality, or grade if
12                     they are of another;
13              c. Advertising goods or services with intent not to sell them as advertised; and
14              d. Engaging in other conduct that creates a likelihood of confusion or
15                     misunderstanding.
16          818.          Apple’s representations and omissions were material because they were likely to
17   deceive reasonable consumers.
18          819.          The above unfair and deceptive practices and acts by Apple were immoral,
19   unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and
20   Illinois Subclass members that they could not reasonably avoid; this substantial injury outweighed
21   any benefits to consumers or to competition.
22          820.          As a direct and proximate result of Apple’s unfair, unlawful, and deceptive trade
23   practices, Plaintiff and Illinois Subclass members have suffered and will continue to suffer injury,
24   ascertainable losses of money or property, and monetary and non-monetary damages, including
25   from not receiving the benefit of their bargain in purchasing the Devices, and increased time and
26   expense in dealing with Device performance issues.
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 1          821.        Plaintiff and Illinois Subclass members seek all monetary and non-monetary
 2   relief allowed by law, including injunctive relief and reasonable attorney’s fees.
 3                       CLAIMS ON BEHALF OF THE INDIANA SUBCLASS
 4                                                COUNT 34
 5                                    Indiana Deceptive Consumer sales Act,
 6                                      Ind. Code §§ 24-5-0.5-1, et seq.
 7          822.        The Indiana Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 8   individually and on behalf of the Indiana Subclass, repeats and alleges Paragraphs 1-472, as if fully
 9   alleged herein.
10          823.        Apple is a “person” as defined by Ind. Code § 24-5-0.5-2(a)(2).
11          824.        Apple is a “supplier” as defined by § 24-5-0.5-2(a)(1), because it regularly
12   engages in or solicits “consumer transactions” within the meaning of § 24-5-0.5-2(a)(3)(A).
13          825.        Apple engaged in unfair, abusive, and deceptive acts, omissions, and practices in
14   connection with consumer transactions, in violation of Ind. Code § 24-5-0.5-3(a).
15          826.        Apple’s representations and omissions include both implicit and explicit
16   representations and were carried out as a scheme or artifice to defraud.
17          827.        Apple’s acts and practices were “unfair” because they caused or were likely to
18   cause substantial injury to consumers which was not reasonably avoidable by consumers
19   themselves and not outweighed by countervailing benefits to consumers or to competition.
20          828.        The injury to consumers from Apple’s conduct was and is substantial because it
21   was non-trivial and non-speculative; and involved a monetary injury. The injury to consumers was
22   substantial not only because it inflicted harm on a significant and unprecedented number of
23   consumers, but also because it inflicted a significant amount of harm on each consumer.
24          829.        Consumers could not have reasonably avoided injury because Apple’s business
25   acts and practices unreasonably created or took advantage of an obstacle to the free exercise of
26   consumer decision-making. By withholding important information from consumers about the
27   performance of its Devices, and defects within those Devices, Apple created an asymmetry of
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 1   information between it and consumers that precluded consumers from taking action to avoid or
 2   mitigate injury.
 3          830.        Apple’s business practices, in concealing material information or
 4   misrepresenting the qualities, characteristics, and performance of its Devices, had no countervailing
 5   benefit to consumers or to competition.
 6          831.        Apple’s acts and practices were “abusive” for numerous reasons, including:
 7              a. Because they materially interfered with consumers’ ability to understand a term or
 8                  condition in a consumer transaction, interfering with consumers’ decision-making.
 9              b. Because they took unreasonable advantage of consumers’ lack of understanding
10                  about the material risks, costs, or conditions of a consumer transaction; consumers
11                  lacked an understanding of the material risks and costs of a variety of their
12                  transactions.
13              c. Because they took unreasonable advantage of consumers’ inability to protect their
14                  own interests; consumers could not protect their interests due to the asymmetry in
15                  information between them and Apple concerning Apple’s Devices.
16              d. Because Apple took unreasonable advantage of consumers’ reasonable reliance that
17                  it was providing truthful and accurate information about its Devices.
18          832.        Apple also engaged in “deceptive” acts and practices in violation of Indiana
19   Code § 24-5-0.5-3(a) and § 24-5-0.5-3(b), including:
20              a. Misrepresenting that the subject of a consumer transaction has sponsorship,
21                  approval, performance, characteristics, accessories, uses, or benefits it does not have
22                  which the supplier knows or should reasonably know it does not have;
23              b. Misrepresenting that the subject of a consumer transaction is of a particular standard,
24                  quality, grade, style, or model, if it is not and if the supplier knows or should
25                  reasonably know that it is not; and
26              c. Misrepresenting that the subject of a consumer transaction will be supplied to the
27                  public in greater quantity (i.e., greater speed, longer battery life) than the supplier
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 1                  intends or reasonably expects.
 2          833.        Apple intended to mislead Plaintiff and Indiana Subclass members and induce
 3   them to rely on its misrepresentations and omissions.
 4          834.        Apple’s representations and omissions were material because they were likely to
 5   deceive reasonable consumers.
 6          835.        Had Apple disclosed to Plaintiff and Indiana Subclass members that it
 7   misrepresented the Devices and operating software, omitted material information regarding the
 8   Defects and Battery Issues, omitted material information regarding the operating software, and was
 9   otherwise engaged in deceptive, common business practices, Apple would have been unable to
10   continue in business and it would have been forced to disclose the uniform defects in its Devices.
11   Instead, Apple represented that its Devices were continually improving in speed and battery life and
12   performed better than other devices on the market. Plaintiff and the Indiana Subclass members
13   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
14   could not have discovered.
15          836.        Apple had a duty to disclose the above-described facts due to the circumstances
16   of this case, the sensitivity and extensiveness of the defects in its Devices, and the generally-
17   accepted standards regarding product safety. Apple’s duty to disclose also arose from its:
18              a. Possession of exclusive knowledge regarding the defects in its Devices;
19              b. Possession of exclusive knowledge regarding throttling code in its operating
20                  software;
21              c. Active concealment of the Devices defects;
22              d. Active concealment of the fact that its operating software throttled Device
23                  performance;
24              e. Incomplete representations about Device safety and performance, while purposefully
25                  withholding material facts from Plaintiff and the Indiana Subclass that contradicted
26                  these representations.
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 1          837.        Apple acted intentionally, knowingly, and maliciously to violate Indiana’s
 2   Deceptive Consumer Sales Act, and recklessly disregarded Plaintiff and Indiana Subclass members’
 3   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
 4   phone performance, put it on notice that the Devices were not as it advertised.
 5          838.        Apple received notice pursuant to Ind. Code § 24-5-0.5-5 concerning its
 6   wrongful conduct as alleged herein by Plaintiff and Indiana Subclass members. Apple has had
 7   constructive notice of Plaintiff’s demand for relief for the Indiana Subclass pursuant to Ind. Code §
 8   24-5-0.5-5 since the filing of the first case, which contained substantially similar allegations.
 9   Accordingly, sending pre-suit notice pursuant to Ind. Code § 24-5-0.5-5 is an exercise in futility for
10   Plaintiff, as Apple has not cured its unfair, abusive, and deceptive acts and practices, or its
11   violations of Indiana Deceptive Consumer Sales Act were incurable.
12          839.        Apple’s conduct includes incurable deceptive acts that Apple engaged in as part
13   of a scheme, artifice, or device with intent to defraud or mislead, under Ind. Code § 24-5-0.5-
14   2(a)(8).
15          840.        As a direct and proximate result of Apple’s uncured or incurable unfair, abusive,
16   and deceptive acts or practices, Plaintiff and Indiana Subclass members have suffered and will
17   continue to suffer injury, ascertainable losses of money or property, and monetary and non-
18   monetary damages, including from not receiving the benefit of their bargain in purchasing the
19   Devices, and increased time and expense in dealing with Device performance issues.
20          841.        Apple’s violations present a continuing risk to Plaintiff and Indiana Subclass
21   members as well as to the general public.
22          842.        Plaintiff and Indiana Subclass members seek all monetary and non-monetary
23   relief allowed by law, including the greater of actual damages or $500 for each non-willful
24   violation; the greater of treble damages or $1,000 for each willful violation; restitution; reasonable
25   attorneys’ fees and costs; injunctive relief; and punitive damages.
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 1                         CLAIMS ON BEHALF OF THE IOWA SUBCLASS
 2                                                COUNT 35
 3                  IOWA PRIVATE RIGHT OF ACTION FOR CONSUMER FRAUDS ACT,
 4                                            Iowa Code § 714H
 5          843.        The Iowa Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 6   individually and on behalf of the Iowa Subclass, repeats and alleges Paragraphs 1-472, as if fully
 7   alleged herein.
 8          844.        Apple is a “person” as defined by Iowa Code § 714H.2(7).
 9          845.        Plaintiff and Iowa Subclass members are “consumers” as defined by Iowa Code
10   § 714H.2(3).
11          846.        Apple’s conduct described herein related to the “sale” or “advertisement” of
12   “merchandise” as defined by Iowa Code §§ 714H.2(2), (6), & (8).
13          847.        Apple engaged in unfair, deceptive, and unconscionable trade practices, in
14   violation of the Iowa Private Right of Action for Consumer Frauds Act, as described throughout
15   and herein.
16          848.        Apple’s representations and omissions were material because they were likely to
17   deceive reasonable consumers.
18          849.        Apple intended to mislead Plaintiff and Iowa Subclass members and induce them
19   to rely on its misrepresentations and omissions.
20          850.        Apple acted intentionally, knowingly, and maliciously to violate Iowa’s Private
21   Right of Action for Consumer Frauds Act, and recklessly disregarded Plaintiff and Iowa Subclass
22   members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of software
23   to throttle phone performance, put it on notice that the Devices were not as it advertised.
24          851.        As a direct and proximate result of Apple’s unfair, deceptive, and
25   unconscionable conduct, Plaintiff and Iowa Subclass members have suffered and will continue to
26   suffer injury, ascertainable losses of money or property, and monetary and non-monetary damages,
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 1   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
 2   time and expense in dealing with Device performance issues.
 3          852.       Plaintiff has provided the requisite notice to the Iowa Attorney General, the
 4   office of which approved the filing of this class action lawsuit pursuant to Iowa Code § 714H.7.
 5          853.       Plaintiff and Iowa Subclass members seek all monetary and non-monetary relief
 6   allowed by law, including injunctive relief, damages, punitive damages, and reasonable attorneys’
 7   fees and costs.
 8                       CLAIMS ON BEHALF OF THE KANSAS SUBCLASS
 9                                               COUNT 36
10                                KANSAS CONSUMER PROTECTION ACT,
11                                         K.S.A. §§ 50-623, et seq.
12          854.       The Kansas Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
13   individually and on behalf of the Kansas Subclass, repeats and alleges Paragraphs 1-472, as if fully
14   alleged herein.
15          855.       K.S.A. §§ 50-623, et seq. is to be liberally construed to protect consumers from
16   suppliers who commit deceptive and unconscionable practices.
17          856.       Plaintiff and Kansas Subclass members are “consumers” as defined by K.S.A. §
18   50-624(b).
19          857.       The acts and practices described herein are “consumer transactions,” as defined
20   by K.S.A. § 50-624(c).
21          858.       Apple is a “supplier” as defined by K.S.A. § 50-624(l).
22          859.       Apple advertised, offered, or sold goods or services in Kansas and engaged in
23   trade or commerce directly or indirectly affecting the people of Kansas.
24          860.       Apple’s representations and omissions were material because they were likely to
25   deceive reasonable consumers.
26          861.       Apple intended to mislead Plaintiff and Kansas Subclass members and induce
27   them to rely on its misrepresentations and omissions.
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 1          862.        Had Apple disclosed to Plaintiff and Kansas Subclass members that it
 2   misrepresented the Devices and operating software, omitted material information regarding the
 3   Defects and Battery Issues, omitted material information regarding the operating software, and was
 4   otherwise engaged in deceptive, common business practices, Apple would have been unable to
 5   continue in business and it would have been forced to disclose the uniform defects in its Devices.
 6   Instead, Apple represented that its Devices were continually improving in speed and battery life and
 7   performed better than other devices on the market. Plaintiff and the Kansas Subclass members
 8   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
 9   could not have discovered.
10          863.        Apple also engaged in unconscionable acts and practices in connection with a
11   consumer transaction, in violation of K.S.A. § 50-627, including: knowingly taking advantage of
12   the inability of Plaintiff and the Kansas Subclass to reasonably protect their interests, due to their
13   lack of knowledge (see K.S.A. § 50-627(b)(1)); and requiring Plaintiff and the Kansas Subclass to
14   enter into a consumer transaction on terms that Apple knew were substantially one-sided in favor of
15   Apple (see K.S.A. § 50-627(b)(5)).
16          864.        Plaintiff and the Kansas Subclass had unequal bargaining power with respect to
17   their purchase and/or use of Apple’s Devices because of Apple’s omissions and misrepresentations.
18          865.        The above unfair, deceptive, and unconscionable practices and acts by Apple
19   were immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to
20   Plaintiff and Kansas Subclass members that they could not reasonably avoid; this substantial injury
21   outweighed any benefits to consumers or to competition.
22          866.        Apple acted intentionally, knowingly, and maliciously to violate Kansas’s
23   Consumer Protection Act, and recklessly disregarded Plaintiff and Kansas Subclass members’
24   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
25   phone performance, put it on notice that the Devices were not as it advertised.
26          867.        As a direct and proximate result of Apple’s unfair, deceptive, and
27   unconscionable trade practices, Plaintiff and Kansas Subclass members have suffered and will
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 1   continue to suffer injury, ascertainable losses of money or property, and monetary and non-
 2   monetary damages, including from not receiving the benefit of their bargain in purchasing the
 3   Devices, and increased time and expense in dealing with Device performance issues.
 4           868.          Plaintiff and Kansas Subclass members seek all monetary and non-monetary
 5   relief allowed by law, including civil penalties or actual damages (whichever is greater), under
 6   K.S.A. §§ 50-634 and 50-636; injunctive relief; and reasonable attorneys’ fees and costs.
 7                      CLAIMS ON BEHALF OF THE KENTUCKY SUBCLASS
 8                                                   COUNT 37
 9                                 KENTUCKY CONSUMER PROTECTION ACT,
10                                        Ky. Rev. Stat. §§ 367.110, et seq.
11           869.          The Kentucky Plaintiff(s) identified above (“Plaintiff,” for purposes of this
12   Count), individually and on behalf of the Kentucky Subclass, repeats and alleges Paragraphs 1-472,
13   as if fully alleged herein.
14           870.          Apple is a “person” as defined by Ky. Rev. Stat. § 367.110(1).
15           871.          Apple advertised, offered, or sold goods or services in Kentucky and engaged in
16   trade or commerce directly or indirectly affecting the people of Kentucky, as defined by Ky. Rev.
17   Stat. § 367.110(2).
18           872.          Apple engaged in unfair, false, misleading, deceptive, and unconscionable acts or
19   practices, in violation of Ky. Rev. Stat. § 367.170, as described herein.
20           873.          Apple’s representations and omissions were material because they were likely to
21   deceive reasonable consumers.
22           874.          Apple intended to mislead Plaintiff and Kentucky Subclass members and induce
23   them to rely on its misrepresentations and omissions.
24           875.          Plaintiff and Kentucky Subclass members’ purchased goods or services for
25   personal, family, or household purposes and suffered ascertainable losses of money or property as a
26   result of Apple’s unlawful acts and practices.
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 1           876.        The above unlawful acts and practices by Apple were immoral, unethical,
 2   oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and Kentucky
 3   Subclass members that they could not reasonably avoid; this substantial injury outweighed any
 4   benefits to consumers or to competition.
 5           877.        Apple acted intentionally, knowingly, and maliciously to violate Kentucky’s
 6   Consumer Protection Act, and recklessly disregarded Plaintiff and Kentucky Subclass members’
 7   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
 8   phone performance, put it on notice that the Devices were not as it advertised.
 9           878.        As a direct and proximate result of Apple’s unlawful acts and practices, Plaintiff
10   and Kentucky Subclass members have suffered and will continue to suffer injury, ascertainable
11   losses of money or property, and monetary and non-monetary damages, including from not
12   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
13   dealing with Device performance issues.
14           879.        Plaintiff and Kentucky Subclass members seek all monetary and non-monetary
15   relief allowed by law, including damages, punitive damages, restitution or other equitable relief,
16   injunctive relief, and reasonable attorneys’ fees and costs.
17                      CLAIMS ON BEHALF OF THE LOUISIANA SUBCLASS
18                                                 COUNT 38
19                                 LOUISIANA UNFAIR TRADE PRACTICES AND
20                                       CONSUMER PROTECTION LAW,
21                                   La. Rev. Stat. Ann. §§ 51:1401, et seq.
22           880.        The Louisiana Plaintiff(s) identified above (“Plaintiff,” for purposes of this
23   Count), individually and on behalf of the Louisiana Subclass, repeats and alleges Paragraphs 1-472,
24   as if fully alleged herein.
25           881.        Apple, Plaintiff, and the Louisiana Subclass members are “persons” within the
26   meaning of the La. Rev. Stat. Ann. § 51:1402(8).
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 1          882.        Plaintiff and Louisiana Subclass members are “consumers” within the meaning
 2   of La. Rev. Stat. Ann. § 51:1402(1).
 3          883.        Apple engaged in “trade” or “commerce” within the meaning of La. Rev. Stat.
 4   Ann. § 51:1402(10).
 5          884.        The Louisiana Unfair Trade Practices and Consumer Protection Law (“Louisiana
 6   CPL”) makes unlawful “unfair or deceptive acts or practices in the conduct of any trade or
 7   commerce.” La. Rev. Stat. Ann. § 51:1405(A). Unfair acts are those that offend established public
 8   policy, while deceptive acts are practices that amount to fraud, deceit, or misrepresentation.
 9          885.        Apple’s representations and omissions were material because they were likely to
10   deceive reasonable consumers.
11          886.        Apple intended to mislead Plaintiff and Louisiana Subclass members and induce
12   them to rely on its misrepresentations and omissions.
13          887.        Apple’s unfair and deceptive acts and practices were immoral, unethical,
14   oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and Kentucky
15   Subclass members that they could not reasonably avoid; this substantial injury outweighed any
16   benefits to consumers or to competition.
17          888.        Apple acted intentionally, knowingly, and maliciously to violate Unfair Trade
18   Practices and Consumer Protection Law, and recklessly disregarded Plaintiff and Louisiana
19   Subclass members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of
20   software to throttle phone performance, put it on notice that the Devices were not as it advertised.
21          889.        Had Apple disclosed to Plaintiff and Louisiana Subclass members that it
22   misrepresented the Devices and operating software, omitted material information regarding the
23   Defects and Battery Issues, omitted material information regarding the operating software, and was
24   otherwise engaged in deceptive, common business practices, Apple would have been unable to
25   continue in business and it would have been forced to disclose the uniform defects in its Devices.
26   Instead, Apple represented that its Devices were continually improving in speed and battery life and
27   performed better than other devices on the market. Plaintiff and the Louisiana Subclass members
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 1   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
 2   could not have discovered.
 3          890.        As a direct and proximate result of Apple’s unfair and deceptive acts and
 4   practices, Plaintiff and Louisiana Subclass members have suffered and will continue to suffer
 5   injury, ascertainable losses of money or property, and monetary and non-monetary damages,
 6   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
 7   time and expense in dealing with Device performance issues.
 8          891.        Plaintiff and Louisiana Subclass members seek all monetary and non-monetary
 9   relief allowed by law, including actual damages; treble damages for Apple’s knowing violations of
10   the Louisiana CPL; declaratory relief; attorneys’ fees; and any other relief that is just and proper.
11                         CLAIMS ON BEHALF OF THE MAINE SUBCLASS
12                                                COUNT 39
13                                 MAINE UNFAIR TRADE PRACTICES ACT,
14                                    5 Me. Rev. Stat. §§ 205, 213, et seq.
15          892.        The Maine Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
16   individually and on behalf of the Maine Subclass, repeats and alleges Paragraphs 1-472, as if fully
17   alleged herein.
18          893.        Apple is a “person” as defined by 5 Me. Stat. § 206(2).
19          894.        Apple’s conduct as alleged herein related was in the course of “trade and
20   commerce” as defined by 5 Me. Stat. § 206(3).
21          895.        Plaintiff and Maine Subclass members purchased goods and/or services for
22   personal, family, and/or household purposes.
23          896.        A demand for relief in the form substantially similar to that required by 5 Me.
24   Rev. Stat. § 213(1-A) was already sent at the commencement of this lawsuit but Apple has not
25   made a written tender of settlement or offer of judgment. Apple received supplemental notice
26   pursuant to 5 Me. Rev. Stat. § 213(1-A) concerning its wrongful conduct as alleged herein by
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 1   Plaintiff and Maine Subclass members, but this and any subsequent demand was and would be an
 2   exercise in futility.
 3           897.        Apple engaged in unfair and deceptive trade acts and practices in the conduct of
 4   trade or commerce, in violation of 5 Me. Rev. Stat. §207.
 5           898.        Apple’s representations and omissions were material because they were likely to
 6   deceive reasonable consumers.
 7           899.        Had Apple disclosed to Plaintiff and Maine Subclass members that it
 8   misrepresented the Devices and operating software, omitted material information regarding the
 9   Defects and Battery Issues, omitted material information regarding the operating software, and was
10   otherwise engaged in deceptive, common business practices, Apple would have been unable to
11   continue in business and it would have been forced to disclose the uniform defects in its Devices.
12   Instead, Apple represented that its Devices were continually improving in speed and battery life and
13   performed better than other devices on the market. Plaintiff and the Maine Subclass members acted
14   reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they could
15   not have discovered.
16           900.        As a direct and proximate result of Apple’s unfair and deceptive acts and
17   conduct, Plaintiff and Maine Subclass members have suffered and will continue to suffer injury,
18   ascertainable losses of money or property, and monetary and non-monetary damages, including
19   from not receiving the benefit of their bargain in purchasing the Devices, and increased time and
20   expense in dealing with Device performance issues.
21           901.        Plaintiff and the Maine Subclass members seek all monetary and non-monetary
22   relief allowed by law, including damages or restitution, injunctive and other equitable relief, and
23   attorneys’ fees and costs.
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 1                                                 COUNT 40
 2                        MAINE UNIFORM DECEPTIVE TRADE PRACTICES ACT,
 3                                      10 Me. Rev. Stat. §§ 1212, et seq.
 4          902.         The Maine Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 5   individually and on behalf of the Maine Subclass, repeats and alleges Paragraphs 1-472, as if fully
 6   alleged herein.
 7          903.         Apple is a “person” as defined by 10 Me. Rev. Stat. § 1211(5).
 8          904.         Apple advertised, offered, or sold goods or services in Maine and engaged in
 9   trade or commerce directly or indirectly affecting the people of Maine.
10          905.         Apple engaged in deceptive trade practices in the conduct of its business, in
11   violation of 10 Me. Rev. Stat. §1212, including: representing that goods or services have
12   characteristics that they do not have; representing that goods or services are of a particular standard,
13   quality, or grade if they are of another; advertising goods or services with intent not to sell them as
14   advertised; and engaging in other conduct that creates a likelihood of confusion or
15   misunderstanding.
16          906.         Apple’s representations and omissions were material because they were likely to
17   deceive reasonable consumers.
18          907.         Apple intended to mislead Plaintiff and Maine Subclass members and induce
19   them to rely on its misrepresentations and omissions.
20          908.         Had Apple disclosed to Plaintiff and Maine Subclass members that it
21   misrepresented the Devices and operating software, omitted material information regarding the
22   Defects and Battery Issues, omitted material information regarding the operating software, and was
23   otherwise engaged in deceptive, common business practices, Apple would have been unable to
24   continue in business and it would have been forced to disclose the uniform defects in its Devices.
25   Instead, Apple represented that its Devices were continually improving in speed and battery life and
26   performed better than other devices on the market. Plaintiff and the Maine Subclass members acted
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 1   reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they could
 2   not have discovered.
 3           909.        As a direct and proximate result of Apple’s deceptive trade practices, Plaintiff
 4   and Maine Subclass members have suffered and will continue to suffer injury, ascertainable losses
 5   of money or property, and monetary and non-monetary damages, including from not receiving the
 6   benefit of their bargain in purchasing the Devices, and increased time and expense in dealing with
 7   Device performance issues.
 8           910.        Maine Subclass members are likely to be damaged by Apple’s ongoing deceptive
 9   trade practices.
10           911.        Plaintiff and the Maine Subclass members seek all monetary and non-monetary
11   relief allowed by law, including damages or restitution, injunctive or other equitable relief, and
12   attorneys’ fees and costs.
13                      CLAIMS ON BEHALF OF THE MARYLAND SUBCLASS
14                                                 COUNT 41
15                                 MARYLAND CONSUMER PROTECTION ACT,
16                                    Md. Comm. Code §§ 13-301, et seq.
17           912.        The Maryland Plaintiff(s) identified above (“Plaintiff,” for purposes of this
18   Count), individually and on behalf of the Maryland Subclass, repeats and alleges Paragraphs 1-472,
19   as if fully alleged herein.
20           913.        Apple is a person as defined by Md. Comm. Code § 13-101(h).
21           914.        Apple’s conduct as alleged herein related to “sales,” “offers for sale,” or
22   “bailment” as defined by Md. Comm. Code § 13-101(i) and § 13-303.
23           915.        Maryland Subclass members are “consumers” as defined by Md. Comm. Code §
24   13-101(c).
25           916.        Apple advertises, offers, or sell “consumer goods” or “consumer services” as
26   defined by Md. Comm. Code § 13-101(d).
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 1          917.        Apple advertised, offered, or sold goods or services in Maryland and engaged in
 2   trade or commerce directly or indirectly affecting the people of Maryland.
 3          918.        Apple engaged in unfair and deceptive trade practices, in violation of Md.
 4   Comm. Code § 13-301, including:
 5              a. False or misleading oral or written representations that have the capacity, tendency,
 6                  or effect of deceiving or misleading consumers;
 7              b. Representing that consumer goods or services have a characteristic that they do not
 8                  have;
 9              c. Representing that consumer goods or services are of a particular standard, quality, or
10                  grade that they are not;
11              d. Failing to state a material fact where the failure deceives or tends to deceive;
12              e. Advertising or offering consumer goods or services without intent to sell, lease, or
13                  rent them as advertised or offered;
14              f. Deception, fraud, false pretense, false premise, misrepresentation, or knowing
15                  concealment, suppression, or omission of any material fact with the intent that a
16                  consumer rely on the same in connection with the promotion or sale of consumer
17                  goods or services or the subsequent performance with respect to an agreement, sale
18                  lease or rental.
19          919.        Apple engaged in these unfair and deceptive trade practices in connection with
20   offering for sale or selling consumer goods or services or with respect to the extension of consumer
21   credit, in violation of Md. Comm. Code § 13-303.
22          920.        Apple’s representations and omissions were material because they were likely to
23   deceive reasonable consumers.
24          921.        Apple intended to mislead Plaintiff and Maryland Subclass members and induce
25   them to rely on its misrepresentations and omissions.
26          922.        Had Apple disclosed to Plaintiff and Maryland Subclass members that it
27   misrepresented the Devices and operating software, omitted material information regarding the
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 1   Defects and Battery Issues, omitted material information regarding the operating software, and was
 2   otherwise engaged in deceptive, common business practices, Apple would have been unable to
 3   continue in business and it would have been forced to disclose the uniform defects in its Devices.
 4   Instead, Apple represented that its Devices were continually improving in speed and battery life and
 5   performed better than other devices on the market. Plaintiff and the Maryland Subclass members
 6   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
 7   could not have discovered.
 8            923.       Apple acted intentionally, knowingly, and maliciously to violate Maryland’s
 9   Consumer Protection Act, and recklessly disregarded Plaintiff and Maryland Subclass members’
10   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
11   phone performance, put it on notice that the Devices were not as it advertised.
12            924.       As a direct and proximate result of Apple’s unfair and deceptive acts and
13   practices, Plaintiff and Maryland Subclass members have suffered and will continue to suffer
14   injury, ascertainable losses of money or property, and monetary and non-monetary damages,
15   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
16   time and expense in dealing with Device performance issues.
17            925.       Plaintiff and Maryland Subclass members seek all monetary and non-monetary
18   relief allowed by law, including damages, disgorgement, injunctive relief, and attorneys’ fees and
19   costs.
20                   CLAIMS ON BEHALF OF THE MASSACHUSETTS SUBCLASS
21                                                 COUNT 42
22                           MASSACHUSETTS CONSUMER PROTECTION ACT,
23                                Mass. Gen. Laws Ann. Ch. 93A, §§ 1, et seq.
24            926.       The Massachusetts Plaintiff(s) identified above (“Plaintiff,” for purposes of this
25   Count), individually and on behalf of the Massachusetts Subclass, repeats and alleges Paragraphs 1-
26   472, as if fully alleged herein.
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 1             927.     Apple and Massachusetts Subclass members are “persons” as meant by Mass.
 2   Gen. Laws. Ann. Ch. 93A, § 1(a).
 3             928.     Apple operates in “trade or commerce” as meant by Mass. Gen. Laws Ann. Ch.
 4   93A, § 1(b).
 5             929.     Apple advertised, offered, or sold goods or services in Massachusetts and
 6   engaged in trade or commerce directly or indirectly affecting the people of Massachusetts, as
 7   defined by Mass. Gen. Laws Ann. Ch. 93A, § 1(b).
 8             930.     Demand for relief in a form substantially similar to that required by Mass. Gen.
 9   Laws Ann. Ch. 93A § 9(3) was sent to Apple upon the commencement of the original lawsuit in
10   this matter; however, Apple did not remedy its unfair and deceptive acts and practices, nor did it
11   offer relief to the class members by way of settlement or judgment. Apple received supplemental
12   notice pursuant to Mass. Gen. Laws Ch. 93A § 9(3) concerning its wrongful conduct as alleged
13   herein by Plaintiff and Massachusetts Subclass members, but this and any additional demand are
14   and would be futile.
15             931.     Apple engaged in unfair methods of competition and unfair and deceptive acts
16   and practices in the conduct of trade or commerce, in violation of Mass. Gen. Laws Ann. Ch. 93A,
17   § 2(a).
18             932.     Apple’s acts and practices were “unfair” because they fall within the penumbra
19   of common law, statutory, and established concepts of unfairness, given that Apple solely held the
20   true facts about its defective Devices and throttling software.
21             933.     Consumers could not have reasonably avoided injury because Apple’s business
22   acts and practices unreasonably created or took advantage of an obstacle to the free exercise of
23   consumer decision-making. By withholding important information from consumers about the
24   defects in its Devices and the subsequent implementation of operating software meant to throttle
25   device performance in light of those defects, Apple created an asymmetry of information between it
26   and consumers that precluded consumers from taking action to avoid or mitigate injury.
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 1           934.        Apple’s practices, omissions, and misrepresentations had no countervailing
 2   benefit to consumers or to competition.
 3           935.        Apple intended to mislead Plaintiff and Massachusetts Subclass members and
 4   induce them to rely on its misrepresentations and omissions. Apple’s representations and omissions
 5   were material because they were likely to deceive reasonable consumers.
 6           936.        Apple acted intentionally, knowingly, and maliciously to violate Massachusetts’s
 7   Consumer Protection Act, and recklessly disregarded Plaintiff and Massachusetts Subclass
 8   members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of software
 9   to throttle phone performance, put it on notice that the Devices were not as it advertised.
10           937.        As a direct and proximate result of Apple’s unfair and deceptive practices,
11   Plaintiff and Massachusetts Subclass members have suffered and will continue to suffer injury,
12   ascertainable losses of money or property, and monetary and non-monetary damages, including
13   from not receiving the benefit of their bargain in purchasing the Devices, and increased time and
14   expense in dealing with Device performance issues.
15           938.        Plaintiff and Massachusetts Subclass members seek all monetary and non-
16   monetary relief allowed by law, including actual damages, double or treble damages, injunctive or
17   other equitable relief, and attorneys’ fees and costs.
18                       CLAIMS ON BEHALF OF THE MICHIGAN SUBCLASS
19                                                 COUNT 43
20                                 MICHIGAN CONSUMER PROTECTION ACT,
21                                 Mich. Comp. Laws Ann. §§ 445.903, et seq.
22           939.        The Michigan Plaintiff(s) identified above (“Plaintiff,” for purposes of this
23   Count), individually and on behalf of the Michigan Subclass, repeats and alleges Paragraphs 1-472,
24   as if fully alleged herein.
25           940.        Apple and Michigan Subclass members are “persons” as defined by Mich.
26   Comp. Laws Ann. § 445.903(d).
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 1          941.        Apple advertised, offered, or sold goods or services in Michigan and engaged in
 2   trade or commerce directly or indirectly affecting the people of Michigan, as defined by Mich.
 3   Comp. Laws Ann. § 445.903(g).
 4          942.        Apple engaged in unfair, unconscionable, and deceptive practices in the conduct
 5   of trade and commerce, in violation of Mich. Comp. Laws Ann. § 445.903(1), including:
 6              a. Representing that its goods and services have characteristics, uses, and benefits that
 7                  they do not have, in violation of Mich. Comp. Laws Ann. § 445.903(1)(c);
 8              b. Representing that its goods and services are of a particular standard or quality if they
 9                  are of another in violation of Mich. Comp. Laws Ann. § 445.903(1)(e);
10              c. Making a representation or statement of fact material to the transaction such that a
11                  person reasonably believes the represented or suggested state of affairs to be other
12                  than it actually is, in violation of Mich. Comp. Laws Ann. § 445.903(1)(bb); and
13              d. Failing to reveal facts that are material to the transaction in light of representations
14                  of fact made in a positive matter, in violation of Mich. Comp. Laws Ann. §
15                  445.903(1)(cc).
16          943.        Apple’s representations and omissions were material because they were likely to
17   deceive reasonable consumers.
18          944.        Apple intended to mislead Plaintiff and Michigan Subclass members and induce
19   them to rely on its misrepresentations and omissions.
20          945.        Apple acted intentionally, knowingly, and maliciously to violate Michigan’s
21   Consumer Protection Act, and recklessly disregarded Plaintiff and Michigan Subclass members’
22   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
23   phone performance, put it on notice that the Devices were not as it advertised.
24          946.        As a direct and proximate result of Apple’s unfair, unconscionable, and
25   deceptive practices, Plaintiff and Michigan Subclass members have suffered and will continue to
26   suffer injury, ascertainable losses of money or property, and monetary and non-monetary damages,
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 1   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
 2   time and expense in dealing with Device performance issues.
 3           947.        Plaintiff and Michigan Subclass members seek all monetary and non-monetary
 4   relief allowed by law, including the greater of actual damages or $250, injunctive relief, and any
 5   other relief that is just and proper.
 6                      CLAIMS ON BEHALF OF THE MINNESOTA SUBCLASS
 7                                                 COUNT 44
 8                                      MINNESOTA CONSUMER FRAUD ACT,
 9                       Minn. Stat. §§ 325F.68, et seq. and Minn. Stat. §§ 8.31, et seq.
10           948.        The Minnesota Plaintiff(s) identified above (“Plaintiff,” for purposes of this
11   Count), individually and on behalf of the Minnesota Subclass, repeats and alleges Paragraphs 1-
12   472, as if fully alleged herein.
13           949.        Apple, Plaintiff, and members of the Minnesota Subclass are each a “person” as
14   defined by Minn. Stat. § 325F.68(3).
15           950.        Apple goods, services, commodities, and intangibles are “merchandise” as
16   defined by Minn. Stat. § 325F.68(2).
17           951.        Apple engaged in “sales” as defined by Minn. Stat. § 325F.68(4).
18           952.        Apple engaged in fraud, false pretense, false promise, misrepresentation,
19   misleading statements, and deceptive practices in connection with the sale of merchandise, in
20   violation of Minn. Stat. § 325F.69(1), as described herein.
21           953.        Apple’s representations and omissions were material because they were likely to
22   deceive reasonable consumers.
23           954.        Apple intended to mislead Plaintiff and Minnesota Subclass members and induce
24   them to rely on its misrepresentations and omissions.
25           955.        Apple’s fraudulent, misleading, and deceptive practices affected the public
26   interest, including millions of Minnesotans who purchased and/or used Apple’s Devices.
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 1           956.        As a direct and proximate result of Apple’s fraudulent, misleading, and deceptive
 2   practices, Plaintiff and Minnesota Subclass members have suffered and will continue to suffer
 3   injury, ascertainable losses of money or property, and monetary and non-monetary damages,
 4   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
 5   time and expense in dealing with Device performance issues.
 6           957.        Plaintiff and Minnesota Subclass members seek all monetary and non-monetary
 7   relief allowed by law, including damages, injunctive or other equitable relief, and attorneys’ fees,
 8   disbursements, and costs.
 9                                                 COUNT 45
10                    MINNESOTA UNIFORM DECEPTIVE TRADE PRACTICES ACT,
11                                        Minn. Stat. §§ 325D.43, et seq.
12           958.        The Minnesota Plaintiff(s) identified above (“Plaintiff,” for purposes of this
13   Count), individually and on behalf of the Minnesota Subclass, repeats and alleges Paragraphs 1-
14   472, as if fully alleged herein.
15           959.        By engaging in deceptive trade practices in the course of its business and
16   vocation, directly or indirectly affecting the people of Minnesota, Apple violated Minn. Stat. §
17   325D.44, including the following provisions: representing that its goods and services had
18   characteristics, uses, and benefits that they did not have, in violation of Minn. Stat. §
19   325D.44(1)(5); representing that goods and services are of a particular standard or quality when
20   they are of another, in violation of Minn. Stat. § 325D.44(1)(7); advertising goods and services with
21   intent not to sell them as advertised, in violation of Minn. Stat. § 325D.44(1)(9); and engaging in
22   other conduct which similarly creates a likelihood of confusion or misunderstanding, in violation of
23   Minn. Stat. § 325D.44(1)(13).
24           960.        Apple’s representations and omissions were material because they were likely to
25   deceive reasonable consumers.
26           961.        Apple intended to mislead Plaintiff and Minnesota Subclass members and induce
27   them to rely on its misrepresentations and omissions.
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 1           962.        Had Apple disclosed to Plaintiff and Minnesota Subclass members that it
 2   misrepresented the Devices and operating software, omitted material information regarding the
 3   Defects and Battery Issues, omitted material information regarding the operating software, and was
 4   otherwise engaged in deceptive, common business practices, Apple would have been unable to
 5   continue in business and it would have been forced to disclose the uniform defects in its Devices.
 6   Instead, Apple represented that its Devices were continually improving in speed and battery life and
 7   performed better than other devices on the market. Plaintiff and the Minnesota Subclass members
 8   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
 9   could not have discovered.
10           963.        Apple acted intentionally, knowingly, and maliciously to violate Minnesota’s
11   Uniform Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Minnesota
12   Subclass members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of
13   software to throttle phone performance, put it on notice that the Devices were not as it advertised.
14           964.        As a direct and proximate result of Apple’s deceptive trade practices, Plaintiff
15   and Minnesota Subclass members have suffered and will continue to suffer injury, ascertainable
16   losses of money or property, and monetary and non-monetary damages, including from not
17   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
18   dealing with Device performance issues.
19           965.        Plaintiff and Minnesota Subclass members seek all monetary and non-monetary
20   relief allowed by law, including injunctive relief and attorneys’ fees and costs.
21                      CLAIMS ON BEHALF OF THE MISSISSIPPI SUBCLASS
22                                                 COUNT 46
23                                MISSISSIPPI CONSUMER PROTECTION ACT,
24                                        Miss. Code §§ 75-24-1, et seq.
25           966.        The Mississippi Plaintiff(s) identified above (“Plaintiff,” for purposes of this
26   Count), individually and on behalf of the Mississippi Subclass, repeats and alleges Paragraphs 1-
27   472, as if fully alleged herein.
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 1          967.        Apple is a “person,” as defined by Miss. Code § 75-24-3.
 2          968.        Apple advertised, offered, or sold goods or services in Mississippi and engaged
 3   in trade or commerce directly or indirectly affecting the people of Mississippi, as defined by Miss.
 4   Code § 75-24-3.
 5          969.        Prior to filing suit, Plaintiff made reasonable attempts to resolve Plaintiff’s
 6   claims via informal dispute resolution processes; however, such processes were unsuccessful.
 7          970.        The above-described conduct violated Miss. Code Ann. § 75-24-5(2), including:
 8   representing that goods or services have sponsorship, approval, characteristics, ingredients, uses,
 9   benefits, or quantities that they do not have; representing that goods or services are of a particular
10   standard, quality, or grade, or that goods are of a particular style or model, if they are of another;
11   and advertising goods or services with intent not to sell them as advertised.
12          971.        Apple intended to mislead Plaintiff and Mississippi Subclass members and
13   induce them to rely on its misrepresentations and omissions.
14          972.        Apple’s representations and omissions were material because they were likely to
15   deceive reasonable consumers.
16          973.        Had Apple disclosed to Plaintiff and Mississippi Subclass members that it
17   misrepresented the Devices and operating software, omitted material information regarding the
18   Defects and Battery Issues, omitted material information regarding the operating software, and was
19   otherwise engaged in deceptive, common business practices, Apple would have been unable to
20   continue in business and it would have been forced to disclose the uniform defects in its Devices.
21   Instead, Apple represented that its Devices were continually improving in speed and battery life and
22   performed better than other devices on the market. Plaintiff and the Mississippi Subclass members
23   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
24   could not have discovered.
25          974.        Apple had a duty to disclose the above-described facts due to the circumstances
26   of this case. Apple’s duty to disclose arose from its: possession of exclusive knowledge regarding
27   the defects in its Devices; possession of exclusive knowledge regarding the operating software it
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 1   developed to throttle performance in its Devices as a result of the defects; active concealment of the
 2   defects in its Devices and purpose of the throttling operating software; and incomplete
 3   representations about its Devices, Device performance, battery life of Devices, and the throttling
 4   software.
 5           975.        Apple acted intentionally, knowingly, and maliciously to violate Mississippi’s
 6   Consumer Protection Act, and recklessly disregarded Plaintiff and Mississippi Subclass members’
 7   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
 8   phone performance, put it on notice that the Devices were not as it advertised.
 9           976.        As a direct and proximate result of Apple’s unfair and deceptive acts or practices
10   and Plaintiff and Mississippi Subclass members’ purchase of goods or services primarily for
11   personal, family, or household purposes, Plaintiff and Mississippi Subclass members have suffered
12   and will continue to suffer injury, ascertainable losses of money or property, and monetary and non-
13   monetary damages, including from not receiving the benefit of their bargain in purchasing the
14   Devices, and increased time and expense in dealing with Device performance issues.
15           977.        Apple’s violations present a continuing risk to Plaintiff and Mississippi Subclass
16   members as well as to the general public as, inter alia, its omissions and misrepresentations have
17   not been corrected.
18           978.        Plaintiff and Mississippi Subclass members seek all monetary and non-monetary
19   relief allowed by law, including actual damages, restitution and other relief under Miss. Code § 75-
20   24-11, injunctive relief, punitive damages, and reasonable attorneys’ fees and costs.
21                         CLAIMS ON BEHALF OF THE MISSOURI SUBCLASS
22                                                 COUNT 47
23                                 MISSOURI MERCHANDISE PRACTICES ACT,
24                                      Mo. Rev. Stat. §§ 407.010, et seq.
25           979.        The Missouri Plaintiff(s) identified above (“Plaintiff,” for purposes of this
26   Count), individually and on behalf of the Missouri Subclass, repeats and alleges Paragraphs 1-472,
27   as if fully alleged herein.
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 1          980.        Apple is a “person” as defined by Mo. Rev. Stat. § 407.010(5).
 2          981.        Apple advertised, offered, or sold goods or services in Missouri and engaged in
 3   trade or commerce directly or indirectly affecting the people of Missouri, as defined by Mo. Rev.
 4   Stat. § 407.010(4), (6) and (7).
 5          982.        Plaintiff and Missouri Subclass members purchased or leased goods or services
 6   primarily for personal, family, or household purposes.
 7          983.        Apple engaged in unlawful, unfair, and deceptive acts and practices, in
 8   connection with the sale or advertisement of merchandise in trade or commerce, in violation of Mo.
 9   Rev. Stat. § 407.020(1), as described herein.
10          984.        Apple’s representations and omissions were material because they were likely to
11   deceive reasonable consumers.
12          985.        Apple intended to mislead Plaintiff and Missouri Subclass members and induce
13   them to rely on its misrepresentations and omissions.
14          986.        Apple acted intentionally, knowingly, and maliciously to violate Missouri’s
15   Merchandise Practices Act, and recklessly disregarded Plaintiff and Missouri Subclass members’
16   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
17   phone performance, put it on notice that the Devices were not as it advertised.
18          987.        As a direct and proximate result of Apple’s unlawful, unfair, and deceptive acts
19   and practices, Plaintiff and Missouri Subclass members have suffered and will continue to suffer
20   injury, ascertainable losses of money or property, and monetary and non-monetary damages,
21   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
22   time and expense in dealing with Device performance issues.
23          988.        Plaintiff and Missouri Subclass members seek all monetary and non-monetary
24   relief allowed by law, including actual damages, punitive damages, attorneys’ fees and costs,
25   injunctive relief, and any other appropriate relief.
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 1                       CLAIMS ON BEHALF OF THE MONTANA SUBCLASS
 2                                                COUNT 48
 3                       MONTANA UNFAIR TRADE PRACTICES AND CONSUMER
 4                                               PROTECTION ACT,
 5                                        M.C.A. §§ 30-14-101, et seq.
 6           989.        The Montana Plaintiff(s) identified above (“Plaintiff,” for purposes of this
 7   Count), individually and on behalf of the Montana Subclass, repeats and alleges Paragraphs 1-472,
 8   as if fully alleged herein.
 9           990.        Apple is a “person” as defined by MCA § 30-14-102(6).
10           991.        Plaintiff and Montana Subclass members are “consumers” as defined by M.C.A.
11   § 30-14-102(1).
12           992.        Apple advertised, offered, or sold goods or services in Montana and engaged in
13   trade or commerce directly or indirectly affecting the people of Montana, as defined by M.C.A. §
14   30-14-102(8).
15           993.        Apple engaged in unfair and deceptive acts and practices in the conduct of trade
16   or commerce, in violation M.C.A. § 30-14-103, as described herein.
17           994.        Apple’s representations and omissions were material because they were likely to
18   deceive reasonable consumers.
19           995.        Had Apple disclosed to Plaintiff and Montana class members that it
20   misrepresented the Devices and operating software, omitted material information regarding the
21   Defects and Battery Issues, omitted material information regarding the operating software, and was
22   otherwise engaged in deceptive, common business practices, Apple would have been unable to
23   continue in business and it would have been forced to disclose the uniform defects in its Devices.
24   Instead, Apple represented that its Devices were continually improving in speed and battery life and
25   performed better than other devices on the market. Plaintiff and the Montana Subclass members
26   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
27   could not have discovered.
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 1           996.        Apple’s acts described above are unfair and offend public policy; they are
 2   immoral, unethical, oppressive, unscrupulous, and substantially injurious to consumers.
 3           997.        Apple acted intentionally, knowingly, and maliciously to violate Montana’s
 4   Unfair Trade Practices and Consumer Protection Act, and recklessly disregarded Plaintiff and
 5   Montana Subclass members’ rights. Apple’s knowledge of the Devices’ performance issues, and
 6   release of software to throttle phone performance, put it on notice that the Devices were not as it
 7   advertised.
 8           998.        As a direct and proximate result of Apple’s unfair methods of competition and
 9   unfair and deceptive acts and practices in the conduct of trade or commerce, Plaintiff and Montana
10   Subclass members have suffered and will continue to suffer injury, ascertainable losses of money or
11   property, and monetary and non-monetary damages, including from not receiving the benefit of
12   their bargain in purchasing the Devices, and increased time and expense in dealing with Device
13   performance issues.
14           999.        Plaintiff and Montana Subclass members seek all monetary and non-monetary
15   relief allowed by law, including the greater of (a) actual damages or (b) statutory damages of $500,
16   treble damages, restitution, attorneys’ fees and costs, injunctive relief, and other relief that the Court
17   deems appropriate.
18                       CLAIMS ON BEHALF OF THE NEBRASKA SUBCLASS
19                                                 COUNT 49
20                                 NEBRASKA CONSUMER PROTECTION ACT,
21                                     Neb. Rev. Stat. §§ 59-1601, et seq.
22           1000.       The Nebraska Plaintiff(s) identified above (“Plaintiff,” for purposes of this
23   Count), individually and on behalf of the Nebraska Subclass, repeats and alleges Paragraphs 1-472,
24   as if fully alleged herein.
25           1001.       Apple and Nebraska Subclass members are each a “person” as defined by Neb.
26   Rev. Stat. § 59-1601(1).
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 1           1002.       Apple advertised, offered, or sold goods or services in Nebraska and engaged in
 2   trade or commerce directly or indirectly affecting the people of Nebraska, as defined by Neb. Rev.
 3   Stat. § 59-1601.
 4           1003.       Apple engaged in unfair and deceptive acts and practices in conducting trade and
 5   commerce, in violation of Neb. Rev. Stat. § 59-1602, as described herein.
 6           1004.       Apple’s representations and omissions were material because they were likely to
 7   deceive reasonable consumers.
 8           1005.       As a direct and proximate result of Apple’s unfair and deceptive acts and
 9   practices, Plaintiff and Nebraska Subclass members have suffered and will continue to suffer injury,
10   ascertainable losses of money or property, and monetary and non-monetary damages, including
11   from not receiving the benefit of their bargain in purchasing the Devices, and increased time and
12   expense in dealing with Device performance issues.
13           1006.       Apple’s unfair and deceptive acts and practices complained of herein affected the
14   public interest, including the large percentage of Nebraskans who have purchased and/or used
15   Apple Devices.
16           1007.       Plaintiff and Nebraska Subclass members seek all monetary and non-monetary
17   relief allowed by law, including injunctive relief, the greater of either (1) actual damages or (2)
18   $1,000, civil penalties, and reasonable attorneys’ fees and costs.
19                                                 COUNT 50
20                      NEBRASKA UNIFORM DECEPTIVE TRADE PRACTICES ACT,
21                                      Neb. Rev. Stat. §§ 87-301, et seq.
22           1008.       The Nebraska Plaintiff(s) identified above (“Plaintiff,” for purposes of this
23   Count), individually and on behalf of the Nebraska Subclass, repeats and alleges Paragraphs 1-472,
24   as if fully alleged herein.
25           1009.       Apple and Nebraska Subclass members are “persons” as defined by Neb. Rev.
26   Stat. § 87-301(19).
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 1          1010.       Apple advertised, offered, or sold goods or services in Nebraska and engaged in
 2   trade or commerce directly or indirectly affecting the people of Nebraska.
 3          1011.       Apple engaged in deceptive trade practices in the course of its business, in
 4   violation of Neb. Rev. Stat. §§ 87-302(a)(5), (8), and (10), including: represented that goods and
 5   services have characteristics, uses, benefits, or qualities that they do not have; represented that
 6   goods and services are of a particular standard, quality, or grade if they are of another; and
 7   advertised its goods and services with intent not to sell them as advertised and in a manner
 8   calculated or tending to mislead or deceive.
 9          1012.       Apple’s representations and omissions were material because they were likely to
10   deceive reasonable consumers.
11          1013.       Apple intended to mislead Plaintiff and Nebraska Subclass members and induce
12   them to rely on its misrepresentations and omissions.
13          1014.       Had Apple disclosed to Plaintiff and Nebraska Subclass members that it
14   misrepresented the Devices and operating software, omitted material information regarding the
15   Defects and Battery Issues, omitted material information regarding the operating software, and was
16   otherwise engaged in deceptive, common business practices, Apple would have been unable to
17   continue in business and it would have been forced to disclose the uniform defects in its Devices.
18   Instead, Apple represented that its Devices were continually improving in speed and battery life and
19   performed better than other devices on the market. Plaintiff and the Nebraska Subclass members
20   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
21   could not have discovered.
22          1015.       Apple acted intentionally, knowingly, and maliciously to violate Nebraska’s
23   Uniform Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Nebraska Subclass
24   members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of software
25   to throttle phone performance, put it on notice that the Devices were not as it advertised.
26          1016.       As a direct and proximate result of Apple’s deceptive trade practices, Plaintiff
27   and Nebraska Subclass members have suffered and will continue to suffer injury, ascertainable
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 1   losses of money or property, and monetary and non-monetary damages, including from not
 2   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
 3   dealing with Device performance issues.
 4          1017.         Apple’s deceptive trade practices complained of herein affected consumers at
 5   large, including the large percentage of Nebraskans who purchased and/or used Apple Devices.
 6          1018.         Plaintiff and Nebraska Subclass members seek all monetary and non-monetary
 7   relief allowed by law, including injunctive relief, other equitable relief, civil penalties, and
 8   attorneys’ fees and costs.
 9                          CLAIMS ON BEHALF OF THE NEVADA SUBCLASS
10                                                  COUNT 51
11                                NEVADA DECEPTIVE TRADE PRACTICES ACT,
12                                    Nev. Rev. Stat. Ann. §§ 598.0903, et seq.
13          1019.         The Nevada Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
14   individually and on behalf of the Nevada Subclass, repeats and alleges Paragraphs 1-472, as if fully
15   alleged herein.
16          1020.         Apple advertised, offered, or sold goods or services in Nevada and engaged in
17   trade or commerce directly or indirectly affecting the people of Nevada.
18          1021.         Apple engaged in deceptive trade practices in the course of its business or
19   occupation, in violation of Nev. Rev. Stat. §§ 598.0915 and 598.0923, including:
20              a. Knowingly making a false representation as to the characteristics, uses, and benefits
21                     of goods or services for sale in violation of Nev. Rev. Stat. § 598.0915(5);
22              b. Representing that goods or services for sale are of a particular standard, quality, or
23                     grade when Apple knew or should have known that they are of another standard,
24                     quality, or grade in violation of Nev. Rev. Stat. § 598.0915(7);
25              c. Advertising goods or services with intent not to sell them as advertised in violation
26                     of Nev. Rev. Stat § 598.0915(9);
27              d. Failing to disclose a material fact in connection with the sale of goods or services in
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 1                  violation of Nev. Rev. Stat. § 598.0923(A)(2); and
 2              e. Violating state and federal statutes or regulations relating to the sale of goods or
 3                  services in violation of Nev. Rev. Stat. § 598.0923(A)(3).
 4          1022.       Apple’s representations and omissions were material because they were likely to
 5   deceive reasonable consumers.
 6          1023.       Had Apple disclosed to Plaintiff and Nevada Subclass members that it
 7   misrepresented the Devices and operating software, omitted material information regarding the
 8   Defects and Battery Issues, omitted material information regarding the operating software, and was
 9   otherwise engaged in deceptive, common business practices, Apple would have been unable to
10   continue in business and it would have been forced to disclose the uniform defects in its Devices.
11   Instead, Apple represented that its Devices were continually improving in speed and battery life and
12   performed better than other devices on the market. Plaintiff and the Nevada Subclass members
13   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
14   could not have discovered.
15          1024.       Apple acted intentionally, knowingly, and maliciously to violate Nevada’s
16   Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Nevada Subclass members’
17   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
18   phone performance, put it on notice that the Devices were not as it advertised.
19          1025.       As a direct and proximate result of Apple’s deceptive trade practices, Plaintiff
20   and Nevada Subclass members have suffered and will continue to suffer injury, ascertainable losses
21   of money or property, and monetary and non-monetary damages, including from not receiving the
22   benefit of their bargain in purchasing the Devices, and increased time and expense in dealing with
23   Device performance issues.
24          1026.       Plaintiff and Nevada Subclass members seek all monetary and non-monetary
25   relief allowed by law, including damages, punitive damages, and attorneys’ fees and costs.
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 1                  CLAIMS ON BEHALF OF THE NEW HAMPSHIRE SUBCLASS
 2                                                   COUNT 52
 3                           NEW HAMPSHIRE CONSUMER PROTECTION ACT,
 4                                        N.H.R.S.A. §§ 358-A, et seq.
 5          1027.       The New Hampshire Plaintiff(s) identified above (“Plaintiff,” for purposes of
 6   this Count), individually and on behalf of the New Hampshire Subclass, repeats and alleges
 7   Paragraphs 1-472, as if fully alleged herein.
 8          1028.       Apple is a “person” under the New Hampshire Consumer Protection statute.
 9          1029.       Apple advertised, offered, or sold goods or services in New Hampshire and
10   engaged in trade or commerce directly or indirectly affecting the people of New Hampshire, as
11   defined by N.H.R.S.A. § 358-A:1.
12          1030.       Apple engaged in unfair and deceptive acts or practices in the ordinary conduct
13   of its trade or business, in violation of N.H.R.S.A. § 358-A:2, including:
14              a. Representing that its goods or services have characteristics, uses, or benefits that
15                  they do not have in violation of N.H.R.S.A. § 358-A:2.V;
16              b. Representing that its goods or services are of a particular standard or quality if they
17                  are of another in violation of N.H.R.S.A. § 358-A:2.VII; and
18              c. Advertising its goods or services with intent not to sell them as advertised in
19                  violation of N.H.R.S.A. § 358-A:2.IX.
20          1031.       Apple’s representations and omissions were material because they were likely to
21   deceive reasonable consumers.
22          1032.       Apple acted intentionally, knowingly, and maliciously to violate New
23   Hampshire’s Consumer Protection Act, and recklessly disregarded Plaintiff and New Hampshire
24   Subclass members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of
25   software to throttle phone performance, put it on notice that the Devices were not as it advertised.
26   Apple’s acts and practices went beyond the realm of strictly private transactions.
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 1           1033.       As a direct and proximate result of Apple’s unfair and deceptive acts and
 2   practices, Plaintiff and New Hampshire Subclass members have suffered and will continue to suffer
 3   injury, ascertainable losses of money or property, and monetary and non-monetary damages,
 4   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
 5   time and expense in dealing with Device performance issues.
 6           1034.       Plaintiff and New Hampshire Subclass members seek all monetary and non-
 7   monetary relief allowed by law, including actual damages, punitive damages, equitable relief
 8   (including injunctive relief), restitution, civil penalties, and attorneys’ fees and costs.
 9                     CLAIMS ON BEHALF OF THE NEW JERSEY SUBCLASS
10                                                  COUNT 53
11                                      NEW JERSEY CONSUMER FRAUD ACT,
12                                        N.J. Stat. Ann. §§ 56:8-1, et seq.
13           1035.       The New Jersey Plaintiff(s) identified above (“Plaintiff,” for purposes of this
14   Count), individually and on behalf of the New Jersey Subclass, repeats and alleges Paragraphs 1-
15   472, as if fully alleged herein.
16           1036.       Apple is a “person,” as defined by N.J. Stat. Ann. § 56:8-1(d).
17           1037.       Apple sells “merchandise,” as defined by N.J. Stat. Ann. § 56:8-1(c) & (e).
18           1038.       The New Jersey Consumer Fraud Act, N.J. Stat. §§ 56:8-1, et seq., prohibits
19   unconscionable commercial practices, deception, fraud, false pretense, false promise,
20   misrepresentation, as well as the knowing concealment, suppression, or omission of any material
21   fact with the intent that others rely on the concealment, omission, or fact, in connection with the
22   sale or advertisement of any merchandise.
23           1039.       Apple’s representations and omissions were material because they were likely to
24   deceive reasonable consumers.
25           1040.       Apple intended to mislead Plaintiff and New Jersey Subclass members and
26   induce them to rely on its misrepresentations and omissions.
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 1           1041.       Apple acted intentionally, knowingly, and maliciously to violate New Jersey’s
 2   Consumer Fraud Act, and recklessly disregarded Plaintiff and New Jersey Subclass members’
 3   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
 4   phone performance, put it on notice that the Devices were not as it advertised.
 5           1042.       As a direct and proximate result of Apple’s unconscionable and deceptive
 6   practices, Plaintiff and New Jersey Subclass members have suffered and will continue to suffer
 7   injury, ascertainable losses of money or property, and monetary and non-monetary damages,
 8   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
 9   time and expense in dealing with Device performance issues.
10           1043.       Plaintiff and New Jersey Subclass members seek all monetary and non-monetary
11   relief allowed by law, including injunctive relief, other equitable relief, actual damages, treble
12   damages, restitution, and attorneys’ fees, filing fees, and costs.
13                     CLAIMS ON BEHALF OF THE NEW MEXICO SUBCLASS
14                                                 COUNT 54
15                                  NEW MEXICO UNFAIR PRACTICES ACT,
16                                      N.M. Stat. Ann. §§ 57-12-2, et seq.
17           1044.       The New Mexico Plaintiff(s) identified above (“Plaintiff,” for purposes of this
18   Count), individually and on behalf of the New Mexico Subclass, repeats and alleges Paragraphs 1-
19   472, as if fully alleged herein.
20           1045.       Apple is a “person” as meant by N.M. Stat. Ann. § 57-12-2.
21           1046.       Apple was engaged in “trade” and “commerce” as meant by N.M. Stat. Ann. §
22   57-12-2(C) when engaging in the conduct alleged.
23           1047.       The New Mexico Unfair Practices Act, N.M. Stat. Ann. §§ 57-12-2, et seq.,
24   prohibits both unfair or deceptive trade practices and unconscionable trade practices in the conduct
25   of any trade or commerce.
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 1          1048.       Apple engaged in unconscionable, unfair, and deceptive acts and practices in
 2   connection with the sale of goods or services in the regular course of its trade or commerce,
 3   including the following:
 4              a. Knowingly representing that its goods and services have characteristics, benefits, or
 5                  qualities that they do not have, in violation of N.M. Stat. Ann. § 57-12-2(D)(5);
 6              b. Knowingly representing that its goods and services are of a particular standard or
 7                  quality when they are of another in violation of N.M. Stat. Ann. § 57-12-2(D)(7);
 8              c. Knowingly using exaggeration, innuendo, or ambiguity as to a material fact or
 9                  failing to state a material fact where doing so deceives or tends to deceive in
10                  violation of N.M. Stat. Ann. § 57-12-2(D)(14);
11              d. Taking advantage of the lack of knowledge, experience, or capacity of its consumers
12                  to a grossly unfair degree to Plaintiff’s and the New Mexico Subclass’ detriment in
13                  violation of N.M. Stat. Ann. § 57-2-12(E)(1); and
14              e. Performing these acts and practices in a way that results in a gross disparity between
15                  the value received by Plaintiff and the New Mexico Subclass and the price paid, to
16                  their detriment, in violation of N.M. Stat. § 57-2-12(E)(2).
17          1049.       Apple’s representations and omissions were material because they were likely to
18   deceive reasonable consumers.
19          1050.       Apple intended to mislead Plaintiff and New Mexico Subclass members and
20   induce them to rely on its misrepresentations and omissions.
21          1051.       Apple acted intentionally, knowingly, and maliciously to violate New Mexico’s
22   Unfair Practices Act, and recklessly disregarded Plaintiff and New Mexico Subclass members’
23   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
24   phone performance, put it on notice that the Devices were not as it advertised.
25          1052.       As a direct and proximate result of Apple’s unfair, deceptive, and
26   unconscionable trade practices, Plaintiff and New Mexico Subclass members have suffered and will
27   continue to suffer injury, ascertainable losses of money or property, and monetary and non-
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 1   monetary damages, including from not receiving the benefit of their bargain in purchasing the
 2   Devices, and increased time and expense in dealing with Device performance issues.
 3             1053.     Plaintiff and New Mexico Subclass members seek all monetary and non-
 4   monetary relief allowed by law, including injunctive relief, actual damages or statutory damages of
 5   $100 (whichever is greater), treble damages or statutory damages of $300 (whichever is greater),
 6   and reasonable attorneys’ fees and costs.
 7                      CLAIMS ON BEHALF OF THE NEW YORK SUBCLASS
 8                                                  COUNT 55
 9                                      NEW YORK GENERAL BUSINESS LAW,
10                                       N.Y. Gen. Bus. Law §§ 349, et seq.
11             1054.     The New York Plaintiff(s) identified above (“Plaintiff,” for purposes of this
12   Count), individually and on behalf of the New York Subclass, repeats and alleges Paragraphs 1-
13   472, as if fully alleged herein.
14             1055.     Apple engaged in deceptive acts or practices in the conduct of its business, trade,
15   and commerce or furnishing of services, in violation of N.Y. Gen. Bus. Law § 349, as described
16   herein.
17             1056.     Apple’s representations and omissions were material because they were likely to
18   deceive reasonable consumers.
19             1057.     Apple acted intentionally, knowingly, and maliciously to violate New York’s
20   General Business Law, and recklessly disregarded Plaintiff and New York Subclass members’
21   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
22   phone performance, put it on notice that the Devices were not as it advertised.
23             1058.     As a direct and proximate result of Apple’s deceptive and unlawful acts and
24   practices, Plaintiff and New York Subclass members have suffered and will continue to suffer
25   injury, ascertainable losses of money or property, and monetary and non-monetary damages,
26   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
27   time and expense in dealing with Device performance issues.
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 1          1059.       Apple’s deceptive and unlawful acts and practices complained of herein affected
 2   the public interest and consumers at large, including the millions of New Yorkers who purchased
 3   and/or used Apple’s Devices.
 4          1060.       The above deceptive and unlawful practices and acts by Apple caused substantial
 5   injury to Plaintiff and New York Subclass members that they could not reasonably avoid.
 6          1061.       Plaintiff and New York Subclass members seek all monetary and non-monetary
 7   relief allowed by law, including actual damages or statutory damages of $50 (whichever is greater),
 8   treble damages, injunctive relief, and attorney’s fees and costs.
 9                  CLAIMS ON BEHALF OF THE NORTH CAROLINA SUBCLASS
10                                                 COUNT 56
11                         NORTH CAROLINA UNFAIR TRADE PRACTICES ACT,
12                                    N.C. Gen. Stat. Ann. §§ 75-1.1, et seq.
13          1062.       The North Carolina Plaintiff(s) identified above (“Plaintiff,” for purposes of this
14   Count), individually and on behalf of the North Carolina Subclass, repeats and alleges Paragraphs
15   1-472, as if fully alleged herein.
16          1063.       Apple advertised, offered, or sold goods or services in North Carolina and
17   engaged in trade or commerce directly or indirectly affecting the people of North Carolina, as
18   defined by N.C. Gen. Stat. Ann. § 75-1.1(b).
19          1064.       Apple engaged in unfair and deceptive acts and practices in or affecting
20   commerce, in violation of N.C. Gen. Stat. Ann. § 75-1.1, as described herein.
21          1065.       Apple’s representations and omissions were material because they were likely to
22   deceive reasonable consumers.
23          1066.       Apple intended to mislead Plaintiff and North Carolina Subclass members and
24   induce them to rely on its misrepresentations and omissions.
25          1067.       Had Apple disclosed to Plaintiff and North Carolina Subclass members that it
26   misrepresented the Devices and operating software, omitted material information regarding the
27   Defects and Battery Issues, omitted material information regarding the operating software, and was
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 1   otherwise engaged in deceptive, common business practices, Apple would have been unable to
 2   continue in business and it would have been forced to disclose the uniform defects in its Devices.
 3   Instead, Apple represented that its Devices were continually improving in speed and battery life and
 4   performed better than other devices on the market. Plaintiff and the North Carolina Subclass
 5   members acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of
 6   which they could not have discovered.
 7            1068.     Apple acted intentionally, knowingly, and maliciously to violate North
 8   Carolina’s Unfair Trade Practices Act, and recklessly disregarded Plaintiff and North Carolina
 9   Subclass members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of
10   software to throttle phone performance, put it on notice that the Devices were not as it advertised.
11            1069.     As a direct and proximate result of Apple’s unfair and deceptive acts and
12   practices, Plaintiff and North Carolina Subclass members have suffered and will continue to suffer
13   injury, ascertainable losses of money or property, and monetary and non-monetary damages,
14   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
15   time and expense in dealing with Device performance issues.
16            1070.     Apple’s conduct as alleged herein was continuous, such that after the first
17   violations of the provisions pled herein, each week that the violations continued constitute separate
18   offenses pursuant to N.C. Gen. Stat. Ann. § 75-8.
19            1071.     Plaintiff and North Carolina Subclass members seek all monetary and non-
20   monetary relief allowed by law, including actual damages, treble damages, and attorneys’ fees and
21   costs.
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 1                   CLAIMS ON BEHALF OF THE NORTH DAKOTA SUBCLASS
 2                                                  COUNT 57
 3                     NORTH DAKOTA UNLAWFUL SALES OR ADVERTISING ACT,
 4                                      N.D. Cent. Code §§ 51-15-01, et seq.
 5           1072.       The North Dakota Plaintiff(s) identified above (“Plaintiff,” for purposes of this
 6   Count), individually and on behalf of the North Dakota Subclass, repeats and alleges Paragraphs 1-
 7   472, as if fully alleged herein.
 8           1073.       Apple, Plaintiff, and each member of the North Dakota Subclass is a “person,” as
 9   defined by N.D. Cent. Code § 51-15-01(4).
10           1074.       Apple sells and advertises “merchandise,” as defined by N.D. Cent. Code § 51-
11   15-01(3) and (5).
12           1075.       Apple advertised, offered, or sold goods or services in North Dakota and
13   engaged in trade or commerce directly or indirectly affecting the people of North Dakota.
14           1076.       Apple engaged in deceptive, false, fraudulent, misrepresentative,
15   unconscionable, and substantially injurious acts and practices in connection with the sale and
16   advertisement of merchandise, in violation of N.D. Cent. Code § 51-15-01, as described herein.
17           1077.       Apple’s representations and omissions were material because they were likely to
18   deceive reasonable consumers.
19           1078.       Apple’s above-described acts and practices caused substantial injury to Plaintiff
20   and North Dakota Subclass members that they could not reasonably avoid; this substantial injury
21   outweighed any benefits to consumers or to competition.
22           1079.       Apple intended to mislead Plaintiff and North Dakota Subclass members and
23   induce them to rely on its misrepresentations and omissions.
24           1080.       Apple acted intentionally, knowingly, and maliciously to violate North Dakota’s
25   Unlawful Sales or Advertising Law, and recklessly disregarded Plaintiff and North Dakota Subclass
26   members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of software
27   to throttle phone performance, put it on notice that the Devices were not as it advertised.
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 1          1081.         As a direct and proximate result of Apple’s deceptive, unconscionable, and
 2   substantially injurious practices, Plaintiff and North Dakota Subclass members have suffered and
 3   will continue to suffer injury, ascertainable losses of money or property, and monetary and non-
 4   monetary damages, including from not receiving the benefit of their bargain in purchasing the
 5   Devices, and increased time and expense in dealing with Device performance issues.
 6          1082.         Plaintiff and North Dakota Subclass members seek all monetary and non-
 7   monetary relief allowed by law, including injunctive relief, damages, restitution, treble damages,
 8   civil penalties, and attorneys’ fees, costs, and disbursements.
 9                            CLAIMS ON BEHALF OF THE OHIO SUBCLASS
10                                                   COUNT 58
11                                  OHIO CONSUMER SALES PRACTICES ACT,
12                                       Ohio Rev. Code §§ 1345.01, et seq.
13          1083.         The Ohio Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
14   individually and on behalf of the Ohio Subclass, repeats and alleges Paragraphs 1-472, as if fully
15   alleged herein.
16          1084.         Plaintiff and Ohio Subclass members are “persons,” as defined by Ohio Rev.
17   Code § 1345.01(B).
18          1085.         Apple was a “supplier” engaged in “consumer transactions,” as defined by Ohio
19   Rev. Code §§ 1345.01(A) & (C).
20          1086.         Apple advertised, offered, or sold goods or services in Ohio and engaged in trade
21   or commerce directly or indirectly affecting the people of Ohio.
22          1087.         Apple engaged in unfair and deceptive acts and practices in connection with a
23   consumer transaction, in violation of Ohio Rev. Code §§ 1345.02, including:
24              a. Apple represented that its goods, services, and intangibles had performance
25                     characteristics, uses, and benefits that it did not have, in violation of Ohio Rev. Code
26                     § 1345.02(B)(1); and
27              b. Apple represented that its goods, services, and intangibles were of a particular
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 1                  standard or quality when they were not, in violation of Ohio Rev. Code §
 2                  1345(B)(2).
 3          1088.       Apple engaged in unconscionable acts and practices in connection with a
 4   consumer transaction, in violation of Ohio Rev. Code Ann. § 1345.03, including:
 5              a. Knowingly taking advantage of the inability of Plaintiff and the Ohio Subclass to
 6                  reasonably protect their interest because of their ignorance of the issues discussed
 7                  herein (Ohio Rev. Code Ann. § 1345.03(B)(1)); and
 8              b. Requiring Plaintiff and the Ohio Subclass to enter into a consumer transaction on
 9                  terms that Apple knew were substantially one-sided in favor of Apple (Ohio Rev.
10                  Code Ann. § 1345.03(B)(5)).
11          1089.       Apple’s representations and omissions were material because they were likely to
12   deceive reasonable consumers.
13          1090.       Apple intended to mislead Plaintiff and Ohio Subclass members and induce them
14   to rely on its misrepresentations and omissions.
15          1091.       Apple acted intentionally, knowingly, and maliciously to violate Ohio’s
16   Consumer Sales Practices Act, and recklessly disregarded Plaintiff and Ohio Subclass members’
17   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
18   phone performance, put it on notice that the Devices were not as it advertised.
19          1092.       Apple’s unfair, deceptive, and unconscionable acts and practices complained of
20   herein affected the public interest, including the millions of Ohioans who purchased and/or used
21   Apple’s Devices.
22          1093.       As a direct and proximate result of Apple’s unfair, deceptive, and
23   unconscionable acts and practices, Plaintiff and Ohio Subclass members have suffered and will
24   continue to suffer injury, ascertainable losses of money or property, and monetary and non-
25   monetary damages, including from not receiving the benefit of their bargain in purchasing the
26   Devices, and increased time and expense in dealing with Device performance issues.
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 1          1094.         Plaintiff and the Ohio Subclass members seek all monetary and non-monetary
 2   relief allowed by law, including declaratory and injunctive relief, the greater of actual and treble
 3   damages or statutory damages, attorneys’ fees and costs, and any other appropriate relief.
 4                                                  COUNT 59
 5                                 OHIO DECEPTIVE TRADE PRACTICES ACT,
 6                                      Ohio Rev. Code §§ 4165.01, et seq.
 7          1095.         The Ohio Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 8   individually and on behalf of the Ohio Subclass, repeats and alleges Paragraphs 1-472, as if fully
 9   alleged herein.
10          1096.         Apple, Plaintiff, and Ohio Subclass members are a “person,” as defined by Ohio
11   Rev. Code § 4165.01(D).
12          1097.         Apple advertised, offered, or sold goods or services in Ohio and engaged in trade
13   or commerce directly or indirectly affecting the people of Ohio.
14          1098.         Apple engaged in deceptive trade practices in the course of its business and
15   vocation, in violation of Ohio Rev. Code § 4165.02, including:
16              a. Representing that its goods and services have characteristics, uses, benefits, or
17                     qualities that they do not have, in violation of Ohio Rev. Code § 4165.02(A)(7);
18              b. Representing that its goods and services are of a particular standard or quality when
19                     they are of another, in violation of Ohio Rev. Code § 4165.02(A)(9); and
20              c. Advertising its goods and services with intent not to sell them as advertise, in
21                     violation of Ohio Rev. Code § 4165.02(A)(11).
22          1099.         Apple’s representations and omissions were material because they were likely to
23   deceive reasonable consumers.
24          1100.         Apple intended to mislead Plaintiff and Ohio Subclass members and induce them
25   to rely on its misrepresentations and omissions.
26          1101.         Apple acted intentionally, knowingly, and maliciously to violate Ohio’s
27   Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Ohio Subclass members’
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 1   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
 2   phone performance, put it on notice that the Devices were not as it advertised.
 3           1102.         As a direct and proximate result of Apple’s deceptive trade practices, Plaintiff
 4   and Ohio Subclass members have suffered and will continue to suffer injury, ascertainable losses of
 5   money or property, and monetary and non-monetary damages, including from not receiving the
 6   benefit of their bargain in purchasing the Devices, and increased time and expense in dealing with
 7   Device performance issues.
 8           1103.         Plaintiff and Ohio Subclass members seek all monetary and non-monetary relief
 9   allowed by law, including injunctive relief, actual damages, attorneys’ fees, and any other relief that
10   is just and proper.
11                      CLAIMS ON BEHALF OF THE OKLAHOMA SUBCLASS
12                                                   COUNT 60
13                                 OKLAHOMA CONSUMER PROTECTION ACT,
14                                        Okla. Stat. Tit. 15, §§ 751, et seq.
15           1104.         The Oklahoma Plaintiff(s) identified above (“Plaintiff,” for purposes of this
16   Count), individually and on behalf of the Oklahoma Subclass, repeats and alleges Paragraphs 1-472,
17   as if fully alleged herein.
18           1105.         Apple is a “person,” as meant by Okla. Stat. tit. 15, § 752(1).
19           1106.         Apple’s advertisements, offers of sales, sales, and distribution of goods, services,
20   and other things of value constituted “consumer transactions” as meant by Okla. Stat. tit. 15,
21   § 752(2).
22           1107.         Apple, in the course of its business, engaged in unlawful practices in violation of
23   Okla. Stat. tit. 15, § 753, including the following:
24               a. Making false representations, knowingly or with reason to know, as to the
25                   characteristics, uses, and benefits of the subjects of its consumer transactions, in
26                   violation of Okla. Stat. tit. 15, § 753(5);
27               b. Representing, knowingly or with reason to know, that the subjects of its consumer
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 1                  transactions were of a particular standard when they were of another, in violation of
 2                  Okla. Stat. tit 15, § 753(7);
 3              c. Advertising, knowingly or with reason to know, the subjects of its consumer
 4                  transactions with intent not to sell as advertised, in violation of Okla. Stat. tit 15, §
 5                  753 (8);
 6              d. Committing unfair trade practices that offend established public policy and was
 7                  immoral, unethical, oppressive, unscrupulous, and substantially injurious to
 8                  consumers as defined by section 752(14), in violation of Okla. Stat. tit. 15,
 9                  § 753(20); and
10              e. Committing deceptive trade practices that deceived or could reasonably be expected
11                  to deceive or mislead a person to the detriment of that person as defined by section
12                  752(13), in violation of Okla. Stat. tit. 15, § 753(20).
13          1108.       Apple’s representations and omissions were material because they were likely to
14   deceive reasonable consumers.
15          1109.       Apple intended to mislead Plaintiff and Oklahoma Subclass members and induce
16   them to rely on its misrepresentations and omissions.
17          1110.       Had Apple disclosed to Plaintiff and Oklahoma Subclass members that it
18   misrepresented the Devices and operating software, omitted material information regarding the
19   Defects and Battery Issues, omitted material information regarding the operating software, and was
20   otherwise engaged in deceptive, common business practices, Apple would have been unable to
21   continue in business and it would have been forced to disclose the uniform defects in its Devices.
22   Instead, Apple represented that its Devices were continually improving in speed and battery life and
23   performed better than other devices on the market. Plaintiff and the Oklahoma Subclass members
24   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
25   could not have discovered.
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 1          1111.       The above unlawful practices and acts by Apple were immoral, unethical,
 2   oppressive, unscrupulous, and substantially injurious. These acts caused substantial injury to
 3   Plaintiff and Oklahoma Subclass members.
 4          1112.       Apple acted intentionally, knowingly, and maliciously to violate Oklahoma’s
 5   Consumer Protection Act, and recklessly disregarded Plaintiff and Oklahoma Subclass members’
 6   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
 7   phone performance, put it on notice that the Devices were not as it advertised.
 8          1113.       As a direct and proximate result of Apple’s unlawful practices, Plaintiff and
 9   Oklahoma Subclass members have suffered and will continue to suffer injury, ascertainable losses
10   of money or property, and monetary and non-monetary damages, including from not receiving the
11   benefit of their bargain in purchasing the Devices, and increased time and expense in dealing with
12   Device performance issues.
13          1114.       Plaintiff and Oklahoma Subclass members seek all monetary and non-monetary
14   relief allowed by law, including actual damages, civil penalties, and attorneys’ fees and costs.
15                       CLAIMS ON BEHALF OF THE OREGON SUBCLASS
16                                                COUNT 61
17                            OREGON UNLAWFUL TRADE PRACTICES ACT,
18                                     Or. Rev. Stat. §§ 646.608, et seq.
19          1115.       The Oregon Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
20   individually and on behalf of the Oregon Subclass, repeats and alleges Paragraphs 1-472, as if fully
21   alleged herein.
22          1116.       Apple is a “person,” as defined by Or. Rev. Stat. § 646.605(4).
23          1117.       Apple engaged in the sale of “goods and services,” as defined by Or. Rev. Stat.
24   § 646.605(6)(a).
25          1118.       Apple sold “goods or services,” as defined by Or. Rev. Stat. § 646.605(6)(a).
26          1119.       Apple advertised, offered, or sold goods or services in Oregon and engaged in
27   trade or commerce directly or indirectly affecting the people of Oregon.
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 1          1120.       Apple engaged in unlawful practices in the course of its business and occupation,
 2   in violation of Or. Rev. Stat. § 646.608, included the following:
 3              a. Representing that its goods and services have approval, characteristics, uses,
 4                  benefits, and qualities that they do not have, in violation of Or. Rev. Stat.
 5                  § 646.608(1)(e);
 6              b. Representing that its goods and services are of a particular standard or quality if they
 7                  are of another, in violation of Or. Rev. Stat. § 646.608(1)(g);
 8              c. Advertising its goods or services with intent not to provide them as advertised, in
 9                  violation of Or. Rev. Stat. § 646.608(1)(i); and
10              d. Concurrent with tender or delivery of its goods and services, failing to disclose any
11                  known material defect, in violation of Or. Rev. Stat. § 646.608(1)(t).
12          1121.       Apple’s representations and omissions were material because they were likely to
13   deceive reasonable consumers.
14          1122.       Apple intended to mislead Plaintiff and Oregon Subclass members and induce
15   them to rely on its misrepresentations and omissions.
16          1123.       Had Apple disclosed to Plaintiffs and Oregon Subclass members that it
17   misrepresented the Devices and operating software, omitted material information regarding the
18   Defects and Battery Issues, omitted material information regarding the operating software, and was
19   otherwise engaged in deceptive, common business practices, Apple would have been unable to
20   continue in business and it would have been forced to disclose the uniform defects in its Devices.
21   Instead, Apple represented that its Devices were continually improving in speed and battery life and
22   performed better than other devices on the market. Plaintiff and the Oregon Subclass members
23   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
24   could not have discovered.
25          1124.       Apple acted intentionally, knowingly, and maliciously to violate Oregon’s
26   Unlawful Trade Practices Act, and recklessly disregarded Plaintiff and Oregon Subclass members’
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 1   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
 2   phone performance, put it on notice that the Devices were not as it advertised.
 3           1125.       As a direct and proximate result of Apple’s unlawful practices, Plaintiff and
 4   Oregon Subclass members have suffered and will continue to suffer injury, ascertainable losses of
 5   money or property, and monetary and non-monetary damages, including from not receiving the
 6   benefit of their bargain in purchasing the Devices, and increased time and expense in dealing with
 7   Device performance issues.
 8           1126.       Plaintiff and Oregon Subclass members seek all monetary and non-monetary
 9   relief allowed by law, including equitable relief, actual damages or statutory damages of $200 per
10   violation (whichever is greater), punitive damages, and reasonable attorneys’ fees and costs.
11                   CLAIMS ON BEHALF OF THE PENNSYLVANIA SUBCLASS
12                                                 COUNT 62
13                            PENNSYLVANIA UNFAIR TRADE PRACTICES AND
14                                       CONSUMER PROTECTION LAW,
15                                73 Pa. Cons. Stat. §§ 201-2 & 201-3, et seq.
16           1127.       The Pennsylvania Plaintiff(s) identified above (“Plaintiff,” for purposes of this
17   Count), individually and on behalf of the Pennsylvania Subclass, repeats and alleges Paragraphs 1-
18   472, as if fully alleged herein.
19           1128.       Apple is a “person,” as meant by 73 Pa. Cons. Stat. § 201-2(2).
20           1129.       Plaintiff and Pennsylvania Subclass members purchased goods and services in
21   “trade” and “commerce,” as meant by 73 Pa. Cons. Stat. § 201-2(3), primarily for personal, family,
22   and/or household purposes.
23           1130.       Apple engaged in unfair methods of competition and unfair or deceptive acts or
24   practices in the conduct of its trade and commerce in violation of 73 Pa. Cons. Stat. Ann. § 201-3,
25   including the following:
26               a. Representing that its goods and services have characteristics, uses, benefits, and
27                   qualities that they do not have (73 Pa. Stat. Ann. § 201-2(4)(v));
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 1               b. Representing that its goods and services are of a particular standard or quality if they
 2                    are another (73 Pa. Stat. Ann. § 201-2(4)(vii)); and
 3               c. Advertising its goods and services with intent not to sell them as advertised (73 Pa.
 4                    Stat. Ann. § 201-2(4)(ix)).
 5           1131.       Apple’s representations and omissions were material because they were likely to
 6   deceive reasonable consumers.
 7           1132.       Apple intended to mislead Plaintiff and Pennsylvania Subclass members and
 8   induce them to rely on its misrepresentations and omissions.
 9           1133.       Had Apple disclosed to Plaintiffs and Pennsylvania Subclass members that it
10   misrepresented the Devices and operating software, omitted material information regarding the
11   Defects and Battery Issues, omitted material information regarding the operating software, and was
12   otherwise engaged in deceptive, common business practices, Apple would have been unable to
13   continue in business and it would have been forced to disclose the uniform defects in its Devices.
14   Instead, Apple represented that its Devices were continually improving in speed and battery life and
15   performed better than other devices on the market. Plaintiff and the Pennsylvania Subclass
16   members acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of
17   which they could not have discovered.
18           1134.       Apple acted intentionally, knowingly, and maliciously to violate Pennsylvania
19   Unfair Trade Practices and Consumer Protection Law, and recklessly disregarded Plaintiff and
20   Pennsylvania Subclass members’ rights. Apple’s knowledge of the Devices’ performance issues,
21   and release of software to throttle phone performance, put it on notice that the Devices were not as
22   it advertised.
23           1135.       As a direct and proximate result of Apple’s unfair methods of competition and
24   unfair or deceptive acts or practices and Plaintiff’s and the Pennsylvania Subclass’ reliance on
25   them, Plaintiff and Pennsylvania Subclass members have suffered and will continue to suffer injury,
26   ascertainable losses of money or property, and monetary and non-monetary damages, including
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 1   from not receiving the benefit of their bargain in purchasing the Devices, and increased time and
 2   expense in dealing with Device performance issues.
 3           1136.       Plaintiff and Pennsylvania Subclass members seek all monetary and non-
 4   monetary relief allowed by law, including actual damages or statutory damages of $100 (whichever
 5   is greater), treble damages, attorneys’ fees and costs, and any additional relief the Court deems
 6   necessary or proper.
 7                   CLAIMS ON BEHALF OF THE RHODE ISLAND SUBCLASS
 8                                                 COUNT 63
 9                          RHODE ISLAND DECEPTIVE TRADE PRACTICES ACT,
10                                       R.I. Gen. Laws §§ 6-13.1, et seq.
11           1137.       The Rhode Island Plaintiff(s) identified above (“Plaintiff,” for purposes of this
12   Count), individually and on behalf of the Rhode Island Subclass, repeats and alleges Paragraphs 1-
13   472, as if fully alleged herein.
14           1138.       Plaintiff and Rhode Island Subclass members are each a “person,” as defined by
15   R.I. Gen. Laws § 6-13.1-1(3).
16           1139.       Plaintiff and Rhode Island Subclass members purchased goods and services for
17   personal, family, or household purposes.
18           1140.       Apple advertised, offered, or sold goods or services in Rhode Island and engaged
19   in trade or commerce directly or indirectly affecting the people of Rhode Island, as defined by R.I.
20   Gen. Laws § 6-13.1-1(5).
21           1141.       Apple engaged in unfair and deceptive acts and practices, in violation of R.I.
22   Gen. Laws § 6-13.1-2, including:
23               a. Representing that its goods and services have characteristics, uses, and benefits that
24                   they do not have (R.I. Gen. Laws § 6-13.1-52(6)(v));
25               b. Representing that its goods and services are of a particular standard or quality when
26                   they are of another (R.I. Gen. Laws § 6-13.1-52(6)(vii));
27               c. Advertising goods or services with intent not to sell them as advertised (R.I. Gen.
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 1                  Laws § 6-13.1-52(6)(ix));
 2              d. Engaging in any other conduct that similarly creates a likelihood of confusion or
 3                  misunderstanding (R.I. Gen. Laws § 6-13.1-52(6)(xii));
 4              e. Engaging in any act or practice that is unfair or deceptive to the consumer (R.I. Gen.
 5                  Laws § 6-13.1-52(6)(xiii)); and
 6              f. Using other methods, acts, and practices that mislead or deceive members of the
 7                  public in a material respect (R.I. Gen. Laws § 6-13.1-52(6)(xiv)).
 8          1142.       Apple’s representations and omissions were material because they were likely to
 9   deceive reasonable consumers.
10          1143.       Apple intended to mislead Plaintiff and Rhode Island Subclass members and
11   induce them to rely on its misrepresentations and omissions.
12          1144.       Apple acted intentionally, knowingly, and maliciously to violate Rhode Island’s
13   Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Rhode Island Subclass
14   members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of software
15   to throttle phone performance, put it on notice that the Devices were not as it advertised.
16          1145.       As a direct and proximate result of Apple’s unfair and deceptive acts, Plaintiff
17   and Rhode Island Subclass members have suffered and will continue to suffer injury, ascertainable
18   losses of money or property, and monetary and non-monetary damages, including from not
19   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
20   dealing with Device performance issues.
21          1146.       Plaintiff and Rhode Island Subclass members seek all monetary and non-
22   monetary relief allowed by law, including actual damages or statutory damages of $200 per
23   Subclass Member (whichever is greater), punitive damages, injunctive relief, other equitable relief,
24   and attorneys’ fees and costs.
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 1                  CLAIMS ON BEHALF OF THE SOUTH CAROLINA SUBCLASS
 2                                                   COUNT 64
 3                          SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT,
 4                                        S.C. Code Ann. §§ 39-5-10, et seq.
 5          1147.       The South Carolina Plaintiff(s) identified above (“Plaintiff,” for purposes of this
 6   Count), individually and on behalf of the South Carolina Subclass, repeats and alleges Paragraphs
 7   1-472, as if fully alleged herein.
 8          1148.       Apple is a “person,” as defined by S.C. Code Ann. § 39-5-10(a).
 9          1149.       South Carolina’s Unfair Trade Practices Act (SC UTPA) prohibits “unfair or
10   deceptive acts or practices in the conduct of any trade or commerce.” S.C. Code Ann. § 39-5-20.
11          1150.       Apple advertised, offered, or sold goods or services in South Carolina and
12   engaged in trade or commerce directly or indirectly affecting the people of South Carolina, as
13   defined by S.C. Code Ann. § 39-5-10(b).
14          1151.       Apple’s acts and practices had, and continue to have, the tendency or capacity to
15   deceive.
16          1152.       Apple’s representations and omissions were material because they were likely to
17   deceive reasonable consumers.
18          1153.       Apple intended to mislead Plaintiff and South Carolina Subclass members and
19   induce them to rely on its misrepresentations and omissions.
20          1154.       Had Apple disclosed to Plaintiffs and South Carolina Subclass members that it
21   misrepresented the Devices and operating software, omitted material information regarding the
22   Defects and Battery Issues, omitted material information regarding the operating software, and was
23   otherwise engaged in deceptive, common business practices, Apple would have been unable to
24   continue in business and it would have been forced to disclose the uniform defects in its Devices.
25   Instead, Apple represented that its Devices were continually improving in speed and battery life and
26   performed better than other devices on the market. Plaintiff and the South Carolina Subclass
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 1   members acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of
 2   which they could not have discovered.
 3          1155.       Apple had a duty to disclose the above-described facts due to the circumstances
 4   of this case. Apple’s duty to disclose also arose from its:
 5              a. Possession of exclusive knowledge regarding the defects in its Devices;
 6              b. Possession of exclusive knowledge regarding the operating software it used to
 7                  throttle the Devices;
 8              c. Active concealment or misrepresentations regarding the operating software it used to
 9                  throttle the Devices or the defects in the Devices; and
10              d. Incomplete representations about the Devices and operating software, while
11                  purposefully withholding material facts from Plaintiff and the South Carolina
12                  Subclass that contradicted these representations.
13          1156.       Apple’s business acts and practices offend an established public policy, or are
14   immoral, unethical, or oppressive.
15          1157.       Apple’s unfair and deceptive acts or practices adversely affected the public
16   interest because such acts or practices have the potential for repetition; Apple engages in such acts
17   or practices as a general rule; and such acts or practices impact the public at large, including
18   millions of South Carolina Subclass members that purchased and/or used an Apple Device.
19          1158.       Apple unfair and deceptive acts or practices have the potential for repetition
20   because the same kinds of actions occurred in the past, as described herein, thus making it likely
21   that these acts or practices will continue to occur if left undeterred. Additionally, Apple’s policies
22   and procedures create the potential for recurrence of the complained-of business acts and practices.
23          1159.       Apple’s violations present a continuing risk to Plaintiff and South Carolina
24   Subclass members as well as to the general public.
25          1160.       Apple intended to mislead Plaintiff and South Carolina Subclass members and
26   induce them to rely on its misrepresentations and omissions.
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 1           1161.       Apple acted intentionally, knowingly, and maliciously to violate South
 2   Carolina’s Unfair Trade Practices Act, and recklessly disregarded Plaintiff and South Carolina
 3   Subclass members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of
 4   software to throttle phone performance, put it on notice that the Devices were not as it advertised.
 5   In light of this conduct, punitive damages would serve the interest of society in punishing and
 6   warning others not to engage in such conduct and would deter Apple and others from committing
 7   similar conduct in the future.
 8           1162.       As a direct and proximate result of Apple’s unfair and deceptive acts or
 9   practices, Plaintiff and South Carolina Subclass members have suffered and will continue to suffer
10   injury, ascertainable losses of money or property, and monetary and non-monetary damages,
11   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
12   time and expense in dealing with Device performance issues.
13           1163.       Plaintiff and South Carolina Subclass members seek all monetary and non-
14   monetary relief allowed by law, including damages for their economic losses, treble damages,
15   punitive damages, injunctive relief, and reasonable attorneys’ fees and costs.
16                    CLAIMS ON BEHALF OF THE SOUTH DAKOTA SUBCLASS
17                                                   COUNT 65
18                   SOUTH DAKOTA DECEPTIVE TRADE PRACTICES AND CONSUMER
19                                                 PROTECTION ACT,
20                                      S.D. Codified Laws §§ 37-24-1, et seq.
21           1164.       The South Dakota Plaintiff(s) identified above (“Plaintiff,” for purposes of this
22   Count), individually and on behalf of the South Dakota Subclass, repeats and alleges Paragraphs 1-
23   472, as if fully alleged herein.
24           1165.       Apple is a “person,” as defined by S.D. Codified Laws § 37-24-1(8).
25           1166.       Apple advertises and sells “merchandise,” as defined by S.D. Codified Laws §
26   37-24-1(6), (7), & (13).
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 1             1167.      Apple advertised, offered, or sold goods or services in South Dakota and
 2   engaged in trade or commerce directly or indirectly affecting the people of South Dakota, as
 3   defined by S.D. Codified Laws § 37-24-1(6), (7), & (13).
 4             1168.      Apple knowingly engaged in deceptive acts or practices, misrepresentation,
 5   concealment, suppression, or omission of material facts in connection with the sale and
 6   advertisement of goods or services, in violation of S.D. Codified Laws § 37-24-6, as described
 7   herein.
 8             1169.      Apple intended to mislead Plaintiff and South Dakota Subclass members and
 9   induce them to rely on its misrepresentations and omissions.
10             1170.      Apple representations and omissions were material because they were likely to
11   deceive reasonable consumers.
12             1171.      Had Apple disclosed to Plaintiff and South Dakota class members that it
13   misrepresented the Devices and operating software, omitted material information regarding the
14   Defects and Battery Issues, omitted material information regarding the operating software, and was
15   otherwise engaged in deceptive, common business practices, Apple would have been unable to
16   continue in business and it would have been forced to disclose the uniform defects in its Devices.
17   Instead, Apple represented that its Devices were continually improving in speed and battery life and
18   performed better than other devices on the market. Plaintiff and the South Dakota Subclass
19   members acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of
20   which they could not have discovered.
21             1172.      Apple had a duty to disclose the above facts because members of the public,
22   including Plaintiff and the South Dakota Subclass. Apple’s duty to disclose also arose from its:
23                a. Possession of exclusive knowledge regarding the defects in Apple’s Devices;
24                b. Possession of exclusive knowledge regarding operating software created to throttle
25                     Device performance;
26                c. Active concealment of the defects in its Devices or regarding operating software to
27                     throttle performance of such Devices; and
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 1               d. Incomplete representations about the Devices and operating software, while
 2                   purposefully withholding material facts from Plaintiff and the South Dakota
 3                   Subclass that contradicted these representations.
 4           1173.       As a direct and proximate result of Apple’s deceptive acts or practices,
 5   misrepresentations, and concealment, suppression, and/or omission of material facts, Plaintiff and
 6   South Dakota Subclass members have suffered and will continue to suffer injury, ascertainable
 7   losses of money or property, and monetary and non-monetary damages, including from not
 8   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
 9   dealing with Device performance issues.
10           1174.       Apple’s violations present a continuing risk to Plaintiff and South Dakota
11   Subclass members as well as to the general public.
12           1175.       Plaintiff and South Dakota Subclass members seek all monetary and non-
13   monetary relief allowed by law, including actual damages, injunctive relief, and reasonable
14   attorneys’ fees and costs.
15                      CLAIMS ON BEHALF OF THE TENNESSEE SUBCLASS
16                                                 COUNT 66
17                                 TENNESSEE CONSUMER PROTECTION ACT,
18                                   Tenn. Code Ann. §§ 47-18-101, et seq.
19           1176.       The Tennessee Plaintiff(s) identified above (“Plaintiff,” for purposes of this
20   Count), individually and on behalf of the Tennessee Subclass, repeats and alleges Paragraphs 1-472,
21   as if fully alleged herein.
22           1177.       Apple is a “person,” as defined by Tenn. Code § 47-18-103(13).
23           1178.       Plaintiff and Tennessee Subclass members are “consumers,” as meant by Tenn.
24   Code § 47-18-103(2).
25           1179.       Apple advertised and sold “goods” or “services” in “consumer transaction[s],” as
26   defined by Tenn. Code §§ 47-18-103(7), (18) & (19).
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 1          1180.      Apple advertised, offered, or sold goods or services in Tennessee and engaged in
 2   trade or commerce directly or indirectly affecting the people of Tennessee, as defined by Tenn.
 3   Code §§ 47-18-103(7), (18) & (19). And Apple’s acts or practices affected the conduct of trade or
 4   commerce, under Tenn. Code § 47-18-104.
 5          1181.      Apple intended to mislead Plaintiff and Tennessee Subclass members and induce
 6   them to rely on its misrepresentations and omissions.
 7          1182.      Apple’s representations and omissions were material because they were likely to
 8   deceive reasonable consumers.
 9          1183.      Had Apple disclosed to Plaintiffs and Tennessee Subclass members that it
10   misrepresented the Devices and operating software, omitted material information regarding the
11   Defects and Battery Issues, omitted material information regarding the operating software, and was
12   otherwise engaged in deceptive, common business practices, Apple would have been unable to
13   continue in business and it would have been forced to disclose the uniform defects in its Devices.
14   Instead, Apple represented that its Devices were continually improving in speed and battery life and
15   performed better than other devices on the market. Plaintiff and the Tennessee Subclass members
16   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
17   could not have discovered.
18          1184.      Apple had a duty to disclose the above facts due to the circumstances of this
19   case. Apple’s duty to disclose arose from its:
20              a. Possession of exclusive knowledge regarding the defects in the Devices;
21              b. Possession of exclusive knowledge regarding the operating software that throttles
22                  performance of the Devices;
23              c. Active concealment of the defects in the Devices and operating software that
24                  throttles performance of those Devices; and
25              d. Incomplete representations about the defects in the Devices and operating software
26                  that throttles performance of those Devices, while purposefully withholding material
27                  facts from Plaintiff and the Tennessee Subclass that contradicted these
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 1                  representations.
 2          1185.       Apple’s “unfair” acts and practices caused or were likely to cause substantial
 3   injury to consumers, which was not reasonably avoidable by consumers themselves and not
 4   outweighed by countervailing benefits to consumers or to competition.
 5          1186.       The injury to consumers was and is substantial because it was non-trivial and
 6   non-speculative and involved a monetary injury. The injury to consumers was substantial not only
 7   because it inflicted harm on a significant and unprecedented number of consumers, but also because
 8   it inflicted a significant amount of harm on each consumer.
 9          1187.       Consumers could not have reasonably avoided injury because Apple’s business
10   acts and practices unreasonably created or took advantage of an obstacle to the free exercise of
11   consumer decision-making. By withholding important information from consumers as described
12   herein, Apple created an asymmetry of information between it and consumers that precluded
13   consumers from taking action to avoid or mitigate injury.
14          1188.       Apple’s business practices had no countervailing benefit to consumers or to
15   competition.
16          1189.       By misrepresenting and omitting material facts, Apple violated the following
17   provisions of Tenn. Code § 47-18-104(b):
18              a. Representing that goods or services have sponsorship, approval, characteristics,
19                  ingredients, uses, benefits or quantities that they do not have;
20              b. Representing that goods or services are of a particular standard, quality or grade, if
21                  they are of another;
22              c. Advertising goods or services with intent not to sell them as advertised; and
23              d. Representing that a consumer transaction confers or involves rights, remedies or
24                  obligations that it does not have or involve.
25          1190.       Apple acted intentionally, knowingly, and maliciously to violate Tennessee’s
26   Consumer Protection Act, and recklessly disregarded Plaintiff and Tennessee Subclass members’
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 1   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
 2   phone performance, put it on notice that the Devices were not as it advertised.
 3          1191.       As a direct and proximate result of Apple’s unfair and deceptive acts or
 4   practices, Plaintiff and Tennessee Subclass members have suffered and will continue to suffer
 5   injury, ascertainable losses of money or property, and monetary and non-monetary damages,
 6   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
 7   time and expense in dealing with Device performance issues.
 8          1192.       Apple’s violations present a continuing risk to Plaintiff and Tennessee Subclass
 9   members as well as to the general public.
10          1193.       Plaintiff and Tennessee Subclass members seek all monetary and non-monetary
11   relief allowed by law, including injunctive relief, actual damages, treble damages for each willful or
12   knowing violation, attorneys’ fees and costs, and any other relief that is necessary and proper.
13                        CLAIMS ON BEHALF OF THE TEXAS SUBCLASS
14                                                COUNT 67
15                            Deceptive Trade Practices—Consumer Protection Act,
16                                Texas Bus. & Com. Code §§ 17.41, et seq.
17          1194.       The Texas Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
18   individually and on behalf of the Texas Subclass, repeats and alleges Paragraphs 1-472, as if fully
19   alleged herein.
20          1195.       Apple is a “person,” as defined by Tex. Bus. & Com. Code § 17.45(3).
21          1196.       Plaintiffs and the Texas Subclass members are “consumers,” as defined by Tex.
22   Bus. & Com. Code § 17.45(4).
23          1197.       Apple advertised, offered, or sold goods or services in Texas and engaged in
24   trade or commerce directly or indirectly affecting the people of Texas, as defined by Tex. Bus. &
25   Com. Code § 17.45(6).
26          1198.       Apple engaged in false, misleading, or deceptive acts and practices, in violation
27   of Tex. Bus. & Com. Code § 17.46(b), including:
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 1              a. Representing that goods or services have sponsorship, approval, characteristics,
 2                  ingredients, uses, benefits or quantities that they do not have;
 3              b. Representing that goods or services are of a particular standard, quality or grade, if
 4                  they are of another; and
 5              c. Advertising goods or services with intent not to sell them as advertised.
 6          1199.      Apple intended to mislead Plaintiff and Texas Subclass members and induce
 7   them to rely on its misrepresentations and omissions.
 8          1200.      Apple’s representations and omissions were material because they were likely to
 9   deceive reasonable consumers.
10          1201.      Had Apple disclosed to Plaintiff and Texas Subclass members that it
11   misrepresented the Devices and operating software, omitted material information regarding the
12   Defects and Battery Issues, omitted material information regarding the operating software, and was
13   otherwise engaged in deceptive, common business practices, Apple would have been unable to
14   continue in business and it would have been forced to disclose the uniform defects in its Devices.
15   Instead, Apple represented that its Devices were continually improving in speed and battery life and
16   performed better than other devices on the market. Plaintiff and the Texas Subclass members acted
17   reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they could
18   not have discovered.
19          1202.      Apple had a duty to disclose the above facts due to the circumstances of this
20   case. Apple’s duty to disclose arose from its:
21              a. Possession of exclusive knowledge regarding the defects in its Devices;
22              b. Possession of exclusive knowledge regarding the operating software it developed to
23                  throttle performance in its Devices as a result of the defects;
24              c. Active concealment of the defects in its Devices and purpose of the throttling
25                  operating software; and
26              d. Incomplete representations about its Devices, Device performance, battery life of
27                  Devices, and the throttling software.
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 1          1203.       Apple engaged in unconscionable actions or courses of conduct, in violation of
 2   Tex. Bus. & Com. Code Ann. § 17.50(a)(3). Apple engaged in acts or practices which, to
 3   consumers’ detriment, took advantage of consumers’ lack of knowledge, ability, experience, or
 4   capacity to a grossly unfair degree.
 5          1204.       Consumers, including Plaintiffs and Texas Subclass members, lacked knowledge
 6   about the above business practices, omissions, and misrepresentations because this information was
 7   known exclusively by Apple.
 8          1205.       Apple intended to take advantage of consumers’ lack of knowledge, ability,
 9   experience, or capacity to a grossly unfair degree, with reckless disregard of the unfairness that
10   would result. The unfairness resulting from Apple’s conduct is glaringly noticeable, flagrant,
11   complete, and unmitigated.
12          1206.       Apple acted intentionally, knowingly, and maliciously to violate Texas’s
13   Deceptive Trade Practices-Consumer Protection Act, and recklessly disregarded Plaintiff and Texas
14   Subclass members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of
15   software to throttle phone performance, put it on notice that the Devices were not as it advertised.
16          1207.       As a direct and proximate result of Apple’s unconscionable and deceptive acts or
17   practices, Plaintiffs and Texas Subclass members have suffered and will continue to suffer injury,
18   ascertainable losses of money or property, and monetary and non-monetary damages, including
19   from not receiving the benefit of their bargain in purchasing the Devices, and increased time and
20   expense in dealing with Device performance issues. Apple’s unconscionable and deceptive acts or
21   practices were a producing cause of Plaintiffs’ and Texas Subclass members’ injuries, ascertainable
22   losses, economic damages, and non-economic damages.
23          1208.       Apple’s violations present a continuing risk to Plaintiffs and Texas Subclass
24   members as well as to the general public.
25          1209.       Plaintiffs and the Texas Subclass seek all monetary and non-monetary relief
26   allowed by law, including economic damages, damages for mental anguish, treble damages for each
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 1   act committed intentionally or knowingly, court costs, reasonably and necessary attorneys’ fees,
 2   injunctive relief, and any other relief which the court deems proper.
 3                          CLAIMS ON BEHALF OF THE UTAH SUBCLASS
 4                                                 COUNT 68
 5                                UTAH CONSUMER SALES PRACTICES ACT,
 6                                       Utah Code §§ 13-11-1, et seq.
 7          1210.        The Utah Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),
 8   individually and on behalf of the Utah Subclass, repeats and alleges Paragraphs 1-472, as if fully
 9   alleged herein.
10          1211.        Apple is a “person,” as defined by Utah Code § 13-11-1(5).
11          1212.        Apple is a “supplier,” as defined by Utah Code § 13-11-1(6), because it regularly
12   solicits, engages in, or enforces “consumer transactions,” as defined by Utah Code § 13-11-1(2).
13          1213.        Apple engaged in deceptive and unconscionable acts and practices in connection
14   with consumer transactions, in violation of Utah Code § 13-11-4 and Utah Code § 13-11-5, as
15   described herein.
16          1214.        Apple intended to mislead Plaintiff and Utah Subclass members and induce them
17   to rely on its misrepresentations and omissions.
18          1215.        Apple’s representations and omissions were material because they were likely to
19   deceive reasonable consumers.
20          1216.        Had Apple disclosed to Plaintiffs and class members that it misrepresented the
21   Devices and operating software, omitted material information regarding the Defects and Battery
22   Issues, omitted material information regarding the operating software, and was otherwise engaged
23   in deceptive, common business practices, Apple would have been unable to continue in business
24   and it would have been forced to disclose the uniform defects in its Devices. Instead, Apple
25   represented that its Devices were continually improving in speed and battery life and performed
26   better than other devices on the market. Plaintiff and the Utah Subclass members acted reasonably
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 1   in relying on Apple’s misrepresentations and omissions, the truth of which they could not have
 2   discovered.
 3          1217.       Apple had a duty to disclose the above facts due to the circumstances of this
 4   case. Apple’s duty to disclose arose from its:
 5              a. Possession of exclusive knowledge regarding the defects in its Devices;
 6              b. Possession of exclusive knowledge regarding the operating software it developed to
 7                  throttle performance in its Devices as a result of the defects;
 8              c. Active concealment of the defects in its Devices and purpose of the throttling
 9                  operating software; and
10              d. Incomplete representations about its Devices, Device performance, battery life of
11                  Devices, and the throttling software.
12          1218.       Apple intentionally or knowingly engaged in deceptive acts or practices,
13   violating Utah Code § 13-11-4(2) by:
14              a. Indicating that the subject of a consumer transaction has sponsorship, approval,
15                  performance characteristics, accessories, uses, or benefits, if it has not;
16              b. Indicating that the subject of a consumer transaction is of a particular standard,
17                  quality, grade, style, or model, if it is not;
18              c. Indicating that the subject of a consumer transaction has been supplied in accordance
19                  with a previous representation, if it has not;
20              d. Indicating that the subject of a consumer transaction will be supplied in greater
21                  quantity (e.g. more data security) than the supplier intends.
22          1219.       Apple engaged in unconscionable acts and practices that were oppressive and led
23   to unfair surprise, as shown in the setting, purpose, and effect of those acts and practices.
24          1220.       In addition, there was an overall imbalance in the obligations and rights imposed
25   by the consumer transactions in question, based on the mores and industry standards of the time and
26   place where they occurred. There is a substantial imbalance between the obligations and rights of
27   consumers, such as Plaintiff and the Utah Subclass, who purchase Devices based upon the publicly-
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 1   available information in the marketplace, and Apple, which has exclusive knowledge of any defects
 2   in those Devices and software developed to address those defects.
 3           1221.       Apple’s acts and practices were also procedurally unconscionable because
 4   consumers, including Plaintiff and the Utah Subclass, had no practicable option but to purchase
 5   Devices based upon publicly-available information, despite Apple’s omissions and
 6   misrepresentations. Apple exploited this imbalance in power, and the asymmetry of information, to
 7   profit by selling defective Devices, throttling them, and then encouraging consumers to spend more
 8   money on new devices when the throttling became unbearable.
 9           1222.       As a direct and proximate result of Apple’s unconscionable and deceptive acts or
10   practices, Plaintiffs and Utah Subclass members have suffered and will continue to suffer injury,
11   ascertainable losses of money or property, and monetary and non-monetary damages including
12   from not receiving the benefit of their bargain in purchasing the Devices, and increased time and
13   expense in dealing with Device performance issues.
14           1223.       Apple’s violations present a continuing risk to Plaintiffs and Utah Subclass
15   members as well as to the general public.
16           1224.       Plaintiff and Utah Subclass members seek all monetary and non-monetary relief
17   allowed by law, including actual damages, statutory damages of $2,000 per violation, amounts
18   necessary to avoid unjust enrichment, under Utah Code §§ 13-11-19, et seq., injunctive relief, and
19   reasonable attorneys’ fees and costs.
20                       CLAIMS ON BEHALF OF THE VERMONT SUBCLASS
21                                                 COUNT 69
22                                    VERMONT CONSUMER FRAUD ACT,
23                                     Vt. Stat. Ann. tit. 9, §§ 2451, et seq.
24           1225.       The Vermont Plaintiff(s) identified above (“Plaintiff,” for purposes of this
25   Count), individually and on behalf of the Vermont Subclass, repeats and alleges Paragraphs 1-472,
26   as if fully alleged herein.
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 1           1226.       Plaintiff and Vermont Subclass members are “consumers,” as defined by Vt.
 2   Stat. Ann. tit. 9, § 2451a(a).
 3           1227.       Apple’s conduct as alleged herein related to “goods” or “services” for personal,
 4   family, or household purposes, as defined by Vt. Stat. Ann. tit. 9, § 2451a(b).
 5           1228.       Apple is a “seller,” as defined by Vt. Stat. Ann. tit. 9, § 2451a(c).
 6           1229.       Apple advertised, offered, or sold goods or services in Vermont and engaged in
 7   trade or commerce directly or indirectly affecting the people of Vermont.
 8           1230.       Apple engaged in unfair and deceptive acts or practices, in violation of Vt. Stat.
 9   tit. 9, § 2453(a), as described herein.
10           1231.       Apple intended to mislead Plaintiff and Vermont Subclass members and induce
11   them to rely on its misrepresentations and omissions.
12           1232.       Apple’s representations and omissions were material because they were likely to
13   deceive reasonable consumers.
14           1233.       Under the circumstances, consumers had a reasonable interpretation of Apple’s
15   representations and omissions.
16           1234.       Apple had a duty to disclose these facts due to the circumstances of this case.
17   Apple’s duty to disclose also from its:
18               a. Possession of exclusive knowledge regarding the defects in its Devices;
19               b. Possession of exclusive knowledge regarding the operating software it developed to
20                   throttle performance in its Devices as a result of the defects;
21               c. Active concealment of the defects in its Devices and purpose of the throttling
22                   operating software; and
23               d. Incomplete representations about its Devices, Device performance, battery life of
24                   Devices, and the throttling software.
25           1235.       Apple’s acts and practices caused or were likely to cause substantial injury to
26   consumers, which was not reasonably avoidable by consumers themselves and not outweighed by
27   countervailing benefits to consumers or to competition.
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 1          1236.       The injury to consumers was and is substantial because it was non-trivial and
 2   non-speculative; and involved a concrete monetary injury. The injury to consumers was substantial
 3   not only because it inflicted harm on a significant and unprecedented number of consumers, but
 4   also because it inflicted a significant amount of harm on each consumer.
 5          1237.       Consumers could not have reasonably avoided injury because Apple’s business
 6   acts and practices unreasonably created or took advantage of an obstacle to the free exercise of
 7   consumer decision-making. By withholding important information from consumers, Apple created
 8   an asymmetry of information between it and consumers that precluded consumers from taking
 9   action to avoid or mitigate injury.
10          1238.       Apple’s business practices had no countervailing benefit to consumers or to
11   competition.
12          1239.       Apple is presumed, as a matter of law under Vt. Stat. Ann. tit. 9, § 2457, to have
13   intentionally violated the Vermont Consumer Protection Act because it failed to sell goods or
14   services in the manner and of the nature advertised or offered.
15          1240.       Apple acted intentionally, knowingly, and maliciously to violate Vermont’s
16   Consumer Fraud Act, and recklessly disregarded Plaintiff and Vermont Subclass members’ rights.
17   Apple’s knowledge of the Devices’ performance issues, and release of software to throttle phone
18   performance, put it on notice that the Devices were not as it advertised.
19          1241.       As a direct and proximate result of Apple’s unfair and deceptive acts or
20   practices, Plaintiffs and Vermont Subclass members have suffered and will continue to suffer
21   injury, ascertainable losses of money or property, and monetary and non-monetary damages,
22   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
23   time and expense in dealing with Device performance issues.
24          1242.       Apple’s violations present a continuing risk to Plaintiffs and Vermont Subclass
25   members as well as to the general public.
26          1243.       Apple received notice pursuant to Tex. Bus. & Com. Code Ann. § 17.505
27   concerning its wrongful conduct as alleged herein by Plaintiff and Texas Subclass members.
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 1   However, sending pre-suit notice pursuant to Tex. Bus. & Com. Code Ann. § 17.505 is an exercise
 2   in futility for Plaintiff, as Apple has already been informed of the allegedly unfair and unlawful
 3   conduct as described herein as of the date of the first-filed lawsuit in December 2017, and has yet to
 4   offer class members remedy in accordance with similar consumer protection statutes.
 5          1244.       Plaintiff and Vermont Subclass members seek all monetary and non-monetary
 6   relief allowed by law, including injunctive relief, restitution, actual damages, disgorgement of
 7   profits, treble damages, punitive/exemplary damages, and reasonable attorneys’ fees and costs.
 8                   CLAIMS ON BEHALF OF THE VIRGIN ISLANDS SUBCLASS
 9                                                   COUNT 70
10                                           Virgin Islands Consumer Fraud
11                                        and Deceptive Business Practices Act,
12                                        V.I. Code tit. 12A, §§ 301, et seq.
13          1245.       Plaintiffs, on behalf of the Virgin Islands Subclass, repeat and allege Paragraphs
14   1-472, as if fully alleged herein.
15          1246.       Apple is a “person,” as defined by V.I. Code tit. 12A, § 303(h).
16          1247.       Plaintiff and Virgin Islands Subclass members are “consumers,” as defined by
17   V.I. Code tit. 12A, § 303(d).
18          1248.       Apple advertised, offered, or sold goods or services in the Virgin Islands and
19   engaged in trade or commerce directly or indirectly affecting the people of the Virgin Islands.
20          1249.       Apple engaged in unfair and deceptive acts and practices, in violation of V.I.
21   Code tit. 12A, § 304, as described herein.
22          1250.       Apple’s acts and practices were “unfair” under V.I. Code tit. 12A, § 304 because
23   they caused or were likely to cause substantial injury to consumers which was not reasonably
24   avoidable by consumers themselves and not outweighed by countervailing benefits to consumers or
25   to competition.
26          1251.       The injury to consumers from Apple’s conduct was and is substantial because it
27   was non-trivial and non-speculative; and involved a monetary injury. The injury to consumers was
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 1   substantial not only because it inflicted harm on a significant and unprecedented number of
 2   consumers, but also because it inflicted a significant amount of harm on each consumer.
 3          1252.       Consumers could not have reasonably avoided injury because Apple’s business
 4   acts and practices unreasonably created or took advantage of an obstacle to the free exercise of
 5   consumer decision-making. By withholding important information from consumers, Apple created
 6   an asymmetry of information between it and consumers that precluded consumers from taking
 7   action to avoid or mitigate injury.
 8          1253.       Apple’s inadequate data security had no countervailing benefit to consumers or
 9   to competition.
10          1254.       Apple’s acts and practices were “deceptive” under V.I. Code tit. 12A, §§ 303 &
11   304 because Apple made representations or omissions of material facts that had the capacity,
12   tendency or effect of deceiving or misleading consumers, including Plaintiff and Virgin Islands
13   Subclass members.
14          1255.       Apple intended to mislead Plaintiff and Virgin Island Subclass members and
15   induce them to rely on its misrepresentations and omissions.
16          1256.       Apple’s representations and omissions were material because they were likely to
17   unfairly influence or deceive reasonable consumers.
18          1257.       Apple had a duty to disclose the above-described facts due to the circumstances
19   of this case. Apple’s duty to disclose arose from its:
20              a. Possession of exclusive knowledge regarding the defects in its Devices;
21              b. Possession of exclusive knowledge regarding the operating software it developed to
22                  throttle performance in its Devices as a result of the defects;
23              c. Active concealment of the defects in its Devices and purpose of the throttling
24                  operating software; and
25              d. Incomplete representations about its Devices, Device performance, battery life of
26                  Devices, and the throttling software.
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 1          1258.       Apple acted intentionally, knowingly, and maliciously to violate the Virgin
 2   Island’s Consumer Fraud and Deceptive Business Practices Act, and recklessly disregarded Plaintiff
 3   and Virgin Islands Subclass members’ rights. Apple’s knowledge of the Devices’ performance
 4   issues, and release of software to throttle phone performance, put it on notice that the Devices were
 5   not as it advertised. Apple intentionally hid this information, callously disregarding the rights of
 6   consumers.
 7          1259.       As a direct and proximate result of Apple’s unfair and deceptive acts or
 8   practices, Plaintiff and Virgin Islands Subclass members have suffered and will continue to suffer
 9   injury, ascertainable losses of money or property, and monetary and non-monetary damages,
10   including from not receiving the benefit of their bargain in purchasing the Devices, and increased
11   time and expense in dealing with Device performance issues.
12          1260.       Apple’s violations present a continuing risk to Plaintiff and Virgin Islands
13   Subclass members as well as to the general public.
14          1261.       Plaintiff and Virgin Islands Subclass members seek all monetary and non-
15   monetary relief allowed by law, including compensatory, consequential, treble, punitive, and
16   equitable damages under V.I. Code tit. 12A, § 331, injunctive relief, and reasonable attorneys’ fees
17   and costs.
18                                                  COUNT 71
19                                    Virgin Islands Consumer Protection Law,
20                                        V.I. Code tit. 12A, §§101, et seq.
21          1262.       Plaintiffs, on behalf of the Virgin Islands Subclass, repeat and allege Paragraphs
22   1-472, as if fully alleged herein.
23          1263.       Apple is a “merchant,” as defined by V.I. Code tit. 12A, § 102(e).
24          1264.       Plaintiff and Virgin Islands Subclass members are “consumers,” as defined by
25   V.I. Code tit. 12A, § 102(d).
26          1265.       Apple sells and offers for sale “consumer goods” and “consumer services,” as
27   defined by V.I. Code tit. 12A, § 102(c).
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 1          1266.       Apple engaged in deceptive acts and practices, in violation of V.I. Code tit. 12A,
 2   § 101, as described herein.
 3          1267.       Apple’s acts and practices were “deceptive trade practices” under V.I. Code tit.
 4   12A, § 102(a) because Apple:
 5              a. Represented that goods or services have sponsorship, approval, accessories,
 6                  characteristics, ingredients, uses, benefits, or quantities that they do not have; or that
 7                  goods or services are of particular standard, quality, grade, style or model, if they are
 8                  of another;
 9              b. Used exaggeration, innuendo or ambiguity as to a material fact or failure to state a
10                  material fact if such use deceives or tends to deceive;
11              c. Offered goods or services with intent not to sell them as offered; and
12              d. Stated that a consumer transaction involves consumer rights, remedies or obligations
13                  that it does not involve.
14          1268.       Apple’s acts and practices were also “deceptive” under V.I. Code tit. 12A, § 101
15   because Apple made representations or omissions of material facts that had the capacity, tendency
16   or effect of deceiving or misleading consumers, including Plaintiff and Virgin Islands Subclass
17   members.
18          1269.       Apple intended to mislead Plaintiff and Virgin Islands Subclass members and
19   induce them to rely on its misrepresentations and omissions.
20          1270.       Apple’s representations and omissions were material because they were likely to
21   deceive reasonable consumers.
22          1271.       Apple had a duty to disclose the above-described facts due to the circumstances
23   of this case. Apple’s duty to disclose arose from its:
24              a. Possession of exclusive knowledge regarding the defects in its Devices;
25              b. Possession of exclusive knowledge regarding the operating software it developed to
26                  throttle performance in its Devices as a result of the defects;
27              c. Active concealment of the defects in its Devices and purpose of the throttling
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 1                   operating software; and
 2               d. Incomplete representations about its Devices, Device performance, battery life of
 3                   Devices, and the throttling software.
 4           1272.       Apple acted intentionally, knowingly, and maliciously to violate the Virgin
 5   Island’s Consumer Protection Law, and recklessly disregarded Plaintiff and Virgin Island Subclass
 6   members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of software
 7   to throttle phone performance, put it on notice that the Devices were not as it advertised.
 8           1273.       As a direct and proximate result of Apple’s deceptive acts or practices, Plaintiff
 9   and Virgin Islands Subclass members have suffered and will continue to suffer injury, ascertainable
10   losses of money or property, and monetary and non-monetary damages, including from not
11   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
12   dealing with Device performance issues.
13           1274.       Apple’s violations present a continuing risk to Plaintiff and Virgin Islands
14   Subclass members as well as to the general public.
15           1275.       Plaintiff and Virgin Islands Subclass members seek all monetary and non-
16   monetary relief allowed by law, including declaratory relief; injunctive relief, the greater of actual
17   damages or $500 per violation, compensatory, consequential, treble, and punitive damages;
18   disgorgement, and reasonable attorneys’ fees and costs.
19                        CLAIMS ON BEHALF OF THE VIRGINIA SUBCLASS
20                                                 COUNT 72
21                                 VIRGINIA CONSUMER PROTECTION ACT,
22                                     Va. Code Ann. §§ 59.1-196, et seq.
23           1276.       The Virginia Plaintiff(s) identified above (“Plaintiff,” for purposes of this
24   Count), individually and on behalf of the Virginia Subclass, repeats and alleges Paragraphs 1-472,
25   as if fully alleged herein.
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 1             1277.    The Virginia Consumer Protection Act prohibits “[u]sing any . . . deception,
 2   fraud, false pretense, false promise, or misrepresentation in connection with a consumer
 3   transaction.” Va. Code Ann. § 59.1-200(14).
 4             1278.    Apple is a “person” as defined by Va. Code Ann. § 59.1-198.
 5             1279.    Apple is a “supplier,” as defined by Va. Code Ann. § 59.1-198.
 6             1280.    Apple engaged in the complained-of conduct in connection with “consumer
 7   transactions” with regard to “goods” and “services,” as defined by Va. Code Ann. § 59.1-198.
 8   Apple advertised, offered, or sold goods or services used primarily for personal, family or
 9   household purposes.
10             1281.    Apple engaged in deceptive acts and practices by using deception, fraud, false
11   pretense, false promise, and misrepresentation in connection with consumer transactions, described
12   herein.
13             1282.    Apple intended to mislead Plaintiff and Virginia Subclass members and induce
14   them to rely on its misrepresentations and omissions.
15             1283.    Apple’s representations and omissions were material because they were likely to
16   deceive reasonable consumers.
17             1284.    Had Apple disclosed to Plaintiff and Virginia Subclass members that it
18   misrepresented the Devices and operating software, omitted material information regarding the
19   Defects and Battery Issues, omitted material information regarding the operating software, and was
20   otherwise engaged in deceptive, common business practices, Apple would have been unable to
21   continue in business and it would have been forced to disclose the uniform defects in its Devices.
22   Instead, Apple represented that its Devices were continually improving in speed and battery life and
23   performed better than other devices on the market. Plaintiff and the Virginia Subclass members
24   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
25   could not have discovered.
26             1285.    Apple had a duty to disclose these facts due to the circumstances of this case.
27   Apple’s duty to disclose also arose from its:
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 1              a. Possession of exclusive knowledge regarding the defects in its Devices;
 2              b. Possession of exclusive knowledge regarding the operating software it developed to
 3                  throttle performance in its Devices as a result of the defects;
 4              c. Active concealment of the defects in its Devices and purpose of the throttling
 5                  operating software; and
 6              d. Incomplete representations about its Devices, Device performance, battery life of
 7                  Devices, and the throttling software.
 8          1286.      The above-described deceptive acts and practices also violated the following
 9   provisions of VA Code § 59.1-200(A):
10              a. Misrepresenting that goods or services have certain quantities, characteristics,
11                  ingredients, uses, or benefits;
12              b. Misrepresenting that goods or services are of a particular standard, quality, grade,
13                  style, or model; and
14              c. Advertising goods or services with intent not to sell them as advertised, or with
15                  intent not to sell them upon the terms advertised.
16          1287.      Apple acted intentionally, knowingly, and maliciously to violate Virginia’s
17   Consumer Protection Act, and recklessly disregarded Plaintiff and Virginia Subclass members’
18   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
19   phone performance, put it on notice that the Devices were not as it advertised. An award of
20   punitive damages would serve to punish Apple for its wrongdoing and warn or deter others from
21   engaging in similar conduct.
22          1288.      As a direct and proximate result of Apple’s deceptive acts or practices, Plaintiffs
23   and Virginia Subclass members have suffered and will continue to suffer injury, ascertainable
24   losses of money or property, and monetary and non-monetary damages, including from not
25   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
26   dealing with Device performance issues.
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 1           1289.       Apple’s violations present a continuing risk to Plaintiffs and Virginia Subclass
 2   members as well as to the general public.
 3           1290.       Plaintiff and Virginia Subclass members seek all monetary and non-monetary
 4   relief allowed by law, including actual damages; statutory damages in the amount of $1,000 per
 5   violation if the conduct is found to be willful or, in the alternative, $500 per violation, restitution,
 6   injunctive relief, punitive damages, and attorneys’ fees and costs.
 7                    CLAIMS ON BEHALF OF THE WASHINGTON SUBCLASS
 8                                                  COUNT 73
 9                              WASHINGTON CONSUMER PROTECTION ACT,
10                                 Wash. Rev. Code Ann. §§ 19.86.020, et seq.
11           1291.       The Washington Plaintiff(s) identified above (“Plaintiff,” for purposes of this
12   Count), individually and on behalf of the Washington Subclass, repeats and alleges Paragraphs 1-
13   472, as if fully alleged herein.
14           1292.       Apple is a “person,” as defined by Wash. Rev. Code Ann. § 19.86.010(1).
15           1293.       Apple advertised, offered, or sold goods or services in Washington and engaged
16   in trade or commerce directly or indirectly affecting the people of Washington, as defined by Wash.
17   Rev. Code Ann. § 19.86.010 (2).
18           1294.       Apple engaged in unfair or deceptive acts or practices in the conduct of trade or
19   commerce, in violation of Wash. Rev. Code Ann. § 19.86.020, as described herein.
20           1295.       Apple’s representations and omissions were material because they were likely to
21   deceive reasonable consumers.
22           1296.       Apple acted intentionally, knowingly, and maliciously to violate Washington’s
23   Consumer Protection Act, and recklessly disregarded Plaintiff and Washington Subclass members’
24   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
25   phone performance, put it on notice that the Devices were not as it advertised.
26           1297.       Apple’s conduct is injurious to the public interest because it violates Wash. Rev.
27   Code Ann. § 19.86.020, violates a statute that contains a specific legislation declaration of public
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 1   interest impact, and/or injured persons and had and has the capacity to injure persons. Further, its
 2   conduct affected the public interest, including the at least hundreds of thousands of Washingtonians
 3   affected by Apple’s deceptive business practices.
 4             1298.     As a direct and proximate result of Apple’s unfair methods of competition and
 5   unfair or deceptive acts or practices, Plaintiff and Washington Subclass members have suffered and
 6   will continue to suffer injury, ascertainable losses of money or property, and monetary and non-
 7   monetary damages, including from not receiving the benefit of their bargain in purchasing the
 8   Devices, and increased time and expense in dealing with Device performance issues.
 9             1299.     Plaintiff and Washington Subclass members seek all monetary and non-monetary
10   relief allowed by law, including actual damages, treble damages, injunctive relief, civil penalties,
11   and attorneys’ fees and costs.
12                     CLAIMS ON BEHALF OF THE WEST VIRGINIA SUBCLASS
13                                                 COUNT 74
14                           West Virginia Consumer Credit and PROTECTION ACT,
15                                      W. Va. Code §§ 46A-6-101, et seq.
16             1300.     The West Virginia Plaintiff(s) identified above (“Plaintiff,” for purposes of this
17   Count), individually and on behalf of the West Virginia Subclass, repeats and alleges Paragraphs 1-
18   472, as if fully alleged herein.
19             1301.     Plaintiff and West Virginia Subclass members are “consumers,” as defined by
20   W. Va. Code § 46A-6-102(2).
21             1302.     Apple engaged in “consumer transactions,” as defined by W. Va. Code § 46A-6-
22   102(2).
23             1303.     Apple advertised, offered, or sold goods or services in West Virginia and
24   engaged in trade or commerce directly or indirectly affecting the people of West Virginia, as
25   defined by W. Va. Code § 46A-6-102(6).
26             1304.     Apple received notice pursuant to W. Va. Code § 46A-6-106(c) concerning its
27   wrongful conduct as alleged herein by Plaintiff and West Virginia Subclass members. However,
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 1   sending pre-suit notice pursuant to W. Va. Code § 46A-6-106(c) is an exercise in futility for
 2   Plaintiff, because, despite being on knowledge of the deceptive acts and practices complained of
 3   herein in this lawsuit as of the date of the first-filed lawsuit in December 2017, Apple has not cured
 4   its unfair and deceptive acts and practices.
 5          1305.       Apple engaged in unfair and deceptive business acts and practices in the conduct
 6   of trade or commerce, in violation of W. Va. Code § 46A-6-104, as described herein.
 7          1306.       Apple’s unfair and deceptive acts and practices also violated W. Va. Code §
 8   46A-6-102(7), including:
 9              a. Representing that goods or services have sponsorship, approval, characteristics,
10                  ingredients, uses, benefits or quantities that they do not have;
11              b. Representing that goods or services are of a particular standard, quality or grade, or
12                  that goods are of a particular style or model if they are of another;
13              c. Advertising goods or services with intent not to sell them as advertised;
14              d. Engaging in any other conduct which similarly creates a likelihood of confusion or
15                  of misunderstanding;
16              e. Using deception, fraud, false pretense, false promise or misrepresentation, or the
17                  concealment, suppression or omission of any material fact with intent that others rely
18                  upon such concealment, suppression or omission, in connection with the sale or
19                  advertisement of goods or services, whether or not any person has in fact been
20                  misled, deceived or damaged thereby; and
21              f. Advertising, displaying, publishing, distributing, or causing to be advertised,
22                  displayed, published, or distributed in any manner, statements and representations
23                  with regard to the sale of goods, which are false, misleading or deceptive or which
24                  omit to state material information which is necessary to make the statements therein
25                  not false, misleading or deceptive.
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 1          1307.       Apple’s unfair and deceptive acts and practices were unreasonable when
 2   weighed against the need to develop or preserve business, and were injurious to the public interest,
 3   under W. Va. Code § 46A-6-101.
 4          1308.       Apple’s acts and practices were additionally “unfair” under W. Va. Code § 46A-
 5   6-104 because they caused or were likely to cause substantial injury to consumers which was not
 6   reasonably avoidable by consumers themselves and not outweighed by countervailing benefits to
 7   consumers or to competition.
 8          1309.       The injury to consumers from Apple’s conduct was and is substantial because it
 9   was non-trivial and non-speculative; and involved a monetary injury. The injury to consumers was
10   substantial not only because it inflicted harm on a significant and unprecedented number of
11   consumers, but also because it inflicted a significant amount of harm on each consumer.
12          1310.       Consumers could not have reasonably avoided injury because Apple’s business
13   acts and practices unreasonably created or took advantage of an obstacle to the free exercise of
14   consumer decision-making. By withholding important information from consumers, Apple created
15   an asymmetry of information between it and consumers that precluded consumers from taking
16   action to avoid or mitigate injury.
17          1311.       Apple’s business practices had no countervailing benefit to consumers or to
18   competition.
19          1312.       Apple’s acts and practices were additionally “deceptive” under W. Va. Code §
20   46A-6-104 because Apple made representations or omissions of material facts that misled or were
21   likely to mislead reasonable consumers, including Plaintiff and West Virginia Subclass members.
22          1313.       Apple intended to mislead Plaintiff and West Virginia Subclass members and
23   induce them to rely on its misrepresentations and omissions.
24          1314.       Apple representations and omissions were material because they were likely to
25   deceive reasonable consumers.
26          1315.       Had Apple disclosed to Plaintiff and West Virginia Subclass members that it
27   misrepresented the Devices and operating software, omitted material information regarding the
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 1   Defects and Battery Issues, omitted material information regarding the operating software, and was
 2   otherwise engaged in deceptive, common business practices, Apple would have been unable to
 3   continue in business and it would have been forced to disclose the uniform defects in its Devices.
 4   Instead, Apple represented that its Devices were continually improving in speed and battery life and
 5   performed better than other devices on the market. Plaintiff and the West Virginia Subclass
 6   members acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of
 7   which they could not have discovered.
 8           1316.       Apple had a duty to disclose the above-described facts due to the circumstances
 9   of this case. Apple’s duty to disclose arose from its:
10               a. Possession of exclusive knowledge regarding the defects in its Devices;
11               b. Possession of exclusive knowledge regarding the operating software it developed to
12                   throttle performance in its Devices as a result of the defects;
13               c. Active concealment of the defects in its Devices and purpose of the throttling
14                   operating software; and
15               d. Incomplete representations about its Devices, Device performance, battery life of
16                   Devices, and the throttling software.
17           1317.       Apple’s omissions were legally presumed to be equivalent to active
18   misrepresentations because Apple intentionally prevented Plaintiff and West Virginia Subclass
19   members from discovering the truth regarding Apple’s Device defects and operating system
20   throttling capabilities.
21           1318.       Apple acted intentionally, knowingly, and maliciously to violate West Virginia’s
22   Consumer Credit and Protection Act, and recklessly disregarded Plaintiff and West Virginia
23   Subclass members’ rights. Apple’s unfair and deceptive acts and practices were likely to cause
24   serious harm, and Apple knew that its deceptive acts would cause harm based upon its business
25   practices and exclusive knowledge of the omissions and misrepresentations herein.
26           1319.       As a direct and proximate result of Apple’s unfair and deceptive acts or
27   practices and Plaintiff and West Virginia Subclass members’ purchase of goods or services,
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 1   Plaintiff and West Virginia Subclass members have suffered and will continue to suffer injury,
 2   ascertainable losses of money or property, and monetary and non-monetary damages, including
 3   from not receiving the benefit of their bargain in purchasing the Devices, and increased time and
 4   expense in dealing with Device performance issues.
 5           1320.       Apple’s violations present a continuing risk to Plaintiff and West Virginia
 6   Subclass members as well as to the general public.
 7           1321.       Plaintiff and West Virginia Subclass members seek all monetary and non-
 8   monetary relief allowed by law, including the greater of actual damages or $200 per violation under
 9   W. Va. Code § 46A-6-106(a), restitution, injunctive and other equitable relief, punitive damages,
10   and reasonable attorneys’ fees and costs.
11                      CLAIMS ON BEHALF OF THE WISCONSIN SUBCLASS
12                                                 COUNT 75
13                            WISCONSIN DECEPTIVE TRADE PRACTICES ACT,
14                                         Wis. Stat. § 100.18, et seq.
15           1322.       The Wisconsin Plaintiff(s) identified above (“Plaintiff,” for purposes of this
16   Count), individually and on behalf of the Wisconsin Subclass, repeats and alleges Paragraphs 1-
17   472, as if fully alleged herein.
18           1323.       Apple is a “person, firm, corporation or association,” as defined by Wis. Stat.
19   § 100.18(1).
20           1324.       Plaintiff and Wisconsin Subclass members are members of “the public,” as
21   defined by Wis. Stat. § 100.18(1).
22           1325.       With intent to sell, distribute, or increase consumption of merchandise, services,
23   or anything else offered by Apple to members of the public for sale, use, or distribution, Apple
24   made, published, circulated, placed before the public or caused (directly or indirectly) to be made,
25   published, circulated, or placed before the public in Wisconsin advertisements, announcements,
26   statements, and representations to the public which contained assertions, representations, or
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 1   statements of fact which are untrue, deceptive, and/or misleading, in violation of Wis. Stat. §
 2   100.18(1).
 3          1326.        Apple also engaged in the above-described conduct as part of a plan or scheme,
 4   the purpose or effect of which was to sell, purchase, or use merchandise or services not as
 5   advertised, in violation of Wis. Stat. § 100.18(9).
 6          1327.        Apple intended to mislead Plaintiff and Wisconsin Subclass members and induce
 7   them to rely on its misrepresentations and omissions.
 8          1328.        Apple’s representations and omissions were material because they were likely to
 9   deceive reasonable consumers.
10          1329.        Apple had a duty to disclose the above-described facts due to the circumstances
11   of this case. Apple’s duty to disclose arose from its:
12                a. Possession of exclusive knowledge regarding the defects in its Devices;
13                b. Possession of exclusive knowledge regarding the operating software it developed to
14                   throttle performance in its Devices as a result of the defects;
15                c. Active concealment of the defects in its Devices and purpose of the throttling
16                   operating software; and
17                d. Incomplete representations about its Devices, Device performance, battery life of
18                   Devices, and the throttling software.
19          1330.        Apple’s failure to disclose the above-described facts is the same as actively
20   representing that those facts do not exist.
21          1331.        Apple acted intentionally, knowingly, and maliciously to violate the Wisconsin
22   Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Wisconsin Subclass
23   members’ rights. Apple’s knowledge of the Devices’ performance issues, and release of software
24   to throttle phone performance, put it on notice that the Devices were not as it advertised.
25          1332.        As a direct and proximate result of Apple’s deceptive acts or practices, Plaintiff
26   and Wisconsin Subclass members have suffered and will continue to suffer injury, ascertainable
27   losses of money or property, and monetary and non-monetary damages, including from not
28
     CONSOLIDATED AMENDED COMPLAINT                   294                        NO. 5:18-MD-02827-EJD
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 1   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
 2   dealing with Device performance issues.
 3           1333.       Apple had an ongoing duty to all Apple customers to refrain from deceptive acts,
 4   practices, plans, and schemes under Wis. Stat. § 100.18.
 5           1334.       Plaintiff and Wisconsin Subclass members seek all monetary and non-monetary
 6   relief allowed by law, including damages, reasonable attorneys’ fees, and costs under Wis. Stat. §
 7   100.18(11)(b)(2), injunctive relief, and punitive damages.
 8                       CLAIMS ON BEHALF OF THE WYOMING SUBCLASS
 9                                                COUNT 76
10                                 WYOMING CONSUMER PROTECTION ACT,
11                                   Wyo. Stat. Ann. §§ 40-12-101, et seq.
12           1335.       The Wyoming Plaintiff(s) identified above (“Plaintiff,” for purposes of this
13   Count), individually and on behalf of the Wyoming Subclass, repeats and alleges Paragraphs 1-472,
14   as if fully alleged herein.
15           1336.       Apple is a “person” as defined by Wyo. Stat. Ann. § 42-12-102(i).
16           1337.       Plaintiff and Wyoming Subclass members engaged in “consumer transactions”
17   as defined by Wyo. Stat. Ann. § 40-12-102(ii).
18           1338.       Apple is engaged in an “uncured unlawful deceptive trade practice” in
19   accordance with Wyo. Stat. Ann. § 40-12-105 in that it had actual notice of its deceptive acts and
20   practices when the first-filed case in this multidistrict litigation was filed in December 2017;
21   however, it has not offered to adjust or modified the consumer transactions at issue in this case, nor
22   has it offered to rescind the consumer transactions. Accordingly, although notice was sent to Apple
23   pursuant to Wyo. Stat. Ann. § 40-12-109, notice is an exercise in futility for Plaintiff.
24           1339.       Apple advertised, offered, or sold goods or services in Wyoming, and engaged in
25   trade or commerce directly or indirectly affecting the people of Wyoming.
26
27

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 1           1340.         Apple engaged in deceptive acts and practices in the conduct of trade or
 2   commerce, in violation of the Wyoming Consumer Protection Act, Wyo. Stat. Ann. §§ 40-12-101,
 3   et seq., including:
 4               a. Representing that goods or services have sponsorship, approval, characteristics,
 5                   ingredients, uses, benefits, or qualities that they do not have;
 6               b. Representing that goods or services are of a particular standard, quality, or grade, or
 7                   that goods are of a particular style or model, if they are of another; and
 8               c. Engaging in any other unconscionable, false, misleading, or deceptive act or practice
 9                   in the conduct of trade or commerce.
10           1341.         Apple’s representations and omissions were material because they were likely to
11   deceive reasonable consumers.
12           1342.         Apple intended to mislead Plaintiff and Wyoming Subclass members and induce
13   them to rely on its misrepresentations and omissions.
14           1343.         Had Apple disclosed to Plaintiff and Wyoming Subclass members that it
15   misrepresented the Devices and operating software, omitted material information regarding the
16   Defects and Battery Issues, omitted material information regarding the operating software, and was
17   otherwise engaged in deceptive, common business practices, Apple would have been unable to
18   continue in business and it would have been forced to disclose the uniform defects in its Devices.
19   Instead, Apple represented that its Devices were continually improving in speed and battery life and
20   performed better than other devices on the market. Plaintiff and the Wyoming Subclass members
21   acted reasonably in relying on Apple’s misrepresentations and omissions, the truth of which they
22   could not have discovered.
23           1344.         Apple acted intentionally, knowingly, and maliciously to violate the Wyoming
24   Consumer Protection Act, and recklessly disregarded Plaintiff and Wyoming Subclass members’
25   rights. Apple’s knowledge of the Devices’ performance issues, and release of software to throttle
26   phone performance, put it on notice that the Devices were not as it advertised.
27

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 1          1345.       As a direct and proximate result of Apple’s deceptive acts and practices, Plaintiff
 2   and Wyoming Subclass members have suffered and will continue to suffer injury, ascertainable
 3   losses of money or property, and monetary and non-monetary damages, including from not
 4   receiving the benefit of their bargain in purchasing the Devices, and increased time and expense in
 5   dealing with Device performance issues.
 6          1346.       Apple’s deceptive acts and practices caused substantial injury to Plaintiff and
 7   Wyoming Subclass members, which they could not reasonably avoid, and which outweighed any
 8   benefits to consumers or to competition.
 9          1347.       Plaintiff and the Wyoming Subclass seek all monetary and non-monetary relief
10   allowed by law, actual damages, injunctive relief, attorneys’ fees, costs, and any other relief that is
11   just and proper.
12                                              PRAYER FOR RELIEF
13          WHEREFORE, Plaintiffs, individually and on behalf of all other class members,
14          respectfully request that the Court enter an Order:
15          a.      Declaring that this action is a proper class action, certifying the Classes and/or
16   Subclasses as requested herein, designating Plaintiffs as Class Representatives, and appointing
17   Plaintiffs’ attorneys as Class Counsel;
18          b.      Enjoining Apple from continuing the unfair business practices alleged in this
19   Complaint;
20          c.      Ordering Apple to pay actual and statutory damages (including punitive damages) and
21   restitution to Plaintiffs and the other class members, as allowable by law;
22          d.      Ordering Apple to pay both pre- and post-judgment interest on any amounts awarded;
23          e.      Ordering Apple to pay attorneys’ fees and costs of suit; and
24          f.      Ordering such other and further relief as may be just and proper.
25                                                 JURY DEMAND
26          Plaintiffs hereby demand a trial by jury on all issues so triable.
27

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 1
                                      Respectfully submitted,
 2

 3    DATED: July 2, 2018              s/ Joseph W. Cotchett
                                          Joseph W. Cotchett
 4
                                      Joseph W. Cotchett (SBN 36324)
 5                                    Mark C. Molumphy (SBN 168009)
                                      COTCHETT, PITRE & MCCARTHY, LLP
 6                                    San Francisco Airport Office Center
                                      840 Malcolm Road, Suite 200
 7                                    Burlingame, CA 94010
                                      Telephone: 650-697-6000
 8                                    Facsimile: 650-697-05777
                                      jcotchett@cpmlegal.com
 9                                    mmolumphy@cpmlegal.com
10

11    DATED: July 2, 2018              s/ Laurence D. King
                                          Laurence D. King
12
                                      Laurence D. King (SBN 206423)
13                                    KAPLAN FOX & KILSHEIMER LLP
                                      350 Sansome Street, Suite 400
14                                    San Francisco, CA 94104
                                      Telephone: 415-772-4700
15                                    Facsimile: 415-772-4707
                                      lking@kaplanfox.com
16

17                                    David A. Straite (pro hac vice)
                                      KAPLAN FOX & KILSHEIMER LLP
18                                    850 Third Avenue, 14th Floor
                                      New York, NY 10022
19                                    Telephone: 212-687-1980
                                      Facsimile: 212-687-7714
20                                    dstraite@kaplanfox.com

21                                    Interim Co-Lead Counsel

22                                    Mark J. Dearman
                                      ROBBINS GELLER RUDMAN &
23                                    DOWD LLP
                                      120 East Palmetto Park Road, Suite 500
24
                                      Boca Raton, FL 33432
25                                    (561) 750-3000
                                      Mdearman@rgrdlaw.com
26
27

28
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                                      Eli Greenstein
 1                                    KESSLER TOPAZ METZLER CHECK LLP
 2                                    1 Sansome Street, Suite 1850
                                      San Francisco, CA. 94104
 3                                    (415) 400-3000
                                      egreenstein@ktmc.com
 4

 5                                    Derek Howard
                                      DEREK G. HOWARD LAW FIRM
 6                                    42 Miller Ave
                                      Mill Valley, CA. 94941
 7                                    (415) 432-7192
                                      derek@derekhowardlaw.com
 8
 9                                    Kyle McGee
                                      GRANT & EISENHOFER P.A.
10                                    485 Lexington Avenue, 29th Floor
                                      New York, NY. 10017
11                                    (646) 722-8505
                                      jeisenhofer@gelaw.com
12

13                                    Kenneth Johnston
                                      JOHNSTON PRATT PLLC
14                                    1717 Main Street, Suite 3000
                                      Dallas, TX. 75201
15                                    (214) 974-8000
                                      kjohnston@johnstonpratt.com
16

17                                    Kathleen Herkenhoff
                                      HAEGGQUIST & ECK, LP
18                                    225 Broadway, Suite 2050
                                      San Diego, CA. 92101
19                                    (619) 342-8000
                                      kathleenh@haelaw.com
20

21                                    Amy E. Keller
                                      DICELLO LEVITT & CASEY LLC
22                                    Ten North Dearborn Street, Eleventh Floor
                                      Chicago, IL. 60602
23                                    (312) 214-7900
                                      akeller@dlcfirm.com
24

25

26
27

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                                      Gayle Blatt
 1                                    CASEY GERRY SCHENK FRANCAVILLA
 2                                    BLATT & PENFIELD LLP
                                      110 Laurel Street
 3                                    San Diego, CA. 92101
                                      (619) 238-1811
 4                                    gmb@cglaw.com
 5
                                      Tina Wolfson
 6                                    AHDOOT & WOLFSON, P.C.
                                      8424 Santa Monica Blvd., Suite 575
 7                                    West Hollywood, CA., 90069
                                      (310) 474-9111
 8                                    aw@ahdootwolfson.com
 9
                                      Ariana Tadler
10                                    MILBERG TADLER PHILLIPS
                                      GROSSMAN LLP
11                                    1 Pennsylvania Plaza, Suite 1920
                                      New York, NY. 10119
12                                    (212) 946-9453
13                                    atadler@milberg.com

14                                    Karin Swope
                                      KELLER ROHRBACK LLP
15                                    1201 Third Avenue, Suite 3200
                                      Seattle, Washington 98101
16                                    (206) 623-1900
17                                    kswope@kellerrohrback.com

18                                    Tim Blood
                                      BLOOD HURST O’REARDON LLP
19                                    501 West Broadway, Suite 1490
                                      San Diego, CA. 92101
20                                    (619) 338-1100
21                                    tblood@bholaw.com

22                                    Melissa R. Emert
                                      STULL, STULL & BRODY
23                                    6 East 45th Street
                                      New York, NY 10017
24
                                      (212) 687-7230
25                                    memert@ssbny.com

26
27

28
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                                      Christopher Ridout
 1                                    ZIMMERMAN REED LLP
 2                                    2381 Rosecrans Blvd., Suite 328
                                      El Segundo, CA. 90245
 3                                    (562) 216-7383
                                      Christopher.ridout@zimmreed.com
 4

 5                                    Charles E. Schaffer
                                      LEVIN SEDRAN & BERMAN
 6                                    510 Walnut Street, Suite 500
                                      Philadelphia, PA 19102
 7                                    (215) 592-1500
                                      cshaffer@lfsblaw.com
 8
 9                                    Doug McNamara
                                      COHEN MILSTEIN SELLERS & TOLL
10                                    LLC
                                      1100 New York Ave. NW, Suite 500
11                                    Washington, DC. 20005
                                      (202) 408-4600
12                                    dmcnamara@cohenmilstein.com
13
                                      Ben Barnow
14                                    BARNOW & ASSOCIATES
                                      One North LaSalle Street, Suite 4600
15                                    Chicago, IL. 60602
                                      (312) 621-2000
16
                                      b.barnow@barnowlaw.com
17
                                      Stanley Bernstein
18                                    BERNSTEIN LIEBHARD LLP
                                      10 East 40th Street
19                                    New York, NY 10016
                                      Direct: 212-951-2040
20
                                      Main: (212) 779-1414
21                                    bernstein@bernlieb.com

22                                    Todd Garber
                                      FINKELSTEIN, BLANKINSHIP,
23                                    FREIPEARSON
                                      & GARBER, LLP
24
                                      445 Hamilton Ave., Suite 605
25                                    White Plains, NY. 10601
                                      (914) 298-3281 ext. 32803
26                                    tgarber@fbfglaw.com
27

28
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                                      Rosemary M. Rivas
 1                                    LEVI & KORSINSKY, LLP
 2                                    44 Montgomery Street, Suite 650
                                      San Francisco, CA 94104
 3                                    (415) 291-2420
                                      rrivas@zlk.com
 4

 5                                    Geoffrey Rushing
                                      SAVERI & SAVERI INC.
 6                                    706 Sansome Street, Suite 200
                                      San Francisco, CA. 94111
 7                                    (415) 217-6810
                                      grushing@saveri.com
 8
 9                                    Stephen Rosenthal
                                      PODHURST ORSEK P.A.
10                                    SunTrust International Center
                                      One S.E. 3rd Ave., Suite 2300
11                                    Miami, FL. 33131
                                      (305) 358-2800
12                                    srosenthal@podhurst.com
13
                                      Anthony Fata
14                                    CAFFERTY CLOBES MERIWETHER &
                                      SPRENGEL LLP
15                                    150 S. Wacker, Suite 3000
                                      Chicago, IL. 60606
16
                                      (312) 782-4880
17                                    afata@caffertyclobes.com

18                                    Plaintiffs’ Executive Committee

19                                    Joshua H. Eggnatz
                                      EGGNATZ PASCUCCI, P.A.
20
                                      5400 S. University Drive, Suite 417
21                                    Davie, FL 33328
                                      (954) 889-3359
22                                    JEggnatz@JusticeEarned.com
23                                    Scott Cole
                                      SCOTT COLE & ASSOCIATES
24
                                      1970 Broadway, 9th Floor
25                                    Oakland, CA 94612
                                      (510) 891-9800
26                                    scole@scalaw.com

27

28
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                                      Richard S. Wayne
 1                                    STRAUSS TROY
 2                                    150 E 4th St #4
                                      Cincinnati, OH 45202-4018
 3                                    (513) 629-9472
                                      rswayne@strausstroy.com
 4

 5                                    Anthony G. Simon
                                      SIMON LAW FIRM, P.C.
 6                                    800 Market St., Suite 1700
                                      St. Louis, MO 63101
 7                                    (314) 485-4034
                                      asimon@simonlawpc.com
 8
 9                                    Phong Tran
                                      JOHNSON FISTEL, LLP
10                                    600 West Broadway, Suite 1540
                                      San Diego, CA 92101
11                                    (619) 230-0063
                                      Phongt@johnsonfistel.com
12

13                                    James Vlahakis
                                      SULAIMAN LAW GROUP, LTD.
14                                    2500 South Highland Ave., Suite 200
                                      Lombard, IL 60148
15                                    (312) 313-1613
                                      jvlahakis@sulaimanlaw.com
16

17                                    Gordon M. Fauth, Jr.
                                      FINKELSTEIN THOMPSON LLP
18                                    100 Pine Street, Suite 1250
                                      San Francisco, CA 94111
19                                    (415) 398-8700
                                      gfauth@finkelsteinthompson.com
20

21                                    Gary S. Graifman
                                      KANTROWITZ GOLDHAMER &
22                                    GRAIFMAN, P.C.
                                      747 Chestnut Ridge Road
23                                    Chestnut Ridge, NY 10977
                                      (845) 262-2335
24
                                      ggraifman@kgglaw.com
25

26
27

28
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                                      Jeffrey Squire
 1                                    BRAGER EAGEL & SQUIRE, P.C.
 2                                    885 Third Avenue, Suite 3040
                                      New York, NY 10022
 3                                    (212) 308-5858
                                      squire@bespc.com
 4

 5                                    Daniel Mulligan
                                      JENKINS, MULLIGAN & GABRIEL, LLP
 6                                    10085 Carroll Canyon Rd., Ste 210
                                      San Diego, CA 92131
 7                                    (858) 527-1792
                                      dan@jmglawoffices.com
 8
 9                                    Jason Barnes
                                      BARNES & ASSOCIATES
10                                    219 East Dunklin Street, Suite A
                                      Jefferson City, MO 65109
11                                    (573) 634-8884
                                      Jaybarnes5@zoho.com
12

13                                    Alexandra Steele
                                      GIRARDI KEESE
14                                    1126 Wilshire Blvd.
                                      Los Angeles, CA 90017
15                                    Tel: (213) 977-0211
                                      asteele@girardikeese.com
16

17                                    Todd Werts
                                      LEAR WERTS LLP
18                                    2003 West Broadway, Suite 107
                                      Columbia, MO 65203
19                                    (573) 875-1991
                                      werts@learwerts.com
20

21                                    Archie Grubb
                                      Beasley Allen
22                                    4200 Northside Pkwy NW
                                      Building One, Suite 100
23                                    Atlanta, GA 30327
                                      Archie.grubb@beasleyallen.com
24

25                                    Plaintiffs’ Steering Committee

26
27

28
     CONSOLIDATED AMENDED COMPLAINT      304                      NO. 5:18-MD-02827-EJD
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 1                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
 2          I, Mark C. Molumphy, attest that concurrence in the filing of this document has been
 3   obtained from the other signatory. I declare under penalty of perjury under the laws of the United
 4   States of America that the foregoing is true and correct.
 5          Executed this 2nd day of July, 2018, at Burlingame, California.
 6

 7                                                     /s/ Mark C. Molumphy
                                                       MARK C. MOLUMPHY
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     EXHIBIT 3
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  Standing Committee on Industry, Science and
                            Technology

INDU     ●    NUMBER 097       ●      1st SESSION      ●       42nd PARLIAMENT




                               EVIDENCE




                  Thursday, March 1, 2018




                                   Chair
                              Mr. Dan Ruimy
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                      Standing Committee on Industry, Science and Technology


                                                         Thursday, March 1, 2018




                                                                         [English]
● (1530)
                                                                           Specifically, this means that unfortunately I cannot respond as to
[English]                                                                whether or not we are currently investigating Apple on this or any
   The Chair (Mr. Dan Ruimy (Pitt Meadows—Maple Ridge,                   other issue, nor can I speak to hypotheticals. I do, however, want to
Lib.)): Welcome, everybody. Pursuant to Standing Order 108(2),           provide some context about the bureau and about its mandates. I'll
we're in the study of iPhone performances and their batteries with       highlight a few recent examples of enforcement cases within the
respect to the interests of Canadian consumers.                          digital economy.

   We'll have two panels today. From 3:30 to 4:30, we have the           [Translation]
Competition Bureau, with Alexa Gendron-O'Donnell, the associate
deputy commissioner, economic analysis directorate, competition             The Competition Bureau, as an independent law enforcement
promotion branch. We also have, from Primate Labs, John Poole,           agency, ensures that Canadian consumers and businesses prosper in
president.                                                               a competitive and innovative marketplace that delivers competitive
                                                                         prices and more product choice.
  After that we will take a quick break and we'll go right into the
second panel with Apple Canada, where we have Jacqueline                    The bureau is headed by the Commissioner of Competition and is
Famulak, regional counsel, Canada and Latin America, and Simon           responsible for the administration and enforcement of the Competi-
V. Potter, counsel, McCarthy Tétrault LLP.                               tion Act and three of Canada’s labelling statutes.
  We have the PowerPoint from Mr. Poole and we also have                 [English]
submissions from iPhone. If there's no objection, I think it would be
okay to put it on our website. We have consent.
                                                                            The Competition Act provides the commissioner with the
  Committee, are we okay if everybody shares it?                         authority to investigate anti-competitive behaviour. The act contains
                                                                         both civil and criminal provisions and it also grants the commis-
  Some hon. members: Agreed.                                             sioner the authority to make representations to regulators.

  The Chair: Excellent.                                                    On the civil side, the bureau conducts investigations into false or
  We're going to get started.                                            misleading representation and other deceptive marketing practices,
                                                                         non-criminal competitor collaborations, abusive conduct by domi-
  Ms. O'Donnell, you have up to 10 minutes.                              nant companies; and it reviews mergers.
   Ms. Alexa Gendron-O'Donnell (Associate Deputy Commis-
                                                                            On the criminal side, the bureau conducts investigations into
sioner, Economic Analysis Directorate, Competition Promotion
                                                                         companies that knowingly or recklessly engage in false or
Branch, Competition Bureau): Thank you, Mr. Chair.
                                                                         misleading representations, deceptive telemarketing, pyramid
  As mentioned, my name is Alexa Gendron-O'Donnell. I'm an               schemes, bid rigging, price fixing, market allocation, and output
Associate Deputy Commissioner at the Competition Bureau. I head          restriction.
up our Economic Analysis Branch.
                                                                            Owing to the unique types of investigations that we conduct, the
[Translation]                                                            Competition Bureau is staffed mainly by a mix of competition law
  I am pleased to appear today before the committee studying Apple       officers, lawyers, and economists.
iPhone performances and their batteries.
                                                                           Given that many markets are global in scale, the Competition
  For the sake of clarity, I would like to say at the outset that I am   Bureau also regularly co-operates with its key international
unable to comment on the specifics of potential enforcement cases,       counterparts, including the U.S. and the EU, and has developed
as the law requires the bureau to conduct its enforcement work in        partnerships with other law enforcement agencies and government
confidence.                                                              regulators both internationally and domestically.
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2                                                                    INDU-97                                                      March 1, 2018



  The bureau has two enforcement branches that investigate anti-              In January of last year, Amazon agreed to pay $1 million in an
competitive activity in the marketplace. First, the mergers and             administrative monetary penalty and $100,000 towards the bureau's
monopolistic practices branch reviews proposed merger transactions          investigative costs as part of a consent agreement resolving our
and investigates practices that could negatively impact competition.        concerns over their online pricing practices, which were implying
The second one is the cartels and deceptive marketing practices             greater savings available to consumers than was actually the case.
branch which fights criminal or deceptive business practices that hurt      Amazon also modified the way that it advertised its list prices on its
consumers and competition in the market.                                    website. It put policies and procedures in place to ensure that
● (1535)                                                                    consumers were not misled by inaccurate savings claims.

[Translation]

   The bureau’s advocacy, economic analysis, and international work
is supported by the competition promotion branch, which actively
encourages the adoption of pro-competition positions, policies, and            Earlier this month, the Federal Court upheld the bureau's consent
behaviours by businesses, consumers, regulators, government, and            agreement with Apple and major e-book publishers Hachette,
international partners.                                                     Macmillan, and Simon & Schuster. The agreements followed a
                                                                            bureau investigation that concluded an anti-competitive arrangement
[English]                                                                   between four publishers and Apple led to higher e-book prices for
                                                                            Canadian consumers. This decision will allow retailers to offer
    It's worth repeating in detail that, as a law enforcement agency,
                                                                            discounts on e-books to consumers and ensure that a fourth consent
the bureau conducts its activities, including its investigations, in
                                                                            agreement with publisher HarperCollins will enter into force.
confidence, meaning that all non-public information gathered by the
bureau in enforcement matters, whether obtained voluntarily or
through the use of formal powers, is held on a confidential basis.

   While a party under investigation may itself release information
related to an investigation, the bureau does not comment publicly on           In January of this year, the bureau took legal action against
an investigation or even its existence until the matter has either been     Ticketmaster and its parent company Live Nation to stop them from
made public by the party itself or until certain steps have been taken,     allegedly making deceptive marketing claims to consumers when
such as filing an application with the competition tribunal or              advertising prices for sports and entertainment tickets. In this case,
announcing a settlement.                                                    the commissioner is alleging that consumers have been led to believe
                                                                            that they can get tickets at a certain price when in fact mandatory
   Even in those instances, we are required by law to keep                  fees imposed by companies often increase the advertised price by
confidential any information that is not public. This is done to            20% to 65%. Among other things, the bureau is seeking an end to
protect confidential information provided to us by our sources and          the alleged deceptive marketing practices, as well as an adminis-
also to avoid harming the reputation and integrity of defendants            trative monetary penalty.
before their case has been adjudicated. This ultimately protects the
integrity of the bureau’s investigations. That said, the bureau can
share confidential information with other law enforcement agencies,
but solely for the purpose of administering and enforcing the act.

   The goal of our enforcement is to protect Canadian consumers                On the competition promotion side, the bureau is actively engaged
with specific and general deterrence of anti-competitive behaviour in       in advocacy within the digital economy. One of our most notable
the market. We've had a number of recent enforcement successes              projects in this area is our recent market study on fintech, in which
with a focus on the digital economy, and I'd really like to highlight       we examined the barriers to growth and the adoption of financial
those for you now.                                                          technology in Canada and provided a number of recommendations
                                                                            to help regulators and policy-makers continue to promote fintech in
   Last week, through a consent agreement with Enterprise Canada            three key areas: how consumers pay for goods, how they obtain
car rental, the bureau reached a third resolution in its investigation of   loans for themselves and their businesses, and how they receive
drip pricing in the car rental industry. That company agreed to pay a       financial advice.
$1 million penalty for what the bureau concluded were false or
misleading advertising for prices and discounts on car rentals. Those
prices were unattainable by consumers because of additional
mandatory fees tacked on right before checking out.

   Following on the heels of earlier agreements with Avis, Budget,             Our final report recommended the modernization of laws and
Hertz, and Dollar Thrifty, the total penalties paid by these companies      regulations to encourage the entry and adoption of new technologies
thus far is now in excess of $5 million, and a further $250,000 was         while maintaining consumer confidence and safety in this rapidly
contributed to the bureau's investigative costs. Those companies            evolving sector. We were extremely pleased to see a significant
involved have also agreed not to engage in this type of behaviour           number of these recommendations incorporated in this week's
going forward.                                                              federal budget.
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   The bureau also recently released a discussion paper on the issue     million results each month from our users. We are able to take these
of big data, with a view to providing guidance on the application of     results and publish them to the public in general so that people can
the act and to initiate discussion on how this topical issue should      see the performance of various individual devices. We are also then
affect competition policy in what is becoming an increasingly data-      able to collect these results and statistics on them, and report
driven economy. Our findings were that the key principles of             aggregate scores. Generally speaking, what we've done in the past is
competition law enforcement remain valid in big data investigations      report the average score for each device, but as I will go into later,
and, further, that enforcement needs to strike the right balance         we also started looking at the distribution scores once we became
between taking steps to prevent behaviour that truly harms               aware of the performance issues with the iPhone.
competition and over-enforcement that chills innovation and
dynamic competition.
   Although unrelated to the digital economy, I did want to raise one       Here are the particulars for the timeline of events that led us to
final case with all of you, which is the bureau's participation in a     conduct this analysis. In approximately September 2017, we started
class action settlement with Volkswagen. If approved by the courts, it   receiving complaints from Geekbench users that their phones felt
will provide $290.5 million in compensation to consumers in the          slow. These reports were also backed up by reduced Geekbench
Volkswagen, Audi, and Porsche emissions case. Combined with last         scores. Normally, when we've seen reduced Geekbench scores from
year's two-litre diesel vehicle settlement, the bureau's investigation   our users, we're able to identify a cause that leads to these lower
has resulted in $2.39 billion in compensation for Canadian               scores. In this case we were unable to determine that cause, nor were
consumers. Volkswagen and Audi will also pay a penalty of $2.5           we able to reproduce the results internally in our own laboratory
million specifically to address the bureau's concerns related to false   testing.
or misleading advertising and environmental marketing claims that
were made to promote certain vehicles with a three-litre diesel
engine.
● (1540)                                                                    We initially assumed that this was due to a software update—iOS
[Translation]                                                            11—that Apple had released within approximately the same time
                                                                         frame. Whenever these updates come out, they cause the phone to
   To stay within my allotted time, I will end my comments here.         potentially run a little slower for a while as the phone upgrades its
However, I will endeavour to answer any questions you have,              internal databases and rearranges data to meet the new format of the
recognizing that I am unable to speak to specifics about our             operating system. Usually, these performance issues resolve
enforcement work that has yet to be made public.                         themselves in a day or two as the phone finishes its background
                                                                         tasks. Our assumption leading up to December was that this was a
  I would like to thank the committee for the opportunity to appear
                                                                         software issue and that it would resolve itself fairly quickly for most
today.
                                                                         users.
[English]
  Thank you, and I look forward to any questions you may have.
  The Chair: Thank you very much. I look forward to asking you              However, in December 2017 we came across a Reddit post with
some questions.                                                          the title “PSA: iPhone slow? Try replacing your battery!” It
   We're going to move to Primate Labs. Mr. Poole, you have up to        contained the quote, “Apple slows down phones with low capacity
10 minutes.                                                              batteries, replacing it”—meaning the battery—“makes them full
                                                                         speed again.”
   Mr. John Poole (President, Primate Labs): Mr. Chair, I'd like to
take this opportunity to thank the committee for allowing me to
appear today to discuss the topic of the performance of iPhones and
their batteries. My name is John Poole. I'm the founder and president       At this point, we changed our theory. We went from thinking this
of Primate Labs, a software company based in Toronto.                    was a software issue to a hardware issue, and we started to dig in and
   Primate Labs develops Geekbench, which is a cross-platform            look at the results that users had uploaded to our service to see if we
benchmark available for Android, iOS, and other platforms.               could actually determine the scope and magnitude of this slowdown
Geekbench provides an objective measure of performance for               that users were experiencing. That led us to publish the article
devices and computers. It reports this performance through a score.      “iPhone Performance and Battery Age”. This article contained kernel
These scores are calibrated against a baseline machine and provide a     density plots of Geekbench scores for several iOS versions. We
relative measure. You can compare a device's performance against         broke down the results by phone and by operating system version.
both the baseline and other devices that have run Geekbench. Higher      Again, we based this on user benchmark data from the Geekbench
scores indicate higher performance, with an approximate linear           browser. We used approximately 120,000 results from both iPhone 6
function such that double the score means double the performance.        and iPhone 7.

  Geekbench also uses the Geekbench browser, which is an online
database. Whenever Geekbench is run, the benchmark results are
uploaded to our server. We receive approximately 400,000 to 1.1            Here is an example of the charts that were included in our article.
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   On the left, we have results from an iPhone 6 running iOS 10.2,           Again, here's another kernel density plot. On the left we have
and on the right we have results from an iPhone 6s running iOS            Canadian phones and on the right we have American phones. If you
10.2.1. As you can see on the left, with iOS 10.2, the distribution is    overlay the graphs, you'll see that the shape of both graphs is
what we would expect from most devices. We have a large peak              approximately similar, so the distribution of results is approximately
centred around the average score for that device. On the right,           the same. Similar distribution between the phones suggests there is
however, is where things get interesting. We see the large peak           not a difference in how this issue affects Canadian phones and
around the average, but we also see several smaller peaks at several      American phones, or more broadly, Canadian consumers and
lower tiers of performance. This suggested to us that the slowdown        American consumers.
was happening to users, that it was affecting a non-trivial number of
devices, and that the cause of it was introduced in iOS 10.2.1.              Thank you.
However, from our data, we were unable to determine exactly what          ● (1550)
that change was or why it was introduced. Again, this is sort of             The Chair: Thank you very much.
repeating the description I just gave.
                                                                            We're running a little short on time, so we're going to go right into
  Apple made a couple of statements in December 2017 that sort of         questioning. We're going to start off with Ms. Ng.
confirmed our results and also explained what was happening. Apple
indicated that the change was due to a software update and that in the      You have five minutes.
iPhone 6s, performance could be reduced for iOS 10.2.1.                     Ms. Mary Ng (Markham—Thornhill, Lib.): Thank you, Mr.
                                                                          Chair.
● (1545)
                                                                             Thank you both for coming here and appearing before us today on
    This software change was introduced to work around the                this important topic.
hardware issue. This hardware issue in particular was the battery.
What happened was approximately in December 2016, users started              My first question is to you, Ms. O'Donnell, at the bureau. You've
to complain about sudden shutdowns of their iPhones. They'd be            given us a number of examples, but are you able to talk to us about
using a phone, and when the battery level hit approximately 30% as        any actions or enforcement that might have been taken or that the
reported in the operating system, the phone would suddenly shut           bureau is undertaking around smart phones?
down.                                                                        Ms. Alexa Gendron-O'Donnell: Unfortunately, as I mentioned
                                                                          before, unless something is already public, we unfortunately can't
   What was happening under the covers when the sudden shutdown
                                                                          speak to whether or not we have something ongoing in the space. I
happened was that, when a processor runs at full power, the fastest
                                                                          think all of us refer back to our work on big data and some of the
performance, the sort of performance you'd expect when you're
                                                                          other things I mentioned just as examples of how the bureau is
running a benchmark like Geekbench or any sort of demanding
                                                                          engaging with the fact that we are seeing a lot of new products and
application on your phone, when the processor is running at a higher
                                                                          systems in the digital economy. It's something we're observing, but
performance, it uses more power. As the battery degrades, as the
                                                                          unfortunately, I can't speak to specifics on anything.
battery ages, which all lithium-ion batteries do, the battery is no
longer able to provide the power to the processor that it needs to run       Ms. Mary Ng: Okay. Can you talk to us about the application of
at that full performance. When that happened, the phone suddenly          the Competition Act? Does it have jurisdiction to cover foreign
shut down.                                                                firms?
                                                                             Ms. Alexa Gendron-O'Donnell: The Competition Act certainly
  The workaround that Apple introduced in iOS 10.2.1 was when it          applies to companies that operate in Canada. There are provisions
detected that the battery had degraded, when it detected that it no       there, particularly when I think about our deceptive marketing
longer was able to deliver the power that the processor needed, the       provisions, that make it such that the person you are—quote,
system as a whole would reduce the power, the performance of the          unquote—“deceiving” does not have to be in Canada, but as soon as
processor, so it no longer overtaxed the battery.                         a company is operating in Canada, they do have to comply with
                                                                          Canadian law, the Competition Act being one of those.
   One of the questions I was asked ahead of coming to the
committee was, does this affect Canadian and American iPhones                Ms. Mary Ng: I want to turn to Mr. Poole.
differently? Again, using the kernel density plots that we used in the
                                                                             I take it from the presentation you've shared with us that the
original article, we looked at results from the iPhone 6s running, at
                                                                          impetus for your company to look at this was a result of both data
the time, the latest operating system, iOS 11.2, and looked at
                                                                          and consumer experience. Were there any other factors for you to
approximately 190 Canadian results and just under 1,600 American
                                                                          look at this?
results.
                                                                             Mr. John Poole: Most of this was driven both by reports of our
   The classification of these results is a little ad hoc in that we're   users and from the reports we were seeing in the media, especially
using the location of the phone when the benchmark was run, not the       around the time of the Reddit post. That's when interest in this topic
country where the phone was sold. It's entirely possible that we          really exploded, so mostly it was driven by that. You know, our
could have a few phones here in this dataset that are American            individual customers were complaining that their phone performance
phones running benchmarks in Canada or vice versa. Personally, I          had been reduced, and then users saw that you could have reduced
believe that these phones are very few in number and should not           performance, and then replacing the battery, of course, then suddenly
affect the majority of the dataset.                                       made your phone operate as if it was new.
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  Ms. Mary Ng: I'm going to shift a little here.                              With regard to your research, did you have any feedback from
                                                                           some of your peers about the quality of your research and
  Do you think the results constitute some evidence towards what           investigation?
some allege, that Apple engages in planned obsolescence of its
products?                                                                     Mr. John Poole: We haven't had much direct feedback on the
                                                                           research. Generally the feedback has been positive. Most people that
  Mr. John Poole: When I initially wrote the article I said this was       we've spoken to, particularly with a statistics background, have said
very unfortunate, because this seemed like planned obsolescence,           the research seems quite sound.
older phones being made slower.
                                                                              Hon. Maxime Bernier: With your conclusion and all that, you
   In this case, though, it's not based on the age of the phone; it's      were saying that the Canadian iPhone and U.S. iPhone had the same
based on the ability of the battery to provide the power that the          challenges.
phone needs. Apple was dealing with a particular issue where their
phones were shutting down abruptly. Given the option between a                 I'm sure that you've read the answer from Apple. What do you
phone that shuts down abruptly and a phone that operates slightly          think about their position? You said “lack of transparency”, but after
slower, they made the decision that a slower phone was better.             that I think they came forward with a proposal. Do you think their
                                                                           position is a real one, or were they doing that deliberately to push the
   Regarding Apple's perhaps lack of transparency around that issue,       sales of the new phone?
I'm not sure what they should have done. The lack of transparency             Mr. John Poole: I'm not sure. Which proposal are you referring to
was certainly disappointing and could definitely lead people to say        from Apple?
this was an issue of planned obsolescence. However, I certainly don't
think that's the case.                                                        Hon. Maxime Bernier: The answer after all that. The proposal
                                                                           they sent to the committee.
● (1555)
                                                                              Mr. John Poole: I haven't read the proposal that Apple has sent to
  Ms. Mary Ng: Thank you.                                                  this committee.
   Ms. O'Donnell, what role does the Competition Bureau take with             Hon. Maxime Bernier: Okay, but you know what Apple said
respect to consumer protection?                                            after that happened. Do you think they were doing that unin-
  Ms. Alexa Gendron-O'Donnell: Within our act, we have                     tentionally or was it intentional to try to sell new phones?
deceptive marketing provisions, and maybe I'll tell you a bit about           Mr. John Poole: I'm not sure whether they were doing this
those.                                                                     intentionally to sell new phones.
   We have civil provisions and we also have criminal provisions. In           I believe they should have been very transparent with this at the
our civil provisions, we're looking at representations to the public       beginning when they reduced the performance of the phone. The fact
that are false or misleading in a material respect. When we look at        that this was a mystery to basically all consumers, including me.... I
that, we think about the general impression that the representation        think I'm fairly well positioned to comment on performance of
gives but also the literal impression. When we talk about material,        phones, but this result caught me completely by surprise when I
that's our way of saying, to what extent did that representation cause     discovered it in December. I wish Apple had been very transparent
a change in consumer behaviour? One example of that could be               from the beginning.
whether the consumer bought the product or not.
                                                                              What their motives were, whether this was to sell more phones, to
  The criminal provisions are very similar, but obviously there's that     avoid a recall of existing phones, I unfortunately can't comment to
extra element of criminal intent. We would ask, did they do it             that.
knowingly or recklessly? In that sense, it's a bit different. We involve   [Translation]
our colleagues at the Public Prosecution Service of Canada to help
with these. There are provisions there which, while they're not               Hon. Maxime Bernier: All right, thank you.
consumer protection per se—that's the mandate of our provincial               I enjoyed your presentation on the Competition Bureau. You said
colleagues—they are there to protect consumers from false or               that we cannot become involved in the bureau's internal affairs, and
misleading advertising. Those are the ones that we enforce.                that is quite understandable.
  Ms. Mary Ng: All right, thank you. That was very helpful.
                                                                             Having said that, I imagine that consumers are quite concerned
  The Chair: Thank you very much.                                          about what happened. Has the bureau received complaints about this
[Translation]                                                              specific file?
                                                                             Ms. Alexa Gendron-O'Donnell: Unfortunately, whether or not
  Mr. Bernier, you have five minutes.                                      we have received complaints and the number of complaints is also
  Hon. Maxime Bernier (Beauce, CPC): Thank you, Mr. Chair.                 confidential information.
  I would like to thank the witnesses for being with us today. We            However, as you mentioned, our bureau accepts complaints and
appreciate it very much.                                                   anyone can call us and report their concerns.
[English]                                                                    Hon. Maxime Bernier: I tried.
  My first question will be for Mr. Poole.                                   Thank you.
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[English]                                                                  analysis that you did here with the graph is a good one for people to
  Mr. Colin Carrie (Oshawa, CPC): Mr. Poole, in your opinion,              grasp and whatever. Is this a normal practice that you would do, or is
did Apple misrepresent its product to the public in any way?               this something that was developed because of the complaints coming
                                                                           in on the particular phones that you did them on?
  Mr. John Poole: It's hard to say. The claims that Apple makes
about performance tend to coincide with device launches. That's
when they really do talk the most like, “This phone is faster than the
old phone; this is roughly by how much.”                                      Mr. John Poole: We developed these graphs in response to the
                                                                           public interest in the iPhone battery issue. We have run these charts
   Most people in the industry look at the figures that manufacturers      for other phones. We've done a selective sampling of popular
present as an optimistic best-case scenario. A device manufacturer         android handsets, as well as laptop computers, anything that
will find the one benchmark that shows a 2X performance and will           basically runs off a battery. These problems currently are unique
say, “up to two times the performance”.                                    to iPhones.
  There are also, of course, factors that are outside a device
manufacturer's control that might affect the performance of its
phones. A great example of this would be thermals, where if your             Mr. Brian Masse: Have you subsequently done analyses on any
phone is in a hot environment, it will more likely run slower than the     other newer models of iPhones or previous phones, or has it just
phone in the cold environment, simply due to the mechanics of how          been this particular model?
modern integrated circuits work.
   In this particular case of having the battery start to slow down, I
think Apple wasn't as forthcoming as it could have been about the            Mr. John Poole: We've looked at the iPhone 6s, and we've also
condition of the battery. We've heard reports of users with a slow         looked at the iPhone 7. The iPhone 7 has a similar issue. The
phone, and this was ahead of Apple's battery upgrade program that it       performance issue started appearing in iOS 11.2. We believe it's too
announced in late December. They would know their phone was                early for this defect to show up in the iPhone 8 or the iPhone 10.
slow. They would be able to verify this with Geekbench or with
other tools, and they would take their phone into an Apple store and
say, “My battery is slow; I would like to upgrade this”, and Apple            Mr. Brian Masse: One of my concerns is whether this is a one-off
would say say, “No, no, your battery is fine.” Clearly, Apple wasn't       or a pattern of behaviour. We've seen cases similar to Volkswagen
being as forthcoming as it could be.                                       and others, and I was involved previously with the Toyota file, where
                                                                           there were several statements by the company that turned out to be
   To speak particularly to deceptive claims, I'm not sure how much
                                                                           erroneous in terms of consumer protection and the problems related
Apple claims of its iPhones 6s two years after they've been released.
                                                                           to their products.
The question is, of course, do consumers expect performance to
degrade over time? I would expect the average consumer would not.
Consumers are used to the idea of battery charge decreasing over
time. As I mentioned before, lithium ion is a fairly established              Ms. Gendron-O'Donnell, I know you can't comment on specific
technology and everybody understands the batteries will reduce             cases, but will you be examining market share? Is that part of the
capacity over time. I don't think anybody expects their phone to           process? In terms of a company releasing a product or influencing a
suddenly get slower because of the quality or the age of their battery.    product that's different from what they marketed and they gain
● (1600)                                                                   market share based upon that, is that part of an overall analysis in
    The Chair: Thank you.                                                  terms of an investigation to see if it has advanced the company's
                                                                           percentage of market share and changed that for consumers and also
    We're going to move on to Mr. Masse. You have five minutes.            other competitors?
    Mr. Brian Masse (Windsor West, NDP): Thank you, Mr. Chair.
    Thank you to the witnesses for being here.                                Ms. Alexa Gendron-O'Donnell: Again, without being able to
   One of the reasons I proposed the study was to ensure that              speak to the specifics of this case, in a general sense, the analysis that
Canadian consumers are going to receive fair and equitable                 we undertake really depends on the part of the act that we are
treatment. It's just my opinion, but I believe that the Competition        looking at. For example, in an abuse of dominance matter we are
Bureau does an excellent job with the resources it has and the             certainly looking to see whether the company is dominant. In a
legislation that's in place. However, it fails and pales in comparison     deceptive practices matter, I believe what you're referring to would
to what other countries have in order to deal with consumer-related        come into play if we determined that penalties were required. We
issues, not only in terms of competition but also privacy, and also the    have a list of factors that can come into play when we're determining,
protection of public safety.                                               for example, how large an administrative monetary penalty should
                                                                           be. One of them could in effect be how long the conduct took place,
  My first question to Mr. Poole is this. In your analysis of this, have   what was the breadth of the conduct, and the extent to which there
you done this type of analysis for any other phones or operating           were other factors such as profit made from this conduct. In certain
systems, and if you have, what were the results of those? Your             ways, those kinds of analyses would fit with our investigations.
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● (1605)                                                                       Mr. Frank Baylis: When that happens, I'd have a choice normally
                                                                            if I saw that happening. What would I normally have done if I didn't
   Mr. Brian Masse: With that, not to this specific case, but I am of
                                                                            do the software update?
the opinion that the $35 compensation for the batteries is tenuous at
best, especially with shipping costs. That's my personal opinion. I            Mr. John Poole: If your phone was susceptible to shutting down
don't believe it's sufficient for consumers. However, for compensa-         abruptly, there wouldn't be a lot you could do. At the time,
tion on any product or service are you able to levy any type of             unfortunately, no one quite knew why these phones were shutting
correction, and can it be different from what's proposed in other           down abruptly. You might suspect it's the battery. You could go out
countries?                                                                  and buy an external battery pack, a battery case for your phone, so
                                                                            that it would have more longevity. You could take it into an Apple
    France, Israel, South Korea, and the United States are having
                                                                            store and have the battery replaced at your own personal cost. Those
different investigations. Are you able, under the legislation, to
                                                                            would be the options available to you.
communicate with their different agencies and organizations,
governmental and justice, to participate in any type of information           Mr. Frank Baylis: Changing the battery or supplanting the
sharing?                                                                    battery.
   Ms. Alexa Gendron-O'Donnell: I will say from a general
                                                                              Mr. John Poole: Exactly.
perspective that we have a lot of co-operation with our counterpart
agencies, as I mentioned in my opening remarks. Again, I can't speak          Mr. Frank Baylis: I didn't necessarily have to have it run slow. I
to this case but we have various MOUs with all of these different           could have had that choice, if I knew that either you change the
agencies that allow us to speak with them, if it's appropriate, if we       battery and your phone could keep running at a normal rate.... I
are enforcing the act.                                                      wasn't given that choice in this case, and I wasn't told about it.
                                                                            Something just happened, right?
  With respect to how, I think what you're referring to is we're going
back to this idea of what a remedy could look like.                            Mr. John Poole: Exactly. When Apple released iOS 10.2.1, their
  Mr. Brian Masse: Yes.                                                     release notes mentioned—I don't remember the exact wording—a
                                                                            vague notion about power management and some description of that.
    Ms. Alexa Gendron-O'Donnell: When we, for example,                      I don't believe it tied into the sudden shutdown issue. It certainly
negotiate consent agreements, that can take a large variety of forms.       didn't mention it.
I'll point to a previous case we had with Telus where they committed
to restitute up to $7.34 million to affected consumers. The form that         Mr. Frank Baylis: There was a coded thing, just looking at power
penalty takes is very case-specific, depending on the facts of our          management.
investigation.
                                                                               Mr. John Poole: Exactly, and once you applied that update, your
  Mr. Brian Masse: Thank you.                                               phone would no longer shut down, but it might be running slower
                                                                            than it would were it a new phone.
  Thank you, Mr. Chair.
  The Chair: We're going to move to Mr. Baylis.                               Mr. Frank Baylis: That happened. They put this out. People
                                                                            unwittingly updated their phones. Then suddenly, because of your
   You have five minutes.                                                   expertise, it came to your attention. Is that what happened?
  Mr. Frank Baylis (Pierrefonds—Dollard, Lib.): Thank you,                    Mr. John Poole: That's correct. Both when our customers were
Chair.                                                                      complaining about it and once we saw the Reddit post indicating that
                                                                            changing the battery could improve your phone performance, that's
   Mr. Poole, I'd like to understand a bit more of the technicalities. If
                                                                            when we switched our theory from this being a software issue to a
I understood you correctly, barring this update, once my phone hits
                                                                            hardware issue. That's when we did the analysis and discovered just
about 30% left on the battery, what will happen if I don't do this
                                                                            how severe and how widespread this issue was.
update?
   Mr. John Poole: If you were not to apply this update to your                Mr. Frank Baylis: Have you seen anything like this in other
phone, when your phone hits approximately 30% charge, if your               technologies that you monitor, that a company might change
battery had degraded past a certain point, then your phone would be         something without advising people and it seriously degrades its
susceptible to shutting down unexpectedly. Should, let's say, you           performance?
launch an application or something, it would just shut off
                                                                               Mr. John Poole: We've seen a lot of issues in the past where
immediately.
                                                                            perhaps a new software update will cause a performance degrada-
   Mr. Frank Baylis: Did that problem exist on previous phones? It          tion. Usually, that's treated as a bug and fixed. It may be an oversight
started with the iPhone 6. Is that correct?                                 on the company's part, and it's immediately addressed in the
                                                                            subsequent update, or something—
   Mr. John Poole: I believe it did start with the iPhone 6. It was a
large issue with the iPhone's success that attracted some media             ● (1610)
attention in approximately December 2016. That was the first phone
where I'd heard of this in a widespread manner.                               Mr. Frank Baylis: But not done on purpose?
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   Mr. John Poole: Generally speaking, it's not on purpose. There             What would you say is the value difference between replacing the
may be slight drops—you know, 5% or 10%—due to a new                       battery and replacing an entire phone? Is there a significant
technology or a new way to work around things. A perfect example           difference in the value to Apple?
of this would actually be the Spectre and Meltdown fixes that have
come out recently to address security flaws, where there is the               Mr. John Poole: The value to Apple right now, especially
potential for having your device run slightly more slowly as a result      considering that they're operating the battery program at a severe
of these fixes.                                                            discount.... I unfortunately can't speak to the particular costs of a new
   Mr. Frank Baylis: That's not hidden from the...?                        battery versus a new phone. It's a lot more revenue for Apple to sell a
                                                                           consumer a new phone than it is to sell them a new battery. We're
   Mr. John Poole: That has received a lot of publicity and people
                                                                           talking perhaps in the order of magnitude of $100 for a battery
generally understand that this could be a side effect of applying—
                                                                           before the program versus $1,000 for an iPhone.
   Mr. Frank Baylis: But it was not hidden from the consumer?
   Mr. John Poole: Not at all.                                                Mr. Dane Lloyd: That's what's really interesting to me, because
   Mr. Frank Baylis: For this particular one, we can say—well, you         as a layperson who doesn't have the experience of someone like you,
can't speak to that.                                                       I expect our phones to just get slower over time. When that
                                                                           degradation happens, I think many of us would say to ourselves that
    This is a question for the Competition Bureau.                         perhaps it's time to get a new phone. When these slowdowns happen
                                                                           and they're due to batteries, not the phones themselves, I think many
   You said that you've done a lot of work with the digital economy.       people will go and buy a new phone.
In your notes you also mentioned, which I found interesting, that
you're doing a lot of work in fintech. A lot of people use their
iPhones for banking now. You said that you were very happy                     Would you say that this issue has led to a great growth of
—“extremely pleased” was your wording—with the recent budget.              magnitude and value to Apple, as opposed to what would have been
                                                                           the case if it had been more transparent and had told people about the
    What was in the recent budget that helped the Competition              battery changes?
Bureau? What was the recommendation that you made to the
government, which was in the budget and which you were pleased                Mr. John Poole: It's hard to say how many people went out and
about?                                                                     bought a new phone versus replacing their battery due to this issue. I
   Ms. Alexa Gendron-O'Donnell: Part of what I will do is provide          know anecdotally speaking that a number of our customers came to
you with the link to our fintech report for a bit more detail. The         us after we published these results and said exactly that, that they
budget spoke about looking at things like open banking and spoke to        had had a slow phone, that they had been confused and thought
fintech more generally. That is what I was referring to.                   simply that it was time to upgrade, so they went out and purchased a
                                                                           new iPhone, realizing now in hindsight that they may have been able
   Fintech to us is a really important topic, as it's something that's     to replace the battery and have a phone that operated much faster
evolving. It's really nice to see people interested as well—               than it had before.
   Mr. Frank Baylis: It's evolving very fast, and the Competition
Bureau had given the government some suggestions to be able to                I do know several analysts who have commented that this iPhone
keep up, to make sure that it doesn't get abused. Is that...?              battery replacement program, the severe discount that Apple
   Ms. Alexa Gendron-O'Donnell: That's right. The suggestions are          introduced in December, could have a material impact on the
provided broadly, and really what we want to make sure is that there       number of iPhone units that Apple ships this year.
are both enough regulations, such that people are comfortable using
this kind of new technology, but not so much that we're chilling             Mr. Dane Lloyd: Would you say that because people are now
potential innovation. Really, the report is about striking that balance,   aware of this battery issue, that will have a material negative impact
and the various suggestions that we make are for that purpose.             on Apple's sales of new phones?
Again, I'd be happy to provide that.
   Mr. Frank Baylis: Do you feel that the budget struck that                  Mr. John Poole: I know several analysts are suggesting that, and
balance?                                                                   their reasoning seems sound to me.
   Ms. Alexa Gendron-O'Donnell: We think the budget started us
down a path that is promising.                                                Mr. Dane Lloyd: You stated that it's unfortunate that it wasn't
                                                                           transparent, but you couldn't really say whether this was planned
   Mr. Frank Baylis: Thank you.                                            obsolescence. Would you say, then, that this lack of transparency
   The Chair: Thank you.                                                   essentially created a great deal of value for Apple?
    We're going to move to Mr. Lloyd.
                                                                              Mr. John Poole: It's entirely possible that it could have. With
    You have five minutes.                                                 consumers encountering a slow phone and deciding to upgrade, it
    Mr. Dane Lloyd (Sturgeon River—Parkland, CPC): Mr. Chair,              could have shortened an upgrade cycle. Perhaps if the consumer
I'll be splitting my time with my colleague to my right.                   would have held on to a phone for three or four years, then maybe
                                                                           this issue would have caused them to replace the phone after a year
    My first question is for Mr. Poole.                                    and a half instead.
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● (1615)                                                                   Competition Bureau would be able to identify the number of
  Mr. Dane Lloyd: Thank you.                                               complaints they have received related to iPhones as well.

   Ms. Gendron-O'Donnell, speaking more broadly and comparing                 Ms. Alexa Gendron-O'Donnell: As I mentioned previously, we
our competition systems with those in other countries, I note from a       keep information, including complaints, confidential. We are a law
number of articles that France is pursuing a criminal probe, and other     enforcement agency, so we conduct our work in confidentiality.
jurisdictions seem to take very tough actions when they see these          That's written into our act and that's also our procedure. We do that
things happening. Do you see a reason for Canada to move in that           to maintain the integrity of our investigations until we get to a point
direction?                                                                 where something can be made public. Alternatively, a party or a third
   Ms. Alexa Gendron-O'Donnell: As I mentioned before, Canada              party participating in our process can make anything public at any
does have both civil and criminal provisions in its act. In terms of       time, but the bureau itself maintains confidentiality.
things like deceptive marketing and abuse of dominance, we do have
quite strong provisions already, even if they are not identical to those     Mr. Terry Sheehan: You're different from the CRTC in that
of our counterparts. Obviously, the changes to the law itself rest with    sense, then, because we have information from them, but you
the department and ultimately with Parliament. I would say that if         don't....
you look at the penalties available under our act, we have some quite
strong ones.                                                                 Ms. Alexa Gendron-O'Donnell: That's right. I can't speak to the
  Mr. Dane Lloyd: Sorry, I guess I took all the time from my               CRTC, but I can say that the bureau itself is a law enforcement
colleague.                                                                 agency. We work with confidentiality.

   My final question would be, do we have a law in Canada against            Mr. Terry Sheehan: Fair enough.
planned obsolescence?
  Ms. Alexa Gendron-O'Donnell: The laws in Canada that we
                                                                              Mr. Poole, I caught an interview you did with CNBC back in
enforce don't often name specific types of conduct. We tend to have
                                                                           December. You made some statements that were interesting. You
laws that are broader, for example, against deceptive marketing,
                                                                           told them that you felt that Apple could have been more transparent
against abuse of dominance. I think I described them a bit earlier, so
                                                                           with its changes to software, and that it may not be the best idea to
you have a sense of what they cover. The idea is that those laws are
                                                                           skip future updates. You also felt that their communication was not
designed to capture deceptive marketing generally, ensure truth in
                                                                           “well”.
advertising generally, and look at abuse of dominance generally.
This is kind of where those laws lie.
   Mr. Dane Lloyd: In your opinion would it be helpful to your                Could you explain to this committee what you meant by those
department to have more direct wording, such as specifically stating       two statements?
planned obsolescence, like they do in France?
                                                                              Mr. John Poole: Here's what I meant by the first statement
   Ms. Alexa Gendron-O'Donnell: As I said before, the Competi-
                                                                           commenting on Apple's transparency, or lack thereof. I was
tion Bureau doesn't hold the policy function with respect to its laws.
                                                                           disappointed when we discovered this, to realize that this was a
The department would be the one to speak to you. I'm not in a
                                                                           change that Apple had introduced with basically no notification to
position to comment on that.
                                                                           the user. I think when they changed the performance, when they
  Mr. Dane Lloyd: Okay. Thank you.                                         changed the way the phone functions in such a fundamental way,
  The Chair: Thank you very much.                                          that should have been transparent to the user from the very
                                                                           beginning.
  We'll move to Mr. Sheehan for five minutes.
  Mr. Terry Sheehan (Sault Ste. Marie, Lib.): Mr. Chair, before I             Also, if the battery was degrading to the point where it was
begin my questioning I just need a point of clarification.                 affecting other functions on the phone, to have some sort of
  In our package we received a letter from the CRTC, addressed to          notification on the phone that would indicate that this was the case
you, dated February 26, 2018. In this letter the commission identifies     would have been great. We had users who'd gone through and said
how many complaints they have received related to the iPhone               they were experiencing the slowdown. They'd go into the settings
performance. Are we able to share that? Is that public information?        application on their phone to look to see whether there was any sort
                                                                           of report to advise people to take their phones or their batteries in for
   The Chair: Yes. It was circulated to the entire committee, so there     servicing, something which Apple does on other products that they
is no objection. We'll actually put that letter on our website as well.    provide. Their laptops, for example, will indicate if your battery is
  Mr. Terry Sheehan: Okay.                                                 outside of spec and should be replaced. There were no notifications
                                                                           in this regard on the iPhone.
  That leads into my first question, which is for Alexa from the
Competition Bureau.
                                                                              This was very much done under the radar without any real
  We have this letter from the CRTC where they identify the number         disclosure to customers that this was happening or what steps a
of complaints they received, that being 20. I'm wondering if the           consumer could take to either mitigate or remedy this sort of issue.
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   I would make another comment on encouraging consumers to                   For the final question of this session, we go to Mr. Masse.
continue to update their phones. When Apple releases new iPhone
software updates, these software updates can include unfortunate              Mr. Brian Masse: Thank you, Mr. Chair.
changes like this which could affect the way the phone operates.
                                                                              Ms. Gendron-O'Donnell, I know that in Australia there's a
They do also, however, include important security updates. If a user
                                                                            mediation process going on with Apple on some of their marketing
refused to update their phone, they could leave themselves
                                                                            practices, but also in your notes you mentioned that the Federal
vulnerable to various security issues which could cause nefarious
                                                                            Court recently upheld a bureau investigation with Hachette,
third parties to compromise their phone, their personal information,
                                                                            Macmillan, Simon & Schuster, and as well, Apple.
their banking, and any sort of information that might already be on
their phones.                                                                  Can you highlight that a little? I've been reading your comments
   I think as much as consumers have lost some trust in Apple, and          here, and it appears that an agreement was reached and then later on
the contents of their updates, I think it's still important for consumers   was appealed in the courts, and then was upheld again. Can you
to continue to apply the updates for these security reasons.                please expand on what happened there? It seems that something was
                                                                            reached, and then it was challenged later on. That seems a bit
● (1620)
                                                                            different or unusual.
  Mr. Terry Sheehan: Thank you.
                                                                               Ms. Alexa Gendron-O'Donnell: That's right. The bureau reached
  I'm going to split the rest of my time with MP Longfield.                 a consent agreement with a number of parties. Under the court
  Mr. Lloyd Longfield (Guelph, Lib.): Thank you, and I'll try to            system and under the law, a third party who has potentially been
sneak in two questions.                                                     affected by a consent agreement can challenge, which is what
                                                                            happened in this case. That has now all been resolved, so the most
  First, for Ms. Gendron-O'Donnell, when you're collaborating with          recent consent agreements that the bureau entered into now stand.
other countries, could a problem in one country trigger an                  There are consent agreements in place with all the list of parties that
investigation in Canada?                                                    you saw, that currently stand today.
  Ms. Alexa Gendron-O'Donnell: We start our investigations in a               Mr. Brian Masse: Can you confirm that Apple was part of that?
number of ways, but speaking with our international counterparts is
certainly among the ways we use to determine whether we should                Ms. Alexa Gendron-O'Donnell: There's a public consent
begin investigating certain issues.                                         agreement available on the Competition Tribunal website with
                                                                            Apple and the Competition Bureau that outlines all of those details.
  Mr. Lloyd Longfield: Thank you, because with Canadian
consumers and American producers, sometimes borders disappear.                Mr. Brian Masse: Okay.
  Ms. Alexa Gendron-O'Donnell: I think we know that products
and services are getting more global all the time and to us it                 Last, Mr. Poole, with regard to your process now, will you be
underscores the need to work together.                                      continuing to use your analyses for not only just Apple, but other
                                                                            phones and devices, in terms of speeds and updates? Is it something
  Mr. Lloyd Longfield: Great. Thank you.                                    that you do on a regular basis and as part of your analyses?
  I have a quick technical question for Mr. Poole.                          ● (1625)
   I'm a hydraulics specialist, so I'm translating this into pressure and     Mr. John Poole: We'll be extending the statistical analysis, which
flow. When you put power in, when you're trying to get too much             we do on a regular basis, to include this sort of analysis for iOS and
pressure out, you can reduce your flow. It sounds like what they're         Android devices. We'll also investigate whether or not we'll need to
doing in this case is a technical solution. Does your agency look at        extend this to both PC and Apple laptops.
technical solutions, or do you just look at complaints? Let's say a
battery is a replacement. You could put in a larger horsepower                Mr. Brian Masse: Thank you very much.
electric motor and a hydraulics system, or you could dial back your           The Chair: Thank you very much to our two witnesses for
flow on motors to be able to get more things done with the same             coming in today and sharing such wonderful information.
amount of power.
                                                                              We are going to suspend while we set everything up for our next
  Do you look at technical solutions?                                       panellists and then we'll go from there.
  Mr. John Poole: We will occasionally look at certain issues. In
                                                                            ● (1625)
regard to batteries, we tend to treat the battery as a black box that we                                   (Pause)
don't fully understand.
                                                                            ● (1630)
    Our expertise really lies in the processor itself, and generally
speaking, we won't speak to the design of a phone, saying that a              The Chair: Welcome back, everybody.
phone should have a larger battery or a smaller battery, something
like that. Our focus really is on the processor itself.                       We are on round two. With us today, from Apple Canada, we have
                                                                            Jacqueline Famulak, the regional counsel for Canada and Latin
  Mr. Lloyd Longfield: Okay, thank you. Thanks, Mr. Chair.                  America, and Simon Potter, who is counsel with McCarthy Tétrault
  The Chair: Thank you very much.                                           LLP.
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  You have 10 minutes to present to us. We'll then go into questions.      otherwise might turn off. It does this by balancing the demand for
  Ms. Jacqueline Famulak (Regional Counsel, Canada and                     power with the available supply. The sole purpose of the software
Latin America, Apple Canada Inc.): Good afternoon. My name is              update in this case was to help customers to continue to use older
Jacqueline Famulak. I manage legal and government affairs at Apple         iPhones with aging batteries without shutdowns, not to drive them to
Canada Inc. I have been employed by Apple Canada for over 30               buy newer devices.
years.
                                                                              Third, Apple regularly provides software updates for iPhones and
   Apple Canada Inc. is a sales and distribution entity. We also have      our other devices. These software updates can include everything
29 retail stores across Canada. The design, manufacture, and testing       from new features and bug fixes to security updates. Whenever we
of devices has always been done by Apple's parent company, Apple           issue a software update, we include a ReadMe note that has a
Inc., which is based in California.                                        description of the contents of the update for the customer to review
                                                                           prior to the software installation. In the case of iOS 10.2.1, we stated
   I’m here to help the standing committee understand the facts of         in the ReadMe note “improves power management during peak
Apple’s efforts to make sure that users of Apple devices get all the       workloads to avoid unexpected shutdowns on iPhone”.
benefits from the devices they use, and that these benefits last as long
as possible, even in a world of rapid innovation.                            Those things said, our intention has been to give our customers the
                                                                           best products and the best experiences possible. We take our
   Apple Inc. has recently answered a series of questions posed by         customer concerns seriously, and we have taken a number of steps to
the chairs of the United States Senate Committee on Commerce,              address them.
Science and Transportation and the United States House of
Representatives Committee on Energy and Commerce. Apple’s                     First, Apple is offering to provide out-of-warranty replacement
comprehensive answers to those questions are attached to my written        batteries for $35 instead of the original price of $99 to anyone with
statement. I believe you have received it.                                 an iPhone 6 or later, whether they have experienced any performance
  I am here today to answer your questions, but before doing so, I         issues or not. This offer began on December 28, 2017, and is
would like to share a few important points at the outset about             available through to the end of December 2018, so customers have
Apple’s actions regarding iPhone batteries and performance, and            plenty of time to take advantage of it.
what the Canadian consumer may have experienced as a result of             ● (1635)
those actions.
                                                                               Further, Apple is also providing customers with additional
   First, Apple would never intentionally do anything to shorten the       information on its website about iPhone batteries and performance,
life of any Apple product or degrade the user experience in order to       including tips to maximize battery performance.
drive customer upgrades. Apple’s entire philosophy and ethic is built
around the goal of delivering cutting-edge devices that our                   In addition, iOS 11.3, which is now in public beta, will add new
customers love. Our motivation is always the user.                         features to give customers easy access to information about the
   Second, Apple’s actions related to the performance of iPhones           health of their iPhone's battery. It will be available this spring, and
with older batteries were designed specifically to prevent some older      the new software will offer power management that will recommend
models from unexpectedly shutting down under certain circum-               if a battery needs to be serviced. It will also allow customers to see
stances, and we communicated this publicly. Let me explain.                whether the power management is on, and they can choose to turn it
                                                                           off if they wish.
  In order for a phone to function properly, the electronics must be
able to draw power from the battery instantaneously, but as lithium-         With that, I am ready to answer your questions.
ion batteries age, their ability to hold a charge diminishes, and their
ability to provide power to the device decreases. Very cold                  Thank you.
temperatures can also negatively affect a battery’s performance. A           The Chair: Thank you very much.
battery with a low state of charge may also cause the device to
behave differently. These things are characteristics of battery              Just to be aware, we do need five minutes at the end for some
chemistry that are common to all lithium-ion batteries used in all         committee business, so if we can keep our time tight, that would be
smart phones, not just Apple’s.                                            great.
   If power demands cannot be met, the iPhone is designed to shut            We're going to start off with Mr. Baylis.
down automatically in order to protect the device’s electronics from
low voltage. We do not want our customers to experience                      You have five minutes.
interruptions in the use of their iPhones, whether that is making an
emergency phone call, taking a picture, sharing a post, or watching          Mr. Frank Baylis: Thank you, Chair.
the end of a movie.
                                                                              Ms. Famulak, thank you for being here. If I understand the issue
  To address the issue of unexpected shutdowns, we developed               with the lithium-ion batteries—and we understand it thanks not to
software that dynamically manages power usage when, and only               Apple, but thanks to Mr. Poole from Primate Labs who explained it
when, the iPhone is facing the risk of an unexpected shutdown. This        to us—when the battery hits about 30%, there is this danger of
power management software helps keep iPhones on when they                  instant shut-off. Is that correct?
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   Ms. Jacqueline Famulak: Yes. There are a number of                         Ms. Jacqueline Famulak: We informed people that we had
circumstances that might give rise to an unexpected shutdown.              solved the problem of the unexpected shutdowns. That's what the
The chemical age of the battery itself—                                    iOS offer was designed to do.
   Mr. Frank Baylis: Yes, it will shut down, and Apple did not want           Mr. Frank Baylis: Didn't you feel it necessary to let them know
that to happen, so that's what they made this update for. Is that right?   that you were slowing down their phone?
   Ms. Jacqueline Famulak: Correct. Originally, we found a limited            Ms. Jacqueline Famulak: We felt it necessary to.... Yes. We felt
range of iPhone 6s phones that were manufactured incorrectly. We           it was very important to our customers, because what we were
offered a repair program for them. During that analysis, we                hearing from our customers was that the unexpected shutdown was a
discovered that other iPhone 6s phones were having shutdown                huge problem, and that a slower phone that can keep recording
issues.                                                                    valuable information or keep watching a movie would be better.
   Mr. Frank Baylis: So you had this thing that would shut down.              Mr. Frank Baylis: I will come back to my question.
You said you only wanted to do this.... Apple would never do                 Maybe no one's complained to you, but I've heard it, and I have a
anything to degrade the customer experience, right? You said that. It      phone that I complain about when it's slow. It may be news to Apple,
would only happen when and if it was needed, right? You mentioned          but many people don't like a slow phone.
also that you would not do anything to degrade the customer
experience. Then you also stated this would only happen when and if           Having said that, if you did need to slow it down at a certain point,
needed.                                                                    why would you slow it down before you needed to?
   Ms. Jacqueline Famulak: Yes. The software looks at the                     Ms. Jacqueline Famulak: When the other conditions are in
variables. It looks at chemical age. It looks at the room temperature.     existence.
It looks at the state of charge of the battery. It looks at those and         Mr. Frank Baylis: That would mean you needed to, but you
adjusts its levels accordingly in order to maximize the performance.       didn't.
  Mr. Frank Baylis: What we do know—and we have to say we                     Ms. Jacqueline Famulak: In order to preserve the components in
know this only from Primate Labs, because Apple has not released           the phone, the power will be managed.
any of the technicalities you're speaking to. We do know that the
problem happens at 30% left on the battery. We also know from their           Mr. Frank Baylis: Let's try another one.
work and studies that, and it's estimated, your slowdown might                Can you tell us at what point the battery life starts to die? Is it at
happen anywhere from 70% to 30%.                                           30%, as we were told by Mr. Poole, or is that incorrect? Is it at
                                                                           different points, not just 30%? Could it be at 40% or 50%?
   Why would you slow the phone down if there's 70% left on the
battery if you know the problem is only going to happen when                  Ms. Jacqueline Famulak: It's at different points.
there's 30% left? Why would you degrade the user experience right             Mr. Frank Baylis: It could be at different points. What points
at 70%?                                                                    would those be?
 Ms. Jacqueline Famulak: We're not attempting to degrade it.                  Ms. Jacqueline Famulak: I don't have that information.
What we're trying to prevent is the unexpected shutdown.                      Mr. Frank Baylis: At what point do you absolutely...? What
  Mr. Frank Baylis: But we know it's not going to happen, and we           would be the worst-case scenario? I have 70% left on my phone and
don't know this from Apple. We know this from a Canadian                   I need to slow it down at that point. Is that fair to say?
company that discovered this problem, and we know it's going to               Ms. Jacqueline Famulak: It's going to depend on the user and
happen around 30% battery life.                                            the other factors in existence.
   Why would you slow the phone down if it had more than 30%                   If you have 70% on your phone and it's very cold, the power
battery life?                                                              management might be diverted and you might experience differences
● (1640)                                                                   in performance, but when the room temperature changes, that might
   Ms. Jacqueline Famulak: If there are other factors in existence,        change again. That's what that power management was designed to
such as the chemical age of the battery or the ambient room                do.
temperature being very cold.... The software is looking at all three          Mr. Frank Baylis: Why can't I know that? You've been found
things and deciding at what point.                                         out. Why can't you just explain it? “This is the algorithm, and this is
                                                                           how it's going to work on your phone, Mr. Baylis.” Why can't I
   Mr. Frank Baylis: Is Apple ready to release the formula they use?
                                                                           know that?
Are you ready to put that out there to say this is why you use it in
this way so that theory, what you're stating, can actually be tested?         The Chair: Very briefly, please.
  Ms. Jacqueline Famulak: I would have to consult with the parent             Ms. Jacqueline Famulak: What we did do was provide the
company in order to release that information.                              ReadMe document and the support pages on our website that explain
                                                                           how the power management works and what conditions it does work
   Mr. Frank Baylis: Why would you not release it? I understood            in.
that Apple made all these changes and made no statement to
anybody about them. Is that a fair statement that when you made this          Mr. Frank Baylis: Thank you, Ms. Famulak.
change, you didn't inform anybody?                                            The Chair: Thank you very much.
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  We're going to move to Mr. Lloyd.                                          Mr. Dane Lloyd: Thank you.
  You have five minutes.                                                     How much longer do I have?
  Mr. Dane Lloyd: Thank you.
                                                                             The Chair: A minute and a half.
  Thank you for coming today and for your testimony.
                                                                             Mr. Dane Lloyd: I guess I'll defer to my colleague.
   These actions were unintentional, as you stated, yet it's very likely
that because people would have bought new phones based on slower             Thank you.
phones, Apple benefited financially. What are you doing to educate           Mr. Colin Carrie: Thank you very much, Mr. Chair.
people about this problem with the phone?
   Ms. Jacqueline Famulak: We have continued to provide                       You read out what you did in the case of iOS 10.2.1. You stated
information, make statements, and communicate to our customers.            that it “improves power management during peak workloads to
                                                                           avoid unexpected shutdowns on iPhone”. That was the representa-
  I want to make it very clear that we still sell these models of          tion you put with that update. Is that correct?
phones. It's not that we're trying to get people to buy iPhone 8s or
iPhone 10s, as much as they have different features.                         Ms. Jacqueline Famulak: You see it right before you install the
                                                                           software.
  In our statement, we reached out directly to customers who were
hearing a lot of information from other sources. We felt it was               Mr. Colin Carrie: Yes. You know what? I have an iPhone, too,
necessary for us to communicate directly to the consumer and               and I love it, but when I get your updates, I just do them. I don't read
explain what was going on.                                                 them, but that's my fault.
   I don't think we ever—                                                    Did you have any other representations that mentioned the iOS
   Mr. Dane Lloyd: Are they telling people about this in the stores        update may reduce the performance of the user's iPhone?
when they buy the phones? Have there been letter campaigns, email
                                                                             Ms. Jacqueline Famulak: No. The words “power management”
campaigns? What is being done?
                                                                           were meant to explain that the software will manage the power.
   Ms. Jacqueline Famulak: Our stores and all of our service
providers are aware and have all the documentation and the technical          Mr. Colin Carrie: So you assumed that people would understand
information necessary to replace the batteries.                            that.
   Mr. Dane Lloyd: I just wonder. I'm a person, I'm an iPhone user,          Ms. Jacqueline Famulak: People who use batteries, I think—all
and I like my iPhone, but if I hadn't heard about this in the news, I      devices have batteries nowadays—are used to the degrading of
wouldn't know anything about this issue. I just spent 20 minutes on        batteries. I think it's a welcome change to see somebody who's
the Apple website and I couldn't find a single thing about this issue.     saying, “We have some software that's going to manage your battery
It just feels as though Apple is not really telling people about this.     performance and make it last longer.”
   Can you explain why it's not more widespread?                             Mr. Colin Carrie: I just don't see the two necessarily equating.
   Ms. Jacqueline Famulak: Because the software update was
designed to avoid the unexpected shutdown, and that was very                  Did any of the representations you made mention the consequence
successful. The software did do that.                                      of not installing the update?
   Mr. Simon Potter (Counsel, McCarthy Tétrault LLP, Apple                   Ms. Jacqueline Famulak: Most likely the unexpected shutdown,
Canada Inc.): If you'll allow me, there are several things on the          because that's what the software update was designed to do.
website. I'll be very happy to send them to you later this afternoon or
                                                                              Mr. Colin Carrie: Mr. Poole was also saying that a lot of this was
tomorrow morning.
                                                                           done under the radar and that many people would just automatically
   Mr. Dane Lloyd: Thank you.                                              do it because they would be worried about not having the upgraded
   The Chair: Can you send it to the clerk, please?                        security, but perhaps some individuals might have wanted to make a
                                                                           different choice. Do you feel that you explained it well enough?
   Mr. Simon Potter: Of course, Mr. Chair. We'll do it through the
clerk.                                                                        Ms. Jacqueline Famulak: I think that when people do a software
   The Chair: Thank you.                                                   upgrade and it has a ReadMe announcement prior to the upgrade that
                                                                           says “fixes security bug” or that updates a flaw somewhere in the
   Mr. Dane Lloyd: I appreciate that there is this battery campaign, a     software, they should be doing that. We encourage that, and I think
discount, but it doesn't seem as though very many people are aware         that whether or not a person reads it, the fact that they no longer are
of it. Will the pickup be significant? Are people replacing their          having unexpected shutdowns is a benefit to them.
batteries? How many people have gone in? How widespread is this?
● (1645)                                                                     The Chair: Thank you very much.
   Ms. Jacqueline Famulak: It's my understanding that we've have             Mr. Masse, you have five minutes.
very good response to it and that our stores are very active in
replacing batteries.                                                         Mr. Brian Masse: Thank you for being here today.
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   One of the things I'm curious about is where you do your testing         Ms. Jacqueline Famulak: This issue can affect phones world-
for the iPhone.                                                           wide.
  Ms. Jacqueline Famulak: We do it at our headquarters in
California and probably at every manufacturing site where we would          Mr. Brian Masse: Why do you think Apple is now in front of the
make batteries.                                                           Department of Justice in the United States and in Spain, France, and
                                                                          South Korea? There are a number of different.... What is it about this
   Mr. Brian Masse: Is that where you do your cold weather testing        case that is now bringing you in front of them? Do you think there
as well? It's a serious question, because when people are using their     was something wrong in what Apple did, and what was that?
iPhones in very northern areas, cold would affect performance, and
you identified that. Everybody knows that. Do you do your cold
weather testing in California?                                              Ms. Jacqueline Famulak: I don't think Apple did anything
                                                                          wrong.
   Ms. Jacqueline Famulak: We would probably be doing it in cold
rooms, yes. We have extensive testing facilities for doing these
                                                                             Mr. Brian Masse: Okay, so is it generally the other countries,
things under all different temperatures.
                                                                          including Canada, and the consumers that are wrong, not Apple?
   Mr. Brian Masse: Okay. Who made the decision on a shutdown
at 30%? What Mr. Baylis was getting at was that somebody decided             Ms. Jacqueline Famulak: No, I believe that we continue to
on that 30% to have the software activate and go from being               communicate to the consumers in the best way we can by
dormant, I guess, to active. Why was it not 20% or 40%? That's what       communicating to them directly about what they are experiencing.
I think he was getting at. Who made that decision?                        I can't comment at all about what the other countries have alleged or
   Ms. Jacqueline Famulak: Mr. Poole used that 30% number, and            are investigating.
I'm not sure it's entirely accurate. I described the other factors that
come into play when a battery is going to determine whether it needs         Mr. Brian Masse: With regard to the refund of $35, I notice that
to manage its performance or whether it's just going to shut down.        in all of your media things you mention that it's $99 and you do it for
   Mr. Brian Masse: Okay. Let's get rid of the percentage. Who            $35. Why was that figure chosen? Who chose that figure? It was $99
makes the decision? Obviously it was decided that the software be         originally, and then there is shipping as well. Why not just replace
installed on the phones, and across the global platforms, I suppose.      the battery? You affected the performance anyway....
Who made that decision?
                                                                             Ms. Jacqueline Famulak: To be clear on what the program is, it
  Ms. Jacqueline Famulak: To update the iOS for the unexpected
                                                                          is a replacement program for $35, so we're not refunding people $35.
shutdown?
   Mr. Brian Masse: Yes, and to not disclose that to the public. Who        Mr. Brian Masse: Right.
in Apple decided? It's a known thing that you had there.
   You have the product and then you have the software, which is            Ms. Jacqueline Famulak: So anybody can go to a retail store or
designed to affect the phone. The phone then was affected, but that       an authorized service provider in Canada and obtain the battery
wasn't disclosed to the public. Who made that decision in Apple, in       replacement for $35.
your organization, not to disclose that to the public, including
Canadian operations? Who was that person?                                   Mr. Brian Masse: If you live in northern Ontario, for example,
   Ms. Jacqueline Famulak: There was no decision made not to              you have to use shipping. Why wouldn't Apple cover that?
disclose. We did provide the statement that explained it.
                                                                            Ms. Jacqueline Famulak: I believe that we have service
   If I could step back, when we first did the update, it was designed    providers. We have over 1,300 service providers across Canada.
to prevent the unexpected shutdown, and it was successful. We have
a huge number of our customers who do these updates regularly.               Mr. Brian Masse: In terms of the decisions, though, it was $99
   Moving forward, we started hearing that some of our customers          and went down to $35. I just think you should be doing it, but that's
were concerned about a slowness. We looked at the data and we             my personal opinion. Where was that decision made? I'm curious. I
found that the algorithm this offer was using.... Is it cold? Is the      think Canadian consumers want to know.
battery old? Is it depleted? It was that sort of thing. Also, how is it
managing it? We provided a statement on December 28 that we put             Is it all coming out of California? If that's the case, fine, but we're
out to the public. We put it out directly to our customers so they        looking for answers here.
would understand and to try to calm the noise that was going on
about it, because all that information was causing concern.
                                                                            Ms. Jacqueline Famulak: The decision is made on a global basis,
● (1650)                                                                  and the price is a Canadian price. I believe it's $29 U.S., so we have
  Mr. Brian Masse: I still don't know who made that decision.             $35 Canadian, and it's applied equally around the world.
That's important for me and for Canadian consumers. Was that
decision made in California?                                                Mr. Brian Masse: Okay.
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   With regard to moving forward, will Canadian consumers get              Ms. Jacqueline Famulak: No. No, our apology was to not
reciprocity should Apple change its policies related to reimburse-       communicate with them directly.
ment or compensation with the court cases in the United States,
Spain, France, and South Korea? Will Canadians receive the same            Mr. Nathaniel Erskine-Smith: For non-disclosure, right.
treatment and immediately as those other countries undergo their
                                                                            Was the non-disclosure in relation to the slow performance
separate investigations of Apple?
                                                                         intentional or inadvertent?
  Mr. Simon Potter: Mr. Masse, thank you very much. This gives
me an opportunity to speak as the lawyer here.                             Ms. Jacqueline Famulak: We didn't not disclose anything. We
                                                                         didn't have anything to not disclose.
  With respect, I think it's not appropriate to ask a company to
decide in advance what to do about a result or a settlement that is         Mr. Nathaniel Erskine-Smith: But the slowed performance of
unknown, in future, in an unknown country, and that you just wait to     the phone, the very reason you're attending today, that you did not
see—                                                                     disclose to consumers, was that non-disclosure intentional or
                                                                         inadvertent?
  Mr. Brian Masse: With all due respect, you're our witness here,
and our chair will decide what's appropriate or not appropriate—           Ms. Jacqueline Famulak: It was not intentional.
  Mr. Simon Potter: I agree.                                               Mr. Nathaniel Erskine-Smith: Okay, so if it was not intentional,
  Mr. Brian Masse: I believe it's a fair question to ask whether or      what I would like is an undertaking for any internal correspondence,
not Canadians are going to receive the same reciprocal treatment. I      advice, or opinions for Apple Canada or its parent U.S. company
thought it would be a policy of Apple's.                                 with respect to whether the slowed performance issue associated
                                                                         with the update should have been disclosed to consumers.
   Apparently there seems to be something with the $35, and that
being matched, as you mentioned, with regard to American pricing. I         Mr. Simon Potter: Are you asking for all the legal advice given
want to make sure, though, that Canadian consumers are going to get      to Apple?
the same.
                                                                            Mr. Nathaniel Erskine-Smith: If you deem it to be solicitor-
   Should Apple change and wipe out the $35, are Canadian                client privilege, so be it, but internal correspondence certainly isn't
consumers, for example, going to get the same thing? That seems          all solicitor-client privilege. It's any internal correspondence, advice,
like a policy decision by Apple.                                         or opinions that you're able to disclose, absent solicitor-client
                                                                         privilege, for Apple Canada or its parent U.S. company with respect
  The Chair: Mr. Masse, we're way over on your time.
                                                                         to whether the slowed performance issue associated with the update
  We can't force the witness to answer. He's given his answer. You       should be disclosed.
can try again when you come back to it, but we are going to move
                                                                            Mr. Simon Potter: I'm not going to make that undertaking. If the
on.
                                                                         committee wants to make a direction about things, we'll reconsider.
   Mr. Erskine-Smith, you have five minutes.                             But the fact is, as people here know, Apple is exposed to a number of
                                                                         class actions in the United States—
  Mr. Nathaniel Erskine-Smith (Beaches—East York, Lib.):
Thanks very much.                                                           Mr. Nathaniel Erskine-Smith: You're before a House of
                                                                         Commons committee that has subpoena powers, and you're at risk
   Thanks to the witness.                                                of contempt of the House not to answer our questions.
   Apple successfully reduced the occurrence of unexpected shut-           Mr. Simon Potter: I beg your pardon, Ms. Famulak is not here
downs but slowed down launch times and performance. Now, today           under subpoena—
you've strangely said that Apple did nothing wrong, but the issue is
disclosure, and Apple apologized for non-disclosure in relation to the      Mr. Nathaniel Erskine-Smith: No, that we...okay, I'm just going
slowed performance.                                                      to go on.
  Was the non-disclosure intentional or inadvertent?                        Mr. Simon Potter: —and if you issued one, it would be a
   Ms. Jacqueline Famulak: We don't think that we miscommuni-            different situation—
cated anything at any time. What we originally said was—                   Mr. Nathaniel Erskine-Smith: Just one second, please.
● (1655)
                                                                            Mr. Simon Potter: —and what I am saying...Mr. Chair, with
  Mr. Nathaniel Erskine-Smith: Why did you apologize?                    respect, what I'm saying is—
   Ms. Jacqueline Famulak: We apologized because our consumers
                                                                           Mr. Nathaniel Erskine-Smith: One second, please. Mr. Potter?
were not hearing directly from us. Our consumers are the people who
are relying on Apple to provide the information to them. There was a         Mr. Simon Potter: —that there's a considerable amount of
lot of noise in the media, and we wanted to make it very clear, so we    litigation out there.
apologized that we hadn't reached out sooner—
                                                                           Mr. Nathaniel Erskine-Smith: Okay, so it's a refusal to—
  Mr. Nathaniel Erskine-Smith: So you think you disclosed to
consumers the slowed performance issue?                                    The Chair: Excuse me. Thank you.
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  They're here voluntarily. They're not here under subpoena.                Thanks again to the witnesses.
  Mr. Nathaniel Erskine-Smith: I understand that.
  The Chair: Please let Mr. Potter finish answering his question,             Canadians are big fans of your products. They really like them. I
and it's up to them how they choose to answer the question.               think in my house we have eight of your products. One of the things
                                                                          Mr. Poole brought to my attention that I wasn't aware of, as this was
  Mr. Nathaniel Erskine-Smith: So the answer is a refusal.                coming down the pike, was that there were Apple customers who
  Of options in terms of notifying customers of the issue,                went to Apple stores and had their devices evaluated, and they were
encouraging battery replacements, making it easier to replace the         told that there wasn't really a problem that was...I'm quoting
batteries, why not give consumers the option and make it easy to          improperly.
replace batteries? You have airplane mode and low battery mode.
   Why was the best course to proceed with this solution and not             With this as a new experience for Apple, I suppose, has Apple put
disclose to customers that there would be slower performance?             in some internal operational changes so that if something like this
                                                                          comes up, it could be brought to the public's attention a little quicker
   Ms. Jacqueline Famulak: To prevent the unexpected shutdown.            and maybe find a quicker solution?
   Mr. Nathaniel Erskine-Smith: Okay.
                                                                          ● (1700)
   You're reducing prices through December 2018 for batteries. Is
there an estimated cost to Apple for that?                                  Ms. Jacqueline Famulak: In terms of putting together a
   Ms. Jacqueline Famulak: Well, it depends on the number of              replacement program?
people who take us up on the replacement program, but I can—
   Mr. Nathaniel Erskine-Smith: Has Apple not estimated a cost?              Mr. Colin Carrie: I'm thinking about in the future, if you have an
   Ms. Jacqueline Famulak: We don't stand to profit from it, if           issue like this, if your people on the front line are seeing some
that's what you're asking.                                                problems, if people are posting on the Internet—with the Internet
                                                                          people are becoming aware of things very quickly now. Has there
   Mr. Nathaniel Erskine-Smith: Right, so there's a cost to Apple         been an update to your internal communications to improve them so
for offering this through December 2018. Apple has not estimated          if something like this happens in the future, consumers won't be as
the cost to the company.                                                  edgy about the product?
   Ms. Jacqueline Famulak: I don't have that information for you.
   Mr. Nathaniel Erskine-Smith: Can that information be provided             Ms. Jacqueline Famulak: I think one thing that we realized was
to the committee?                                                         that we communicated as much as we possibly could about the
                                                                          unexpected shutdown problem, the steps we took, and how people
   Ms. Jacqueline Famulak: I'm not sure we would disclose that.           should update their software. December 28 was when we said to
   Mr. Nathaniel Erskine-Smith: Okay.                                     ourselves, “We need to talk directly to our customers, do it as soon as
                                                                          possible, and not let the noise out there affect them.“
   Is Apple ready to fully compensate consumers who purchase the
new phone unnecessarily as a result of the material non-disclosure?
                                                                            Yes, the lesson was learned. You always have to listen to your
   Ms. Jacqueline Famulak: The circumstances under which
                                                                          customers, and you need to react quickly when they have concerns.
somebody decides to upgrade a phone are individual, so it would
be very difficult to say that someone went out and purchased a new
phone because their battery was low. All batteries degrade over time,        Mr. Colin Carrie: Was Apple aware of how many customers out
so people eventually—                                                     there perceived the company to be engaging in this term that was
                                                                          brought up with the questioning, this planned obsolescence thing?
   Mr. Nathaniel Erskine-Smith: We're not talking about batteries,
though. We're talking about slow performance of the phone. If they          Ms. Jacqueline Famulak: Absolutely not.
don't know why there's slow performance, because there's been an
update that slows their phone that they're unaware of, and they
                                                                            Mr. Colin Carrie: I'm just curious, why would an owner of an
purchase a new phone because of that material non-disclosure, will
                                                                          iPhone, knowing that replacing the battery might restore the
they be compensated?
                                                                          performance of their device, choose to replace their iPhone if they
   Mr. Simon Potter: If you'll allow me, Mr. Chair, the question, or      knew just by replacing the battery they would get their performance
a variation of it, is posed in four class actions in Canada and over 50   back?
class actions in the United States. There will be a result, one way or
another, on those things as to whether there was a material non-             Ms. Jacqueline Famulak: Our newer devices have better
disclosure and who qualifies to be a member of the class in each          features, and there's so much.... Even in the short period of time
case. Perhaps that's better left to those cases.                          since the iPhone 6 was released to today, there are changes in the
   The Chair: Thank you very much.                                        way that people use their smart phone devices, and so they may
                                                                          choose to go with the more modern, updated features on the new
  We're going to move to Mr. Carrie.                                      devices and choose to update that way rather than just replace the
  Mr. Colin Carrie: Thank you very much, Mr. Chair.                       battery.
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  Mr. Colin Carrie: Okay. It appears that the wait time to get the           Mr. Terry Sheehan: There are different batteries that are put in
batteries replaced is eight weeks for someone who has an older            the phones at different times.
phone. I know now that I depend on my iPhone, and an eight-week
wait might be....                                                           Ms. Jacqueline Famulak: Yes.
  Ms. Jacqueline Famulak: We're working as fast as we can.                  Mr. Terry Sheehan: Okay.
  Mr. Colin Carrie: That's good, thank you.
  The Chair: We're going to move to Mr. Sheehan.                            We'll need some engineers to help us through that.
  You have five minutes.                                                    In your message to your customers, you talked about your
  Mr. Terry Sheehan: Thank you, Mr. Chair, and thanks to our              warranty. MP Carrie pointed out the length of time it's taking, and
presenters.                                                               people are complaining about replacements for those batteries.
                                                                          People complain that because they didn't know it was an issue, as
  I have a few questions.
                                                                          some of my colleagues on this side of the table have identified, they
   We're trying to figure out the number of complaints. Obviously,        went out and purchased a new phone. They just thought the phone
you must track the number of complaints as they relate to the iPhone      was at its end of life and not performing well, so they went out and
6. Are you able to share with the committee how many complaints           purchased one out of pocket. That was a challenge.
you've received about that?
   Ms. Jacqueline Famulak: We received complaints about the                  Whether it was intentional or unintentional, one would assume
unexpected shutdown and we were tracking that. That's how we sent         that profits are going to peak. Sales went up during that time frame.
off our engineers to solve the problem.                                   Are you able to verify that sales went up for—

   We have different categories that we record customer issues in, but       Ms. Jacqueline Famulak: —for newer devices? That's an
I don't have numbers specifically for Canada.                             interesting question, but our sales always go up in the month of
   Mr. Terry Sheehan: Would you say it's most of the phones or a          December because it's Christmastime.
small bit of the phones?                                                    Mr. Terry Sheehan: Year after year, but was it more so this time?
   Ms. Jacqueline Famulak: I would say a very small number of
phones.                                                                      Ms. Jacqueline Famulak: We came out with new devices also
   Mr. Terry Sheehan: In talking with my constituents in Sault Ste.       this year, the 8 and the 10 just before Christmas, so we're not sure.
Marie who have iPhones and have had iPhones all along—they had              Mr. Terry Sheehan: I guess that's something we could probably
the iPhone 4, the iPhone 5—their question is why the iPhone 6.
                                                                          pull because it's a public company. We could probably see the
   Ms. Jacqueline Famulak: The iPhones 4 and 5 were not affected          numbers for ourselves if we wanted to.
because they didn't have the performance features that started
coming out. As I described, every phone is better, has more stuff that      Ms. Jacqueline Famulak: Apple Canada is not a public
you can do, and has enhanced components, so the 4 and 5 are not           company. It's a private company.
affected. They're also a smaller form factor. It started with the 6.
                                                                            Mr. Terry Sheehan: You can't get that information, then?
   Mr. Terry Sheehan: Is it the same battery in the 4, the 5, and the
6?                                                                          Ms. Jacqueline Famulak: You would have to look at the Apple
   Ms. Jacqueline Famulak: I believe it's a different battery. I can      Inc. sort of aggregate numbers.
confirm that for you, if you'd like me to, but I think it has to do
largely with the number of features and the form factor of the 4 and        Mr. Terry Sheehan: We'll assume that sales went up, anecdotally.
the 5.
                                                                             Mr. Brian Masse: Apple reported that the final quarter 2018 was
   Mr. Terry Sheehan: Yes, because that would be important                the most successful quarter in its history from a revenue standpoint
information to know if it's the same battery in the 4 and 5 that was      of $88 billion. That equates to a $20-billion profit, also a record for
put in 6, and it's the performance issues, or is it a different battery   Apple.
and why.
   Ms. Jacqueline Famulak: I'm no engineer, but I think even if it          Mr. Terry Sheehan: Thank you, Brian.
was the same battery, the performance of those devices was less than
the new devices.                                                            Continuing on with the ideas of either replacing the battery or
   Mr. Terry Sheehan: Are the 7, the 8, and whatnot experiencing          buying a new phone, there was another solution that was posted on
the same problems as the 6?                                               your website. You were going to issue an iOS software update with
                                                                          new features that give the user more visibility on the health of the
● (1705)
                                                                          iPhone battery. Has that happened yet?
   Ms. Jacqueline Famulak: Again, the new phones, the 8 and the
10 have a lot more features, and they're engineered differently. They        Ms. Jacqueline Famulak: I mentioned that. That's iOS 11.3. It's
have different batteries and different components in them, so they're     in public beta now. It's going to be released in the springtime. It's
not experiencing the problem.                                             going to give the user more information about their battery.
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   We already do provide a lot of information on our support pages,             It's also really important to say that this doesn't happen to
on our website, but under 11.3, you'll be able to see on your phone          everybody all the time.
the state of the battery and the performance. If you wish to have            ● (1710)
these features on, it will turn on the performance management, and it
                                                                                Mr. Lloyd Longfield: It sounds to me like it's a technical
will notify you when it's time to replace your battery.
                                                                             problem.
   Mr. Terry Sheehan: Okay, so that has been going ahead to
circumvent many of the issues that are going on.                               There was a news item today. A competitor's product—not an
                                                                             Apple product—got too hot on an airplane and burned a person who
  I think I'm running out of time, Mr. Chair.                                was operating the unit at the time. It sounds like physical
                                                                             characteristics are what we're bumping up against here, and you're
  The Chair: Yes, you have run out of time.                                  working on some technical solutions.
  We're going to move to Mr. Longfield.                                         I used to take the blame for people trying to get more horsepower
                                                                             than a machine could provide, and I had to explain horsepower. You
  You have five minutes.                                                     can only get so much out of Mother Nature and especially when
  Mr. Lloyd Longfield: Thanks, Mr. Chair.                                    losses start increasing because of the age of the product.

  I really appreciate your coming in. It's a difficult thing to try to          On the testing of the units, then, over the range of temperature, is
answer the range of questions. It feels like question period all of a        there a standard minimum temperature? I know when we used
sudden, so I thank you for doing the great job you're doing in               products out of Europe they tested at a slightly higher temperature
keeping up with us.                                                          than what we were testing in Canada and we had to make allowances
                                                                             for lower temperature operations.
   I want to come more to the technical side. I started talking about           When you're operating out of California, is there a global standard
this last time and ran out of time.                                          for temperature, where you're going from -20° to 40°, or something
   When you have so much available power, and from that power                along those lines?
you're getting outputs, and depending on the number of applications,            Ms. Jacqueline Famulak: I could probably take this away and try
you're going to be able to operate at different speeds, from what I          to get you more comprehensive answers, but what I can tell you is
understand, the more you enhance the product, the more power                 that the testing.... We have the same devices everywhere in the world
you're going to be taking in order to drive the product.                     and we have standards that we have to meet, different standards in
                                                                             different countries. What we do is make sure that we comply with all
   As I mentioned, I was a machine designer in my previous life, and         of them—
people would add things to my machines and then call me because it
                                                                                Mr. Lloyd Longfield: Right.
had shut down, breakers were thrown, and whatever else. You
described the slowing down of the system so it could accommodate                Ms. Jacqueline Famulak: —so we have to be testing very
more things. You can do more things, but you have to sacrifice               vigorously for all the various situations in order to make sure that we
something in order to do that with the current design. I can                 meet all the standards that are required.
empathize with the designers. Now you have a solution that wasn't               Mr. Lloyd Longfield: Yes.
available before so you can say that you could let the customers
know when the conditions are changing or putting them into a risk              The technical comparisons in terms of marketing are probably not
mode so that they can choose whether to shut down or go more                 something you would normally market, for example, how many
slowly. It sounds like the designers have been working in the                more features you're running on your phone compared to other
background on the physical limitations because of the combination            phones, because—
of what you're trying to do, how many applications you're trying to            Ms. Jacqueline Famulak: —the user experience is so different.
run, and what temperature you're operating at.                                 Mr. Lloyd Longfield: Right.
  Am I summarizing the technical side of this?                                  I wanted to put that on the table. I think I'm sympathizing possibly
   Ms. Jacqueline Famulak: Yes. This is how it was explained to              more than some of my colleagues because of my working in a field
me—and I'm no engineer. The engineers developed a look-up table              of trying to get as much power out of a machine as you can, and at
that is looking at different things. It's looking at the workload that the   some point you can't get any more power without changing
user is putting on it. Are they watching something or playing games?         something.
Then they're looking at the ambient room temperature.                           Ms. Jacqueline Famulak: I think you would also agree that
                                                                             you'd rather keep the hydraulic machines that you're familiar with
   Now, I mentioned cold temperatures, but the iPhone device will            running than have them unexpectedly shut down.
also shut off if it's extremely hot. That's a safety feature that's always      Mr. Lloyd Longfield: Absolutely. The worst failure you can
existed. It's looking at ambient room temperature. It's looking at the       have is an unexpected failure. It's better to have a predictable failure
chemical age of the battery, as batteries do age. Then it's looking at       in any event, even on a phone.
the charge status of the battery. It's dynamically operating, and as
you said exactly, it's shifting energy in some place to compensate for          Ms. Jacqueline Famulak: I agree.
something else. If it changes, it changes.                                      Mr. Lloyd Longfield: Thank you, Mr. Chair.
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  The Chair: Thank you very much.                                         ● (1715)
  For the last two minutes, we go to Mr. Masse.                             Mr. Brian Masse: Thank you. That's what we're looking for,
                                                                          whether or not that's the policy of provision.
  Mr. Brian Masse: Thank you, Mr. Chair.
                                                                            I know that I have limited time, Mr. Chair.
   Maybe I can clarify what I'm trying to reach. Does Apple have a
policy in terms of consumer compensation that's global? We have a            I have another question. Apple, for example, in Canada has fallen
series of civil lawsuits that are out there, and then you have            from 73% of the market in 2010 to 51% of the market in 2017. This
government investigations. Your compensation model for consu-             obviously has an effect on your operations, but is this a one-off?
mers, is that a universal policy among all Apple users, or is it          Have there been any other unknowing changes to software related to
different state by state?                                                 performance enhancement in the previous applications, or have there
   Ms. Jacqueline Famulak: Can you clarify what you mean by               been subsequent to this any other slowdowns or deliberate changes
compensation?                                                             without consumer knowledge? Is this a one-off at the end of the day?
   Mr. Brian Masse: The battery replacement, for example.... What            Ms. Jacqueline Famulak: What we communicated is consistent
I'm trying to get at is whether the Canadian consumers are                with the way we always communicate to our customers about
guaranteed under Apple's policies to receive the same treatment as,       software updates and what we do with that ReadMe statement. As I
for example, the United States customers or customers in France or        described before, it could be different every time. There are always
customers in Israel. Do we get that automatically? Is that the policy     features that are being constantly re-evaluated and updated. Is this a
of Apple, or does it go state by state to decide the policies on how it   one-off in terms of the power, are you asking, or the unexpected
treats its consumers?                                                     shutdown? We sure hope the unexpected shutdown problem is
   Ms. Jacqueline Famulak: Our customers worldwide are our                solved now.
reason to be so we have to listen to them. I can't imagine that we          Mr. Brian Masse: In terms of software performance, though,
would favour one country's customer over another.                         without customer knowledge, have any other updates had similar
   Mr. Brian Masse: Okay, but you don't know if that's the policy or      programming to what we're currently looking at?
not. I think it's a simple question I'm asking you.                         Ms. Jacqueline Famulak: This is the current software right now,
   Ms. Jacqueline Famulak: It's our philosophy to listen to our           so as I described, 11.3 is coming out with some enhanced features.
customers.                                                                  Mr. Brian Masse: Right, okay.
   Mr. Brian Masse: There's a difference between a philosophy and
                                                                            Thank you very much for your time here today.
a policy. Then I guess it's your philosophy, so then I expect it's the
same thing—and this is what I'll come away with—that Canadian               The Chair: Thank you very much.
consumers are going to get the exact same treatment as anybody else
                                                                             I don't normally jump in with my own questions and comments.
in the world.
                                                                          However, I will on this one. I had the same situation with my iPhone,
   Ms. Jacqueline Famulak: They currently are.                            and this is the first that I'm hearing.... My phone was shutting down
   Mr. Brian Masse: Okay, that's what I'm—                                at 30% and I took it to an Apple store and didn't hear anything about
   The Chair: Sorry, I just want to interrupt for a second.               this. I love Apple. It's a great product for me. I was disappointed
                                                                          because I remember walking into the Apple store and being very
    I know you didn't have the answer, but could you follow up with       frustrated with the lack of answers that I was getting because it
that and forward it if you can get us the answer to that? I don't know    wasn't an older phone. It was relatively new. Take that back for what
if there is an answer.                                                    it is. It was very frustrating for me.
   Mr. Simon Potter: Certainly, Mr. Chair, we will find out if there's      Having said all that, I thank our guests for coming in. I hope it
a better answer to give than the answer Ms. Famulak has already           wasn't too uncomfortable, but we learned a lot today. We are going to
given, that Canadians have been treated identically to everybody so       suspend for two minutes and then we're going to go in camera.
far, and whether there's any policy in place that makes that
unexpected in future.                                                       [Proceedings continue in camera]
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ENGLISH

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which can be found at http://www.apple.com/legal/internet-services/icloud/ww/, respectively.

(b) If you sign up for iCloud, certain iCloud features like “iCloud Photo Library”, “My Photo Stream”,
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“iCloud Photo Sharing”, “Back Up” and “Find My iPhone” may be accessed directly from the iOS
Software. You acknowledge and agree that your use of iCloud and these features is subject to the latest
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Latvia, Lithuania, Luxembourg, Malaysia, Malta, Mexico, Netherlands, New Zealand, Nicaragua, Norway,
Panama, Peru, Philippines, Poland, Portugal, Puerto Rico, Romania, Singapore, Slovakia, Slovenia,
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between your iOS and Microsoft Exchange Server or other server software licensed by Microsoft to
implement the Microsoft Exchange ActiveSync protocol.

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07/14/2016

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Apple Pay Supplemental Terms and Conditions
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These Apple Pay Supplemental Terms and Conditions (the “Supplemental Terms”) supplement the iOS
Software License Agreement (the “License”); both the terms of the License and these Supplemental
Terms govern your use of the Apple Pay feature, which shall be deemed a “Service” under the License.
Capitalized terms used in these Supplemental Terms have the meanings set forth in the License.

1 Overview and Use Restrictions

Apple Pay allows you to store virtual representations of credit, debit and prepaid cards, including store
credit, debit and prepaid cards, which are supported by the Apple Pay feature (“Supported Payment
Cards”) and use supported iOS Devices to make contactless payments in select locations, or within
apps or websites. Apple Pay also allows you to use rewards and gift cards that are saved in Wallet
(“Apple Pay-Enabled Cards”, and together with Supported Payment Cards, “Supported Cards”) to make
contactless rewards and gift card transactions in select stores as part of a contactless payment using
Apple Pay. The Apple Pay features of the iOS Software may only be available in select regions, with
select card issuers, and with select merchants. Features may vary by region, issuer, and merchant.

In order to use Apple Pay, you must have a card supported by the Apple Pay feature. Supported Cards
may change from time to time. Supported Payment Cards are associated with an active iCloud account
in order to use this feature. Supported Cards are only available to individuals aged 13 years or older, and
may be subject to additional age-based restrictions imposed by iCloud or the Supported Card which you
are trying to provision.

Apple Pay is intended for your personal use and you may only provision your own Supported Cards. If
you are provisioning a supported corporate card, you represent that you are doing so with the
authorization of your employer and you are authorized to bind your employer to these terms of use and
all transactions eﬀected by use of this feature.

You agree not to use Apple Pay for illegal or fraudulent purposes, or any other purposes which are
prohibited by the License and these Supplemental Terms. You further agree to use Apple Pay in
accordance with applicable law and regulation. You agree not to interfere with or disrupt the Apple Pay
service (including accessing the service through any automated means), or any servers or networks
connected to the service, or any policies, requirements or regulations of networks connected to the
service (including any unauthorized access to, use or monitoring of data or traﬃc thereon).

2 Apple’s Relationship With You

Apple Pay enables you to create a virtual representation of your Supported Cards on your supported iOS
Device, however Apple does not process payments or other non-payment card transactions (such as
reward accrual and redemption), or have any other control over payments, returns, refunds, rewards,
value, discounts or other commerce activity that may arise out of your use of this feature. The terms of
cardholder agreements you may have in place with your card issuer will continue to govern your use of
your Supported Payment Cards and their use in connection with Apple Pay. Similarly, your participation
in any merchant rewards or gift card programs and your use of Apple Pay-Enabled Cards in connection
with Apple Pay will be subject to such merchant’s terms and conditions. Nothing in the License or these
Supplemental Terms modifies the terms of any cardholder or merchant agreement, and such terms will
govern your use of the applicable Supported Card and its virtual representation on your iOS Device.

You agree that Apple is not a party to your cardholder or merchant agreements, nor is Apple responsible
for the (a) content, accuracy or unavailability of any payment cards, rewards cards, gift cards, commerce
activities, transactions or purchases while using Apple Pay functionality; (b) issuance of credit or
assessing eligibility for credit; (c) accrual or redemption of rewards or stored value under a merchant’s
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program; or (d) funding or reloading of prepaid cards. For all disputes or questions about payment
cards, rewards cards, gift cards, or associated commerce activity, please contact your issuer or the
applicable merchant.

3 Privacy

Apple Pay requires some information from your iOS Device in order to oﬀer the full experience. You can
find more information on the data collected, used or shared as part of your use of Apple Pay by reading
About Apple Pay and Privacy (which can be accessed by going to Wallet & Apple Pay on your iOS
Device, or within the Watch app on a paired iOS Device) or by visiting http://www.apple.com/privacy. By
using Apple Pay, you agree and consent to Apple’s and its subsidiaries’ and agents’ transmission,
collection, maintenance, processing, and use of all of the foregoing information, to provide Apple Pay
functionality.

4 Security; Lost or Disabled Devices

Apple Pay stores virtual representations of your Supported Cards and should be protected as you would
protect your physical credit, debit, prepaid, rewards and gift cards. Providing your device passcode to a
third party or allowing a third party to add their fingerprint to use Touch ID may result in their ability to
make payments and receive or redeem rewards or credit using Apple Pay on your device. You are
solely responsible for maintaining the security of your device and of your passcode. You agree that
Apple does not have any responsibility if you lose or share access to your device. You agree that Apple
does not have any responsibility if you make unauthorized modifications to iOS (such as by way of a
“jailbreak”).

If your device is lost or stolen and you have Find My iPhone enabled, you can use Find My iPhone to
attempt to suspend the ability to pay with the virtual Supported Payment Cards on the device by putting
it into Lost Mode. You can also erase your device, which will attempt to suspend the ability to pay with
the virtual Supported Payment Cards on the device and will also attempt to remove the Apple Pay-
Enabled Cards. You should also contact the issuer of your Supported Payment Cards and the merchant
who issued your Apple Pay-Enabled Cards in order to prevent unauthorized access to your virtual
Supported Cards.

If you report or Apple suspects fraudulent or abusive activity, you agree to cooperate with Apple in any
investigation and to use any fraud prevention measures we prescribe.

5 Limitation of Liability

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     EXHIBIT 6
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ENGLISH

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An Apple ID is also required to access app updates and certain features of the iOS Software and
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(h) You acknowledge that many features, built-in apps, and Services of the iOS Software transmit data
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view and control which applications are permitted to use cellular data and view an estimate of how much
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(i) If you choose to allow automatic app updates, your iOS Device will periodically check with Apple for
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Siri, and Dictation may require information from your iOS Device to provide their respective functions.
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(b) If you sign up for iCloud, certain iCloud features like “iCloud Photo Library”, “My Photo Stream”,
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through News as a stand-alone file.

(d) Maps. The maps service and features of the iOS Software (“Maps”), including map data coverage,
may vary by region. When you use any location-based features within Maps, such as turn-by-turn
navigation, traﬃc and local search, various location-related and usage information may be sent to Apple,
including the real-time geographic location of your iOS Device, in order to process your request and help
improve Maps. Such location and usage data is collected by Apple in a form that does not personally
identify you. By using Maps, you agree and consent to Apple’s and its subsidiaries’ and agents’
transmission, collection, maintenance, processing, and use of this information, to provide and
improve the Maps features and service, and other Apple products and services. Apple may also
provide such information, in either an aggregated or non personally identifiable form, to its partners and
licensees to help improve their map and location-based products and services. You may disable the
location-based functionality of Maps by going to the Location Services setting on your iOS Device and
turning oﬀ the individual location setting for Maps. Certain Maps features will however be unavailable if
you disable the Location Services setting, such as turn-by-turn navigation.

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and computers, you acknowledge that such data will be sent to Apple and stored in conjunction with the
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provided by any Services, including the Apple Maps service, is provided for basic navigational and
planning purposes only and is not intended to be relied upon in situations where precise location
information is needed or where erroneous, inaccurate, time-delayed or incomplete location data may
lead to death, personal injury, property or environmental damage. You agree that, the results you receive
from the Maps service may vary from actual road or terrain conditions due to factors that can aﬀect the
accuracy of the Maps data, such as, but not limited to, weather, road and traﬃc conditions, and
geopolitical events. For your safety when using the navigation feature, always pay attention to posted
road signs and current road conditions. Follow safe driving practices and traﬃc regulations, and note
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between your iOS and Microsoft Exchange Server or other server software licensed by Microsoft to
implement the Microsoft Exchange ActiveSync protocol.
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EA1520
09/22/2017

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Apple Pay Supplemental Terms and Conditions

These Apple Pay Supplemental Terms and Conditions (these “Supplemental Terms”) supplement the iOS
Software License Agreement (the “License”); both the terms of the License and these Supplemental
Terms govern your use of the Apple Pay feature, which shall be deemed a “Service” under the License.
Capitalized terms used in these Supplemental Terms have the meanings set forth in the License.

1.       Overview and Use Restrictions

Apple Pay allows you to:

     •     store virtual representations of credit, debit, and prepaid cards, including store credit, debit,
           prepaid cards, and the Apple Pay Cash card, which are supported by the Apple Pay feature
           (“Supported Payment Cards”) and use supported iOS Devices to make contactless payments in
           select locations, or within apps or websites;
     •     use rewards and gift cards that are saved in Wallet (“Apple Pay-Enabled Cards”, and together
           with Supported Payment Cards, “Supported Cards”) to make contactless rewards and gift-card
           transactions in select stores as part of a contactless payment using Apple Pay; and
     •     send person to person payments to other Apple Pay users.

The Apple Pay features of the iOS Software may only be available in select regions, with select card
issuers, financial institutions, and merchants. Features may vary by region, issuer, and merchant.

To use Apple Pay, you must have a Supported Card. Supported Cards may change from time to time.
Additionally, in order to send or receive person to person payments, you must have an Apple Pay Cash
card.

Supported Payment Cards and person to person payments are associated with the Apple ID you have
signed into iCloud to use these features. Supported Cards are only available to individuals aged 13 years
or older, and may be subject to additional age-based restrictions imposed by iCloud or the Supported
Card which you are trying to provision. The Apple Pay Cash card and the ability to send and receive
person to person payments are only available to individuals aged 18 years or older.

Apple Pay is intended for your personal use and you may only provision your own Supported Cards. If
you are provisioning a supported corporate card, you represent that you are doing so with the
authorization of your employer and you are authorized to bind your employer to these terms of use and
all transactions eﬀected by use of this feature. If you are sending or receiving a person to person
payment, you represent that you are doing so for your own personal, non-commercial use.

You agree not to use Apple Pay for illegal or fraudulent purposes, or any other purposes which are
prohibited by the License and these Supplemental Terms. You further agree to use Apple Pay in
accordance with applicable laws and regulations. You agree not to interfere with or disrupt the Apple Pay
service (including accessing the service through any automated means), or any servers or networks
connected to the service, or any policies, requirements, or regulations of networks connected to the
service (including any unauthorized access to, use, or monitoring of data or traﬃc thereon).

2.       Apple’s Relationship With You

Apple Pay enables you to create a virtual representation of your Supported Cards on your supported iOS
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Device. However Apple does not process payments or other non-payment card transactions (such as
reward accrual and redemption), receive, hold, or transfer your funds, or have any other control over
payments, returns, refunds, rewards, value, discounts, or other commerce activity that may arise out of
your use of this feature.

The terms of cardholder agreements you may have in place with your card issuer will continue to govern
your use of your Supported Cards and their use in connection with Apple Pay. Similarly, your
participation in any merchant rewards or gift card programs and your use of Apple Pay-Enabled Cards in
connection with Apple Pay will be subject to such merchant’s terms and conditions.

The Apple Pay Cash card and the ability to send and receive person to person payments are only
available in the United States, and are services provided by Green Dot Bank, member FDIC. When you
enable these features within Apple Pay, you are opening an account with Green Dot Bank, and when you
send or receive a person to person payment or load or withdraw money from your Apple Pay Cash card,
Green Dot Bank will be responsible for receiving and sending your money to the intended recipient. The
financial institution responsible for oﬀering Apple Pay Cash and person to person payments within Apple
Pay is subject to change, and your use of such features are subject to their terms and conditions.

Nothing in the License or these Supplemental Terms modifies the terms of any cardholder, user, or
merchant agreement, and such terms will govern your use of the applicable Supported Card or the
person to person payment feature of Apple Pay and their virtual representation on your iOS Device. You
agree that Apple is not a party to your cardholder or merchant agreements, nor is Apple responsible for
the: (a) content, accuracy or unavailability of any payment cards, rewards cards, gift cards, commerce
activities, transactions, or purchases while using Apple Pay functionality; (b) issuance of credit or
assessing eligibility for credit; (c) accrual or redemption of rewards or stored value under a merchant’s
program; (d) funding or reloading of prepaid cards; (e) sending or receiving of person to person
payments; or (f) loading, redeeming, or withdrawing money from your Apple Pay Cash card.

For all disputes or questions about payment cards, rewards cards, gift cards, or associated commerce
activity, please contact your issuer or the applicable merchant. For questions regarding the Apple Pay
Cash card or person to person payments, please contact Apple Support.

3.   Privacy

Apple Pay requires some information from your iOS Device in order to oﬀer the full experience.
Additionally, when you use your Apple Pay Cash card or send or receive person to person payments,
additional information about your transactions is collected and retained to service your account and
fraud prevention and regulatory purposes. You can find more information on the data collected, used, or
shared as part of your use of Apple Pay, the Apple Pay Cash card, or person to person payments with
Apple Pay by reading About Apple Pay and Privacy (which can be accessed by going to Wallet & Apple
Pay on your iOS Device, or within the Watch app on a paired iOS Device) or by visiting https://
www.apple.com/privacy. By using these features, you agree and consent to Apple’s and its subsidiaries’
and agents’ transmission, collection, maintenance, processing, and use of all of the foregoing
information, to provide Apple Pay functionality.

4.   Security; Lost or Disabled Devices

Apple Pay stores virtual representations of your Supported Cards and should be protected as you would
protect cash or your physical credit, debit, prepaid, rewards, or gift cards. Providing your device
passcode to a third party or allowing a third party to add their fingerprint to use Touch ID or enable Face
ID may result in their ability to make payments, send, request, or receive person to person payments,
withdraw money from your Apple Pay Cash card, or receive or redeem rewards or credit using Apple Pay
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on your device. You are solely responsible for maintaining the security of your device and of your
passcode. You agree that Apple does not have any responsibility if you lose or share access to your
device. You agree that Apple does not have any responsibility if you make unauthorized modifications to
iOS (such as by way of a “jailbreak”).

You may need to enable additional security measures, such as two-factor authentication for your Apple
ID, in order to access particular features of Apple Pay, including the Apple Pay Cash card and person to
person payments with Apple Pay. If you subsequently remove those security features, you may not be
able to continue to access particular features of Apple Pay.

If your device is lost or stolen and you have Find My iPhone enabled, you can use Find My iPhone to
attempt to suspend the ability to pay with the virtual Supported Payment Cards or sending person to
person payments on that device by putting it into Lost Mode. You can also erase your device, which will
attempt to suspend the ability to pay with the virtual Supported Payment Cards or send person to
person payments on the device and will also attempt to remove the Apple Pay-Enabled Cards. You
should also contact the issuer of your Supported Payment Cards, the merchant who issued your Apple
Pay-Enabled Cards, and Apple in the case of your Apple Pay Cash card in order to prevent unauthorized
access to your Supported Cards.

If you report or Apple suspects fraudulent or abusive activity, you agree to cooperate with Apple in any
investigation and to use any fraud prevention measures we prescribe.

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